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                        EXHIBIT A

            Monthly Statement for the Fee Period
                         (attached)
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                                                            Eversheds Sutherland (US) LLP
                                                            700 Sixth Street, NW
                                                            Suite 700
                                                            Washington, DC 20001-3980

                                                            T: +1 202 383 0100

                                                            eversheds-sutherland.com

                                                            IRS Employer ID No: XX-XXXXXXX

                                                            Electronic Remittance Instructions:
                                                            Bank Name: Wells Fargo Bank, N.A.
                                                            Acct Name: Eversheds Sutherland (US) LLP
                                                            Acct Number: 5233576718
                                                            Wire Routing/ABA: 121000248
                                                            ACH Routing: 061000227
                                                            SWIFT Code: WFBIUS6S
                                                            Check Remittance Instructions:
                                                            Eversheds Sutherland (US) LLP
                                                            PO Box 931885
                                                            Atlanta, GA 31193-1885



Ad Hoc Committee of Non-US Customers of FTX.com
C/O FTX Trading Ltd.
                                                            Bill No.      1273558
                                                            Bill Date     November 22, 2023

Matter No:      96490.0001
RE:             FTX Bankruptcy

FOR LEGAL SERVICES RENDERED From May 1, through May 31, 2023


Fees                                                                                   $169,261.50

Total Current Disbursements                                                              $3,394.53

Total Current Bill                                                                     $172,656.03
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 Matter No. 96490-0001                         Bill No: 1273558                                                 Page 2


FOR LEGAL SERVICES RENDERED May 1, 2023 through May 31, 2023

 Date         Timekeeper          Narrative                                              Task     Hours        Amount
 B110 - Case Administration

 05/01/23     Devorah Hirsch      Review FTX ledger against members filed Rule           B110      1.50         360.00
                                  2019 Statement and make notes and edits for
                                  updated Rule 2019 Statement.

 05/02/23     Devorah Hirsch      Update Rule 2019 Statement with new amounts            B110      0.50         120.00
                                  based upon FTX ledgers and member emails.

 05/05/23     Erin E. Broderick   Follow-up with D. Hirsch regarding status of First     B110      0.50         455.00
                                  Supplemental 2019 Statement and updates per
                                  member e-mails and new members and review
                                  (.3); e-mails with internal team regarding task
                                  allocations for upcoming tasks (.2).

 05/05/23     Devorah Hirsch      Update 2019 Statement.                                 B110      1.00         240.00

 05/08/23     Devorah Hirsch      Update Supplemental Rule 2019 Statement.               B110      0.50         120.00

 05/16/23     Devorah Hirsch      Update Supplemental 2019 Chart with new                B110      0.80         192.00
                                  members claim information.

 05/24/23     Erin E. Broderick   Review prior financial advisor proposals to            B110      0.50         455.00
                                  follow-up with member and A. Dietderich (.4); e-
                                  mail to member regarding same (.1).

 05/25/23     Devorah Hirsch      Review all member files and recent                     B110      3.20         768.00
                                  correspondence regarding ledgers and claim
                                  amounts (0.8); draft Table of members and claim
                                  amounts for 2019 Supplemental Statement (2.4).

 05/26/23     Erin E. Broderick   E-mail to N. DeLoatch to update 2019                   B110      0.10          91.00
                                  disclosures regarding other representations.

 05/28/23     Erin E. Broderick   Review open case administration items and e-           B110      0.50         455.00
                                  mail to P. Ivanick and S. Paul to summarize
                                  same.

 05/30/23     Devorah Hirsch      Confirm claim information as well as addendums         B110      1.50         360.00
                                  (0.2); revise Addendum and send to member for
                                  signature (0.3); prepare chart of members that
                                  have assigned their claims (1.0).

 05/31/23     Devorah Hirsch      Review and edit member claim amounts and               B110      0.70         168.00
                                  percentages in preparation for member billing.

                                  Total for B110 - Case Administration                                 11.30   3,784.00
 B112 - General Creditor Inquiries
 05/02/23     Sarah E. Paul       Review and consider email from DOJ regarding           B112      0.20         227.00
                                  victim witnesses.

 05/02/23     Devorah Hirsch      Respond to inbound FTX.com customer inquiry            B112      1.50         360.00
                                  to provide information on FTX cases and Ad Hoc
                                  Committee and draft list of attendees at May 9th
                                  meeting with S&C.
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Date        Timekeeper          Narrative                                            Task    Hours    Amount

05/05/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiries        B112      1.00    240.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

05/08/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiries        B112      2.00    480.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

05/09/23    Nathaniel T.        Review and respond to email correspondence           B112      0.20    140.00
            DeLoatch            from parties interested in joining ad hoc
                                committee and obtaining general case
                                information.

05/09/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiry          B112      1.00    240.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

05/10/23    Sarah E. Paul       Emails with DOJ re victim witness inquiries.         B112      0.20    227.00

05/10/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiry          B112      1.00    240.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

05/10/23    Nathaniel T.        Prepare for and attend call with individual          B112      1.00    700.00
            DeLoatch            customer located in Italy re: questions
                                concerning the FTX cases, claims treatment and
                                ad hoc committee participation (.9); follow up
                                email to same re questions raised on call (.1).

05/11/23    Erin E. Broderick   Follow-up calls in response to inbound requests      B112      0.60    546.00
                                for information on Ad Hoc Committee.

05/12/23    Erin E. Broderick   Respond to inbound requests and referrals for        B112      0.30    273.00
                                information on the Ad Hoc Committee and status
                                of chapter 11 cases.

05/12/23    Sarah E. Paul       Call with DOJ to discuss potential victim            B112      0.40    454.00
                                witnesses and restitution efforts (0.2); provide
                                email summary to team regarding same (0.2).

05/15/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiry          B112      2.00    480.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

05/16/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiries        B112      0.50    120.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

05/19/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiries        B112      1.00    240.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

05/19/23    Sarah E. Paul       Email to creditors regarding potential victim        B112      0.30    340.50
                                witness testimony at Sam Bankman-Fried trial.
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Date        Timekeeper          Narrative                                            Task     Hours        Amount

05/23/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiries        B112      1.00         240.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

05/24/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiries        B112      1.00         240.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

05/26/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiries        B112      1.00         240.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

                                Total for B112 - General Creditor Inquiries                        16.20   6,027.50
B113 - Case Analysis/Pleading Review
05/01/23    Erin E. Broderick   Brief review of docket for case updates and          B113      0.40         364.00
                                activity.

05/02/23    Peter A. Ivanick    Review May budget and telephone conference           B113      0.60        1,020.00
                                E. Broderick re: same; further telephone
                                conference re: MNAT budgets.

05/05/23    Nathaniel T.        Email from E. Broderick re drafting update for       B113      2.80        1,960.00
            DeLoatch            committee members (.1); draft update to
                                members of the Ad Hoc Committee (2.2); emails
                                to E. Broderick and D. Wender re same (.1);
                                revise draft update per E. Broderick comments
                                (.3); email to D. Wender re same (.1).

05/05/23    Erin E. Broderick   Review and analysis of case updates and activity     B113      1.40        1,274.00
                                for member and internal update.

05/11/23    Devorah Hirsch      Review and respond to FTX.com customer email         B113      0.50         120.00
                                re: FTX case developments.

05/12/23    Erin E. Broderick   Brief review and analysis of UST objection to        B113      0.20         182.00
                                KEIP.

05/15/23    Erin E. Broderick   Review FTX Digital Markets chapter 15 docket         B113      0.50         455.00
                                and entirety of filings/pending issues before
                                chapter 11 court.

05/16/23    Erin E. Broderick   Review and analyze case developments and             B113      1.30        1,183.00
                                status of ongoing matters for member update.

05/17/23    Erin E. Broderick   Review updates on BlockFi/Grayscale litigation.      B113      0.20         182.00

05/23/23    Erin E. Broderick   Review Grayscale motion to dismiss in Alameda        B113      1.00         910.00
                                litigation and summarize same.

05/24/23    Nathaniel T.        Review and respond to email inquiries from           B113      0.40         280.00
            DeLoatch            FTX.com customers re: FTX case developments.

05/26/23    Devorah Hirsch      Review and respond to FTX.com customer               B113      0.50         120.00
                                inquiries re: FTX case developments (.2); update
                                AHC members site re: same.
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Date        Timekeeper          Narrative                                                Task    Hours         Amount

05/30/23    Erin E. Broderick   Review and analyze docket for case                       B113      0.40         364.00
                                developments, including examiner appeal and
                                Emergent exclusivity motion.

                                Total for B113 - Case Analysis/Pleading
                                Review                                                                 10.20   8,414.00
B140 - Relief from Stay/Adequate Protection Proceedings
05/03/23    Peter A. Ivanick    Review and respond to E. Broderick email re:             B140      0.40         680.00
                                objections to JPL lift stay, possible joinder and
                                possible outreach to plaintiffs class action
                                counsel.

05/03/23    Erin E. Broderick   Telephone call with A. Dietderich regarding JPL          B140      2.50        2,275.00
                                lift stay motion and coordination (.2); review and
                                analyze JPL lift stay objections filed (2.0); e-
                                mails to internal team regarding positioning on
                                same (.2); e-mail to internal team regarding
                                coordination with Onusz class action counsel
                                (.1).

05/04/23    Erin E. Broderick   E-mails regarding JPL lift stay motion with              B140      0.30         273.00
                                objectors regarding joinder (.2); follow-up with D.
                                Hirsch regarding same (.1).

05/05/23    Devorah Hirsch      Draft objection to Motion regarding Motion of            B140      1.00         240.00
                                Joint Provisional Liquidators regarding the
                                Automatic Stay and Application to the court of
                                the Bahamas and Joinder in Debtors' Objection.

05/05/23    Erin E. Broderick   Work of draft joinder to objections to JPL lift stay     B140      1.20        1,092.00
                                motion.

05/10/23    Peter A. Ivanick    Conference E. Broderick and D. Wender re:                B140      0.30         510.00
                                possible joinder to objection to JPL lift stay
                                motion and emails re: same.

05/10/23    Erin E. Broderick   E-mails with D. Wender and P. Ivanick re JPL             B140      2.50        2,275.00
                                dispute and Ad Hoc Committee joinder (.3); e-
                                mails with A. Dietderich and member re JPL
                                dispute (.2); review Veneable ad hoc group
                                pleading in support of JPL lift stay motion (.5);
                                call with J. Zakia of W&C re compromise for
                                FTX.com customers (.5); prepare for and attend
                                telephone call with Oszu class action attorneys
                                re same and broader litigation issues (1.0).

05/11/23    Peter A. Ivanick    Emails re: JPL lift stay motion.                         B140      0.20         340.00
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Date        Timekeeper          Narrative                                              Task     Hours         Amount

05/11/23    Erin E. Broderick   Review and respond to e-mails re JPL dispute           B140      2.30         2,093.00
                                between S&C and W&C (.3); call with J. Zakia of
                                W&C re same (.3); follow-up discussions with
                                Executive Committee members on direction (.5);
                                e-mails with D. Wender and P. Ivanick re same
                                (.1); follow-up with JPL Bahamas counsel (.1);
                                follow-up emails with J. Zakia and B. Pfeiffer of
                                W&C re proposed compromise (.2); call with B.
                                Pfeiffer of W&C re resolution with Debtors for
                                benefit of FTX.com customers (.8).

05/12/23    Erin E. Broderick   Review and analyze Bakermeyer declaration and          B140      0.80          728.00
                                JPL reply in support of the lift stay motion.

05/14/23    Erin E. Broderick   Follow-up on status of JPL discussions and June        B140      0.10           91.00
                                8th hearing.

05/17/23    Erin E. Broderick   Emails with A. Dietderich, internal team and           B140      0.40          364.00
                                White & Case regarding terms to resolve JPL
                                dispute under plan.

05/24/23    Erin E. Broderick   E-mails with D. Wender and M. Harvey regarding         B140      0.50          455.00
                                June 8th hearing preparation (.2); brief review of
                                notice of deposition in JPL dispute and follow-up
                                with JPLs and Debtors’ counsel regarding status
                                (.3).

05/25/23    Erin E. Broderick   E-mails to JPL and Debtors’ counsel regarding          B140      0.20          182.00
                                status of discussions to resolve lift stay motion
                                (.1); review and respond to emails with UST,
                                UCC, Debtors regarding June 8th hearing
                                scheduling (.1).

05/31/23    Erin E. Broderick   E-mails between UCC, Debtors, JPL counsel,             B140      0.20          182.00
                                UST, D. Wender and M. Harvey regarding June
                                8 and 9 hearing (.1); follow-up on status of JPL
                                dispute (.1).

                                Total for B140 - Relief from Stay/Adequate
                                Protection Proceedings                                               12.90   11,780.00
B150 - Meetings of and Communications with External Shareholders
05/03/23    Nathaniel T.        Draft list of discussion topics and information        B150      1.00          700.00
            DeLoatch            requests in preparation for AHC's meeting with
                                Debtors and UCC.

05/04/23    Nathaniel T.        Revise draft of Topics of Discussion and               B150      0.60          420.00
            DeLoatch            Requests for Information re May 9th meeting
                                with Debtors (.5); email same to Ad Hoc
                                Committee executive committee for review and
                                comment (.1).

05/05/23    Erin E. Broderick   E-mails with Executive Committee, Debtors and          B150      0.50          455.00
                                UCC to coordinate New York meetings.

05/05/23    Devorah Hirsch      Prepare for in person and zoom meeting list for        B150      1.00          240.00
                                May 9th and assist S&C with our attendees.
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Date        Timekeeper          Narrative                                              Task     Hours        Amount

05/06/23    Erin E. Broderick   E-mails with Executive Committee, Debtors and          B150      0.30         273.00
                                UCC to coordinate New York meetings and
                                agenda.

05/07/23    Erin E. Broderick   Follow-up e-mails with Member, UCC and                 B150      0.30         273.00
                                Debtors’ professionals and internal team
                                regarding May 9th and May 10th meetings.

05/08/23    Devorah Hirsch      Prepare for May 9 meeting with debtors and             B150      1.00         240.00
                                coordinate with debtors and maintain list of
                                attendees to UCC meeting on May 10.

05/17/23    Nathaniel T.        Analyze and draft informational requests for           B150      0.60         420.00
            DeLoatch            debtors.

05/18/23    Dane N. Sowers      Draft information requests to Debtors.                 B150      2.30        1,276.50

05/18/23    Amanda C.           Draft information requests for debtor.                 B150      2.10        1,291.50
            Oliveira

05/19/23    Erin E. Broderick   E-mail with member regarding plan information          B150      1.00         910.00
                                requests/open items (.2); revise member update
                                (.6); respond to member e-mails (.2).

05/22/23    Erin E. Broderick   Review and revise weekly member update (2.0);          B150      2.70        2,457.00
                                draft e-mail to members to distribute member
                                update (.3); coordinate with D. Hirsch to update
                                member site (.2); e-mails with member regarding
                                new members and composition of Executive
                                Committee (.2).

                                Total for B150 - Meetings of and
                                Communications with External Shareholders                            13.40   8,956.00
B190 - Other Contested Matters (excluding assumption/rejection motions)
05/01/23    Erin E. Broderick   E-mail to UCC and Debtors (copying D. Wender           B190      0.60         546.00
                                and N. DeLoatch) regarding redaction positioning
                                (.1); e-mails with D. Wender and N. DeLoatch
                                regarding same (.1); brief review of Sheridan
                                Declaration and skim pleadings regarding
                                evidence needed for hearing (.4).

05/01/23    David A. Wender     Attention to pending Motion to Seal and related        B190      0.70         770.00
                                pleadings.

05/01/23    Nathaniel T.        Calls re updating supplemental 2019 statement.         B190      0.30         210.00
            DeLoatch

05/02/23    David A. Wender     Draft and coordinate research relative to Reply in     B190      3.00        3,300.00
                                Support of Motion to Seal (2.2); confer with N.
                                DeLoatch regarding same (0.8).

05/02/23    Nathaniel T.        Emails to D. Wender and D. Hirsch re redactions        B190      0.10          70.00
            DeLoatch            to 2019 statement.
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Date        Timekeeper          Narrative                                              Task     Hours   Amount

05/02/23    Nathaniel T.        Conference with D. Wender re redaction motion,         B190      0.30    210.00
            DeLoatch            reply in support thereof and negotiations with
                                official committee (.2); emails to D. Wender in
                                follow up of conference (.1).

05/02/23    Nathaniel T.        Prepare for and attend conference call with D.         B190      0.80    560.00
            DeLoatch            Wender and counsel for UCC re redaction
                                motions and May 17th hearing (.5); meeting with
                                D. Wender following up on same (.1); email to E.
                                Broderick re same and moving forward strategy
                                (.2).

05/02/23    Erin E. Broderick   Review and respond to e-mail update from N.            B190      0.10     91.00
                                DeLoatch on call with UCC on redaction motion
                                and follow-up on hearing logistics/preparation
                                with internal team.

05/03/23    Erin E. Broderick   Brief discussion with D. Wender regarding UST          B190      1.00    910.00
                                extension of objection deadline to redaction
                                motion (.1); attend call with D. Wender and N.
                                DeLoatch regarding redaction motion (.5); further
                                conversation with N. DeLoatch regarding same
                                and May 17th matters (.2); review and comment
                                on evidence outline prepared by D. Wender in
                                support of redaction motion (.1); e-mails with D.
                                Wender and N. DeLoatch regarding status of
                                discussion with UCC, Debtors (.1).

05/03/23    Nathaniel T.        Review Media Intervenor's objection to AHC's           B190      5.20   3,640.00
            DeLoatch            redaction motion (1.5); research re same and
                                draft of reply ISO AHC redaction motion (1.7);
                                begin drafting reply ISO AHC redaction motion
                                (2.0).

05/03/23    Nathaniel T.        Confer with D. Wender re draft of reply in support     B190      0.10     70.00
            DeLoatch            of redaction motion.

05/03/23    David A. Wender     Draft and coordinate research relative to Reply in     B190      3.50   3,850.00
                                Support of Motion to Seal (2.8); brief discussion
                                with E. Broderick regarding UST extension of
                                objection deadline to redaction motion (0.1);
                                attend call with N. DeLoatch and E. Broderick
                                regarding redaction motion (0.5); confer with N.
                                DeLoatch regarding draft of reply (0.1).

05/03/23    Nathaniel T.        Review Media Intervenors objection to Debtors          B190      0.40    280.00
            DeLoatch            and UCC redaction motion.

05/03/23    Nathaniel T.        Attend conference with D. Wender and E.                B190      0.50    350.00
            DeLoatch            Broderick re redaction motion and related
                                hearing.

05/04/23    Nathaniel T.        Continue researching and simultaneously                B190      5.20   3,640.00
            DeLoatch            drafting reply ISO redaction motion.

05/04/23    David A. Wender     Draft and coordinate research relative to Reply in     B190      1.30   1,430.00
                                Support of Motion to Seal.
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Date        Timekeeper          Narrative                                             Task     Hours    Amount

05/05/23    Nathaniel T.        Review D. Wender's revisions and comments to          B190       0.40    280.00
            DeLoatch            draft of reply ISO redaction motion.

05/05/23    David A. Wender     Draft and coordinate research relative to Reply in    B190       2.90   3,190.00
                                Support of Motion to Seal.

05/05/23    Nathaniel T.        Drafting reply ISO redaction motion.                  B190       2.00   1,400.00
            DeLoatch

05/05/23    Erin E. Broderick   E-mails with D. Wender regarding coordination         B190       0.30    273.00
                                with UCC on redaction motion and hearing (.1);
                                e-mails with class action counsel at Entwistle &
                                Cappucci regarding case positioning and Onusz
                                pending litigation (.2).

05/06/23    Nathaniel T.        Revise draft of reply ISO redaction motion (1.9);     B190       2.00   1,400.00
            DeLoatch            emails to D. Wender re same (.1).

05/07/23    Nathaniel T.        Emails from and to E. Broderick re tasks relative     B190       0.20    140.00
            DeLoatch            to redaction motion hearing.

05/08/23    David A. Wender     Review and revise Reply in Support of Motion to       B190       1.60   1,760.00
                                Seal (1.2); confer with N. DeLoatch and Media
                                Intervenors (0.4).

05/08/23    Nathaniel T.        Emails to and from D. Wender re draft of              B190       4.00   2,800.00
            DeLoatch            redaction motion (.1); review and revise draft re
                                same (.8); emails to and from E. Broderick re
                                draft of same (.2); revise draft incorporating E.
                                Broderick's comments (2.9).

05/08/23    Nathaniel T.        Prepare for and attend conference with D.             B190       0.40    280.00
            DeLoatch            Wender and counsel for Media Intervenors re
                                hearing and evidence.

05/09/23    Nathaniel T.        Review and revise draft of reply ISO redaction        B190       0.60    420.00
            DeLoatch            motion per D. Wender comments (.5); emails to
                                and from E. Broderick re same (.1).

05/09/23    Nathaniel T.        Review and analyze correspondence from                B190       0.30    210.00
            DeLoatch            objecting parties to AHC redaction motion (.2);
                                emails to and from D. Wender re same (.1).

05/09/23    Erin E. Broderick   Brief review of UST comments to redaction             B190       0.30    273.00
                                motion (.1); follow-up with D. Wender and
                                members re same (.2).

05/10/23    Nathaniel T.        Emails to and from D. Wender re UST objection         B190       0.40    280.00
            DeLoatch            to redaction motion (.1); prepare for and attend
                                call with D. Wender re same (.3).

05/10/23    Nathaniel T.        Revise reply ISO redaction motion in response to      B190       1.90   1,330.00
            DeLoatch            UST's objection (1.5); emails to and from D.
                                Wender re same (.2); emails to and from E.
                                Broderick re same (.1); email to Morris Nichols re
                                review of same (.1).
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Date        Timekeeper          Narrative                                            Task     Hours      Amount

05/10/23    David A. Wender     Analyze UST Objection to Redaction Motion and        B190       1.50     1,650.00
                                prepare response to same.

05/10/23    Erin E. Broderick   Brief review and analysis of UST objection and       B190       0.60      546.00
                                e-mails with UCC and D. Wender re same (.5);
                                discuss same internally (.1).

05/10/23    Nathaniel T.        Review and analyze UST objection to AHC              B190       2.00     1,400.00
            DeLoatch            redaction motion.

05/11/23    David A. Wender     Finalize Reply in Support of Redaction.              B190       0.80      880.00

05/11/23    Nathaniel T.        Emails to and from M. Ingrassia at MNAT re draft     B190       1.40      980.00
            DeLoatch            of reply ISO redaction motion and hearing
                                strategy (.3); review MNAT's revisions to draft re
                                same (.1); email to D. Wender re same (.2);
                                review and revise draft re same (.7); emails to
                                and from E. Broderick re same (.1).

05/11/23    Erin E. Broderick   Brief review and comment on redaction motion         B190       0.20      182.00
                                reply.

05/12/23    Erin E. Broderick   Brief review of reply brief in support of Ad Hoc     B190       0.60      546.00
                                Committee redaction motion (.3); brief review
                                and comment on redaction motion reply (.3).

05/12/23    Nathaniel T.        Emails from and to D. Hirsch re draft of reply ISO   B190       0.60      420.00
            DeLoatch            redaction motion (.1); emails to and from D.
                                Wender re same (.2); emails to and from M.
                                Ingrassia re same (.3).

05/12/23    David A. Wender     Finalize Reply in Support of Redaction.              B190       0.40      440.00

05/12/23    Devorah Hirsch      Proof, cite check and bluebook Reply in Support      B190       5.00     1,200.00
                                of Motion to Seal.

05/15/23    Devorah Hirsch      Update Supplemental 2019 Statement with new          B190       1.00      240.00
                                member information and additional information
                                provided by members.

05/19/23    Erin E. Broderick   E-mails with members regarding DOJ witness           B190       0.50      455.00
                                testimony.

05/24/23    David A. Wender     Follow up regarding redaction motion.                B190       0.10      110.00

05/30/23    David A. Wender     Analyze correspondence relative to sealing and       B190       0.10      110.00
                                matters related thereto.

05/31/23    David A. Wender     Analyze correspondence relative to sealing and       B190       0.10      110.00
                                matters related thereto.

                                Total for B190 - Other Contested Matters
                                (excluding assumption/rejection motions)                        55.30   43,232.00
B195 - Non-Working Travel
05/08/23    Erin E. Broderick   Half-time travel to NYC from Chicago for plan        B195       2.00     1,820.00
                                discussions with Debtors and UCC
                                professionals.
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Date        Timekeeper          Narrative                                            Task     Hours        Amount

05/11/23    Erin E. Broderick   Half-time non-working travel return after            B195       2.00       1,820.00
                                meetings in New York with the Debtors’ and
                                UCC’s professionals.

                                Total for B195 - Non-Working Travel                                 4.00   3,640.00
B260 - Board of Directors Matters
05/04/23    Erin E. Broderick   Review Ad Hoc Committee bylaws regarding             B260       1.00        910.00
                                required updates to fee provisions and role of
                                Executive Committee.

05/08/23    Erin E. Broderick   Review issues under current bylaws and follow-       B260       0.40        364.00
                                up re changes thereto.

05/25/23    Nathaniel T.        Review and revise draft of First Supplemental        B260       0.50        350.00
            DeLoatch            2019 Statement.

                                Total for B260 - Board of Directors Matters                         1.90   1,624.00
B270 - AHC Member Communications & Meetings
05/01/23    Peter A. Ivanick    Review and consider E. Broderick email re:           B270       0.90       1,530.00
                                agenda for Executive Committee call and 5/9
                                meeting with debtors (.2); attend Executive
                                Committee call (.7).

05/01/23    Nathaniel T.        Review and respond to email correspondence           B270       0.90        630.00
            DeLoatch            with E. Broderick and attorney working group re:
                                agenda for AHC executive meeting (.1); prepare
                                for and attend AHC executive meeting (.8).

05/02/23    Erin E. Broderick   Respond to member e-mails on May 17th                B270       0.30        273.00
                                hearing on redaction motion, Debtors’ schedules
                                and status of claims bar date.

05/03/23    Nathaniel T.        Emails with committee member re update to            B270       0.10         70.00
            DeLoatch            2019 statement.

05/04/23    Erin E. Broderick   Respond to various member inquiries.                 B270       0.40        364.00

05/05/23    Erin E. Broderick   Draft e-mail to N. DeLoatch on instructions for      B270       0.30        273.00
                                member update.

05/09/23    Nathaniel T.        Emails to and from D. Hirsch re member               B270       0.10         70.00
            DeLoatch            updates.

05/09/23    Nathaniel T.        Emails to and from E. Broderick and D. Hirsch re     B270       1.00        700.00
            DeLoatch            revising member update (.2); revise member
                                update per E. Broderick's comments (.6); email
                                finalized update to AHC members (.2).

05/10/23    Peter A. Ivanick    Attend meeting with Paul Hastings, E. Broderick,     B270       1.40       2,380.00
                                D. Wender and Executive Committee members.

05/14/23    Erin E. Broderick   E-mail to N. DeLoatch re development and draft       B270       0.10         91.00
                                of member update.

05/15/23    Nathaniel T.        Emails to and from E. Broderick re drafting AHC      B270       1.80       1,260.00
            DeLoatch            member update (.1); drafting of member update
                                (1.7).
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Date        Timekeeper          Narrative                                           Task     Hours      Amount

05/15/23    Erin E. Broderick   E-mails and follow-up calls with members to         B270       0.80      728.00
                                discuss IRS claims filed.

05/16/23    Erin E. Broderick   Draft member update and e-mails with N.             B270       0.70      637.00
                                DeLoatch to supplement same.

05/16/23    Nathaniel T.        Continue drafting and revising member update.       B270       1.10      770.00
            DeLoatch

05/17/23    Nathaniel T.        Review and revise draft of member update.           B270       0.30      210.00
            DeLoatch

05/18/23    Erin E. Broderick   Review, revise and ask N. DeLoatch to further       B270       0.70      637.00
                                revise member update for bar date motion (.5);
                                respond to member inquiries on various subjects
                                (.2).

05/22/23    Peter A. Ivanick    Review memo to clients and consider next steps.     B270       0.30      510.00

05/23/23    Erin E. Broderick   E-mails with member representatives regarding       B270       0.60      546.00
                                member update (.4); follow-up with Member
                                regarding same (.2).

05/23/23    Sarah E. Paul       Emails with members re status of criminal           B270       0.30      340.50
                                proceedings and impact on Chapter 11
                                recoveries.

05/24/23    Sarah E. Paul       Emails with members re status of criminal           B270       0.20      227.00
                                proceedings and impact on Chapter 11
                                recoveries.

05/25/23    Erin E. Broderick   Follow-up with member regarding open items          B270       0.80      728.00
                                (.5); respond to member emails regarding docket
                                updates/news items of interest (.3).

05/26/23    Sarah E. Paul       Emails with members re status of criminal           B270       0.20      227.00
                                proceedings and impact on Chapter 11
                                recoveries.

05/26/23    Devorah Hirsch      Review previous 2019 Statement and reach out        B270       2.50      600.00
                                to certain members regarding differences in
                                original claim amount and FTX ledger amount for
                                the 2019 Supplemental Statement; update 2019
                                Supplemental Statement with new information.

05/30/23    Erin E. Broderick   Review member registry for First Supplemental       B270       0.50      455.00
                                2019 Statement and related follow-up with
                                members and internal team to correct/update as
                                needed.

05/31/23    Sarah E. Paul       Call with member to discuss SDNY case status        B270       0.30      340.50
                                and impact on recoveries.

05/31/23    Erin E. Broderick   Review revised 2019 statement/member registry       B270       0.30      273.00
                                and follow-up with individual members and D.
                                Hirsch to confirm holdings.

                                Total for B270 - AHC Member Communications
                                & Meetings                                                     16.90   14,870.00
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Date        Timekeeper          Narrative                                             Task     Hours        Amount
B310 – KYC Process and Claims Administration

05/10/23    Erin E. Broderick   Review revised Alameda briefing schedule for          B310       0.50        455.00
                                Grayscale litigation in connection with recent
                                meetings on claim estimates to prepare member
                                update.

05/11/23    Erin E. Broderick   Review and analyze IRS tax claim (.5); follow-up      B310       2.40       2,184.00
                                call with D. Hariton (S&C) re same (.5); review
                                non-customer bar date motion and analyze
                                proposed customer claim procedures for
                                member update and negotiations (1.2); follow-up
                                e-mails with internal team and members re same
                                (.2).

05/14/23    Erin E. Broderick   Respond to member inquiries re IRS claim and          B310       0.30        273.00
                                brief review of analyses re same and e-mail to N.
                                DeLoatch.

05/19/23    Erin E. Broderick   Review and analyze claims bar date motion             B310       3.60       3,276.00
                                (1.0); e-mails with N. DeLoatch to summarize
                                same for member update (.2); conduct research
                                regarding CUD designations in other crypto
                                cases and arguments for and against
                                designation for maximizing customer recoveries
                                (2.0); e-mails with Executive Committee
                                members to solicit opinions on designations (.4).

05/24/23    Erin E. Broderick   Review status of other pending claims/litigation      B310       0.50        455.00
                                for member update.

                                Total for B310 - KYC Process and Claims
                                Administration                                                       7.30   6,643.00
B320 - Plan and Disclosure Statement (including Business Plan)
05/02/23    Erin E. Broderick   Follow-up call regarding preferences and              B320       1.30       1,183.00
                                fraudulent transfers under US Bankruptcy Code
                                and FTX specifically and Ad Hoc Committee
                                positioning (1.0); e-mails with members to
                                explain pending actions and Debtors’ disclosures
                                (.3).

05/02/23    Erin E. Broderick   Telephone conference with K. Hansen regarding         B320       0.30        273.00
                                general status of plan discussions and
                                coordination.

05/03/23    Peter A. Ivanick    Review and edit draft discussion items and            B320       0.30        510.00
                                information requests for 5/9 meeting with
                                debtors.
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Date        Timekeeper          Narrative                                             Task    Hours    Amount

05/04/23    Erin E. Broderick   Review and revise plan discussion topic outline       B320      1.20   1,092.00
                                and initial information requests and review
                                Debtors’ prior disclosures regarding same (.5);
                                review internal comments regarding same (.1); e-
                                mails with Executive Committee regarding plan
                                topics and analyses, including preference actions
                                and methodology for estimations provided by
                                Debtors (.5); follow-up with S&C to confirm
                                meeting logistics and attendees and coordinate
                                with D. Hirsch (.1).

05/05/23    Erin E. Broderick   Review and revise plan discussion items (.2);         B320      0.60    546.00
                                correspondence with members regarding
                                comments to same (.4).

05/05/23    Nathaniel T.        Revise draft of Discussion Topics and                 B320      0.60    420.00
            DeLoatch            Information Requests re plan discussions with
                                Debtors and UCC per E. Broderick and
                                Executive Committee comments (.4); emails
                                from and to E. Broderick re same (.2).

05/08/23    Erin E. Broderick   Coordinate and prepare for plan discussions           B320      1.70   1,547.00
                                meetings with Debtors and UCC professionals,
                                including preparation of meeting folders, review
                                of prior research and analysis, and member e-
                                mails.

05/08/23    Erin E. Broderick   Follow-up on updated 2019 statement for               B320      0.20    182.00
                                presentation at plan meetings.

05/09/23    David A. Wender     Prepare for and participate in plan session with      B320      7.30   8,030.00
                                the Debtors.

05/09/23    Peter A. Ivanick    Attend meeting with debtors, E. Broderick, D.         B320      3.20   5,440.00
                                Wender and Executive Committee members
                                (1.7); meeting with E. Broderick and Member
                                regarding plan sessions (1.5).

05/09/23    Erin E. Broderick   Prepare for and attend meeting with Ad Hoc            B320      4.50   4,095.00
                                Committee Executive Committee, John Ray and
                                Debtors’ professionals (2.5); follow-up analysis in
                                preparation for information requests and future
                                discussion on plan constructs (2.0).

05/10/23    David A. Wender     Prepare for and participate in meeting with UCC       B320      2.50   2,750.00
                                regarding plan discussions.

05/10/23    Erin E. Broderick   Prepare for and attend meeting with Ad Hoc            B320      2.00   1,820.00
                                Committee Executive Committee and UCC
                                professionals re plan constructs.

05/10/23    Erin E. Broderick   Call with A. Dietderich re JPL dispute and related    B320      1.00    910.00
                                plan issues.

05/11/23    Peter A. Ivanick    Emails with I. Sasson and E. Broderick re:            B320      0.20    340.00
                                attendance at plan sessions.
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Date        Timekeeper          Narrative                                              Task     Hours    Amount

05/15/23    Erin E. Broderick   E-mails with Paul Hastings team regarding claim        B320       0.50    455.00
                                designations and customer claim classifications.

05/17/23    Erin E. Broderick   Review Genesis motion in connection with               B320       3.00   2,730.00
                                arguments to prioritize customer claims over
                                Alameda lenders and incorporate into member
                                update (.6); work on plan issues outline and
                                information requests (1.0); review and analyze
                                updates on regulatory issues in other crypto
                                cases/news for purposes of distribution
                                discussions and rebalancing exercises under
                                plan (1.4).

05/18/23    Erin E. Broderick   Coordinate with N. DeLoatch, A. Oliveria and D.        B320       1.00    910.00
                                Sowers regarding information requests and plan
                                issues list and prepare materials to send in
                                connection with same.

05/20/23    Erin E. Broderick   Conduct further review and analysis of IRS             B320       0.70    637.00
                                claims in context of plan classification/priorities
                                and JPL dispute for member update and respond
                                to member inquiries regarding same.

05/22/23    Erin E. Broderick   Review and revise plan-related information             B320       1.50   1,365.00
                                requests/issues list.

05/23/23    Erin E. Broderick   Follow-up with A. Dietderich regarding weekly          B320       3.00   2,730.00
                                plan calls (.1); brief call with A. Dietderich
                                regarding pending information requests (.2); call
                                with P. Ivanick regarding positions on open plan
                                issues (.5); revise information requests/issues list
                                to prioritize “gating” plan items (1.0); review
                                Debtors’ and UCC presentations regarding
                                publicly available information for Debtors and/or
                                UCC financial advisors to run recovery analyses
                                (1.2).

05/23/23    Peter A. Ivanick    Emails and telephone conference E. Broderick           B320       0.50    850.00
                                re: meeting with UCC and debtor professionals
                                re: plan issues and next steps.

05/23/23    David A. Wender     Review correspondence related to plan                  B320       0.10    110.00
                                discussions.

05/24/23    Erin E. Broderick   Call with member regarding status of plan              B320       0.50    455.00
                                negotiations and Ad Hoc Committee
                                involvement.

05/24/23    Erin E. Broderick   Call with member regarding open plan issues            B320       1.30   1,183.00
                                and information requests (1.0); e-mails with
                                internal team, UCC and Debtor counsel
                                regarding plan discussions and information
                                sharing (.3).

05/24/23    Erin E. Broderick   E-mails with members and S. Paul regarding             B320       0.50    455.00
                                criminal prosecutions and impact on plan
                                construct/status of Debtors’ coordination efforts.
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Date        Timekeeper          Narrative                                             Task     Hours      Amount

05/25/23    Erin E. Broderick   Call with A. Dietderich regarding next steps in       B320       3.30     3,003.00
                                plan process and information sharing protocol
                                (.2); review and analyze precedent materials to
                                prepare proposal to receive UCC
                                materials/sharing with unrestricted members
                                (1.0); e-mails to member and K. Hansen
                                regarding professionals’ only designations (.1);
                                attend Zoom meeting with UCC and Debtors
                                counsel to discuss plan construct and open items
                                (1.2); follow-up call with member regarding next
                                steps (.5); call with M. Harvey (MNAT) regarding
                                class certification and related issues (.3).

05/25/23    Peter A. Ivanick    Attend plan call with E. Broderick and Paul           B320       1.50     2,550.00
                                Hastings and S&C (1.2); consider plan issues
                                (.3).

05/26/23    Erin E. Broderick   Research and review of prior research regarding       B320       1.50     1,365.00
                                class certification for plan purposes and estoppel
                                and short e-mail to K. Hansen and A. Dietderich
                                regarding thoughts regarding same.

05/27/23    Erin E. Broderick   Review and analyze open plan issues, previous         B320       4.80     4,368.00
                                research/presentations and conduct research to
                                prepare issues list for discussion with Ad Hoc
                                Committee Executive Committee and UCC and
                                Debtor professionals.

05/30/23    Erin E. Broderick   Follow-up on status of plan term sheet and open       B320       2.20     2,002.00
                                issues related to plan (treatment of customer
                                property/pending class action, bases for
                                prioritization of customer claims, treatment of
                                category B tokens and implementation of FTX
                                2.0 reboot.

05/31/23    Erin E. Broderick   E-mails with Eversheds and MNAT teams, Paul           B320       2.30     2,093.00
                                Hastings, and Executive Committee regarding
                                discussion of plan term sheet (.2); review and
                                analyze Debtors’ plan term sheet and revise
                                issues/discussion list in connection with same
                                (2.0); e-mails with I. Sasson and member
                                regarding professionals’ only designation and
                                discussions (.1).

                                Total for B320 - Plan and Disclosure
                                Statement (including Business Plan)                              55.10   56,399.00
B410 - General Bankruptcy Advice/Opinions
05/01/23    Nathaniel T.        Further revise draft of May 2023 budget per E.        B410       1.00      700.00
            DeLoatch            Broderick's comments (.8); emails to and from E.
                                Broderick re same (.2).

05/01/23    Nathaniel T.        Continue revising draft of budget for May 2023.       B410       1.70     1,190.00
            DeLoatch

05/02/23    Erin E. Broderick   Draft and update May task list and allocations        B410       1.30     1,183.00
                                (1.0); e-mails to confirm same with internal team
                                (.3).
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Date          Timekeeper          Narrative                                             Task        Hours        Amount

05/07/23      Erin E. Broderick   Finalize May task list and circulate same to          B410          0.50        455.00
                                  working group.

05/17/23      Erin E. Broderick   E-mails with S. Paul and P. Ivanick regarding         B410          0.20        182.00
                                  case management and open issues.

05/31/23      Erin E. Broderick   E-mails with P. Ivanick, N. DeLoatch, and M.          B410          0.20        182.00
                                  Harvey to allocate responsibility for open items.

                                  Total for B410 - General Bankruptcy
                                  Advice/Opinions                                                         4.90   3,892.00


                                                                                           Fees              $169,261.50

B110 Case Administration
Erin E. Broderick                                           1.60    Hours @ 910.00             1,456.00
Devorah Hirsch                                              9.70    Hours @ 240.00             2,328.00
                                                           11.30                                                  3,784.00

B112 General Creditor Inquiries
Sarah E. Paul                                               1.10          Hours @              1,248.50
                                                                          1,135.00
Erin E. Broderick                                           0.90    Hours @ 910.00               819.00
Nathaniel T. DeLoatch                                       1.20    Hours @ 700.00               840.00
Devorah Hirsch                                             13.00    Hours @ 240.00             3,120.00
                                                           16.20                                                  6,027.50

B113 Case Analysis/Pleading Review
Peter A. Ivanick                                            0.60          Hours @              1,020.00
                                                                          1,700.00
Erin E. Broderick                                           5.40    Hours @ 910.00             4,914.00
Nathaniel T. DeLoatch                                       3.20    Hours @ 700.00             2,240.00
Devorah Hirsch                                              1.00    Hours @ 240.00               240.00
                                                           10.20                                                  8,414.00

B140 Relief from Stay and Adequate Protection
Peter A. Ivanick                                            0.90          Hours @              1,530.00
                                                                          1,700.00
Erin E. Broderick                                          11.00    Hours @ 910.00          10,010.00
Devorah Hirsch                                              1.00    Hours @ 240.00             240.00
                                                           12.90                                                 11,780.00

B150 Meetings of and Communications with Creditors
Erin E. Broderick                                           4.80    Hours @ 910.00             4,368.00
Nathaniel T. DeLoatch                                       2.20    Hours @ 700.00             1,540.00
Amanda C. Oliveira                                          2.10    Hours @ 615.00             1,291.50
Dane N. Sowers                                              2.30    Hours @ 555.00             1,276.50
Devorah Hirsch                                              2.00    Hours @ 240.00               480.00
                                                           13.40                                                  8,956.00

B190 Other Contested Matters (excluding assumption/rejection motions)
David A. Wender                                         16.00             Hours @           17,600.00
                                                                          1,100.00
Erin E. Broderick                                           4.20    Hours @ 910.00           3,822.00
Nathaniel T. DeLoatch                                      29.10    Hours @ 700.00          20,370.00
Devorah Hirsch                                              6.00    Hours @ 240.00           1,440.00
                                                           55.30                                                 43,232.00
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B195 Non-Working Travel
Erin E. Broderick                                           4.00   Hours @ 910.00        3,640.00
                                                            4.00                                            3,640.00

B260 Corporate Governance and Board Matters
Erin E. Broderick                                           1.40   Hours @ 910.00        1,274.00
Nathaniel T. DeLoatch                                       0.50   Hours @ 700.00          350.00
                                                            1.90                                            1,624.00

B270 AHC Member Communications & Meetings
Peter A. Ivanick                                            2.60         Hours @         4,420.00
                                                                         1,700.00
Sarah E. Paul                                               1.00         Hours @         1,135.00
                                                                         1,135.00
Erin E. Broderick                                           5.50   Hours @ 910.00        5,005.00
Nathaniel T. DeLoatch                                       5.30   Hours @ 700.00        3,710.00
Devorah Hirsch                                              2.50   Hours @ 240.00          600.00
                                                           16.90                                           14,870.00

B310 Claims Administration and Objections
Erin E. Broderick                                           7.30   Hours @ 910.00        6,643.00
                                                            7.30                                            6,643.00

B320 Plan and Disclosure Statement (including Business Plan)
Peter A. Ivanick                                         5.70            Hours @         9,690.00
                                                                         1,700.00
David A. Wender                                             9.90         Hours @        10,890.00
                                                                         1,100.00
Erin E. Broderick                                          38.90   Hours @ 910.00       35,399.00
Nathaniel T. DeLoatch                                       0.60   Hours @ 700.00          420.00
                                                           55.10                                           56,399.00

B410 General Case Strategy
Erin E. Broderick                                           2.20   Hours @ 910.00        2,002.00
Nathaniel T. DeLoatch                                       2.70   Hours @ 700.00        1,890.00
                                                            4.90                                            3,892.00


                                                                              209.40                      169,261.50

DISBURSEMENTS

                  Trip #1125 NYC Travel (96490.0001) - Broderick, Erin E. –                  3,337.77
                  Local Transportation

                  5/9/23 car services New York office to 125 Broad Street, New                 56.76
                  York NY/VIP CONNECTION INC; Peter A. Ivanick – Local
                  Transportation


                                                             Total Current Disbursements                  $3,394.53

                                                        TOTAL CURRENT BILLING                           $172,656.03
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        Name                Title      Practice Group;   Hourly Rate      Hours Billed Amount Billed
                                         Date of First
                                          Admission
Ivanick, Peter A.      Partner        Insurance                $615.00           2.10       1,291.50
                                      Transactions &
                                      Products, 1983
Paul, Sarah            Partner        Litigation, 2004       $1,100.00          25.90      28,490.00
Wender, David A.       Partner        Finance, 2003            $555.00           2.30       1,276.50
                                                          Partner Total         30.30      31,058.00
Broderick, Erin E.     Senior Counsel Finance, 2008          $1,700.00           9.80      16,660.00
                                                   Senior Counsel Total          9.80      16,660.00
DeLoatch, Nathaniel T. Associate      Finance, 2019            $910.00          87.20      79,352.00
Oliveira, Amanda       Associate      Litigation, 2019         $700.00          44.80      31,360.00
Sowers, Dane N.        Associate      Litigation, 2021         $240.00          35.20       8,448.00
                                                        Associate Total        167.20     119,160.00
Hirsch, Devorah        Paralegal      Litigation             $1,135.00           2.10       2,383.50
                                                        Paralegal Total          2.10       2,383.50
Total                                                                          209.40 $   169,261.50
Blended Hourly Rate: $869.00
            Case 22-11068-JTD         Doc 4102-3      Filed 11/22/23    Page 21 of 182



                                                                             Hours        Amount
                U.S. Trustee Task Code and Project Category
                                                                             Billed        Billed
B110 Case Administration                                                        11.30       3,784.00
B112 General Creditor Inquiries                                                 16.20       6,027.50
B113 Case Analysis/Pleading Review                                              10.20       8,414.00
B140 Relief from Stay and Adequate Protection                                   12.90      11,780.00
B150 Meetings of and Communications with External Shareholders                  13.40       8,956.00
B190 Other Contested Matters (excluding assumption/rejection motions)           55.30      43,232.00
B195 Non-Working Travel                                                           4.00      3,640.00
B260 Corporate Governance and Board Matters                                       1.90      1,624.00
B270 AHC Member Communications & Meetings                                       16.90      14,870.00
B310 KYC Process and Claims Administration                                        7.30      6,643.00
B320 Plan and Disclosure Statement (including Business Plan)                    55.10      56,399.00
B410 General Case Strategy                                                        4.90      3,892.00
Total                                                                         209.40     $169,261.50
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                                                             Eversheds Sutherland (US) LLP
                                                             700 Sixth Street, NW
                                                             Suite 700
                                                             Washington, DC 20001-3980

                                                             T: +1 202 383 0100

                                                             eversheds-sutherland.com

                                                             IRS Employer ID No: XX-XXXXXXX

                                                             Electronic Remittance Instructions:
                                                             Bank Name: Wells Fargo Bank, N.A.
                                                             Acct Name: Eversheds Sutherland (US) LLP
                                                             Acct Number: 5233576718
                                                             Wire Routing/ABA: 121000248
                                                             ACH Routing: 061000227
                                                             SWIFT Code: WFBIUS6S
                                                             Check Remittance Instructions:
                                                             Eversheds Sutherland (US) LLP
                                                             PO Box 931885
                                                             Atlanta, GA 31193-1885



Ad Hoc Committee of Non-US Customers of FTX.com
C/O FTX Trading Ltd.
                                                             Bill No.      1273560
                                                             Bill Date     November 22, 2023

Matter No:      96490.0001
RE:             FTX Bankruptcy

FOR LEGAL SERVICES RENDERED From June 1, 2023 through June 30, 2023


Fees                                                                                    $182,620.50

Total Current Disbursements                                                               $2,834.53

Total Current Bill                                                                      $185,455.03
                 Case 22-11068-JTD            Doc 4102-3       Filed 11/22/23        Page 23 of 182
 Matter No. 96490-0001                         Bill No: 1273560                                               Page 2


FOR LEGAL SERVICES RENDERED From June 1, 2023 through June 30, 2023

 Date         Timekeeper          Narrative                                             Task    Hours        Amount
 B110 - Case Administration

 06/02/23     Devorah Hirsch      Update Supplemental 2019 Chart and revise             B110      0.50        120.00
                                  Supplemental Statement with new claim
                                  information from member.

 06/05/23     Nathaniel T.        Revise draft of First Supplemental 2019               B110      0.80        560.00
              DeLoatch            Statement (.7); email to D. Hirsch re same (.1).

 06/05/23     Devorah Hirsch      Review and edit Exhibit to Supplemental 2019          B110      2.00        480.00
                                  Statement.

 06/06/23     Nathaniel T.        Correspond with D. Hirsch re updating draft 2019      B110      0.10         70.00
              DeLoatch            statement.

 06/14/23     Devorah Hirsch      Receive and review numerous emails regarding          B110      4.00        960.00
                                  Non Disclosure Agreement and other member
                                  business (1.2); organize and track certain
                                  information regarding the NDA and other
                                  member information and inquiries (2.8).

                                  Total for B110 - Case Administration                                7.40   2,190.00
 B112 - General Creditor Inquiries
 06/06/23     Devorah Hirsch      Respond to inbound FTX.com customer inquiries         B112      1.00        240.00
                                  to provide information on FTX cases and Ad Hoc
                                  Committee.

 06/08/23     Devorah Hirsch      Respond to inbound FTX.com customer inquiry           B112      1.00        240.00
                                  to provide information on FTX cases and Ad Hoc
                                  Committee.

 06/13/23     Nathaniel T.        Call with J. Watkins re member communications.        B112      0.20        140.00
              DeLoatch

 06/20/23     Erin E. Broderick   Call with potential member re joining the Ad Hoc      B112      1.00        910.00
                                  Committee.

 06/21/23     Devorah Hirsch      Respond to inbound FTX.com customer inquiries         B112      0.50        120.00
                                  to provide information on FTX cases and Ad Hoc
                                  Committee.

 06/23/23     Devorah Hirsch      Respond to inbound FTX.com customer inquiry           B112      0.40         96.00
                                  to provide information on FTX cases and Ad Hoc
                                  Committee.

 06/27/23     Erin E. Broderick   E-mails/scheduling calls with parties interested in   B112      0.20        182.00
                                  ad hoc group.

 06/29/23     Erin E. Broderick   Call with counsel for potential member re ad hoc      B112      0.50        455.00
                                  objectives.

 06/30/23     Devorah Hirsch      Incorporate edit and comments by potential            B112      1.50        360.00
                                  member into Engagement Letter and Bylaws and
                                  send to same.

                                  Total for B112 - General Creditor Inquiries                         6.30   2,743.00
               Case 22-11068-JTD            Doc 4102-3      Filed 11/22/23        Page 24 of 182
Matter No. 96490-0001                        Bill No: 1273560                                              Page 3

Date        Timekeeper          Narrative                                           Task     Hours        Amount
B113 - Case Analysis/Pleading Review

06/01/23    Nathaniel T.        Review and respond to email inquiries from          B113       0.40        280.00
            DeLoatch            FTX.com customers re: FTX case development.

06/01/23    David A. Wender     Analyze issues related to claims bar date.          B113       0.30        330.00

06/01/23    Devorah Hirsch      Review and respond to email from FTX Claims         B113       0.50        120.00
                                Customers relative to AHC and FTX case
                                develpments.

06/05/23    David A. Wender     Analyze case developments.                          B113       0.10        110.00

06/08/23    Devorah Hirsch      Review and respond to inbound FTX.com               B113       0.50        120.00
                                customer email inquiries on FTX case
                                developments.

06/08/23    Peter A. Ivanick    Review and consider D1 Ventures motion.             B113       0.20        340.00

06/09/23    Erin E. Broderick   Brief review of docket and Genesis filings and      B113       0.60        546.00
                                instructions to M. Ingrassia and N. DeLoatch to
                                incorporate into member update.

06/12/23    Devorah Hirsch      Review and respond to inbound FTX.com               B113       0.50        120.00
                                customer email inquiries on FTX case
                                developments and claims process.

06/15/23    David A. Wender     Analyze Debtors' Motion to Establish Customer       B113       0.30        330.00
                                Bar Date.

06/16/23    Erin E. Broderick   Quick review and comment on claims motion           B113       0.40        364.00
                                summary and related e-mails.

06/18/23    Nathaniel T.        Revise draft of claims motion summary and           B113       2.40       1,680.00
            DeLoatch            update.

06/18/23    Nathaniel T.        Call with E. Broderick re customer's claims and     B113       0.60        420.00
            DeLoatch            procedures motion summary (.5); follow up email
                                to E. Broderick re same (.1).

06/19/23    David A. Wender     Analyze Debtors' Motion to Establish Customer       B113       0.60        660.00
                                Bar Date and related client update.

06/20/23    Devorah Hirsch      Respond to inbound FTX.com customer email           B113       0.50        120.00
                                inquiries to provide information on FTX cases
                                and claims issues.

06/29/23    Erin E. Broderick   Review entered orders, amended schedules and        B113       1.70       1,547.00
                                docket generally for member update (1.3); e-
                                mails with members are contingent designations
                                and other items in amended schedules (.4).

                                Total for B113 - Case Analysis/Pleading
                                Review                                                             9.60   7,087.00
Relief from Stay/Adequate Protection Proceedings

06/01/23    Erin E. Broderick   Call with B. Pfeiffer (White & Case) re JPL         B140       0.70        637.00
                                dispute resolution (.5); follow-up with S&C and
                                internal team re same (.1); e-mails re hearing
                                scheduling (.1).
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Matter No. 96490-0001                        Bill No: 1273560                                                 Page 4

Date        Timekeeper          Narrative                                              Task     Hours        Amount

06/02/23    Erin E. Broderick   Call with A. Dietderich re JPL dispute and             B140       0.30        273.00
                                settlement terms.

06/07/23    Erin E. Broderick   Work on joinder/hearing statement on objections        B140       1.50       1,365.00
                                to JPL lift stay motion (1.0); e-mails to internal
                                team, A. Dietderich and B. Pfeiffer re same (.2);
                                revise hearing statement to reflect only support
                                for objection denial of motion without discussion
                                on settlement terms and customer property
                                issues (.3).

06/08/23    Erin E. Broderick   E-mails with A. Dietderich on JPL statement (.1);      B140       4.60       4,186.00
                                prepare for hearing with D. Wender and M.
                                Harvey and discuss statement on JPL motion
                                (.5); attend June 8 hearing (4.0).

                                Total for B140 - Relief from Stay/Adequate
                                Protection Proceedings                                                7.10   6,461.00
Relief from Stay/Adequate Protection Proceedings

06/04/23    Erin E. Broderick   Review professional NDA form of member (.3);           B150       1.00        910.00
                                follow-up with member, Debtors and UCC
                                professionals re access to information and
                                member access (.2); compile list of member
                                responses re trading activities and non-public
                                information (.5).

06/05/23    Erin E. Broderick   E-mails with K. Hansen re UCC and Ad Hoc               B150       0.30        273.00
                                Committee introduction (.1); follow-up with
                                internal team and Executive Committee re same
                                (.2).

06/18/23    Erin E. Broderick   Follow-up with Debtors' team re clarifications         B150       0.40        364.00
                                with respect to customer bar date motion and
                                follow-up re analysis of D-1 Ventures motion on
                                customer property ownership and impact on
                                customer claims.

                                Total for B150 - Meetings of and
                                Communications with External Stakeholders                             1.70   1,547.00
B190 - Other Contested Matters (excluding assumption/rejection motions)

06/01/23    David A. Wender     Analyze correspondence relative to sealing and         B190       0.10        110.00
                                matters related thereto.

06/02/23    David A. Wender     Prepare for sealing/redaction hearing.                 B190       1.40       1,540.00

06/05/23    David A. Wender     Prepare for sealing/redaction hearing.                 B190       0.50        550.00

06/05/23    Erin E. Broderick   Review and analyze JPL plan support agreement          B190       2.10       1,911.00
                                from S&C and follow-up discussions re potential
                                settlements consistent with consensual plan
                                goals (1.2); review and analyze reply to redaction
                                motion objection and Ad Hoc overlap for hearing
                                arguments (.5); follow-up with internal team re
                                same, joinder to JPL objection and general
                                hearing preparation (.4).
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Matter No. 96490-0001                        Bill No: 1273560                                             Page 5

Date        Timekeeper          Narrative                                             Task     Hours     Amount

06/06/23    Erin E. Broderick   E-mails and call with N. DeLoatch re final 2019       B190       2.20    2,002.00
                                Statement and revisions thereto (.4); follow-up
                                with MNAT re filing (.1); e-mails with M. Harvey
                                and D. Wender re hearing preparation and
                                arguments (.3); call with B. Pfeiffer re JPL plan
                                support term sheet and settlement (.5); draft e-
                                mail to M. Harvey, D. Wender, and P. Ivanick re
                                JPL joinder or statement at hearing (.4); draft
                                statement in support of Debtors' position (.5).

06/06/23    David A. Wender     Prepare for sealing/redaction hearing.                B190       0.30     330.00

06/07/23    David A. Wender     Prepare for sealing/redaction hearing.                B190       7.80    8,580.00

06/07/23    Nathaniel T.        Correspond with D. Wender and M. Harvey               B190       1.40     980.00
            DeLoatch            MNAT re draft 2019 Statement (.1); call with M.
                                Ingrassia MNAT re draft of 2019 statement (.2);
                                review and revise draft of same (1.1).

06/07/23    Devorah Hirsch      Review, revise and add redactions and finalize        B190       2.50     600.00
                                FTX Supplemental Rule 2019 Statement for filing
                                with the court.

06/07/23    Erin E. Broderick   Follow-up with M. Harvey, D. Wender, and N.           B190       0.50     455.00
                                DeLoatch on hearing preparation on redaction
                                motion and review and filing of 2019 Statement.

06/08/23    David A. Wender     Prepare for and participate in sealing/redaction      B190       8.00    8,800.00
                                hearing.

06/09/23    David A. Wender     Prepare for and participate in redaction hearing      B190      11.40   12,540.00
                                (11.0); follow-up conference with E. Broderick
                                and M. Harvey regarding same (0.4).

06/09/23    Erin E. Broderick   Attend June 9 hearing on redaction motion and         B190       4.40    4,004.00
                                JPL ruling (4.0); follow-up conference with D.
                                Wender and M. Harvey re same (.4).

06/10/23    Erin E. Broderick   E-mail responses to five members with respect         B190       0.50     455.00
                                to claim transfers and impact of ruling on Ad Hoc
                                Committee member disclosures.

06/11/23    Erin E. Broderick   Follow-up with M. Harvey re redaction order (.2);     B190       0.40     364.00
                                follow-up re JPL mediation order (.2).

06/11/23    Peter A. Ivanick    Consider remedies regarding redaction order           B190       0.70    1,190.00
                                (.4); telephone call M. Harvey re: same (.3).

06/12/23    Peter A. Ivanick    Review transcripts of last week's hearings (.9)       B190       1.20    2,040.00
                                emails re: in pari delicto and 2019 issues and
                                brief telephone call M. Harvey re: same (.3).
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Matter No. 96490-0001                         Bill No: 1273560                                             Page 6

Date        Timekeeper          Narrative                                               Task     Hours    Amount

06/14/23    Erin E. Broderick   Review transcript briefly on redaction ruling (.3);     B190       1.00    910.00
                                review and comment on proposed redaction
                                order and follow-up with M. Ingrassia and M.
                                Harvey on follow-up with debtors needed (.3);
                                respond to three members re clarifications on
                                ruling (.4).

06/14/23    David A. Wender     Review proposed redaction order.                        B190       0.10    110.00

06/17/23    Erin E. Broderick   Follow-up with internal and Debtors' team re            B190       0.30    273.00
                                clarifications with respect to redaction motion
                                ruling and revise order in connection with same.

06/19/23    Nathaniel T.        Correspondence with working group re member             B190       0.50    350.00
            DeLoatch            claimant information re 2019 statement.

06/19/23    Erin E. Broderick   Follow-up with members re terms of redaction            B190       0.50    455.00
                                rulings and impact on claim submissions.

06/20/23    Devorah Hirsch      Receive and review members emails regarding             B190       1.00    240.00
                                the NDA and transferring of claims and update
                                tracker list of those members that want to sign
                                NDA and those that want to transfer claims.

06/20/23    Nathaniel T.        Correspond with member re implications of               B190       0.10     70.00
            DeLoatch            Court's order re 2019 statement.

06/24/23    Erin E. Broderick   Quick review of proposed redaction order and            B190       0.20    182.00
                                sign off to send to objecting parties (.1); e-mail to
                                summarize debtors' clarifications on redaction
                                issues as relevant to same (.1).

06/26/23    Erin E. Broderick   Review comments/e-mails from UST and media              B190       0.20    182.00
                                objectors to redaction order and emails to team
                                re same.

06/27/23    Erin E. Broderick   Review changes to redaction order from                  B190       0.30    273.00
                                objecting parties and e-mails re same (.2);
                                review docket for status of JPL mediation (.1).

06/28/23    Erin E. Broderick   E-mails with member re various inquiries about          B190       1.20   1,092.00
                                claims process and confidentiality (.2); e-mails
                                with two members re claim transfers and impact
                                on claim submission (.4); call with members re
                                redaction ruling concerns (.6).

06/28/23    Peter A. Ivanick    Emails from/to M. Harvey and telephone calls J.         B190       0.30    510.00
                                Sabin re: status of mediation and emails to/from
                                Team re: same.

06/30/23    Nathaniel T.        Correspond with members re member                       B190       0.30    210.00
            DeLoatch            confidentiality and supplemental 2019 statement.
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Matter No. 96490-0001                        Bill No: 1273560                                                Page 7

Date        Timekeeper          Narrative                                             Task    Hours         Amount

06/30/23    Erin E. Broderick   Review UST comments to redaction order and            B190      1.30        1,183.00
                                follow-up e-mails with M. Harvey and D. Wender
                                (.3); follow-up with members re same and effects
                                of claim transfer; redaction ruling impact on claim
                                process (1.0).

                                Total for B190 - Other Contested Matters
                                (excluding assumption/rejection motions)                        52.70      52,491.00
B195 - Non-Working Travel

06/07/23    Erin E. Broderick   Travel to Wilmington Delaware after June 8 and        B195      2.50        2,275.00
                                9 court hearings (1/2 time).

06/09/23    Erin E. Broderick   Return travel from Wilmington Delaware after          B195      2.50        2,275.00
                                June 8 and 9 court hearings (1/2 time).

                                Total for B195 - Non-Working Travel                                 5.00    4,550.00
B260 - Board of Directors Matters
06/16/23    Devorah Hirsch      Review and search member and internal emails          B260      3.00         720.00
                                and keep track of those members who want to
                                proceed under NDA and those that want to
                                transfer their claim.

06/23/23    Erin E. Broderick   Follow-up call with member's counsel and S.           B260      1.10        1,001.00
                                Paul re Ad Hoc Committee bylaws (.5); e-mails
                                with Executive Committee re same and group
                                composition generally and follow-up on changes
                                to bylaws (.6).

06/24/23    Erin E. Broderick   Follow-up with members on Executive                   B260      0.50         455.00
                                Committee composition, revisions to bylaws,
                                retention of financial advisor and plan negotiation
                                timing.

06/26/23    Erin E. Broderick   Review and analyze bylaw revisions and process        B260      1.00         910.00
                                and information sharing protocol in negotiations
                                with Debtors and e-mails with Executive
                                Committee and S. Paul re same.

06/26/23    Devorah Hirsch      Review member communications and draft chart          B260      4.00         960.00
                                of members who want to sign NDA and members
                                that want to transfer their claims.

06/27/23    Devorah Hirsch      Review member emails and update claim                 B260      0.50         120.00
                                transfer tracker.

06/29/23    Erin E. Broderick   Attend call with Rothschild & Co. for FA retention    B260      2.00        1,820.00
                                (1.0); follow-up with internal ES team, Executive
                                Committee re terms thereof and budget (.5); e-
                                mails with incoming members on onboarding
                                requirements and bylaw revisions (.5).

06/30/23    Erin E. Broderick   Follow-up re financial advisor retention and          B260      1.40        1,274.00
                                review of Rothschild proposal (.5); e-mails with
                                Executive Committee and A. Dietderich re same
                                (.4); update internal member tracker (.5).
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Matter No. 96490-0001                        Bill No: 1273560                                                  Page 8

Date        Timekeeper          Narrative                                              Task     Hours         Amount

06/30/23    Erin E. Broderick   Revise bylaws and coordinate comments thereto          B260       0.50         455.00
                                from Executive Committee.

                                Total for B260 - Board of Directors Matters                           14.00   7,715.00
B270 - AHC Member Communications & Meetings
06/01/23    Erin E. Broderick   Respond to member inquiry re FTX cash                  B270       0.50         455.00
                                management, allocations and professional fees
                                and review docket in connection with same.

06/01/23    Sarah E. Paul       Emails with member re SDNY investigation and           B270       0.20         227.00
                                impact on asset recovery.

06/02/23    Sarah E. Paul       Call with member to discuss SDNY investigation         B270       0.20         227.00
                                and impact on asset recovery.

06/02/23    Erin E. Broderick   Respond to several e-mails from members re             B270       0.40         364.00
                                customer schedules and claims submission
                                process.

06/04/23    Sarah E. Paul       Emails with member re SDNY investigation and           B270       0.20         227.00
                                impact on customer recoveries.

06/05/23    Sarah E. Paul       Email to member re SDNY case status and                B270       0.20         227.00
                                impact on recoveries.

06/06/23    Devorah Hirsch      Organize member communications and                     B270       1.00         240.00
                                information relevant to the Ad Hoc Committee.

06/06/23    Erin E. Broderick   Draft e-mail to all members re plan update and         B270       1.10        1,001.00
                                trading restrictions under NDAs (.3); respond to
                                numerous members' inquiries re same and two
                                short calls with members re same (.8).

06/07/23    Sarah E. Paul       Call with member to discuss SDNY investigation         B270       0.40         454.00
                                and impact on recoveries (0.2); emails with
                                member re same (0.2).

06/07/23    Devorah Hirsch      Review member emails (0.6); draft list of              B270       1.00         240.00
                                members who want to be under an NDA (0.4).

06/08/23    Erin E. Broderick   Follow-up with members on NDAs for non-public          B270       0.40         364.00
                                plan information and questions re trading
                                restrictions/screening.

06/09/23    Erin E. Broderick   E-mail members re June 8th hearing discussion          B270       1.30        1,183.00
                                and June 9th continuance (.2); e-mails with
                                members re NDAs with Debtors and UCC and
                                trading restrictions (.4); review and revise draft
                                member update on redaction motion and JPL lift
                                stay motion rulings (.5); correspondence with
                                internal team re same and updates for weekly
                                member update (.2).

06/09/23    Sarah E. Paul       Call with member re SDNY investigation and             B270       0.20         227.00
                                impact on recoveries.
               Case 22-11068-JTD            Doc 4102-3      Filed 11/22/23          Page 30 of 182
Matter No. 96490-0001                        Bill No: 1273560                                              Page 9

Date        Timekeeper          Narrative                                             Task     Hours      Amount

06/13/23    Sarah E. Paul       Emails with member re SDNY investigation and          B270       0.20      227.00
                                impact on recoveries.

06/13/23    Erin E. Broderick   Draft member update on case developments and          B270       1.00      910.00
                                status of plan discussions.

06/14/23    Sarah E. Paul       Emails with member re SDNY investigation and          B270       0.20      227.00
                                impact on recoveries.

06/15/23    Nathaniel T.        Correspond with D. Wender and E. Broderick re         B270       0.20      140.00
            DeLoatch            draft of AHC update.

06/15/23    Sarah E. Paul       Emails with member re DOJ victim fund and             B270       0.20      227.00
                                interaction with estate.

06/16/23    Nathaniel T.        Correspond with E. Broderick re draft of              B270       0.20      140.00
            DeLoatch            committee update.

06/16/23    Nathaniel T.        Analyze communications from members re claim          B270       0.30      210.00
            DeLoatch            holder information (.1); correspond with D.
                                Hirsch re same (.1); communicate with E.
                                Broderick re same (.1).

06/16/23    Nathaniel T.        Revise draft of AHC member update.                    B270       1.00      700.00
            DeLoatch

06/20/23    Sarah E. Paul       Email to member re SDNY investigation and             B270       0.20      227.00
                                impact on recoveries.

06/21/23    Nathaniel T.        Prepare for and attend call with members re           B270       0.60      420.00
            DeLoatch            claimant information.

06/21/23    Sarah E. Paul       Review Madoff victim fund information in              B270       1.50     1,702.50
                                response to inquiry from member (0.7); call with
                                member to discuss DOJ victim fund and interplay
                                with bankruptcy process (0.6); emails with
                                member re status of SDNY investigation and
                                impact on recoveries (0.2).

06/27/23    Nathaniel T.        Review Second Interim Report for committee            B270       3.20     2,240.00
            DeLoatch            members (.5); draft member update re same
                                (1.5); correspond with E. Broderick re same (.1);
                                correspond with committee members re same
                                (.2); revise draft of update re same (.9).

06/27/23    Erin E. Broderick   Review and comment on member update re                B270       0.30      273.00
                                debtors' interim report and case status.

                                Total for B270 - AHC Member
                                Communications & Meetings                                        16.20   13,079.50
B310 – KYC Process and Claims Administration

06/15/23    Nathaniel T.        Conference re Debtors' customers claims motion        B310       4.60     3,220.00
            DeLoatch            (.1); review and simultaneously summarize the
                                debtor's customers claim procedures motion
                                (2.5); draft update for AHC (2.0).
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Matter No. 96490-0001                         Bill No: 1273560                                                Page 10

Date        Timekeeper          Narrative                                              Task     Hours        Amount

06/19/23    Nathaniel T.        Revise draft of committee update re debtor's           B310       2.20       1,540.00
            DeLoatch            claims procedures motion.

06/19/23    Erin E. Broderick   Review and revision of customer claim process          B310       1.20       1,092.00
                                summary for members and follow-up review of
                                pleadings and emails with N. DeLoatch and S&C
                                in connection with same.

06/20/23    Erin E. Broderick   Follow-up with N. DeLoatch re mechanics of             B310       0.20        182.00
                                claim submissions and impact on transfers.

06/23/23    Nathaniel T.        Analyze debtors' various claim motions and             B310       0.50        350.00
            DeLoatch            orders re KYC information.

06/27/23    Erin E. Broderick   E-mails re retention of financial advisor (.3); e-     B310       0.50        455.00
                                mails re onboarding of new members and
                                resigning members after redaction ruling (.2).

06/27/23    Erin E. Broderick   Review docket for status of June 28 motions            B310       0.40        364.00
                                (customer bar date) and open issues.

06/29/23    Erin E. Broderick   Emails with multiple members and FTX                   B310       0.30        273.00
                                customers re June 30 bar date and need to file
                                claims.

                                Total for B310 – KYC Process and Claims
                                Administration                                                        9.90   7,476.00
B320 - Plan and Disclosure Statement (including Business Plan)

06/01/23    Erin E. Broderick   E-mails with UCC, Debtors, and member re               B320       0.50        455.00
                                professionals-only designation and inclusion of
                                member in discussions.

06/02/23    Erin E. Broderick   Call with A. Dietderich re plan negotiations and       B320       1.80       1,638.00
                                information sharing protocol (.2); e-mails with K.
                                Hansen, A. Dietderich and member re same (.5);
                                follow-up re financial analysis and inputs in plan
                                scenario presented by May 31 discussion note
                                (.8); respond to two member inquiries re
                                treatment of derivative trades under plan (.3).

06/04/23    Peter A. Ivanick    Review S&C plan note and review E. Broderick's         B320       1.60       2,720.00
                                notes re same (.4); attend Zoom meeting with E.
                                Broderick, M. Harvey and N. DeLoatch re: same
                                and re: next steps (1.2).

06/04/23    Nathaniel T.        Prepare for and attend call with P. Ivanick and M.     B320       1.20        840.00
            DeLoatch            Harvey re plan discussions, issues and related
                                strategy.

06/05/23    Nathaniel T.        Research issues re plan negotiations and               B320       3.20       2,240.00
            DeLoatch            customer treatment (2.5); update attorney
                                working group re same (.7).

06/05/23    Nathaniel T.        Call with E. Broderick re plan negotiations with       B320       0.10         70.00
            DeLoatch            debtors and UCC.
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Date        Timekeeper          Narrative                                               Task     Hours    Amount

06/05/23    Erin E. Broderick   E-mails and call with N. DeLoatch re customer           B320       3.00   2,730.00
                                claim treatment and classification in other crypto
                                cases (.4); review research results (.4); conduct
                                additional research in connection with same for
                                purposes of advising members and plan theories
                                (2.2).

06/05/23    Erin E. Broderick   Telephone call with member to discuss open              B320       1.00    910.00
                                items and plan theories.

06/06/23    Erin E. Broderick   Call with A. Dietderich in advance of group plan        B320       2.10   1,911.00
                                call (.4); prepare for and attend plan discussion
                                call with UCC, Debtor and Ad Hoc Committee
                                professionals (1.5); follow-up e-mails with
                                member and internal team re next steps (.3).

06/06/23    Peter A. Ivanick    Review report to Committee and responses (.2);          B320       2.00   3,400.00
                                attend plan call (1.5); follow- up call with E.
                                Broderick and member (.3).

06/08/23    Peter A. Ivanick    Review and consider E. Broderick email re: plan         B320       0.90   1,530.00
                                issues FA, etc. (.3); telephone call with M.
                                Harvey re: plan issues (.6).

06/09/23    Peter A. Ivanick    Emails from/to E. Broderick re: research issues         B320       1.10   1,870.00
                                and consider same (.4); emails from/to E.
                                Broderick re: results in court and next steps (.2);
                                review and consider report to Committee re
                                same (.2); further emails from/to team re:
                                research issues and 6/11 call re same (.3).

06/09/23    Erin E. Broderick   Follow-up with internal team re prior research          B320       0.40    364.00
                                summaries for plan construct discussion note
                                and review same (.3); follow-up with UCC
                                professionals re information sharing protocol (.1).

06/09/23    Nathaniel T.        Review research related to plan issues and              B320       0.60    420.00
            DeLoatch            customer entitlements.

06/10/23    Erin E. Broderick   E-mails with M. Harvey, D. Wender and P.                B320       0.30    273.00
                                Ivanick to coordinate on plan issues and next
                                steps (.1); e-mails with members re JPLs and
                                IRS claim impact on plan (.2).

06/11/23    Erin E. Broderick   Telephone call with D. Wender, P. Ivanick, and          B320       2.50   2,275.00
                                M. Harvey re plan construct proposal and next
                                steps (1.0); telephone call with member re status
                                of plan discussions, hearing outcome and IRS
                                claim analysis (1.0); begin draft proposal on plan
                                construct and implementation steps (.5).

06/11/23    Peter A. Ivanick    Attend conference call E. Broderick, D. Wender          B320       1.00   1,700.00
                                and M. Harvey re: same and re: plan issues.

06/11/23    David A. Wender     Prepare for and participate in call related to          B320       1.50   1,650.00
                                strategy and next steps.
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Date        Timekeeper          Narrative                                               Task     Hours    Amount

06/12/23    David A. Wender     Analyze issues related to strategy and next steps       B320       0.10    110.00
                                regarding plan.

06/12/23    Erin E. Broderick   Telephone call and e-mails with member re IRS           B320       2.70   2,457.00
                                claim treatment and coordination with UCC (.6);
                                call with K. Hansen, others at Paul Hasting and
                                member re IRS claim analysis (.6); conduct
                                research in connection with S&C discussion note
                                on basis for customer prioritization on
                                constructive trust theories without a 541 property
                                ruling (1.5).

06/13/23    Erin E. Broderick   E-mails with member re next steps in plan               B320       0.30    273.00
                                discussions and open items (.2); follow-up with
                                member on recovery scenario models (.1).

06/13/23    Peter A. Ivanick    Emails with E. Broderick and M. Harvey re:              B320       0.80   1,360.00
                                summary of in pari delicto issue and review
                                summary and consider innocent successor and
                                insider exception cases.

06/13/23    David A. Wender     Analyze issues related to strategy and next steps       B320       0.20    220.00
                                regarding plan.

06/14/23    Erin E. Broderick   E-mails with member and follow-up re recovery           B320       2.50   2,275.00
                                scenarios/variations of plan constructs and DOJ
                                recoveries (.3); further analyze IRS claims after
                                discussion with UCC professionals/treatment in
                                other cases (.7); e-mails with member re trading
                                restrictions/NDAs to receive information (.2);
                                review and conduct research on classification
                                issues for plan construct white paper (1.2); e-
                                mails with member re coordination with UCC/FTI
                                (.1).

06/15/23    Erin E. Broderick   E-mails with numerous members and internal              B320       1.10   1,001.00
                                team re next steps with Debtors, UCC and
                                information sharing protocol (.5); follow-up with
                                S. Paul re DOJ distributions and chapter 11
                                overlap (.2); follow-up re recovery scenarios and
                                plan construct white paper and related research
                                (.4).

06/16/23    David A. Wender     Review proposed redaction order.                        B320       0.10    110.00

06/19/23    David A. Wender     Review and analyze documentation in                     B320       0.60    660.00
                                connection with Plan discussions.

06/19/23    Erin E. Broderick   E-mails with M. Harvey re mediation approach in         B320       1.40   1,274.00
                                prior case (.2); follow-up analysis re alternatives
                                for Ad Hoc Committee if consensual plan
                                negotiations cease and draft summary of same
                                for internal group (1.2).

06/20/23    Erin E. Broderick   Call with member re status of plan discussions          B320       0.60    546.00
                                with S&C and Paul Hastings and open issues for
                                member to consider in recovery analysis.
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Date        Timekeeper          Narrative                                              Task     Hours    Amount

06/20/23    David A. Wender     Review and analyze documentation in                    B320       0.10    110.00
                                connection with Plan discussions.

06/21/23    David A. Wender     Review and analyze documentation in                    B320       1.20   1,320.00
                                connection with Plan discussions.

06/21/23    Peter A. Ivanick    Telephone call re: plan issues (.7); consider          B320       2.40   4,080.00
                                same and next steps (.4); attend call with E.
                                Broderick, M. Harvey and D. Wender re: same
                                (.5); emails from/to E. Broderick and MNAT re:
                                strategic positioning issues and consider same
                                (.4); emails from/to R. Lieff re: 6/22 call and
                                to/from E. Broderick re: same and re MDL
                                steering committee (.4).

06/21/23    Erin E. Broderick   Review and analyze waterfall analyses prepared         B320       2.30   2,093.00
                                by member (.5); call with D. Wender (in part), P.
                                Ivanick (in part), and M. Harvey re plan analyses
                                and next steps (.8); call with member re same
                                (1.0).

06/22/23    Peter A. Ivanick    Telephone call with M. Harvey re: plan issues          B320       2.70   4,590.00
                                (.3); further telephone call with M. Harvey re:
                                research issues re: customer priority (.5); review
                                E. Broderick email re: results of 6/21 call and
                                further emails to/from E. Broderick re: same and
                                consider next steps (.3); telephone call with R.
                                Lieff re: MDL Steering Committee liaison with
                                chapter 11 case and re: outreach to E. Lehman
                                (.9); further consider S&C plan memo and emails
                                from and to M. Harvey re: same (.7).

06/22/23    Erin E. Broderick   Draft short summary of internal call to confirm        B320       0.80    728.00
                                next steps with team and review and respond to
                                D. Wender's comments to same (.5); e-mail to A.
                                Dietderich re status of plan discussions (.1);
                                follow-up with P. Ivanick re same (.1); follow-up
                                with A. Kranzley re inquiries on claims process
                                (.1).

06/23/23    Peter A. Ivanick    Consider priority issues (.3); telephone call E.       B320       1.90   3,230.00
                                Broderick re: same (.5); telephone call M. Harvey
                                re: further research re: same (.2); review and edit
                                research outline re: same and emails and
                                telephone call M. Harvey re: edits (.4); review E.
                                Broderick comments to research outline (.2);
                                further emails from/to E. Broderick and M.
                                Harvey re plan issues (.3).

06/23/23    Erin E. Broderick   Call with P. Ivanick re plan research issues (.5);     B320       1.70   1,547.00
                                follow-up review and comment on outline
                                prepared by M. Harvey (.7); retrieve and review
                                research relevant to open issues (.5).

06/24/23    Sarah E. Paul       Call to discuss plan status and strategy.              B320       1.00   1,135.00
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Date        Timekeeper          Narrative                                              Task     Hours    Amount

06/25/23    Erin E. Broderick   E-mails with D. Wender re plan research issues         B320       0.20    182.00
                                and construct theories.

06/26/23    Peter A. Ivanick    Telephone call with M. Harvey re: plan research        B320       1.30   2,210.00
                                and remedies (.3); review and consider debtor’s
                                report on looting of customer property (.8);
                                emails from/to team re: same and re: remedy
                                issues (.2).

06/26/23    Erin E. Broderick   Call with member re plan issues and next steps         B320       0.80    728.00
                                with Debtors (.6); follow-up with internal team re
                                same (.2).

06/27/23    Erin E. Broderick   Review and analyze interim report as it relates to     B320       3.90   3,549.00
                                plan construct/constructive trust arguments and
                                fiat vs. digital assets treatment under plan (1.5);
                                follow-up with member re same (.4); brief
                                research into intercompany claim issues in
                                confirmation (.8); e-mails with M. Harvey re
                                status of pending additional research (.2); start
                                working on revised plan discussion paper (1.0).

06/28/23    David A. Wender     Review and analyze documentation in                    B320       0.40    440.00
                                connection with Plan discussions.

06/28/23    Jennifer B.         Review plan research issue emails from E.              B320       0.50    475.00
            Kimble              Broderick and M. Harvey.

06/28/23    Erin E. Broderick   Prepare plan materials binder and review same          B320       2.80   2,548.00
                                and recovery analysis in advance of plan
                                discussion meeting (1.0); attend call with
                                member re plan discussion (1.2); follow-up with
                                M. Harvey and revision to plan research outline
                                (.5); update team on open items (.1).

06/29/23    David A. Wender     Review and analyze documentation in                    B320       0.20    220.00
                                connection with Plan discussions.

06/29/23    Erin E. Broderick   Follow-up with internal team re plan research          B320       0.20    182.00
                                issues.

06/29/23    Peter A. Ivanick    Emails from/to E. Broderick and M. Harvey re:          B320       0.50    850.00
                                research and preparation of a customer
                                treatment proposal (.2); further emails re 6/30
                                call re: same and consider next steps (.3).

06/30/23    Jennifer B.         Emails with E. Broderick re: plan structure and        B320       0.30    285.00
            Kimble              discussion.

06/30/23    Peter A. Ivanick    Attend conference call E. Broderick and M.             B320       1.30   2,210.00
                                Harvey re: plan issues (.8); review case law and
                                consider issues and next steps (.5).

06/30/23    David A. Wender     Review and analyze documentation in                    B320       0.20    220.00
                                connection with Plan discussions.
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Date          Timekeeper          Narrative                                              Task        Hours         Amount

06/30/23      Erin E. Broderick   Call with member and A&M re schedules (.6);            B320          2.70        2,457.00
                                  follow-up re calculation of perpetual futures
                                  contracts on schedules (.3); call with P. Ivanick
                                  and M. Harvey re plan research issues (.8);
                                  review same (1.0).

                                  Total for B320 - Plan and Disclosure
                                  Statement (including Business Plan)                                  64.60      72,671.00
B330 - Fee Reimbursement Motion
06/20/23      Erin E. Broderick   Review analysis prepared by MNAT re standards          B330          0.50         455.00
                                  for substantial contribution claims/fee
                                  reimbursements in mediation or plan support
                                  agreement contexts.

                                  Total for B330 - Fee Reimbursement Motion                                0.50     455.00
B410 - General Bankruptcy Advice/Opinions
06/01/23      Erin E. Broderick   Call with N. DeLoatch re ongoing tasks for Ad          B410          0.50         455.00
                                  Hoc Committee (.3); follow-up with internal team
                                  re same (.2).

06/02/23      Nathaniel T.        Call with E. Broderick re Ad Hoc Committee             B410          0.30         210.00
              DeLoatch            action items.

06/03/23      Erin E. Broderick   Draft internal issues and task list for team           B410          2.00        1,820.00
                                  discussion (1.0); attend internal call with M.
                                  Harvey, N. DeLoatch, P. Ivanick re same (1.0).

06/09/23      Nathaniel T.        Communications with attorney working group re          B410          0.20         140.00
              DeLoatch            case developments and updates to members re
                                  same.

06/16/23      Peter A. Ivanick    Telephone call re: budgeting and division of           B410          0.90        1,530.00
                                  tasks (.5); follow up call with M. Harvey re: same
                                  and re: remedies issues (.4).

                                  Total for B410 - General Bankruptcy
                                  Advice/Opinions                                                          3.90    4,155.00


                                                                                            Fees              $182,620.50

B110 Case Administration
Nathaniel T. DeLoatch                                        0.90    Hours @ 700.00               630.00
Devorah Hirsch                                               6.50    Hours @ 240.00             1,560.00
                                                             7.40                                                  2,190.00

B112 General Creditor Inquiries
Erin E. Broderick                                            1.70    Hours @ 910.00             1,547.00
Nathaniel T. DeLoatch                                        0.20    Hours @ 700.00               140.00
Devorah Hirsch                                               4.40    Hours @ 240.00             1,056.00
                                                             6.30                                                  2,743.00

B113 Case Analysis/Pleading Review
Peter A. Ivanick                                             0.20          Hours @               340.00
                                                                           1,700.00
David A. Wender                                              1.30          Hours @              1,430.00
                                                                           1,100.00
Erin E. Broderick                                            2.70    Hours @ 910.00             2,457.00
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Nathaniel T. DeLoatch                                    3.40   Hours @ 700.00     2,380.00
Devorah Hirsch                                           2.00   Hours @ 240.00       480.00
                                                         9.60                                  7,087.00

B140 Relief from Stay and Adequate Protection
Erin E. Broderick                                        7.10   Hours @ 910.00     6,461.00
                                                         7.10                                  6,461.00

B150 Meetings of and Communications with Creditors
Erin E. Broderick                                        1.70   Hours @ 910.00     1,547.00
                                                         1.70                                  1,547.00

B190 Other Contested Matters (excluding assumption/rejection motions)
Peter A. Ivanick                                         2.20         Hours @      3,740.00
                                                                      1,700.00
David A. Wender                                         29.60         Hours @     32,560.00
                                                                      1,100.00
Erin E. Broderick                                       15.10   Hours @ 910.00    13,741.00
Nathaniel T. DeLoatch                                    2.30   Hours @ 700.00     1,610.00
Devorah Hirsch                                           3.50   Hours @ 240.00       840.00
                                                        52.70                                 52,491.00

B195 Non-Working Travel
Erin E. Broderick                                        5.00   Hours @ 910.00     4,550.00
                                                         5.00                                  4,550.00

B260 Corporate Governance and Board Matters
Erin E. Broderick                                        6.50   Hours @ 910.00     5,915.00
Devorah Hirsch                                           7.50   Hours @ 240.00     1,800.00
                                                        14.00                                  7,715.00

B270 AHC Member Communications & Meetings
Sarah E. Paul                                            3.70         Hours @      4,199.50
                                                                      1,135.00
Erin E. Broderick                                        5.00   Hours @ 910.00     4,550.00
Nathaniel T. DeLoatch                                    5.50   Hours @ 700.00     3,850.00
Devorah Hirsch                                           2.00   Hours @ 240.00       480.00
                                                        16.20                                 13,079.50

B310 Claims Administration and Objections
Erin E. Broderick                                        2.60   Hours @ 910.00     2,366.00
Nathaniel T. DeLoatch                                    7.30   Hours @ 700.00     5,110.00
                                                         9.90                                  7,476.00

B320 Plan and Disclosure Statement (including Business Plan)
Peter A. Ivanick                                        17.50         Hours @     29,750.00
                                                                      1,700.00
Sarah E. Paul                                            1.00         Hours @      1,135.00
                                                                      1,135.00
David A. Wender                                          4.60         Hours @      5,060.00
                                                                      1,100.00
Jennifer B. Kimble                                       0.80   Hours @ 950.00       760.00
Erin E. Broderick                                       35.60   Hours @ 910.00    32,396.00
Nathaniel T. DeLoatch                                    5.10   Hours @ 700.00     3,570.00
                                                        64.60                                 72,671.00

B330 Fee Reimbursement Motion
Erin E. Broderick                                        0.50   Hours @ 910.00      455.00
                                                         0.50                                   455.00
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B410 General Case Strategy
Peter A. Ivanick                                         0.90         Hours @          1,530.00
                                                                      1,700.00
Erin E. Broderick                                        2.50   Hours @ 910.00         2,275.00
Nathaniel T. DeLoatch                                    0.50   Hours @ 700.00           350.00
                                                         3.90                                             4,155.00


                                                                            198.90                      182,620.50

DISBURSEMENTS

                Trip 1448 Philadelphia 0606-060923 96490.0001 - Broderick,                 1,525.15
                Erin E. - Philadelphia, PA – Travel

                Delaware Trip #1157 - Wender, David A. - Wilmington, DE –                  1,309.38
                Travel


                                                          Total Current Disbursements                   $2,834.53

                                                     TOTAL CURRENT BILLING                            $185,455.03
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        Name                   Title       Practice Group;       Hourly         Hours      Amount
                                            Date of First         Rate          Billed      Billed
                                             Admission
Ivanick, Peter A.      Partner             Insurance           $1,700.00          20.80       35,360.00
                                           Transactions &
                                           Products, 1983
Paul, Sarah            Partner             Litigation, 2004     $1,135.00          4.70      5,334.50
Wender, David A.       Partner             Finance, 2003        $1,100.00         35.50     39,050.00
                                                             Partner Total        61.00     79,744.50
Broderick, Erin E.     Senior Counsel      Finance, 2008          $910.00         86.00     78,260.00
Kimble, Jennifer B.    Senior Counsel      Finance, 2005          $950.00          0.80        760.00
                                                      Senior Counsel Total        86.80     79,020.00
DeLoatch, Nathaniel T. Associate           Finance, 2019          $700.00         25.20     17,640.00
                                                           Associate Total        25.20     17,640.00
Hirsch, Devorah        Paralegal           Litigation             $240.00         25.90      6,216.00
                                                           Paralegal Total        25.90      6,216.00
Total                                                                            198.90   $182,620.50
Blended Hourly Rate: $962.00
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                                                                     Hours        Amount
            U.S. Trustee Task Code and Project Category
                                                                     Billed        Billed
B110 Case Administration                                                  7.40      2,190.00
B112 General Creditor Inquiries                                           6.30      2,743.00
B113 Case Analysis/Pleading Review                                        9.60      7,087.00
B140 Relief from Stay and Adequate Protection                             7.10      6,461.00
B150 Meetings of and Communications with External Stakeholders            1.70      1,547.00
B190 Other Contested Matters (excluding assumption/rejection            52.70      52,491.00
motions)
B195 Non-Working Travel                                                  5.00       4,550.00
B260 Corporate Governance and Board Matters                             14.00       7,715.00
B270 AHC Member Communications & Meetings                               16.20      13,079.50
B310 KYC Process and Claims Administration                               9.90       7,476.00
B320 Plan and Disclosure Statement (including Business Plan)            64.60      72,671.00
B330 Fee Reimbursement Motion                                            0.50         455.00
B410 General Case Strategy                                               3.90       4,155.00
Total                                                                  198.90    $182,620.50
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                                                           T: +1 202 383 0100

                                                           eversheds-sutherland.com

                                                           IRS Employer ID No: XX-XXXXXXX

                                                           Electronic Remittance Instructions:
                                                           Bank Name: Wells Fargo Bank, N.A.
                                                           Acct Name: Eversheds Sutherland (US) LLP
                                                           Acct Number: 5233576718
                                                           Wire Routing/ABA: 121000248
                                                           ACH Routing: 061000227
                                                           SWIFT Code: WFBIUS6S
                                                           Check Remittance Instructions:
                                                           Eversheds Sutherland (US) LLP
                                                           PO Box 931885
                                                           Atlanta, GA 31193-1885



Ad Hoc Committee of Non-US Customers of FTX.com
C/O FTX Trading Ltd.
                                                           Bill No.      1273559
                                                           Bill Date     November 22, 2023

Matter No:      96490.0001
RE:             FTX Bankruptcy

FOR LEGAL SERVICES RENDERED From July 1, 2023 through July 31, 2023


Fees                                                                                  $228,456.50

Total Current Bill                                                                    $228,456.50
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FOR LEGAL SERVICES RENDERED From July 1, 2023 through July 31, 2023

 Date         Timekeeper          Narrative                                             Task   Hours        Amount
 B110 - Case Administration

 07/03/23     Nathaniel T.        Correspond with D. Hirsch re collecting               B110     0.10         70.00
              DeLoatch            information re supplemental 2019 statement.

 07/04/23     Nathaniel T.        Correspond with D. Hirsch re member claimant          B110     0.10         70.00
              DeLoatch            information.

 07/05/23     Nathaniel T.        Correspond with D. Hirsch re member claimant          B110     0.10         70.00
              DeLoatch            information.

 07/11/23     Erin E. Broderick   Update internal membership tracker.                   B110     0.20        182.00

 07/12/23     Erin E. Broderick   Obtain information for working group contact list     B110     0.60        546.00
                                  and update same (.4); e-mails with D. Hirsch to
                                  establish distribution lists and updates to working
                                  group list (.2).

 07/18/23     Jennifer B.         Emails with E. Broderick and ES Team re:              B110     0.20        190.00
              Kimble              Debtors agreement on fees and plan term.

 07/19/23     Erin E. Broderick   Review and revise working group contact list.         B110     0.50        455.00

 07/20/23     Erin E. Broderick   Update working group list and e-mails to N.           B110     0.30        273.00
                                  DeLoatch and P. Topper to revise same.

 07/20/23     Jennifer B.         Emails with Executive and Ad Hoc Committee            B110     0.30        285.00
              Kimble              members scheduling regular calls.

 07/25/23     Erin E. Broderick   Updates to working group contact list and open        B110     0.50        455.00
                                  tasks.

 07/28/23     Erin E. Broderick   Update 2019 statement disclosures based on            B110     0.40        364.00
                                  claim transfers, new members, and Debtors' new
                                  valuation methodologies under amended
                                  schedules.

                                  Total for B110 - Case Administration                               3.30   2,960.00
 B112 - General Creditor Inquiries
 07/03/23     Devorah Hirsch      Respond to inbound FTX.com customer inquiry           B112     0.50        120.00
                                  to provide information on FTX cases and Ad Hoc
                                  Committee.

 07/05/23     Devorah Hirsch      Draft updated Members chart for E. Broderick          B112     1.50        360.00
                                  (1.0); respond to inbound FTX.com customer
                                  inquiries to provide information on FTX cases
                                  and Ad Hoc Committee (0.5).

 07/06/23     Devorah Hirsch      Respond to inbound FTX.com customer inquiries         B112     1.00        240.00
                                  to provide information on FTX cases and Ad Hoc
                                  Committee (0.5); review emails from members
                                  and update NDA and transfer tracker (0.5).
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Date        Timekeeper          Narrative                                             Task    Hours    Amount

07/07/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiry           B112      3.00    720.00
                                to member to provide information on FTX cases
                                and Ad Hoc Committee and assist with revised
                                Engagement Letter and Amended Bylaws;
                                attention to emails between the team and
                                member; draft chart of all individuals who were
                                sent engagement letter but who have not signed
                                yet along with their claim amount.

07/09/23    Erin E. Broderick   Respond to party inquiries on joining ad hoc.         B112      0.20    182.00

07/10/23    Devorah Hirsch      Send Engagement Letter and Bylaws to member           B112      0.30     72.00
                                for signature, send to S. Paul for
                                countersignature and send executed copy to
                                member.

07/11/23    Erin E. Broderick   E-mails with numerous parties requesting              B112      1.10   1,001.00
                                information to join AHC (.5); e-mails with D.
                                Hirsch on process for onboarding, updated
                                Bylaws and engagement letter provisions (.3); e-
                                mail responses to members asking for general
                                updates on AHC negotiations with Debtors (.3).

07/11/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiry           B112      0.50    120.00
                                and provide information on FTX cases and Ad
                                Hoc Committee.

07/11/23    Nathaniel T.        Correspond with various customers re claims           B112      0.60    420.00
            DeLoatch            issues and committee participation.

07/13/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiries         B112      0.50    120.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

07/16/23    Nathaniel T.        Correspondence with various general creditors of      B112      1.00    700.00
            DeLoatch            FTX.com re claim issues and filings.

07/17/23    Erin E. Broderick   Attend call with interested party in joining Ad Hoc   B112      0.50    455.00
                                Committee.

07/18/23    Nathaniel T.        Correspond with customer re claims portal and         B112      0.20    140.00
            DeLoatch            process.

07/18/23    Erin E. Broderick   Respond to two parties re interest in Ad Hoc          B112      0.70    637.00
                                Committee and status of case/questions re
                                impact of ownership arguments (.4); follow-up
                                with D. Hirsch on list of inbound requests for
                                information and status of follow-up (.3).

07/19/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiries         B112      1.50    360.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.
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Date        Timekeeper          Narrative                                            Task    Hours    Amount

07/19/23    Erin E. Broderick   Call with potential new member re case status        B112      1.90   1,729.00
                                and Ad Hoc Committee plan position (1.0); call
                                with K. Catanese and S. Ruppenthal (Foley) re
                                potential new member interest in Ad Hoc
                                Committee (.5); respond to three e-mails re
                                interest in Ad Hoc Committee and status of
                                litigation/plan discussions (.4).

07/20/23    Erin E. Broderick   Revisions to engagement letter, bylaws, and fee      B112      1.90   1,729.00
                                agreement with Debtors and incorporation of
                                comments to all (1.2); call with D. Hirsch re
                                onboarding process updates (.3); follow-up
                                emails with D. Hirsch re updated 2019 and
                                member tracker and responses to FTX.com
                                customer inquiries (.4).

07/21/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiries        B112      1.50    360.00
                                to provide information on FTX cases and Ad Hoc
                                Committee.

07/21/23    Erin E. Broderick   Revision to Ad Hoc Committee engagement              B112      0.80    728.00
                                letter and bylaws to address member and to-be
                                member comments and e-mails to confirm
                                changes.

07/21/23    Erin E. Broderick   E-mails to send revised engagement letter and        B112      0.30    273.00
                                bylaws to interested parties joining Ad Hoc
                                Committee and answer questions on status of
                                case.

07/23/23    Erin E. Broderick   E-mails with D. Hirsch and S. Paul re revisions to   B112      0.50    455.00
                                engagement letter, new members and open
                                items (.4); follow-up with members to finalize
                                NDAs (.1).

07/24/23    Erin E. Broderick   E-mails with S. Paul and D. Hirsch re                B112      0.40    364.00
                                engagement letter and onboarding process
                                generally.

07/24/23    Devorah Hirsch      Respond to numerous inbound FTX.com                  B112      2.50    600.00
                                customer inquiry to provide information on FTX
                                cases and Ad Hoc Committee inquiries.

07/25/23    Devorah Hirsch      Attention to onboarding of Ad Hoc Committee          B112      2.50    600.00
                                members.

07/26/23    Devorah Hirsch      Attention to onboarding of Ad Hoc Committee          B112      1.80    432.00
                                Members.

07/27/23    Devorah Hirsch      Attention to onboarding of Ad Hoc Committee          B112      1.00    240.00
                                Members.

07/27/23    Peter A. Ivanick    Review latest draft term sheet and E. Broderick      B112      0.20    340.00
                                emails re: same.

07/28/23    Devorah Hirsch      Attention to onboarding of Ad Hoc Committee          B112      1.00    240.00
                                Members.
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Date        Timekeeper          Narrative                                              Task     Hours         Amount

07/28/23    Erin E. Broderick   Call with potential member re ad hoc committee         B112       1.60        1,456.00
                                objectives and case status (.5); follow-up on
                                onboarding requirements (.2); respond to
                                inquiries of potential new member's counsel (.2);
                                calls and follow-up with two parties interested in
                                joining ad hoc committee on status of role in
                                cases (.7).

07/30/23    Erin E. Broderick   Respond to new members inquiries re next steps         B112       0.70         637.00
                                in process (.2); prepare communications to
                                interested parties in joining AHC for release upon
                                plan filing (.5).

07/31/23    Devorah Hirsch      Attention to onboarding of Ad Hoc Committee            B112       2.50         600.00
                                Members and update Chart of debtor with new
                                members.

                                Total for B112 - General Creditor Inquiries                       34.20      16,430.00
B113 - Case Analysis/Pleading Review
07/05/23    Jennifer B.         Review and analyze financial and other shortfall       B113       1.00         950.00
            Kimble              analysis information published by Debtors.

07/05/23    Jennifer B.         Begin reviewing Debtors’ Interim Report.               B113       0.60         570.00
            Kimble

07/06/23    Jennifer B.         Continue reviewing and analyzing Debtors’              B113       0.30         285.00
            Kimble              Interim Report.

07/07/23    Erin E. Broderick   Review of recent filings for member update and         B113       0.70         637.00
                                in connection with plan analysis/recovery
                                scenario inputs.

07/12/23    Jennifer B.         Review background information on plan and              B113       0.90         855.00
            Kimble              Debtor’s status update.

07/12/23    Peter A. Ivanick    Review and consider Debtor's Second Interim            B113       1.20        2,040.00
                                Report and N. Deloatch summary; review and
                                consider summary and cases re: in pari delicto.

07/15/23    Erin E. Broderick   Review updates on customer claim portal, case          B113       0.80         728.00
                                law decision and impact on token valuations and
                                case docket for member updates/impact on plan
                                analysis.

07/27/23    Erin E. Broderick   Quick review of docket re information re closed        B113       0.50         455.00
                                M&A transactions, status of litigation and
                                investigations and other updates relevant for
                                member updates & discussion with Rothschild on
                                information requests.

07/29/23    Erin E. Broderick   Review and analyze docket filings for purposes         B113       1.00         910.00
                                of drafting weekly member update and e-mail to
                                N. DeLoatch with outline of contents.

                                Total for B113 - Case Analysis/Pleading
                                Review                                                                7.00    7,430.00
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Date        Timekeeper          Narrative                                              Task     Hours        Amount
B140 - Relief from Stay/Adequate Protection Proceedings

07/14/23    Peter A. Ivanick    Review order denying JPL lift stay motion and          B140       0.10        170.00
                                ordering mediation.

                                Total for B140 - Relief from Stay/Adequate
                                Protection Proceedings                                                0.10    170.00
B150 - Meetings of and Communications with External Stakeholders
07/17/23    Erin E. Broderick   Attend conference call with class action plaintiff     B150       1.60       1,456.00
                                group to discuss overlap with chapter 11 cases
                                and potential actions by Debtors in pending
                                litigation (1.0); provide update to non-restricted
                                members of Executive Committee and members
                                re plan discussions and next steps (.5); e-mail to
                                K. Hansen re coordination between Debtors,
                                UCC and Ad Hoc (.1).

07/17/23    Peter A. Ivanick    Review and consider term sheet (.3); email             B150       3.40       5,780.00
                                to/from/to E. Broderick re: language (.2); call with
                                E. Broderick and Rothschild team in prep for
                                debtor call (.5); attend S&C professional call
                                (1.0); consider term sheet revisions and email to
                                E. Broderick re: same (.3); emails from/to E.
                                Broderick re: Rothschild and other matters (.2);
                                attend call with E. Broderick. R. Lieff and other
                                class action attorneys (.9).

07/19/23    Devorah Hirsch      Revise and finalize Member List for Debtors.           B150       0.50        120.00

07/24/23    Jennifer B.         Review redline Plan Term Sheet.                        B150       0.40        380.00
            Kimble

                                Total for B150 - Meetings of and
                                Communications with External Stakeholders                             5.90   7,736.00
B160 - Fee/Employment Applications
07/28/23    Erin E. Broderick   Follow-up on billing issues with respect to            B160       0.40        364.00
                                compliance with the fee terms reached with
                                Debtors.

                                Total for B160 - Fee/Employment
                                Applications                                                          0.40    364.00
B190 - Other Contested Matters (excluding assumption/rejection motions)
07/03/23    Erin E. Broderick   Respond to additional inquiries from members on        B190       0.40        364.00
                                redaction order, claim submissions and
                                mechanics for claim transfers.

07/05/23    Erin E. Broderick   Review revised redaction order and e-mails with        B190       0.40        364.00
                                M. Ingrassia re same (.1); respond to K.
                                Townsend (media objectors) comments to
                                redaction order and review of hearing transcript
                                in connection with same (.3).

07/06/23    Erin E. Broderick   E-mails with UST and media objectors to finalize       B190       0.20        182.00
                                redaction order (.1); brief review of notice of
                                appeal on redaction ruling (.1).
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Date         Timekeeper          Narrative                                               Task     Hours        Amount

07/07/23     Jennifer B.         Review proposed redaction order.                        B190       0.20        190.00
             Kimble
07/26/23     Erin E. Broderick   Address 2019 supplemental disclosures issues            B190       1.00        910.00
                                 and updates.

07/31/23     Peter A. Ivanick    Numerous emails from/to E. Broderick, M.                B190       0.40        680.00
                                 Harvey, D. Wender re: relief for non-EC
                                 members from disclosure obligations and
                                 consider issues.

07/31/23     Erin E. Broderick   Calls with three separate members on impact of          B190       2.80       2,548.00
                                 2019 ruling and remaining in group (1.6);
                                 attention to 2019 Statement and redaction issues
                                 and related research and emails with internal
                                 team (1.0); follow-up with J. Minias, S. Paul and
                                 A. Dietderich briefly re same (.2).

                                 Total for B190 - Other Contested Matters
                                 (excluding assumption/rejection motions)                               5.40   5,238.00
B191 - General Litigation

07/28/23     Erin E. Broderick   Review adversary proceeding stay stipulation            B191       0.20        182.00
                                 and follow-up.

07/28/23     Peter A. Ivanick    Review draft stipulation re: extension of               B191       0.10        170.00
                                 adversary proceeding stay and E. Broderick
                                 email re: same.

                                 Total for B191 - General Litigation                                    0.30    352.00


07/03/23     Devorah Hirsch      Update NDA and Transfer Claims Chart.                   B260       0.20         48.00

07/03/23     Erin E. Broderick   Follow-up with member and other new members             B260       0.40        364.00
                                 re disclosure to S&C (.2); follow-up with
                                 Executive Committee re status of comments to
                                 bylaws (.1); emails with A. Dietderich re financial
                                 advisor retention and current member list (.1).

07/05/23     Erin E. Broderick   Follow-up on Rothschild retention (.1); review          B260       1.40       1,274.00
                                 and analyze comments to Ad Hoc Committee
                                 bylaws and further revision to same (.6); follow-
                                 up internally and for final sign-off (.5); review and
                                 comment on updated member list to provide to
                                 S&C and UCC in advance of plan discussions
                                 (.2).

07/06/23     Erin E. Broderick   Telephone call with member re bylaws revisions          B260       3.50       3,185.00
                                 and onboarding process (.7); follow-up with
                                 member re same (.2); review multiple drafts of
                                 comments on bylaws, reconcile same and
                                 circulation of revised drafts (1.8); follow-up e-
                                 mails with outside counsel (Willkie) and member
                                 to settle draft for final comment (.5); update
                                 internal team re fee and conflict provisions (.1);
                                 send A. Dietderich updated member list and
                                 follow-up re member information with member
                                 and P. Ivanick (.2).
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Date        Timekeeper          Narrative                                               Task     Hours    Amount

07/07/23    Erin E. Broderick   Review and analyze continued comments from              B260       4.10   3,731.00
                                members on Ad Hoc Committee bylaws, review
                                and revise (multiple drafts) same and e-mails
                                and call in connection with same (3.2); final
                                distribution of bylaws to Ad Hoc Committee
                                members for vote (.1); follow-up e-mails in
                                response to member comments to same (.6);
                                updates to internal records for new members and
                                holding updates (.2).

07/08/23    Erin E. Broderick   Respond to member comments on bylaws (.3);              B260       0.80    728.00
                                review and revise Ad Hoc Committee bylaws and
                                circulate amended version for vote to members
                                (.5).

07/09/23    Erin E. Broderick   E-mails with members re amended bylaws (.4);            B260       1.00    910.00
                                review and revise same and circulate for new
                                vote (.5); follow-up re financial advisor retention
                                (.1).

07/09/23    Peter A. Ivanick    Emails to/from E. Broderick and S. Paul re:             B260       0.20    340.00
                                member issues and S&C status.

07/10/23    Devorah Hirsch      Update chart of members for debtors (0.8);              B260       1.20    288.00
                                finalize Amended Bylaws (0.4).

07/10/23    Jennifer B.         Review committee member emails and                      B260       0.30    285.00
            Kimble              responses on bylaws.

07/11/23    Devorah Hirsch      Update Claims Transfer chart and send to E.             B260       0.50    120.00
                                Broderick.

07/11/23    Erin E. Broderick   Follow-up with Rothschild team and S&C re               B260       0.40    364.00
                                Rothschild retention.

07/13/23    Nathaniel T.        Review agreements relative to member claim              B260       0.70    490.00
            DeLoatch            transfers.

07/14/23    Erin E. Broderick   Follow-up on class action group disclosures and         B260       0.80    728.00
                                conflicts (.5); updates with D. Hirsch re new and
                                resigning members for sending updates lists to
                                S&C and UCC (.2); update working group list
                                (.1).

07/16/23    Jennifer B.         Review emails re: Committee bylaws and                  B260       0.30    285.00
            Kimble              Committee next steps.

07/18/23    Erin E. Broderick   Follow up re list of members willing to be              B260       1.20   1,092.00
                                restricted with D. Hirsch (.2); revise bylaws and
                                e-mail to Willkie Farr re same (.2); review
                                professional form NDA and circulate to Executive
                                Committee members with explanation of
                                process/implications (.6); follow-up with member
                                re questions on NDA/next steps (.1); follow-up
                                with member re same (.1).
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Date        Timekeeper          Narrative                                               Task     Hours      Amount

07/19/23    Erin E. Broderick   E-mails with Rothschild re member list and              B260       0.50      455.00
                                bylaws (.2); revise bylaws and circulate to
                                Executive Committee members with cover
                                explanation (.3).

07/25/23    Nathaniel T.        Correspond with working group re claim transfer         B260       0.30      210.00
            DeLoatch            procedures and process (.2); review of materials
                                related to same (.1).

07/26/23    Nathaniel T.        Prepare for and attend meeting re claim transfer        B260       0.50      350.00
            DeLoatch            process.

07/28/23    Peter A. Ivanick    Emails from/to E. Broderick re: drafting email to       B260       0.20      340.00
                                member re: removal and re: power of Executive
                                Committee to remove members.

07/28/23    Erin E. Broderick   Review bylaws and e-mails with M. Harvey and            B260       1.20     1,092.00
                                P. Topper re revisions to same (.3); email to P.
                                Ivanick re notice to member of removal and
                                follow-up (.2); follow-up e-mails with J. Minias re
                                same (.2); call with S. Shaynader of Rothschild
                                re retention terms (.5).

07/29/23    Erin E. Broderick   E-mails with internal team re removal of class          B260       0.30      273.00
                                action plaintiff group and requirements under
                                bylaws and revision of bylaws to reflect same
                                and Rothschild retention.

07/29/23    Peter A. Ivanick    Emails to/from E. Broderick re: by-laws and             B260       0.20      340.00
                                ability of EC to remove members.

07/30/23    Nathaniel T.        Correspond with E. Broderick re issues re 2019          B260       0.10       70.00
            DeLoatch            filing.

07/30/23    Erin E. Broderick   Review and comment on written resolutions for           B260       0.70      637.00
                                removal of members, amended bylaws, and
                                other items (.5); update group on recent claim
                                transfers and new members for updating
                                member list and 2019 statement (.2).

07/30/23    Peter A. Ivanick    Review M. Harvey memo re: by-laws and ability           B260       0.40      680.00
                                of Executive Committee to remove members,
                                draft email to member re: same, incorporate
                                comments and finalize same.

07/31/23    Sarah E. Paul       Coordinate with J. Jackson re press statement           B260       0.40      454.00
                                (0.2); call with Willkie re Rothschild retention
                                (0.2).

                                Total for B260 - Board of Directors Matters                        21.80   19,133.00


07/01/23    Erin E. Broderick   Respond to member emails re claims process              B270       0.70      637.00
                                and confidentiality issues (.5); respond to
                                member emails re perpetual future contract
                                claims in schedules (.2).
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Date        Timekeeper          Narrative                                            Task     Hours    Amount

07/06/23    Peter A. Ivanick    Review emails from/to S&C re: member and             B270       0.40    680.00
                                emails from/to E. Broderick and S. Paul re:
                                outreach to member re: same; emails to/from
                                member re: disclosure of depositor information to
                                Debtor board; further emails member and E.
                                Broderick re: same.

07/07/23    Erin E. Broderick   Draft short update to members re case updates        B270       0.50    455.00
                                and plan negotiations (.2); e-mails with
                                customers re joining ad hoc committee (.3).

07/07/23    Jennifer B.         Review Committee update and amended bylaws.          B270       0.40    380.00
            Kimble

07/10/23    Erin E. Broderick   Vote tabulation and e-mail D. Hirsch to record       B270       1.30   1,183.00
                                same (.2); incorporate clean up edits and non-
                                substantive comments to bylaws (.3); e-mails
                                with Executive Committee re same (.2); e-mails
                                with two members re Executive Committee
                                vacancy (.2); follow-up with candidates for same
                                (.4).

07/10/23    Erin E. Broderick   Call with members re positioning and updates         B270       1.50   1,365.00
                                (1.0); call with member re questions about claim
                                transfers and valuation issues (.5).

07/10/23    Erin E. Broderick   Short e-mail responses to members re questions       B270       0.50    455.00
                                on claim portal and KYC approvals and
                                aggregate same for follow-up with S&C and
                                A&M.

07/11/23    Erin E. Broderick   E-mails with members re AHC Bylaws and               B270       2.90   2,639.00
                                incorporate comments from same (.7); follow-up
                                separately with members re same and review
                                and incorporate comments from members and
                                outside counsel (1.4); call with member re same
                                (.3); follow-up with member on approval (.1);
                                follow-up with other members re need for
                                updated 2019 disclosures (.4).

07/13/23    Peter A. Ivanick    Review E. Broderick update and EC agenda and         B270       0.40    680.00
                                emails to/from E. Broderick re: EC call and call
                                with S&C re: same (.2); email from/to member re:
                                proposed call with class action lawyers and
                                emails to/from E. Broderick re: same (.2).

07/13/23    Erin E. Broderick   Prepare agenda for Executive Committee               B270       3.40   3,094.00
                                meeting (.2); attend Executive Committee
                                meeting (1.0); attend call with potential new
                                member re joining Executive Committee (1.0);
                                review and revise meeting minutes (.1); review
                                and incorporate comments to Rothschild NDA
                                (.1); follow-up emails with C. Hodges and
                                members re NDAs for restricted members (.2); e-
                                mails with K. Hansen and Executive Committee
                                to plan UCC and AHC introduction (.3); call with
                                member concerned about 2019 disclosures (.5).
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Date        Timekeeper          Narrative                                              Task   Hours    Amount

07/13/23    Jennifer B.         Attend Ad Hoc Executive Committee Call and             B270     1.60   1,520.00
            Kimble              take minutes.

07/13/23    Jennifer B.         Revise notes/minutes from Executive Committee          B270     0.30    285.00
            Kimble              call and send to E. Broderick.

07/13/23    Jennifer B.         Emails with E. Broderick re: Executive                 B270     0.20    190.00
            Kimble              Committee meeting and agenda.

07/14/23    Jennifer B.         Review email from E. Broderick re: class action        B270     0.20    190.00
            Kimble              ad hoc members and respond accordingly.

07/14/23    Jennifer B.         Emails with Committee Members re: NDAs.                B270     0.30    285.00
            Kimble

07/14/23    Peter A. Ivanick    Emails E. Broderick and others re: 7/17 calls with     B270     0.30    510.00
                                S&C and NDAs, pre-call with Rothschild, and
                                7/17 call with R. Lieff and class action lawyers.

07/15/23    Erin E. Broderick   E-mails with J. Minias re contemplated meeting         B270     0.40    364.00
                                schedule and Ad Hoc Committee site (.1); follow-
                                up with all re Debtors' plan meeting and pre-call
                                (.2); e-mails re restricted member confirmations
                                and NDA status (.1).

07/16/23    Erin E. Broderick   E-mails with A. Dietderich re meeting attendees        B270     1.80   1,638.00
                                and inclusion of restricted principals (.2); follow-
                                up with S&C team re status of pending NDAs
                                (.2); call and emails with J. Minias re questions
                                from Debtors on NDA restrictions (.3); review
                                and revise Bylaws and circulate with note on
                                next steps/items for Debtor plan discussion (1.0);
                                follow-up with members meeting attendance (.1).

07/19/23    Erin E. Broderick   E-mails with confidential member re redaction          B270     2.30   2,093.00
                                ruling and claim transfers (.2); call with new
                                Executive Committee member (1.0); e-mails with
                                Executive Committee members re NDAs and
                                additional information requested by Debtors (.5);
                                e-mails to members willing to be restricted re
                                NDAs and timing for disclosures (.6).

07/20/23    Devorah Hirsch      Respond to inbound FTX.com customer inquiries          B270     1.00    240.00
                                to provide information on FTX cases and Ad Hoc
                                Committee (0.7); call with E. Broderick re same
                                (0.3).

07/20/23    Erin E. Broderick   E-mails scheduling executive committee and all         B270     0.20    182.00
                                member meetings.

07/24/23    Jennifer B.         Partial attendance at FTX Ad Hoc Meeting.              B270     0.50    475.00
            Kimble

07/26/23    Erin E. Broderick   Follow-up with internal team re KYC issues and         B270     0.50    455.00
                                draft preliminary recommendation for approach.
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Date        Timekeeper          Narrative                                          Task    Hours      Amount

07/27/23    Nathaniel T.        Call with E. Broderick re AHC issues, member       B270      0.20      140.00
            DeLoatch            updates and processes.

07/30/23    Nathaniel T.        Draft member update and simultaneous analysis      B270      6.70     4,690.00
            DeLoatch            of materials related to same.

07/30/23    Erin E. Broderick   E-mails and scheduling calls with three members    B270      0.80      728.00
                                to provide comfort on future disclosure
                                requirements to remain in AHC (.3); review and
                                comment on member update drafted by N.
                                DeLoatch (.5).

07/31/23    Nathaniel T.        Draft and revise member update and                 B270      5.60     3,920.00
            DeLoatch            simultaneous review of pertinent materials.

07/31/23    Erin E. Broderick   Review and comment on draft member update          B270      0.90      819.00
                                (.4); respond to new member emails and
                                member emails re updates in cases (.5).

                                Total for B270 - AHC Member
                                Communications & Meetings                                    35.80   30,292.00
B310 – KYC Process and Claims Administration

07/17/23    Erin E. Broderick   Review and analyze IRS Directive 137 with          B310      1.20     1,092.00
                                respect to subordination of IRS claims and
                                related authority and summarize same for
                                Executive Committee members.

07/21/23    Erin E. Broderick   Address member questions re customer portal        B310      0.70      637.00
                                process and KYC process (.6); forward feedback
                                to Debtors and UCC (.1).

07/22/23    Nathaniel T.        Correspondence with members re proofs of           B310      0.20      140.00
            DeLoatch            claims.

07/22/23    Erin E. Broderick   Respond to six inquiries of customers re           B310      0.80      728.00
                                customer portal and KYC issues and follow-up
                                review of claims procedures and e-mail to
                                Debtors and A&M re same.

07/25/23    Erin E. Broderick   Follow-up re Rothschild KYC concerns with S.       B310      1.30     1,183.00
                                Paul and Z. Ullah and Rothschild team (1.0);
                                finalize member NDA (.1); follow-up on Executive
                                Committee claim holdings and KYC information
                                (.2).

07/26/23    Nathaniel T.        Correspond with member re claim issues.            B310      0.10       70.00
            DeLoatch

07/26/23    Nathaniel T.        Correspond with working group re member claim      B310      0.20      140.00
            DeLoatch            management and confidentiality.

07/28/23    Erin E. Broderick   Review and analyze KYC questionnaire provided      B310      1.40     1,274.00
                                by Rothschild, Debtors' proposed KYC process,
                                and information provided by AHC members to
                                date and follow-up with S. Paul and F. London re
                                same.
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Date        Timekeeper          Narrative                                            Task   Hours        Amount

07/29/23    Sarah E. Paul       Coordinate with Rothschild re KYC requirements.      B310     0.20        227.00

07/31/23    Sarah E. Paul       Call with Rothschild re KYC requirements.            B310     0.70        794.50

                                Total for B310 – KYC Process and Claims
                                Administration                                                    6.80   6,285.50
B320 - Plan and Disclosure Statement (including Business Plan)

07/03/23    Jennifer B.         Review background materials re plan.                 B320     0.40        380.00
            Kimble

07/05/23    Jennifer B.         Call with E. Broderick re: background, plan          B320     1.00        950.00
            Kimble              discussions and issues.

07/05/23    Erin E. Broderick   Call with E. Mosley (A&M) re contingent claim        B320     3.50       3,185.00
                                designations and treatment of locked tokens (.3);
                                follow-up review of PYTH lift stay motion and
                                other docket items in connection with same (.5);
                                summarize same for Executive Committee (.3);
                                Zoom meeting with J. Kimble re plan status and
                                negotiations (1.0); continue research and drafting
                                analysis on plan issues with focus on
                                intercompany claim valuation/enforcement (1.4).

07/05/23    David A. Wender     Analyze correspondence relative to plan              B320     0.10        110.00
                                discussions.

07/05/23    Jennifer B.         Review background Plan information.                  B320     0.50        475.00
            Kimble

07/05/23    Peter A. Ivanick    Review E. Broderick status reports on Plan           B320     0.40        680.00
                                discussions, Rothschild and review emails
                                to/from S&C re: same and consider next steps.

07/06/23    David A. Wender     Analyze correspondence relative to plan              B320     0.10        110.00
                                discussions.

07/10/23    Peter A. Ivanick    Telephone call M. Harvey re: possible .com           B320     1.30       2,210.00
                                priority claims against affiliates and in pari
                                defenses and exceptions and review and
                                consider precedent (1.2); review E. Broderick
                                status update (.1).

07/10/23    Erin E. Broderick   Follow-up with A. Dietderich re AHC composition      B320     2.80       2,548.00
                                and holdings and board approval of preliminary
                                agreement on plan support (.4); review and
                                analyze issues about customer preference
                                issues and valuation of category B tokens and
                                locked tokens and correspondence with N.
                                DeLoatch re further research and treatment in
                                other cases (2.2); e-mails with member re
                                updates in plan timing (.2).

07/11/23    Erin E. Broderick   Finish preference research and draft memo for        B320     1.50       1,365.00
                                purposes of plan discussions with Executive
                                Committee.
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Date        Timekeeper          Narrative                                            Task     Hours    Amount

07/11/23    Erin E. Broderick   Attend call with N. DeLoatch on preference           B320       0.60    546.00
                                analysis.

07/11/23    Jennifer B.         Review update email on Plan memo and next            B320       0.30    285.00
            Kimble              steps.

07/11/23    Nathaniel T.        Attend meeting with E. Broderick re preference       B320       2.20   1,540.00
            DeLoatch            issues (0.6); analysis of related to same (1.6).

07/11/23    David A. Wender     Analyze issues relative to customer preferences.     B320       0.40    440.00

07/12/23    Jennifer B.         Call with Paul Hastings re: plan discussions.        B320       0.90    855.00
            Kimble

07/12/23    Jennifer B.         Emails with E. Broderick and D. Wender re: Plan      B320       0.20    190.00
            Kimble              discussions and call with Paul Hastings.

07/12/23    David A. Wender     Prepare for and participate in committee call.       B320       1.20   1,320.00

07/12/23    Erin E. Broderick   Draft e-mail to Executive Committee re kick-off      B320       4.70   4,277.00
                                call on plan issues (.5); call with member re
                                discussions with Debtors and UCC on plan (.5);
                                brief call re same in advance of call with UCC
                                professionals (.1); call with UCC professionals re
                                AHC plan positions and discussion (.6); review
                                and analyze Debtors' plan term sheet and work
                                on plan discussion note (2.0); follow-up with C.
                                Hodges on NDAs to share term sheet draft with
                                AHC professionals (.2); e-mails with Executive
                                Committee members and Rothschild re
                                professionals NDA and restricted representatives
                                (.3); comment on NDA Rothschild NDA (.2);
                                further e-mails with Rothschild team and S&C re
                                retention (.2); e-mails with J. Kimble re same and
                                preference issues (.1).

07/13/23    David A. Wender     Analyze issues related to plan structure.            B320       0.40    440.00

07/13/23    Jennifer B.         Review emails from S&C re: plan discussions.         B320       0.50    475.00
            Kimble

07/14/23    Jennifer B.         Review and analyze Debtors’ plan term sheet          B320       1.30   1,235.00
            Kimble              and make notes re: the same.

07/14/23    David A. Wender     Analyze issues related to plan structure.            B320       0.10    110.00

07/14/23    Erin E. Broderick   E-mails with UCC professionals re AHC                B320       1.30   1,183.00
                                coordination (.1); attend call with UCC
                                professionals re same (.5); follow-up with S&C re
                                status of NDAs for attendance of plan discussion
                                (.2); e-mails with S&C and Executive Committee
                                re agenda for Monday call (.5).

07/16/23    Peter A. Ivanick    Review and consider A. Dietderich email re:          B320       0.30    510.00
                                goals and agenda for 7/17 meeting and E.
                                Broderick's email re: issues and tasks.
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Date        Timekeeper          Narrative                                                Task     Hours    Amount

07/16/23    Erin E. Broderick   Review and analyze issues re preference                  B320       1.00    910.00
                                recoveries, including recent decision, and draft e-
                                mail to J. Kimble re analyses.

07/16/23    Jennifer B.         Review background on preference issues.                  B320       0.50    475.00
            Kimble

07/17/23    Jennifer B.         Call with Debtors’ professionals re: plan term           B320       1.00    950.00
            Kimble              sheet and procedures.

07/17/23    Erin E. Broderick   Circulate Debtors' term sheet and discussion             B320       5.40   4,914.00
                                note to professionals under NDA (.3); work on
                                updated waterfall scenario using internal model
                                for assumptions on the Stipulated Customer
                                Priority Amount and plan discussion paper (2.0);
                                attend pre-call with restricted professionals
                                (Rothschild, member, J. Minias), J. Kimble and
                                P. Ivanick (.7); attend call with Debtors'
                                professionals to discuss plan process and timing
                                (1.0); call with A. Dietderich to discuss specific
                                action items related thereto (.5); follow-up re
                                restricting principals to participate in plan
                                discussions (.4); quick review of J. Minias' plan
                                issues list and follow-up e-mails with members re
                                same (.3); follow-up with Rothschild team re
                                information requests and coordination with A&M
                                (.2).

07/18/23    Erin E. Broderick   E-mails with members re Debtors' plan                    B320       2.50   2,275.00
                                term sheet (.2); telephone call with member re
                                same (1.0); review and analyze issues list
                                prepared by J. Minias of Willkie Farr to
                                incorporate in legal and financial issues
                                list/information requests (1.0); e-mail to J. Minias
                                re constructive trust theories/claim subordination
                                (.2); follow-up with K. Hansen re ad hoc
                                committee meeting (.1).

07/18/23    Jennifer B.         Emails with Ad Hoc Exec Committee re: plan               B320       0.30    285.00
            Kimble              support and next steps.

07/19/23    Erin E. Broderick   E-mails with K. Hansen re UCC meeting and                B320       3.80   3,458.00
                                NDAs/information sharing (.2); review UCC
                                bylaws and Debtors' NDAs in connection with
                                same (.3); conduct research re plan analysis
                                (1.6); telephone call with A. Dietderich re plan
                                issues and next steps (.5); follow-up with
                                Rothschild on financial information requests/A&M
                                meeting (.2); work on mark-up to Debtors' term
                                sheet (1.0).
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Date        Timekeeper          Narrative                                            Task     Hours    Amount

07/20/23    Erin E. Broderick   Follow-up with Executive Committee members re        B320       1.20   1,092.00
                                claim information and Debtors' preference
                                analysis (.5); e-mail to A. Kranzley re same (.1);
                                follow-up on open NDAs and information sharing
                                between Rothschild and non-EC members of Ad
                                Hoc (.4); review information shared with
                                Rothschild by A&M and request for access (.2).

07/21/23    Jennifer B.         Review information re: plan term sheet.              B320       0.30    285.00
            Kimble

07/21/23    Jennifer B.         Review preference memo and begin drafting            B320       0.60    570.00
            Kimble              preference background sections.

07/21/23    Erin E. Broderick   Follow-up with Rothschild and A. Kranzley re         B320       1.50   1,365.00
                                sharing of A&M waterfall presentation (.2);
                                review and analyze same for plan discussion
                                note and information requests (1.0); follow-up
                                with K. Hansen re UCC meeting and follow-up
                                with Executive Committee members re
                                scheduling of same (.1); review Genesis docket
                                for update on FTX claims/dispute (.2).

07/22/23    Erin E. Broderick   Revise mark-up to Debtors' term sheet per            B320       2.00   1,820.00
                                Debtors' waterfall analysis and work on plan
                                research relating to unfair discrimination and
                                constructive trust arguments.

07/22/23    Jennifer B.         Work on preference memo.                             B320       0.30    285.00
            Kimble

07/23/23    Jennifer B.         Review emails re: Ad Hoc Committee call and          B320       0.30    285.00
            Kimble              plan term sheets.

07/23/23    Jennifer B.         Review and analyze A&M waterfall.                    B320       0.40    380.00
            Kimble

07/23/23    Peter A. Ivanick    Review A&M's initial Waterfall analysis.             B320       0.20    340.00

07/23/23    Erin E. Broderick   Finish mark-up of Debtors' term sheet for            B320       1.60   1,456.00
                                discussion (.5); e-mails with J. Minias and
                                member re same and waterfall analysis (.4);
                                follow-up with A. Dietderich re same (.2);
                                scheduling UCC meeting and work on deck for
                                presenting (.5).

07/24/23    Peter A. Ivanick    Review and consider E. Broderick initial mark-up     B320       0.30    510.00
                                of Plan Term Sheet and Plan issues memo.
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Date        Timekeeper          Narrative                                             Task   Hours    Amount

07/24/23    Erin E. Broderick   E-mails with Executive Committee restricted           B320     6.80   6,188.00
                                group re comments on Debtors' waterfall
                                analysis and plan issues (.6); further review and
                                revision of Debtors' plan term sheet and prepare
                                separate distributions for professionals vs.
                                restricted vs. unrestricted members of plan
                                materials (1.0); follow-up on questions re
                                privilege and trading restrictions with Rothschild
                                and unrestricted members (.6); attend call with
                                Executive Committee and professionals re plan
                                terms and agenda for Debtors' call (1.5); further
                                review and revision to term sheet and analysis of
                                plan issues based on member feedback (1.2);
                                circulate same for comment (.1); follow-up with
                                A. Dietderich re preliminary terms to stay
                                litigation to negotiate plan (.4); call with member
                                re plan issues (.5); call with J. Minias re same
                                (.5); follow-up with Rothschild on plan input and
                                status with A&M (.3); scheduling morning call
                                (.1).

07/24/23    Erin E. Broderick   Telephone call with member re plan positions,         B320     1.20   1,092.00
                                including on valuation methodologies and
                                preference settlement procedures (1.0); follow-
                                up re same with A&M (.2).

07/24/23    David A. Wender     Review updated plan related documents.                B320     0.30    330.00

07/24/23    Jennifer B.         Emails with E. Broderick re: Ad Hoc Call.             B320     0.30    285.00
            Kimble

07/24/23    Jennifer B.         Work on preference memo research.                     B320     2.60   2,470.00
            Kimble

07/24/23    Jennifer B.         Review Plan issues Memo.                              B320     0.50    475.00
            Kimble

07/25/23    Nathaniel T.        Correspond with members re potential plan             B320     0.20    140.00
            DeLoatch            issues.

07/25/23    Jennifer B.         Continue drafting preference memo.                    B320     2.30   2,185.00
            Kimble

07/25/23    Jennifer B.         Research cases for preference memo.                   B320     0.60    570.00
            Kimble

07/25/23    Jennifer B.         Revise preference memo and emails with E.             B320     0.60    570.00
            Kimble              Broderick re: the same.

07/25/23    Erin E. Broderick   Review and analyze A. Dietderich's preliminary        B320     2.50   2,275.00
                                response to plan comments, particularly the RRT
                                and governance issues, and draft separate
                                updates for professionals and restricted group
                                with some initial analysis/recommendations (2.0);
                                follow-up e-mails and short call with Executive
                                Committee members re their thoughts on the
                                RRT and post-confirmation issues (.5).
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Date        Timekeeper          Narrative                                             Task     Hours    Amount

07/25/23    Erin E. Broderick   Call with J. Minias re additional                     B320       4.30   3,913.00
                                comments/concerns on plan term sheet (1.0);
                                revise term sheet per same (.3); follow-up with
                                member and incorporate further comments (.6);
                                send final mark-up to A. Dietderich and all
                                restricted members with cover note (.2); internal
                                follow-up on plan status (1.0); calls and emails
                                with member re the Debtors' proposed valuation
                                motion and analyze issues around same (1.2).

07/25/23    Erin E. Broderick   Review revisions to preference analysis by J.         B320       0.90    819.00
                                Kimble and comment on same (.5); distributions
                                to separate groups of plan materials (.4).

07/26/23    Erin E. Broderick   Call with S. Shnayder re specific issues in plan      B320       2.90   2,639.00
                                construct to discuss with members and UCC
                                presentation (1.0); follow-up re form of
                                presentation and work on deck (1.0); review and
                                analyze outline prepared by S. Shnayder (.5);
                                email to internal team to recommend
                                presentation approach (.2); e-mails with
                                Executive Committee on attendance for UCC
                                plan call (.2).

07/26/23    Jennifer B.         Review information re: preference memo.               B320       0.40    380.00
            Kimble

07/26/23    Jennifer B.         Review S&C plan term comments as sent to Ad           B320       0.30    285.00
            Kimble              Hoc Executive Committee.

07/26/23    Jennifer B.         Review preference information included in             B320       0.30    285.00
            Kimble              Debtors’ presentations.

07/27/23    Jennifer B.         Review email from S&C re: updated plan term           B320       0.30    285.00
            Kimble              sheet and timeline for filing plan.

07/27/23    Erin E. Broderick   Review outline prepared by Rothschild on              B320       4.50   4,095.00
                                discussion items for UCC (.5); draft talking points
                                for UCC meetings for restricted group (.5); attend
                                pre-call discussion for UCC meeting (.5); attend
                                meeting with UCC members and professionals
                                and restricted group of Ad Hoc Committee (1.0);
                                follow-up re exchange of drafts with UCC and
                                Debtors and information sharing with FTI with
                                Rothschild (.3); e-mails with Executive
                                Committee members re reactions to meeting and
                                points of alignment (.4); call with member re
                                same (.5); review and analyze Sam Bankman-
                                Fried complaint and financial status report filed
                                by Debtors as helpful for plan arguments and
                                positioning and e-mails and call to N. DeLoatch
                                and Rothschild team re same (.8).

07/28/23    Nathaniel T.        Review and analyze correspondence with E.             B320       0.20    140.00
            DeLoatch            Broderick re plan issues.
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Date        Timekeeper          Narrative                                              Task     Hours    Amount

07/28/23    Sarah E. Paul       Call with E. Broderick to discuss drafting of plan     B320       1.50   1,702.50
                                response statement and Rothschild retention
                                questions (1.2); emails with Rothschild re:
                                retention and KYC requirements (0.2); emails
                                with Willkie re same (0.1).

07/28/23    Erin E. Broderick   Review and analyze Debtors' plan and plan term         B320       4.60   4,186.00
                                sheet (1.2); send initial response to A. Dietderich
                                (.1); summarize and distribute to restricted group
                                (.4); start drafting plan issues chart and
                                consultation of public materials re same (1.0);
                                call with S. Paul re statement in response to plan
                                filing (1.2); follow-up emails with restricted group
                                re response to amended term sheet (.3); follow-
                                up with Rothschild re input for plan position
                                statement and status of A&M discussions (.4).

07/28/23    Erin E. Broderick   Follow-up with A&M and members re Debtors'             B320       0.60    546.00
                                valuation of perpetual future positions and
                                analysis of same.

07/28/23    Jennifer B.         Review and analyze redline plan term sheet             B320       1.00    950.00
            Kimble              received from Debtors.

07/29/23    Erin E. Broderick   E-mails and discussions with restricted group          B320       5.30   4,823.00
                                and professionals re response to Debtors' draft
                                plan and term sheet (2.2); call with A. Dietderich
                                re same and plan-related issues (.7); review and
                                analyze preliminary plan support terms and fee
                                reimburse provisions (.2); e-mail follow-ups with
                                members and Debtors re same (.5); discuss
                                same with internal group (.3); review and analyze
                                revised plan term sheet and circulation to
                                restricted group with commentary (.4); follow-up
                                with S. Paul and media team re communications
                                around plan and drafting of
                                statements/positioning re same (.8); follow-up e-
                                mails with members re trading restrictions and
                                response to amended terms (.2).

07/29/23    Sarah E. Paul       Discussions with E. Broderick re draft plan status     B320       0.30    340.50
                                and next steps.

07/30/23    Sarah E. Paul       Review draft plan term sheet (0.3); review             B320       2.00   2,270.00
                                comparative plan issues chart (0.2); call with
                                Executive Committee to walk through
                                comparative plan issues chart and discuss next
                                steps (1.5).

07/30/23    Nathaniel T.        Review correspondence re plan negotiations and         B320       0.60    420.00
            DeLoatch            related issues.
               Case 22-11068-JTD            Doc 4102-3       Filed 11/22/23           Page 60 of 182
Matter No. 96490-0001                        Bill No: 1273559                                               Page 20

Date        Timekeeper          Narrative                                               Task     Hours     Amount

07/30/23    Erin E. Broderick   Review and analyze Debtors' long-form plan of           B320       6.30    5,733.00
                                liquidation and term sheet and draft comparative
                                plan issues chart for restricted group (1.8);
                                review decision on trust arguments and brief
                                additional research for next steps to include in
                                issues chart (.7); video call with restricted group
                                and Rothschild team re issues chart, mark-up of
                                Debtors' plan term sheet and plan position
                                statement (1.5); follow-up e-mail with members,
                                Rothschild and S. Paul re comments to same
                                (.3); comment on Debtors' term sheet, circulate
                                to restricted group for comments and
                                incorporation of same to send to Debtors (2.0).

07/30/23    Peter A. Ivanick    Review E. Broderick email re: plan status, review       B320       0.30      510.00
                                and consider E. Broderick mark-up of plan term
                                sheet and cover note.

07/31/23    Nathaniel T.        Review correspondence and analysis of                   B320       0.70      490.00
            DeLoatch            disclosure issues.

07/31/23    Jennifer B.         Review update on status of plan term sheet and          B320       1.00      950.00
            Kimble              comparative plan issues chart.

07/31/23    David A. Wender     Analyze plan updates and related revisions.             B320       0.60      660.00

07/31/23    Erin E. Broderick   Call with A. Dietderich re comments to the              B320       5.30    4,823.00
                                Debtors’ plan term sheet (.3); work on
                                comparative issues chart, research and financial
                                diligence requests in connection therewith to
                                send to S&C/A&M (2.0); call with S. Paul re
                                themes for plan position paper (.4); draft press
                                release statement (1.0); review and analyze
                                Debtors filed plan and UCC statement in
                                response (.5); prepare separate distributions for
                                members, restricted group, and professionals
                                and instructions re establishing distribution lists
                                (.5); revise press release statement (.3); attend
                                call with A&M re features of Debtors’ valuation
                                motion/methodology (.3).

07/31/23    Sarah E. Paul       Call with E. Broderick re case strategy and next        B320       1.10    1,248.50
                                steps and plan position paper (0.4); review
                                debtors complaint against Sam Bankman-Fried
                                and others as background for plan response
                                (0.7).

                                Total for B320 - Plan and Disclosure
                                Statement (including Business Plan)                               112.40 106,147.50
B330 - Fee Reimbursement Motion
07/05/23    Jennifer B.         Review Ad Hoc email exchange with S&C re: FA            B330       0.30      285.00
            Kimble              and budget.

07/13/23    Jennifer B.         Review Rothschild retention proposal.                   B330       0.40      380.00
            Kimble
               Case 22-11068-JTD            Doc 4102-3      Filed 11/22/23          Page 61 of 182
Matter No. 96490-0001                        Bill No: 1273559                                            Page 21

Date        Timekeeper          Narrative                                             Task     Hours    Amount

07/13/23    Jennifer B.         Review Rothschild comments to NDA.                    B330       0.20    190.00
            Kimble

07/14/23    Jennifer B.         Review revisions to Rothschild NDA.                   B330       0.30    285.00
            Kimble

07/18/23    Erin E. Broderick   E-mail to J. Kimble and D. Wender re Rothschild       B330       2.40   2,184.00
                                retention and fee reimbursement terms (.5);
                                follow-up with Rothschild re same (.2); call with
                                A. Dietderich re same (.2); e-mail to working
                                group re Debtors' fee agreement terms (.3);
                                follow up with internal team re process points
                                (.2); e-mails with Rothschild team re retention
                                agreement (.4); attend call with Rothschild team
                                re same (.6).

07/18/23    David A. Wender     Analyze correspondence related to Rothschild          B330       0.20    220.00
                                engagement.

07/18/23    Jennifer B.         Emails with E. Broderick and D. Wender re: Fee        B330       0.40    380.00
            Kimble              Arrangement and Rothschild Success Fee.

07/19/23    Erin E. Broderick   E-mails with Debtors, Rothschild, Executive           B330       1.10   1,001.00
                                Committee and internal team re Rothschild
                                retention terms and open issues (.6); draft
                                revised terms of fee agreement per discussion
                                with A. Dietderich (.5).

07/19/23    Jennifer B.         Emails with ES team re: Rothschild retention and      B330       0.40    380.00
            Kimble              fee arrangement with Debtors.

07/19/23    Erin E. Broderick   Call with A. Dietderich re update on fee request      B330       0.90    819.00
                                and information needed on membership (.4);
                                gather information requested and related
                                outreach (.5).

07/20/23    Erin E. Broderick   Review MNAT retention terms and discussions           B330       0.50    455.00
                                re fee reimbursement protocol and needed
                                revisions.

07/20/23    Jennifer B.         Emails with ES and S&C Teams re: Rothschild           B330       0.20    190.00
            Kimble              retention and plan items.
               Case 22-11068-JTD            Doc 4102-3       Filed 11/22/23         Page 62 of 182
Matter No. 96490-0001                        Bill No: 1273559                                            Page 22

Date        Timekeeper          Narrative                                             Task     Hours    Amount

07/21/23    Erin E. Broderick   E-mails with internal team re fee terms to confirm    B330       3.90   3,549.00
                                with Debtors (.4); review and revise same (.2);
                                follow-up with Rothschild team re same and
                                status of retention (.2); video conference with
                                Rothschild team re retention structure (.7); follow
                                up with C. Hodges and members re NDA
                                executions (.4); follow-up with A. Kranzley, and
                                certain members re claim information requested
                                by Debtors (.2); brief research re privilege and
                                retention structures utilized in other chapter 11
                                cases (1.0); e-mail to A. Dietderich re fee
                                proposal and Rothschild retention status (.2);
                                follow-up with internal team re related issues and
                                proposed structuring (.4); e-mail to member and
                                J. Minias re status of retention and concerns re
                                information sharing (.2).

07/22/23    Jennifer B.         Emails with ES and MN Teams re: retention of          B330       0.30    285.00
            Kimble              Rothschild and structure.

07/22/23    Erin E. Broderick   Follow-up e-mail to internal group to propose         B330       2.00   1,820.00
                                Rothschild retention structure and information
                                sharing protocol (.5); e-mails with J. Minias re
                                same (.2); e-mail to A. Dietderich and A.
                                Kranzley re same (.1); review PG&E Rothschild
                                retention and follow-up with Rothschild team re
                                suggested structuring (.5); follow-up with
                                member on NDA execution (.1); review bylaws re
                                revisions needed for Rothschild retention (.4);
                                follow-up emails with J. Kimble, M. Harvey and
                                P. Ivanick re same (.2).

07/22/23    Peter A. Ivanick    Emails from/to E. Broderick, M. Harvey and            B330       0.30    510.00
                                others re: Rothschild retention issues and
                                possible solutions.

07/24/23    Erin E. Broderick   Follow-up with S&C re member holdings (.2);           B330       0.70    637.00
                                follow-up on Rothschild retention and fee
                                reimbursement agreement (.5).

07/24/23    Erin E. Broderick   Call with Rothschild legal team re retention          B330       1.40   1,274.00
                                structure and terms (1.0); follow-up with S&C
                                and Rothschild (.4).

07/26/23    Erin E. Broderick   E-mails to Rothschild re retention status (.5);       B330       1.30   1,183.00
                                calls with C. Delo and S. Shnayder re same (.4);
                                updates to internal team and Executive
                                Committee on status of retention (.4).

07/27/23    Erin E. Broderick   Follow-up with Rothschild on status of retention      B330       1.80   1,638.00
                                terms and considerations (.5); follow-up with A.
                                Dietderich re fee reimbursement process and
                                approvals (.1); call with P. East re same and
                                explanation of bankruptcy requirements for fee
                                applications (1.0); e-mail to S. Paul re expanded
                                conflicts check (.2).
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Matter No. 96490-0001                        Bill No: 1273559                                               Page 23

Date        Timekeeper          Narrative                                              Task     Hours      Amount

07/29/23    Peter A. Ivanick    Review debtor's markup of term sheet and draft         B330       0.30      510.00
                                fee agreement and email to/from E. Broderick re:
                                timing of payment.

07/29/23    Erin E. Broderick   E-mails with four members re updated                   B330       0.50      455.00
                                agreement with Debtors on fee terms and
                                discussion of confidentiality protections.

07/30/23    Sarah E. Paul       Coordinate with E. Broderick and Rothschild re         B330       0.30      340.50
                                engagement requirements.

07/30/23    Erin E. Broderick   Follow-up with Rothschild legal team and               B330       0.90      819.00
                                Debtors re retention agreement and terms of
                                agreement with Debtors (.4); review of
                                indemnification and other provisions requested
                                by Rothschild (.1); follow-up with S. Paul re same
                                (.2); revise language of professional fee
                                reimbursement agreement and stipulation of
                                adversary proceeding stay (.2).

07/31/23    Erin E. Broderick   Finalize terms of professional fee reimbursement       B330       1.10     1,001.00
                                with Debtors and Rothschild (.1); emails with S.
                                Paul and Executive Committee members re
                                status and structure of Rothschild retention (.4);
                                attend call with Rothschild legal team and S.
                                Paul re retention (.6).

                                Total for B330 - Fee Reimbursement Motion                         22.10   20,790.50
B410 - General Bankruptcy Advice/Opinions
07/07/23    Erin E. Broderick   Update to UK colleagues re status of case and          B410       1.00      910.00
                                foreign proceedings.

07/17/23    Nathaniel T.        Review and correspond with attorney working            B410       0.20      140.00
            DeLoatch            group re WIP.

07/17/23    Jennifer B.         Prepare for and attend internal planning call with     B410       0.80      760.00
            Kimble              Ad Hoc Professionals (partial attendance).

07/18/23    Nathaniel T.        Review internal correspondence re committee            B410       0.30      210.00
            DeLoatch            action items.

07/19/23    Erin E. Broderick   Follow-up with internal team re delegation of          B410       0.20      182.00
                                open item tasks.

07/19/23    Erin E. Broderick   Draft e-mail to internal team, Rothschild and          B410       0.50      455.00
                                Executive Committee re status updates and
                                open items.

07/24/23    Erin E. Broderick   Updates to open task list and e-mail to suggest        B410       0.30      273.00
                                delegation.

07/25/23    Erin E. Broderick   Call with N. DeLoatch re AHC open items.               B410       0.50      455.00

07/25/23    Nathaniel T.        Prepare for (0.3) and attend call with E.              B410       0.80      560.00
            DeLoatch            Broderick re AHC actions items (0.5).
                 Case 22-11068-JTD            Doc 4102-3        Filed 11/22/23       Page 64 of 182
 Matter No. 96490-0001                         Bill No: 1273559                                                    Page 24

Date          Timekeeper          Narrative                                              Task        Hours        Amount

07/28/23      Erin E. Broderick   Call with M. Harvey re open items (.4); work on        B410          0.90        819.00
                                  updating task list for internal group and restricted
                                  members (.5).

07/30/23      Erin E. Broderick   Follow-up with internal working re open items.         B410          0.40        364.00
                                  Total for B410 - General Bankruptcy
                                  Advice/Opinions                                                          5.90   5,128.00


                                                                                           Fees               $228,456.50

B110 Case Administration
Jennifer B. Kimble                                           0.50    Hours @ 950.00               475.00
Erin E. Broderick                                            2.50    Hours @ 910.00             2,275.00
Nathaniel T. DeLoatch                                        0.30    Hours @ 700.00               210.00
                                                             3.30                                                  2,960.00

B112 General Creditor Inquiries
Peter A. Ivanick                                             0.20          Hours @               340.00
                                                                           1,700.00
Erin E. Broderick                                           10.60    Hours @ 910.00             9,646.00
Nathaniel T. DeLoatch                                        1.80    Hours @ 700.00             1,260.00
Devorah Hirsch                                              21.60    Hours @ 240.00             5,184.00
                                                            34.20                                                 16,430.00

B113 Case Analysis/Pleading Review
Peter A. Ivanick                                             1.20          Hours @              2,040.00
                                                                           1,700.00
Jennifer B. Kimble                                           2.80    Hours @ 950.00             2,660.00
Erin E. Broderick                                            3.00    Hours @ 910.00             2,730.00
                                                             7.00                                                  7,430.00

B140 Relief from Stay and Adequate Protection
Peter A. Ivanick                                             0.10            Hours @             170.00
                                                                             1,700.00
                                                             0.10                                                   170.00

B150 Meetings of and Communications with Creditors
Peter A. Ivanick                                             3.40          Hours @              5,780.00
                                                                           1,700.00
Jennifer B. Kimble                                           0.40    Hours @ 950.00               380.00
Erin E. Broderick                                            1.60    Hours @ 910.00             1,456.00
Devorah Hirsch                                               0.50    Hours @ 240.00               120.00
                                                             5.90                                                  7,736.00

B160 Fee/Employment Applications
Erin E. Broderick                                            0.40    Hours @ 910.00              364.00
                                                             0.40                                                   364.00

B190 Other Contested Matters (excluding assumption/rejection motions)
Peter A. Ivanick                                         0.40              Hours @               680.00
                                                                           1,700.00
Jennifer B. Kimble                                           0.20    Hours @ 950.00               190.00
Erin E. Broderick                                            4.80    Hours @ 910.00             4,368.00
                                                             5.40                                                  5,238.00

B191 General Litigation
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Peter A. Ivanick                                         0.10         Hours @       170.00
                                                                      1,700.00
Erin E. Broderick                                        0.20   Hours @ 910.00      182.00
                                                         0.30                                    352.00

B260 Corporate Governance and Board Matters
Peter A. Ivanick                                         1.00         Hours @      1,700.00
                                                                      1,700.00
Sarah E. Paul                                            0.40         Hours @       454.00
                                                                      1,135.00
Jennifer B. Kimble                                       0.60   Hours @ 950.00       570.00
Erin E. Broderick                                       16.30   Hours @ 910.00    14,833.00
Nathaniel T. DeLoatch                                    1.60   Hours @ 700.00     1,120.00
Devorah Hirsch                                           1.90   Hours @ 240.00       456.00
                                                        21.80                                  19,133.00

B270 AHC Member Communications & Meetings
Peter A. Ivanick                                         1.10         Hours @      1,870.00
                                                                      1,700.00
Jennifer B. Kimble                                       3.50   Hours @ 950.00     3,325.00
Erin E. Broderick                                       17.70   Hours @ 910.00    16,107.00
Nathaniel T. DeLoatch                                   12.50   Hours @ 700.00     8,750.00
Devorah Hirsch                                           1.00   Hours @ 240.00       240.00
                                                        35.80                                  30,292.00

B310 Claims Administration and Objections
Sarah E. Paul                                            0.90         Hours @      1,021.50
                                                                      1,135.00
Erin E. Broderick                                        5.40   Hours @ 910.00     4,914.00
Nathaniel T. DeLoatch                                    0.50   Hours @ 700.00       350.00
                                                         6.80                                   6,285.50

B320 Plan and Disclosure Statement (including Business Plan)
Peter A. Ivanick                                         2.80         Hours @      4,760.00
                                                                      1,700.00
Sarah E. Paul                                            4.90         Hours @      5,561.50
                                                                      1,135.00
David A. Wender                                          3.20         Hours @      3,520.00
                                                                      1,100.00
Jennifer B. Kimble                                      19.00   Hours @ 950.00    18,050.00
Erin E. Broderick                                       78.60   Hours @ 910.00    71,526.00
Nathaniel T. DeLoatch                                    3.90   Hours @ 700.00     2,730.00
                                                       112.40                                 106,147.50

B330 Fee Reimbursement Motion
Peter A. Ivanick                                         0.60         Hours @      1,020.00
                                                                      1,700.00
Sarah E. Paul                                            0.30         Hours @       340.50
                                                                      1,135.00
David A. Wender                                          0.20         Hours @       220.00
                                                                      1,100.00
Jennifer B. Kimble                                       2.50   Hours @ 950.00     2,375.00
Erin E. Broderick                                       18.50   Hours @ 910.00    16,835.00
                                                        22.10                                  20,790.50

B410 General Case Strategy
Jennifer B. Kimble                                       0.80   Hours @ 950.00       760.00
Erin E. Broderick                                        3.80   Hours @ 910.00     3,458.00
Nathaniel T. DeLoatch                                    1.30   Hours @ 700.00       910.00
                                                         5.90                                   5,128.00
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Matter No. 96490-0001               Bill No: 1273559                                    Page 26



                                                             261.40                   228,456.50

                                            TOTAL CURRENT BILLING                   $228,456.50
        Case 22-11068-JTD           Doc 4102-3     Filed 11/22/23    Page 67 of 182



        Name                Title      Practice Group;    Hourly     Hours      Amount
                                        Date of First      Rate      Billed      Billed
                                         Admission
Ivanick, Peter A.        Partner      Insurance          $1,700.00     10.90     18,530.00
                                      Transactions &
                                      Products, 1983
Paul, Sarah              Partner      Litigation, 2004   $1,135.00      6.50      7,377.50

Wender, David A.         Partner      Finance, 2003    $1,100.00        3.40      3,740.00
                                                    Partner Total      20.80     29,647.50
Broderick, Erin E.       Senior       Finance, 2008      $910.00                148,694.00
                         Counsel                                      163.40
Kimble, Jennifer B.      Senior       Finance, 2005       $950.00      30.30     28,785.00
                         Counsel
                                              Senior Counsel Total              177,479.00
                                                                      193.70
DeLoatch, Nathaniel T.   Associate    Finance, 2019       $700.00      21.90     15,330.00

                                                   Associate Total     21.90     15,330.00
Hirsch, Devorah          Paralegal    Litigation          $240.00      25.00      6,000.00
                                                   Paralegal Total     25.00      6,000.00

Total                                                                 261.40   $228,456.50
Blended Hourly Rate: $962.00
          Case 22-11068-JTD        Doc 4102-3      Filed 11/22/23       Page 68 of 182



                                                                         Hours        Amount
U.S. Trustee Task Code and Project Category                              Billed       Billed
B110 Case Administration                                                       3.30        2,960.00
B112 General Creditor Inquiries                                               34.20       16,430.00
B113 Case Analysis/Pleading Review                                             7.00        7,430.00
B140 Relief from Stay and Adequate Protection                                  0.10          170.00
B150 Meetings of and Communications with External Stakeholders                 5.90        7,736.00
B160 Fee/Employment Applications                                               0.40          364.00
B190 Other Contested Matters (excluding assumption/rejection motions)          5.40        5,238.00
B191 General Litigation                                                        0.30          352.00
B260 Corporate Governance and Board Matters)                                  21.80       19,133.00
B270 AHC Member Communications & Meetings                                     35.80       30,292.00
B310 KYC Process and Claims Administration                                     6.80        6,285.50
B320 Plan and Disclosure Statement (including Business Plan)                 112.40     106,147.50
B330 Fee Reimbursement Motion                                                 22.10       20,790.50
B410 General Case Strategy                                                     5.90        5,128.00
                                                                             261.40   $228,456.50
   Case 22-11068-JTD          Doc 4102-3   Filed 11/22/23   Page 69 of 182
                                                             Eversheds Sutherland (US) LLP
                                                             700 Sixth Street, NW
                                                             Suite 700
                                                             Washington, DC 20001-3980

                                                             T: +1 202 383 0100

                                                             eversheds-sutherland.com

                                                             IRS Employer ID No: XX-XXXXXXX

                                                             Electronic Remittance Instructions:
                                                             Bank Name: Wells Fargo Bank, N.A.
                                                             Acct Name: Eversheds Sutherland (US) LLP
                                                             Acct Number: 5233576718
                                                             Wire Routing/ABA: 121000248
                                                             ACH Routing: 061000227
                                                             SWIFT Code: WFBIUS6S
                                                             Check Remittance Instructions:
                                                             Eversheds Sutherland (US) LLP
                                                             PO Box 931885
                                                             Atlanta, GA 31193-1885



Ad Hoc Committee of Non-US Customers of FTX.com
C/O FTX Trading Ltd.
                                                             Bill No.      1273675
                                                             Bill Date     November 22, 2023

Matter No:      96490.0001
RE:             FTX Bankruptcy

FOR LEGAL SERVICES RENDERED From August 1, 2023 through August 31, 2023


Fees                                                                                    $408,512.50

Total Current Disbursements                                                               $1,102.45

Total Current Bill                                                                      $409,614.95
                Case 22-11068-JTD            Doc 4102-3       Filed 11/22/23           Page 70 of 182
 Matter No. 96490-0001                        Bill No: 1273675                                              Page 2


FOR LEGAL SERVICES RENDERED From August 1, 2023 through August 31, 2023

 Date        Timekeeper          Narrative                                               Task     Hours    Amount
 B110 - Case Administration

 08/01/23    Erin E. Broderick   Coordinate with P. Topper and D. Hirsch                 B110       0.40    364.00
                                 regarding updates to working group list and
                                 distribution lists.

 08/07/23    Nathaniel T.        Correspond with D. Hirsch re: draft of 2019             B110       1.50   1,050.00
             DeLoatch            statement (.2); correspond with D. Wender and
                                 E. Broderick re: same (.1); draft second
                                 supplemental 2019 statement (1.2).

 08/07/23    Devorah Hirsch      Update Exhibit A to Third Supplemental Rule             B110       2.00    480.00
                                 2019 Statement.

 08/07/23    Devorah Hirsch      Review numerous emails to/from team and                 B110       3.00    720.00
                                 members re: case status and open items (1.5);
                                 update various charts/trackers as required re:
                                 same (1.5).

 08/08/23    Nathaniel T.        Correspondence with D. Hirsch re: draft of              B110       1.50   1,050.00
             DeLoatch            second supplemental 2019 statement (.4);
                                 correspond with D. Wender and E. Broderick re:
                                 same (.2); review and revise draft of second
                                 supplemental 2019 statement (.9).

 08/08/23    Devorah Hirsch      Revise Second Supplemental Rule 2019                    B110       2.00    480.00
                                 Statement with new information.

 08/09/23    Nathaniel T.        Correspond with D. Hirsch re: draft of 2019             B110       2.70   1,890.00
             DeLoatch            statement (.2); correspond with E. Broderick re:
                                 same (.1); review draft of second suppl. 2019
                                 statement prior to filing (2.1); correspond with D.
                                 Hirsch re: same (.1); call with member of
                                 committee re: same (.1); correspond with M.
                                 Harvey from MNAT re: same (.1).

 08/09/23    Devorah Hirsch      Attention to Second Supplemental Rule 2019              B110       1.80    432.00
                                 Statement.

 08/09/23    Erin E. Broderick   Final review of 2019 statement drafts and related       B110       0.60    546.00
                                 confirmations/emails with members and team on
                                 filing (.6).

 08/14/23    Erin E. Broderick   E-mails with Rothschild team, S&C and                   B110       1.80   1,638.00
                                 Executive Committee re: open issues to
                                 complete Rothschild retention (.8); short calls
                                 with C. Delo and S. Shnayder re: same (.5); calls
                                 with A. Kranzley re: same (.5).
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Matter No. 96490-0001                         Bill No: 1273675                                               Page 3

Date         Timekeeper          Narrative                                              Task     Hours      Amount

08/15/23     Erin E. Broderick   Review and respond to numerous e-mails with            B110       2.60     2,366.00
                                 Rothschild legal team re: KYC process (.3); call
                                 with member re: Rothschild retention (.3); two
                                 calls with A. Kranzley re: same (.3); correspond
                                 with D. Wender re: financial advisor (.2); further
                                 emails with K. Taylor (Rothschild) to resolve
                                 reimbursement agreement issues (.5) follow-up
                                 with Executive Committee re: same (.4); call with
                                 C. Delo and S. Shnayder re: resolution of open
                                 issues (.2); follow-up with EC members and S.
                                 Paul re: next steps on Rothschild retention (.3);
                                 update S&C on status (.1); review and revise
                                 short all-member update and resolution to adopt
                                 amended bylaws (.1).

08/23/23     Erin E. Broderick   Call and emails with D. Hirsch re: updates to          B110       0.60      546.00
                                 member files/KYC data protections and
                                 coordination with new team members (.5);
                                 finalize review of resolutions and signature
                                 pages to release (.1).

08/28/23     Jennifer B.         Review docket and recent filings.                      B110       0.20      190.00
             Kimble

08/29/23     Erin E. Broderick   Review status of fee incurrence and work on            B110       1.00      910.00
                                 budgeting and staffing recommendations (1.0).

08/30/23     Devorah Hirsch      Update Working Group and email distribution            B110       0.50      120.00
                                 lists (.5).

08/31/23     Michael A.          Review and revise 2019 Statement (1.5);                B110       5.00     3,675.00
             Rogers              prepare revised list of holders names, unique ID
                                 numbers, and claims amount (3.5).

                                 Total for B110 - Case Administration                              27.20   16,457.00
B112 - General Creditor Inquiries
08/01/23     Devorah Hirsch      Attention to onboarding Ad Hoc Committee               B112       1.00      240.00
                                 Members.

08/08/23     Nathaniel T.        Review and respond to non-US customer                  B112       0.20      140.00
             DeLoatch            inquiries re: case.

08/08/23     Erin E. Broderick   Emails with D. Hirsch to coordinate on new             B112       0.50      455.00
                                 members and parties interested in joining
                                 materials and respond to same.

08/10/23     Devorah Hirsch      Attention to onboarding member of Ad Hoc               B112       0.40       96.00
                                 Committee.

08/13/23     Erin E. Broderick   Respond to customers interested in joining ad          B112       0.30      273.00
                                 hoc committee and schedule introductory calls.

08/15/23     Erin E. Broderick   Zoom conference with member to join ad hoc             B112       1.20     1,092.00
                                 group (1.0); follow-up with member re: same (.2).

08/16/23     Devorah Hirsch      Attention to on boarding potential ad hoc              B112       0.50      120.00
                                 committee member.
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08/19/23    Nathaniel T.        Correspond with and respond to inquiries from      B112       0.50      350.00
            DeLoatch            various non-US customers re: AHC plan support
                                statement and general case updates.

08/20/23    Devorah Hirsch      Attention to onboarding new members of Ad Hoc      B112       1.00      240.00
                                Committee.

08/21/23    Devorah Hirsch      Attention to onboarding new members.               B112       1.00      240.00

08/23/23    Devorah Hirsch      Attention to onboarding members to ad hoc          B112       1.00      240.00
                                committee.

08/24/23    Erin E. Broderick   Follow-up with D. Hirsch and FTX.com               B112       0.40      364.00
                                customers regarding AHC role and membership
                                requirements.

08/28/23    Devorah Hirsch      Attention to onboarding new member.                B112       0.40       96.00

08/28/23    Erin E. Broderick   Telephone call with FTX.com customers              B112       1.00      910.00
                                interested in joining the ad hoc committee
                                regarding status of case and AHC’s role.

08/29/23    Devorah Hirsch      Attention to onboarding new member (1.0);          B112       2.00      480.00
                                prepare for Town Hall meetings (1.0).

08/30/23    Erin E. Broderick   Finalize AHC overview and outreach to pending      B112       0.50      455.00
                                interested customers.

08/30/23    Nathaniel T.        Review and revise non-committee members            B112       1.60     1,120.00
            DeLoatch            informational materials re: case status (1.2);
                                correspond with E. Broderick re: same (.2);
                                correspond with member re: same (.2).

08/31/23    Michael A.          Coordinate with D. Hirsch re: new member           B112       1.50     1,102.50
            Rogers              recruitment (.5); prepare documents for
                                committee recruiting, review document and
                                template formatting (1.0).

08/31/23    Michael A.          Review AHC structure and overview documents        B112       0.80      588.00
            Rogers              (.3); review, draft, and edit materials for
                                development of AHC member recruiting
                                documents (.5).

08/31/23    Devorah Hirsch      Attention to onboarding new members.               B112       2.50      600.00

08/31/23    Erin E. Broderick   Review and comment on AHC overview                 B112       1.00      910.00
                                materials (.1); office conference with M. Rogers
                                re: same (.5); coordinate responses to customers
                                waiting with M. Rogers (.4).

                                Total for B112 - General Creditor Inquiries                   19.30   10,111.50
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Date        Timekeeper          Narrative                                            Task     Hours    Amount
B113 - Case Analysis/Pleading Review
08/02/23    Erin E. Broderick   Review of omnibus settlement motion and e-mail       B113       1.80   1,638.00
                                to B. Glueckstein regarding same and discussion
                                on customer preference issues (.3); further
                                review and analysis of settlement procedures
                                motion and prepare recommendation for
                                Executive Committee members with customer
                                preference context (1.0); review and analyze
                                status of Debtors’ announced monetization
                                plans/345 issues raised by UCC and follow-up
                                with D. Hilkens and A. Dietderich regarding same
                                (.5). .

08/13/23    Erin E. Broderick   Review and analyze coin monetization term            B113       1.20   1,092.00
                                sheet and summarize for purposes of member
                                input without disclosing any non-public
                                information.

08/15/23    Jennifer B.         Review email from A. Kranlzey re: monetization       B113       0.10     95.00
            Kimble              motion.

08/15/23    Jennifer B.         Review draft monetization motion.                    B113       0.90    855.00
            Kimble

08/15/23    Erin E. Broderick   Review and analyze draft coin monetization           B113       2.00   1,820.00
                                motion, prior Galaxy term sheet and summary for
                                EC members (.8); review docket for information
                                on status of adversary complaints, M&A sales
                                and other settlements (1.2).

08/16/23    Sarah E. Paul       Email to member re: request from DOJ for trial       B113       0.20    227.00
                                testimony (0.2).

08/16/23    Erin E. Broderick   Brief review of UST objection to settlement          B113       1.50   1,365.00
                                procedures motion (.2); review comments from
                                Executive Committee on coin monetization
                                motion and further review of the motion and
                                Galaxy retention terms to address points (.6);
                                follow-up with S&C to discuss same and position
                                of UCC (.5); e-mail to Executive Committee to
                                summarize same (.2).

08/18/23    David A. Wender     Review pleadings re: motion to compel                B113       0.10    110.00
                                mediation, motion to shorten notice of same;
                                AHC plan statement.

08/18/23    Erin E. Broderick   Further follow-up and analysis re: Genesis           B113       1.40   1,274.00
                                settlement (.4); emails with Rothschild re: same
                                (.2); call with S. Shnayder re: same (.5);
                                aggregate comments to coin monetization
                                motion (.3).

08/20/23    David A. Wender     Review Debtors' reply re: settlement procedures.     B113       0.30    330.00

08/20/23    Ana Rocio           Review key documents (Excel files, working           B113       4.60   3,013.00
            Monzon Woc          folders, and key pleadings); prepare
                                correspondence for committee re: KYC; confer
                                with team re: the same.
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08/21/23    David A. Wender     Review reimbursement agreements, KYC                   B113     1.00   1,100.00
                                member communication, Rothschild engagement
                                letter, and coin monetization motion.

08/21/23    Jennifer B.         Review UCC plan mediation motion.                      B113     0.80    760.00
            Kimble

08/21/23    Jennifer B.         Review memo on AHC position on coin                    B113     0.30    285.00
            Kimble              monetization motion.

08/21/23    Jennifer B.         Review draft sale and monetization motion.             B113     0.70    665.00
            Kimble

08/21/23    Erin E. Broderick   Review and analyze draft motion to retain Galaxy       B113     3.50   3,185.00
                                (1.0); update outline on coin monetization policy
                                (.3); call and emails with member re: same (.5);
                                e-mails with Rothschild team re: coin
                                monetization and Genesis diligence (.2); review
                                and comment on FTX 2.0 protocol (.5); discuss
                                same with Rothschild (.2); review Rothschild
                                inquiries to S&C re: same and respond with
                                additional questions (.3); review of docket
                                generally for items needed to discuss (.5).

08/22/23    Ana Rocio           Coordinate KYC process (1.5); review                   B113     3.50   2,292.50
            Monzon Woc          correspondence re: the same (0.5); review
                                documents re: the same (1.5).

08/22/23    Erin E. Broderick   Call with A. Kranzley on coin monetization issues      B113     1.60   1,456.00
                                (.2); update outline on monetization motion and
                                emails to members to obtain approval of terms
                                thereof (.5); check-in with Rothschild re: status of
                                information requests and analysis of open items
                                (.2); analyze Genesis settlement overview and
                                preference analysis and follow-up on remaining
                                questions for A&M/S&C (.7).

08/23/23    Jennifer B.         Review information provided by Debtors at Aug.         B113     0.50    475.00
            Kimble              23 hearing.

08/24/23    Jennifer B.         Emails with E. Broderick re: preference                B113     0.30    285.00
            Kimble              settlements.

08/24/23    Erin E. Broderick   Follow-up e-mails with Rothschild on open              B113     1.80   1,638.00
                                information requests to A&M and identify issues
                                for plan meetings/response to UCC mediation
                                motion (.5); call with J. Kimble regarding same
                                (.4); e-mail to J. Weyand re: summary of
                                pleadings for member update (.1); review and
                                analyze preference overview and Genesis
                                settlement information further (.8).

08/25/23    Jennifer B.         Review settlement procedures order.                    B113     0.30    285.00
            Kimble

08/25/23    Jennifer B.         Review S&C email re: REN Protocol settlement.          B113     0.30    285.00
            Kimble
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Date        Timekeeper          Narrative                                             Task    Hours    Amount

08/25/23    Erin E. Broderick   Coordinate with J. Weyand and N. DeLoatch to          B113      1.40   1,274.00
                                prepare member update (.2); review docket
                                items and draft inputs for same (1.2).

08/26/23    Erin E. Broderick   Further review and analyze customer preference        B113      1.00    910.00
                                and Genesis settlement analysis of A&M with
                                prior research/analysis and follow-up with
                                internal/Rothschild teams (.8); review and
                                respond to e-mail summary of J. Kimble
                                regarding REN settlement (.2). .

08/27/23    Erin E. Broderick   Review and analyze REN settlement pleadings           B113      0.80    728.00
                                and e-mails with J. Kimble regarding same (.5);
                                review docket items for member update (.3).

08/28/23    Erin E. Broderick   E-mails with A&M and A. Kranzley regarding            B113      1.80   1,638.00
                                KYC and claims processes and locked portal
                                accounts (.2); call with A&M and Rothschild
                                regarding Genesis settlement (.4); follow-up
                                review of materials provided by Rothschild (.2);
                                further review of the REN settlement issues/e-
                                mail summary by S&C (.3); attend call with S&C,
                                J. Kimble and Rothschild regarding REN
                                settlement (.3); call with J. Kimble regarding
                                same (.2); review of Cryptsy tracing declaration
                                (.2). .

08/29/23    Erin E. Broderick   Review and analyze coin monetization issues list      B113      2.20   2,002.00
                                prepared by UCC (.4); e-mail to executive
                                committee members summarizing same and
                                requesting feedback (.3); gather input and initial
                                comments to S&C (.4); review Greyscale v SEC
                                announcement and follow-up regarding the
                                impact on estate value as a result of ETF listing
                                (.5); review docket regarding status of pending
                                adversary proceeding and e-mail to Rothschild
                                regarding outstanding information (.4); follow-up
                                regarding status of JPL mediation (.2). .

08/29/23    Nathaniel T.        Correspond with member re: research re:               B113      0.10     70.00
            DeLoatch            customer entitlements and priority.

08/29/23    Jennifer B.         Emails with N. DeLoatch re: underlying                B113      0.20    190.00
            Kimble              adversary proceeding filings and Motion for
                                Summary Judgment briefing.

08/29/23    Jennifer B.         Review underlying AP filings and Motion for           B113      0.70    665.00
            Kimble              Summary Judgment briefing.

08/29/23    Sarah E. Paul       Participate in internal team call to discuss task     B113      1.10   1,248.50
                                codes and billing (0.7); emails with Rothschild re:
                                KYC questions (0.2); outreach to debtors re: call
                                to discuss KYC questions (0.2); coordinate with
                                team on planning for town hall meeting with
                                members (0.2).
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08/30/23    Erin E. Broderick   Review and analyze coin monetization and             B113       2.90        2,639.00
                                Galaxy retention motions further to respond to
                                inquiries and draft summary for executive
                                committee (.6); e-mails with executive committee
                                re: same (.2); e-mails with Rothschild and
                                executive committee members re: same and
                                stance on motion (.5); follow-up diligence to
                                answer questions (.2); attend all-hands
                                professional call re: same (1.4).

08/31/23    Nathaniel T.        Analysis and review of case materials in             B113       0.40         280.00
            DeLoatch            preparation for meeting with Executive
                                Committee (.3); correspond with E. Broderick re:
                                same (.1).

08/31/23    Erin E. Broderick   E-mails with Executive Committee members and         B113       0.90         819.00
                                counsel re: feedback on the coin monetization
                                motion and questions for UCC and Debtors (.5);
                                e-mail to K. Pasquale on AHC position on coin
                                monetization motion (.2); e-mails with Executive
                                Committee to coordinate same (.1); follow-up
                                with UCC and Debtors on call requests (.1). .

08/31/23    Jennifer B.         Review and analyze information re: 2019              B113       0.50         475.00
            Kimble              statement and other Ad Hoc committee member
                                data.

                                Total for B113 - Case Analysis/Pleading
                                Review                                                          42.70      37,469.00
B120 - Asset Analysis and Recovery

08/03/23    Devorah Hirsch      Attention to onboarding new members of the Ad        B120       1.50         360.00
                                Hoc Committee.

                                Total for B120 - Asset Analysis and Recovery                        1.50     360.00
B150 - Meetings of and Communications with External Stakeholders
08/11/23    Nathaniel T.        Call with C. Brown re: meeting with Debtor's         B150       0.30         210.00
            DeLoatch            counsel and AHC executive committee re:
                                discussion on non-us customer claims issues.

08/14/23    Erin E. Broderick   Telephone call with member re: case issues in        B150       1.00         910.00
                                advance of their discussion with John Ray (1.0).

08/15/23    Erin E. Broderick   Follow-up with UCC professionals and Debtors         B150       0.20         182.00
                                on support of omnibus settlement motion and
                                status of settlements (.2).

08/18/23    Jennifer B.         Review emails re: Rothschild retention and Ad        B150       0.50         475.00
            Kimble              Hoc Fee Budget.

08/18/23    Jennifer B.         Review UST Objection to Debtors’ Settlement          B150       0.60         570.00
            Kimble              Motion.

08/18/23    Jennifer B.         Review UCC statement on Genesis settlement.          B150       0.40         380.00
            Kimble              .
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08/20/23    Jazmen B.           Reviewing customer correspondences and                B150      3.40        2,210.00
            Howard              preparing overview of the status of customer
                                claims.

08/21/23    Jennifer B.         Emails with E. Broderick and S. Paul re:              B150      0.20         190.00
            Kimble              Rothschild engagement letter.

08/26/23    Erin E. Broderick   Emails to other stakeholders to schedule              B150      0.70         637.00
                                discussion on plan mediation/alignment (.3);
                                emails with Rothschild team regarding waterfall
                                analysis and prepare questions for call (.4).

08/29/23    Erin E. Broderick   Draft agenda for executive committee call (.5);       B150      3.80        3,458.00
                                attend pre-call for UCC meeting with executive
                                committee (.5); attend call with UCC members
                                and professionals and executive committee (1.0);
                                follow-up e-mails with M. Browning, J. Minias,
                                and Rothschild regarding next steps (.2); call
                                with M. Browning regarding same (.2); e-mail to
                                executive committee regarding next steps (.5);
                                emails with internal team regarding September
                                plan meetings, mediation schedule and all-
                                member townhall meetings (.5); respond to
                                member inquiries regarding claim portal issues,
                                KYC protocol and Kroll data breach (.4); follow-
                                up with S. Paul and R. M (.2).

08/30/23    Jennifer B.         Review emails from UCC and Debtors re: UCC            B150      0.30         285.00
            Kimble              requests on reimbursement agreement and
                                communications.

                                Total for B150 - Meetings of and
                                Communications with External Stakeholders                           11.40   9,507.00
B155 - Court Hearings
08/23/23    Erin E. Broderick   Meet with M. Harvey in advance of hearing to          B155      1.70        1,547.00
                                review talking points (.3); review and revise
                                talking points (.4); attend and participate in
                                August 23rd hearing (1.0).

                                Total for B155 - Court Hearings                                      1.70   1,547.00
for B160 - Fee/Employment Applications
08/02/23    Erin E. Broderick   E-mails with S. Paul and internal billing             B160      0.70         637.00
                                department regarding billing preparation for
                                estate submissions (.3); review terms of case
                                orders and examiner guidelines to respond to
                                same (.4).

08/09/23    Sarah E. Paul       Emails with E. Broderick re: fee examiner             B160      1.00        1,135.00
                                requirements (0.2); emails with Rothschild re:
                                revisions to engagement letter (0.2); calls with E.
                                Broderick re: open items (0.6).

08/09/23    Peter A. Ivanick    Emails from/to/from E. Broderick and S. Paul re:      B160      0.70        1,190.00
                                fee examiner issues and outreach to MNAT re:
                                same(.3) telephone call M. Harvey re: same (.2);
                                emails to/from E. Broderick, S. Paul and M.
                                Harvey re: same (.2).
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08/10/23    Peter A. Ivanick    Follow-up emails with M. Harvey and E.                  B160       0.20        340.00
                                Broderick re: fee examiner issues.

08/22/23    Jennifer B.         Review emails from MNAT re: timeline for fee            B160       0.50        475.00
            Kimble              applications and requirements.

08/24/23    Jennifer B.         Emails with ES and MNAT Teams re: fee                   B160       0.40        380.00
            Kimble              structure, project categories for fee applications,
                                and UST fee guidelines.

08/28/23    Erin E. Broderick   Review summary of fee reimbursement protocol            B160       0.90        819.00
                                and disclosures from J. Weyand (.4); follow-up e-
                                mails with internal team and MNAT regarding
                                same (.3); e-mails with S. Paul regarding needed
                                revisions to implement task codes and timing
                                (.2). .

08/28/23    Sarah E. Paul       Emails with E. Broderick on UST fee guidelines          B160       0.50        567.50
                                (0.2); coordinate with N. DeLoatch and E.
                                Broderick on May-July fee application (0.3).

08/29/23    Erin E. Broderick   Call with MNAT and internal team regarding fee          B160       1.00        910.00
                                reimbursement issues (.5); follow-up with S. Paul
                                regarding same (.2); follow-up with J. Kimble
                                regarding same (.3).

08/29/23    Jennifer B.         Call with MNAT and Eversheds teams re: fee              B160       1.10       1,045.00
            Kimble              applications, timing and US trustee position on
                                reimbursement motion.

08/30/23    Jennifer B.         Respond to E. Broderick inquiries re: UCC               B160       0.60        570.00
            Kimble              documents requests on reimbursement motion.

08/30/23    Sarah E. Paul       Emails with E. Broderick on task codes and UST          B160       0.40        454.00
                                fee guideline information (0.2); email to M.
                                Harvey re: task codes (0.2).

                                Total for B160 - Fee/Employment
                                Applications                                                           8.00   8,522.50
B190 - Other Contested Matters (excluding assumption/rejection motions)
08/01/23    Erin E. Broderick   E-mails with D. Wender (copying team)                   B190       1.10       1,001.00
                                regarding 2019 issues and Committee
                                structuring in response to objectors (.2); review
                                redaction ruling and Rule 2019 research in
                                connection with same (.3); review proposed
                                changes to stipulation to stay adversary and
                                approve same (.1); follow-up with Sullivan &
                                Cromwell regarding same and approval of fee
                                reimbursement terms (.1); review status of JPL,
                                class action, and other adversary proceedings
                                initiated by debtors (.4).

08/02/23    Nathaniel T.        Correspond with member re: 2019 disclosures             B190       0.30        210.00
            DeLoatch            and related issues (.2); correspond with E.
                                Broderick re: same (.1).
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08/02/23    Nathaniel T.        Call with E. Broderick re: 2019 disclosures and      B190       0.50    350.00
            DeLoatch            related issues.

08/02/23    Erin E. Broderick   E-mails with N. DeLoatch and D. Hirsch to            B190       0.70    637.00
                                update member list for 2019 (.1); follow-up with
                                members wanting to resign and internal team
                                regarding alternative structuring options around
                                2019 requirements (.6). .

08/04/23    David A. Wender     Attention to Ad Hoc disclosures re: 2019             B190       0.20    220.00
                                statement.

08/06/23    Erin E. Broderick   Review update from M. Browning regarding 2019        B190       0.40    364.00
                                disclosures discussions with Debtors (.1); follow-
                                up with N. DeLoatch and D. Hirsch regarding
                                filing status (.1); follow-up with team regarding
                                call with Sullivan & Cromwell and review
                                summary of same (.2).

08/07/23    David A. Wender     Attention to Ad Hoc disclosures re: 2019             B190       0.40    440.00
                                statement.

08/07/23    Erin E. Broderick   Call with D. Wender regarding 2019 statement         B190       1.60   1,456.00
                                filing (.2); review and comment on 2019 drafts
                                and respond to questions in connection with
                                same (.5); follow-up with counsel to member
                                regarding 2019 disclosure authorization (.1);
                                research and analysis around common interest
                                agreement with non-members and privilege and
                                2019 disclosure implications (.8).

08/13/23    Sarah E. Paul       Respond to email from DOJ re: request for            B190       0.20    227.00
                                member testimony at trial (0.2).

08/26/23    Jennifer B.         Review settlement information re: REN Protocol.      B190       0.70    665.00
            Kimble

08/26/23    Jennifer B.         Emails with E. Broderick re: REN Protocol            B190       0.30    285.00
            Kimble              settlement.

08/26/23    Jennifer B.         Email with Rothschild team re: tracing               B190       0.20    190.00
            Kimble              information on REN protocol.

08/27/23    Jennifer B.         Review emails from S&C re: REN Protocol              B190       0.20    190.00
            Kimble              settlement discussions.

08/28/23    Jennifer B.         Call with S&C and E. Broderick re: REN Protocol      B190       0.50    475.00
            Kimble              settlement.

08/28/23    Jennifer B.         Review additional REN protocol tracing materials     B190       0.50    475.00
            Kimble              received from Debtors.

08/28/23    Jennifer B.         Respond to Debtors on REN protocol settlement.       B190       0.20    190.00
            Kimble

08/29/23    Jennifer B.         Review emails from A. Kranzley and E. Gilad re:      B190       0.20    190.00
            Kimble              Galaxy monetization issues list and call.
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Date        Timekeeper          Narrative                                             Task     Hours        Amount

                                Total for B190 - Other Contested Matters
                                (excluding assumption/rejection motions)                             8.20   7,565.00
B195 - Non-Working Travel
08/23/23    Erin E. Broderick   Half-time non-working travel from Chicago to          B195       2.50       2,275.00
                                Delaware courthouse to attend August 23rd
                                hearing.

08/24/23    Erin E. Broderick   Travel back from Delaware for August 23rd             B195       2.50       2,275.00
                                hearing back to Chicago (billed at half-time).

                                Total for B195 - Non-Working Travel                                  5.00   4,550.00
B260 - Board of Directors Matters
08/01/23    Nathaniel T.        Correspond with E. Broderick and S. Paul re:          B260       2.60       1,820.00
            DeLoatch            committee governance protocols (.2); draft
                                various governance documents (1.4); research
                                related to same (1.0).

08/05/23    Erin E. Broderick   Follow-up on redaction issues and related issues      B260       0.40        364.00
                                around committee structuring with Sullivan &
                                Cromwell, members and internal team.

08/05/23    Erin E. Broderick   Respond to Executive Committee members’               B260       1.20       1,092.00
                                comments on Rothschild engagement (.6);
                                further follow-up with S. Paul, S&C team, and
                                Rothschild regarding Rothchild engagement (.5);
                                email to P. Topper to update minute meetings
                                and review of same (.1). .

08/07/23    Erin E. Broderick   Emails to Executive Committee on reminder of          B260       0.20        182.00
                                resolution approvals (.1); follow-up with S. Paul
                                and member regarding comments to Rothschild
                                engagement (.1).

08/07/23    Nathaniel T.        Correspond with members re: amendments to             B260       0.20        140.00
            DeLoatch            bylaws.

08/08/23    Nathaniel T.        Revise and review executive committee                 B260       1.20        840.00
            DeLoatch            resolutions (1.0); correspond with E. Broderick
                                re: same (.2).

08/08/23    Erin E. Broderick   Further follow-up on Rothschild engagement (.2);      B260       1.90       1,729.00
                                draft summary of 2019 disclosure approach,
                                going-forward information sharing and structural
                                issues (1.0); follow-up with D. Wender (.1);
                                correspondence with S. Paul regarding
                                Rothschild and KYC process (.3); review minutes
                                for approval and final edits to resolutions to
                                discuss on call/circulation to all members for
                                approval (.3). .

08/08/23    Sarah E. Paul       Review and respond to email from E. Broderick         B260       1.20       1,362.00
                                re: Rothschild engagement and KYC
                                requirements (0.5); email to Rothschild re:
                                engagement letter revisions (0.3); email to S&C
                                re: Rothschild retention (0.2); email to Rothschild
                                re: draft KYC consent agreement for members
                                (0.2).
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Date        Timekeeper          Narrative                                               Task     Hours    Amount

08/09/23    Nathaniel T.        Draft and revise committee resolutions re:              B260       1.10    770.00
            DeLoatch            adoption of amended bylaws (1.0); correspond
                                with E. Broderick re: same (.1).

08/10/23    Nathaniel T.        Revise draft of executive committee resolutions         B260       0.30    210.00
            DeLoatch            (.2); correspond with E. Broderick re: same (.1).

08/10/23    Nathaniel T.         Review and revise draft of written consent of          B260       0.30    210.00
            DeLoatch            committee to adopt amended bylaws (.2);
                                correspond with E. Broderick and D. Hirsch re:
                                same (.1).

08/10/23    Erin E. Broderick   Final revisions to amended bylaws and                   B260       0.30    273.00
                                resolution (.2); revise Executive Committee
                                resolution regarding same (.1).

08/10/23    Sarah E. Paul       Revise draft of member KYC consent form (0.2);          B260       0.90   1,021.50
                                email to Rothschild re: revised consent form and
                                other KYC next steps (0.2); email to R. Monzon
                                re: assistance with KYC and other open items
                                (0.2); discussions with E. Broderick re:
                                Rothschild indemnity (0.3).

08/11/23    Sarah E. Paul       Emails with Rothschild re: indemnity and KYC            B260       1.20   1,362.00
                                (0.2); call with Rothschild to discuss same (0.3);
                                emails with member re: KYC collection from
                                Rothschild (0.3); emails with E. Broderick and
                                team discussing Rothschild call and proposed
                                next steps on indemnity and KYC issues (0.4).

08/11/23    Nathaniel T.        Correspond with E. Broderick re: amended                B260       0.10     70.00
            DeLoatch            bylaws.

08/14/23    Erin E. Broderick   Diligence re: financial advisors and multiple calls     B260       5.70   5,187.00
                                and emails to confirm terms acceptable to
                                estates, Executive Committee members, and
                                counsel (4.5); calls and e-mails with member,
                                Rothschild and S&C re: KYC requirements for
                                member and broader group approach (.8);
                                correspond re: same with D. Wender (.1) call
                                with S. Paul re: same (.3).

08/14/23    Sarah E. Paul       Emails with Rothschild re: indemnity and KYC            B260       0.80    908.00
                                questions (0.5); emails with member re:
                                Rothschild KYC process (0.3).

08/15/23    Erin E. Broderick   Telephone call with financial advisor (.6); follow-     B260       2.30   2,093.00
                                up on conflicts and indemnification re: same (.4);
                                e-mails and short call with member re:
                                Rothschild KYC (.4); e-mails and calls with S.
                                Paul to resolve KYC process issues (.5); e-mails
                                with members re: same and with N. DeLoatch
                                and D. Hirsh on voting tabulation (.3).

08/15/23    David A. Wender     Analyze Ad Hoc-related matters, including Rule          B260       0.90    990.00
                                2019 statement and governance questions.
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Date        Timekeeper        Narrative                                              Task   Hours    Amount

08/15/23    Sarah E. Paul     Correspond with E. Broderick to discuss                B260     1.10   1,248.50
                              Rothschild open items and response statement
                              (0.8); emails with member re: Rothschild KYC
                              process (0.3).

08/17/23    David A. Wender   Analyze Ad Hoc-related matters re: 2019                B260     0.60    660.00
                              statement and governance.

08/17/23    Sarah E. Paul     Emails with E. Broderick re: Rothschild KYC            B260     2.20   2,497.00
                              open items (0.3); prepare draft email to members
                              re: Rothschild KYC requirements (0.3);
                              correspondence re: Rothschild open items and
                              next steps (1.0); email to R. Monzon Woc re:
                              help with KYC process (0.1); email to Rothschild
                              re: KYC process next steps (0.3); review and
                              comment on updated draft of Rothschild
                              engagement letter (0.2).

08/17/23    Devorah Hirsch    Attention to onboarding potential Ad Hoc               B260     1.00    240.00
                              Committee Members.

08/17/23    Ana Rocio         Attention to correspondence re: KYC.                   B260     0.30    196.50
            Monzon Woc

08/18/23    Devorah Hirsch    Attention to onboarding Ad Hoc Committee               B260     1.50    360.00
                              Members and responding to inquiries from
                              potential members.

08/20/23    Jazmen B.         Reviewing and preparing overview of claim              B260     1.00    650.00
            Howard            submission and KYC issues.

08/22/23    Nathaniel T.      Correspond with Eversheds group re: retention          B260     2.00   1,400.00
            DeLoatch          of financial advisor and committee governance
                              (.1); analysis of issues related to same (.3); draft
                              and revise resolution for executive committee re:
                              AHC retention of financial advisor (1.2);
                              correspond with E. Broderick and S. Paul re:
                              draft of resolution re: same (.2); correspond with
                              Executive Committee members re: same (.1);
                              correspond with Rothschild re: retention
                              agreement and related AHC resolutions re: same
                              (.1).

08/23/23    Nathaniel T.      Call with D. Hirsch re: adoption of amended            B260     0.20    140.00
            DeLoatch          bylaws and related AHC governance (.2).

08/25/23    Devorah Hirsch    Attention to onboarding new members.                   B260     1.00    240.00

08/30/23    Devorah Hirsch    Attention to Consent Form and KYC Information          B260     3.00    720.00
                              (2.0); draft Chart tracking consent forms and
                              information obtained (1.0).

08/31/23    Nathaniel T.      Correspond with E. Broderick re: AHC                   B260     0.20    140.00
            DeLoatch          resolutions and related governance.

08/31/23    Devorah Hirsch    Attention to KYC Information.                          B260     2.50    600.00
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08/31/23    Erin E. Broderick   Review Rothschild requests for resolutions and          B260       0.90      819.00
                                email to N. DeLoatch re: same (.1); review same
                                (.2); call with AHC member re: concerns with
                                KYC consent (.4); e-mails with member re:
                                interest in serving on the Executive Committee
                                and follow-up (.2).

                                Total for B260 - Board of Directors Matters                        40.30   30,534.50
B270 - AHC Member Communications & Meetings
08/01/23    Sarah E. Paul       Review and revise press statement on Ad Hoc             B270       2.40     2,724.00
                                Committee response to draft plan of liquidation
                                (1.6); review and comment on member update
                                (0.8).

08/01/23    Erin E. Broderick   Call with member regarding questions on case            B270       3.60     3,276.00
                                status (.4); review and comment on weekly
                                member update (.5); review of revised draft with
                                comments and further docket review for
                                additional updates (1.2); revise statement on
                                Debtors' plan and UCC filing (.3); call with A.
                                Dietderich and S. Paul regarding same (.4);
                                respond to three member e-mails regarding UCC
                                statement on plan (.3); respond to parties
                                interested in joining the Ad Hoc Committee (.2);
                                e-mails with Executive Committee members and
                                their counsel regarding next steps on plan
                                response (.3).

08/01/23    Nathaniel T.        Revise member update re: case developments              B270       1.20      840.00
            DeLoatch            and related issues.

08/01/23    Nathaniel T.        Correspond with S. Paul re: distribution of             B270       1.90     1,330.00
            DeLoatch            member update (.1); finalize member update and
                                accompanying documents (1.5); distribute
                                relevant updates to various committee
                                constituencies (.3).

08/03/23    Nathaniel T.        Correspond with E. Broderick re: member                 B270       0.10       70.00
            DeLoatch            disclosure concerns.

08/03/23    Erin E. Broderick   Further comments on Rothschild deck in                  B270       3.10     2,821.00
                                advance of Executive Committee call (.4);
                                prepare Executive Committee weekly call
                                agenda (.5); attend weekly Executive Committee
                                call (1.0); follow-up on general member and
                                Executive Committee inquiries on plan and
                                specific open information items (.8); draft all-
                                member updates regarding same (.4). .

08/03/23    Erin E. Broderick   E-mails with Executive Committee and N.                 B270       0.50      455.00
                                DeLoatch regarding amended Bylaws and
                                pending approval of resolutions and meeting
                                minutes (.3); follow-up with D. Hirsch regarding
                                issues with distribution lists and schedule invites
                                (.2). .
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Date        Timekeeper          Narrative                                             Task     Hours    Amount

08/03/23    Sarah E. Paul       Participate in update call with AHC Executive         B270       1.00   1,135.00
                                Committee members (1.0).

08/04/23    Erin E. Broderick   Confirm final decision on committee structure         B270       1.50   1,365.00
                                approach with Executive Committee members
                                (.4); update to all members regarding same (.2);
                                further follow-up with the members that
                                expressed interest in resigning based on 2019
                                requirements (.5); email to N. DeLoatch and D.
                                Hirsch regarding same (.1); respond to interested
                                parties and incoming members questions (.3). .

08/04/23    Nathaniel T.        Review case related materials in preparation for      B270       1.60   1,120.00
            DeLoatch            executive committee meeting (.2); correspond
                                with E. Broderick re: same (.2); follow up
                                communications with members of Executive
                                Committee re: meeting (.1); compile case related
                                materials for executive committee (1.0);
                                correspond with working group re: same (.1).

08/08/23    David A. Wender     Prepare for and participate in Ad Hoc committee       B270       1.90   2,090.00
                                call.

08/08/23    Nathaniel T.        Correspond with member re: committee strategy         B270       0.20    140.00
            DeLoatch            and governance (.2).

08/08/23    Erin E. Broderick   Draft agenda and materials for Executive              B270       1.90   1,729.00
                                Committee meeting (.4); attend Executive
                                Committee meeting (1.2); follow-up on
                                confirmations on press statements (.3).

08/08/23    Sarah E. Paul       Participate in call with AHC Executive Committee      B270       1.00   1,135.00
                                to discuss open items.

08/09/23    Erin E. Broderick   Follow-up emails and call with A. Kranzley on         B270       0.40    364.00
                                items up for September 13 hearing for Executive
                                Committee member review and considerations
                                (.2); follow-up with Executive Committee
                                members regarding same (.2). .

08/09/23    Erin E. Broderick   E-mails with two parties interested in joining ad     B270       0.80    728.00
                                hoc committee (.3); updates to Ad Hoc
                                Committee summaries on member count and
                                claims and status on plan (.5).

08/09/23    David A. Wender     Prepare for and participate in Ad Hoc committee       B270       0.80    880.00
                                call.

08/10/23    David A. Wender     Prepare for and participate in Ad Hoc committee       B270       0.30    330.00
                                call.

08/10/23    Erin E. Broderick   Prepare agenda for Executive Committee call           B270       1.30   1,183.00
                                and send materials to restricted and unrestricted
                                groups (.3); attend Executive Committee call
                                (1.0).

08/10/23    Sarah E. Paul       Emails with member re: KYC requirements.              B270       0.30    340.50
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Date        Timekeeper          Narrative                                             Task   Hours    Amount

08/11/23    Erin E. Broderick   Call with member (.5); review and comment on          B270     1.50   1,365.00
                                member update drafts (1.0).

08/11/23    Nathaniel T.        Draft general committee update re: case status,       B270     4.00   2,800.00
            DeLoatch            issues and related analysis.

08/11/23    David A. Wender     Prepare for and participate in Ad Hoc committee       B270     0.30    330.00
                                call.

08/12/23    Erin E. Broderick   Review Executive Committee member                     B270     0.20    182.00
                                responses to KYC requests (.2).

08/13/23    Erin E. Broderick   E-mails with Executive Committee members re:          B270     0.60    546.00
                                omnibus settlement procedures and status of the
                                Debtors' efforts re: same (.5); e-mail to
                                Rothschild team re: same (.1).

08/14/23    David A. Wender     Prepare for and participate in Ad Hoc committee       B270     0.20    220.00
                                call.

08/16/23    Peter A. Ivanick    Review ad hoc statement re: plan and report to        B270     0.20    340.00
                                Executive Committee.

08/17/23    Erin E. Broderick   Telephone call with member re: Genesis                B270     0.90    819.00
                                settlement questions/positions (.5); respond to
                                three members re: same (.2); e-mail updates to
                                all members re: claim submission clarifications
                                and KYC processes (.2).

08/18/23    Jennifer B.         Review update to Executive Committee re: call         B270     0.30    285.00
            Kimble              and agenda for next week's meeting.

08/19/23    Erin E. Broderick   Draft, review and revise weekly member update         B270     1.60   1,456.00
                                on case developments (1.2); respond to member
                                inquiries re: same (.4).

08/21/23    Nathaniel T.        Prepare for and attend call with Executive            B270     1.00    700.00
            DeLoatch            Committee of AHC and its professionals re: case
                                status, strategy and issue analysis.

08/21/23    Erin E. Broderick   Follow-up emails with S. Paul, R. Monzon Woc          B270     0.90    819.00
                                re: KYC processes (.5); revise member updates
                                (.4); emails and short calls with S&C re: status of
                                reimbursement agreements (.3); follow-up with
                                Rothschild team re: same (.4); e-mails with
                                Executive Committee members re: same (.3);
                                review Rothschild comments to reimbursement
                                agreements and motion and respond/incorporate
                                same (.5).

08/21/23    Jennifer B.         Participate in weekly executive committee             B270     1.00    950.00
            Kimble              update call.
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Date        Timekeeper          Narrative                                            Task     Hours    Amount

08/21/23    Erin E. Broderick   E-mails with member and Rothschild team re:          B270       4.30   3,913.00
                                coin monetization issues (.2); draft agenda and
                                review of agenda items for Executive Committee
                                call (.5); call with Executive Committee on open
                                items (.8); follow-up with members re: coin
                                monetization motion comments/outline (.6);
                                attend call with Executive Committee re: open
                                case items (.8); follow-up with member re: same
                                (.2); review and revise chart of global issues
                                being experienced on portal for discussions with
                                Debtors (.5); respond to members re: questions
                                on last update/UCC plan mediation motion (.7).

08/23/23    Ana Rocio           Prepare draft for members re: KYC requirements       B270       1.60   1,048.00
            Monzon Woc          (1.0); confer with team re: the same (0.2); handle
                                KYC documents (0.4).

08/24/23    Ana Rocio           Finalize KYC consent form to be distributed          B270       4.30   2,816.50
            Monzon Woc          among members (2.8); email members regarding
                                KYC information (0.4); answer questions from
                                members re: same (0.7); coordinate with
                                Eversheds team re: KYC process (0.4).

08/24/23    Sarah E. Paul       Coordinate with E. Broderick, R. Monzon, and D.      B270       1.10   1,248.50
                                Hirsch re: finalizing email to members and KYC
                                consent form (0.4); respond to various member
                                questions on KYC process (0.7).

08/24/23    Nathaniel T.        Prepare for and attend meeting with Executive        B270       1.40    980.00
            DeLoatch            Committee of AHC.

08/24/23    Nathaniel T.        Call with member re: case status and related         B270       0.10     70.00
            DeLoatch            issues.

08/24/23    Nathaniel T.        Correspond with E. Broderick re: drafting case       B270       0.50    350.00
            DeLoatch            development update for AHC members (.1);
                                review materials related to same (.4).

08/24/23    Jennifer B.         Attend weekly Executive Committee Call.              B270       1.00    950.00
            Kimble

08/24/23    Erin E. Broderick   Respond to member regarding portal issues for        B270       0.60    546.00
                                claim and KYC submissions (.2); revise member
                                update and consent form for Rothschild KYC
                                process (.3); review and respond to email from
                                member regarding KYC and claim questions (.1).

08/24/23    Erin E. Broderick   Draft agenda items for N. DeLoatch to finalize       B270       1.60   1,456.00
                                (.2); attend Executive Committee weekly call
                                (1.0); call with member regarding plan issues
                                (.4).

08/25/23    Ana Rocio           Answer questions from members regarding KYC          B270       3.70   2,423.50
            Monzon Woc          process (0.7); review KYC documents from
                                members (1.3); draft weekly update for members
                                (1.7).
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08/25/23    Sarah E. Paul       Email to member re: Kroll data breach questions       B270       1.50   1,702.50
                                (0.2); emails to E. Broderick re: KYC process
                                (0.4); planning for member meeting (0.2); various
                                emails to members responding to KYC inquiries
                                (0.5); coordinate with R. Monzon on member
                                update (0.2).

08/25/23    Nathaniel T.        Correspond with E. Broderick re: AHC member           B270       0.10     70.00
            DeLoatch            update (.1).

08/26/23    Ana Rocio           Review documents re: KYC (1.5); draft summary         B270       2.40   1,572.00
            Monzon Woc          update for customers (0.9).

08/26/23    Erin E. Broderick   Review and initial comments on member update          B270       0.40    364.00
                                drafted by J. Weyand (.2); follow-up with S. Paul
                                and R. Monzon Woc on insert regarding Kroll
                                data breach (.2).

08/27/23    Erin E. Broderick   Respond to members regarding Kroll data               B270       0.90    819.00
                                breach and follow-up with S. Paul regarding
                                updates from Debtors regarding same/locked
                                portal accounts (.5); review and revise weekly
                                member update (.4).

08/28/23    Erin E. Broderick   Respond to members regarding Kroll data               B270       2.80   2,548.00
                                breach/locked portal accounts (.2); further review
                                and revision of the weekly member update (.5);
                                revise AHC overview drafted by N. DeLoatch
                                (.5); call with member regarding Executive
                                Committee appointment and plan meetings (.5);
                                follow-up with N. DeLoatch regarding AHC
                                overview (.2); coordinate/provide instructions to
                                D. Hirsh for the all-member townhall meetings
                                (.2); follow-up with N. DeLoatch and S. Paul
                                regarding planning for same (.1); e-mails with
                                Executive Committee and Rothschild regarding
                                UCC meeting agenda/items to discuss (.4);
                                respond to members/forward to A&M emails
                                regarding KYC issues and portal access (.2). .

08/28/23    Devorah Hirsch      Arrange b-weekly town hall meetings (0.3);            B270       1.10    264.00
                                attention to member update and HghQ site (0.8).

08/28/23    Sarah E. Paul       Planning for town hall meetings with members          B270       0.90   1,021.50
                                (0.3); emails with E. Broderick and A. Monzon re:
                                KYC questions (0.3); email to member
                                responding to various KYC questions (0.3).

08/28/23    Nathaniel T.        Review case materials and other related               B270       3.30   2,310.00
            DeLoatch            materials for member update (2.0); revising draft
                                of member update (1.3).

08/29/23    Nathaniel T.        Prepare for and attend call with AHC                  B270       0.80    560.00
            DeLoatch            professionals re: case status and strategy re:
                                pending motions and plan mediation.
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08/29/23    Nathaniel T.        Correspond with AHC member re: questions on           B270      0.20      140.00
            DeLoatch            case developments.

08/29/23    Nathaniel T.        Review and correspond on questions from AHC           B270      0.10       70.00
            DeLoatch            member re: scheduling of informational meeting.

08/29/23    Erin E. Broderick   Revise AHC overview and general updates on            B270      0.80      728.00
                                Kroll data breach and portal issues (.5); follow-up
                                with S. Paul, R. Monzon Woc and J. Howard
                                regarding handling future inquiries
                                efficiently/coordination with Debtors (.3). .

08/30/23    Devorah Hirsch      Attention to Town Hall Meeting (3.0).                 B270      3.00      720.00

08/31/23    Nathaniel T.        Prepare for and attend call with Executive            B270      1.30      910.00
            DeLoatch            Committee re: upcoming meetings with Debtors
                                and UCC and related issues.

08/31/23    Nathaniel T.        Prepare for Ad Hoc Committee townhall meeting         B270      0.50      350.00
            DeLoatch            re: case updates and related strategy.

08/31/23    Erin E. Broderick   Attend pre-call with S. Shynader and C. Delo re:      B270      1.50     1,365.00
                                waterfall presentation (.2); draft agenda for
                                Executive Committee call and related review of
                                items to discuss (.3); attend Executive
                                Committee weekly call (1.0).

08/31/23    Sarah E. Paul       Participate in AHC Executive Committee call on        B270      1.00     1,135.00
                                open items (1.0).

08/31/23    Jennifer B.         Email correspondence with member re: customer         B270      0.20      190.00
            Kimble              id information.

08/31/23    Jennifer B.         Call with J. Minias (Willkie) re: member customer     B270      0.30      285.00
            Kimble              id request and follow up email correspondence
                                re: the same.

08/31/23    Jennifer B.         Email correspondence with member re: customer         B270      0.20      190.00
            Kimble              ID request.

                                Total for B270 - AHC Member
                                Communications & Meetings                                       82.00   67,983.00
B310 – KYC Process and Claims Administration
08/02/23    Sarah E. Paul       Emails with S&C re: Rothschild KYC process            B310      2.00     2,270.00
                                (0.2): call with A. Kranzley from S&C re: same
                                (0.2); correspondence with E. Broderick re: same
                                (0.2); call with E. Broderick to discuss plan
                                response statement and research for same (0.8);
                                emails to Rothschild re: KYC next steps (0.3);
                                review Rothschild presentation deck (0.3).

08/05/23    Sarah E. Paul       Review and respond to email from debtors re:          B310      0.40      454.00
                                claims portal KYC process (0.2); email to
                                Rothschild re: claims portal KYC process (0.2).

08/06/23    Sarah E. Paul       Emails with Rothschild re: KYC process (0.3).         B310      0.30      340.50
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Date        Timekeeper          Narrative                                            Task     Hours    Amount

08/07/23    Erin E. Broderick   Review F. London of Rothschild response on           B310       0.40    364.00
                                next steps on retention and KYC approvals and
                                follow-up on feasibility of same (.3); review
                                further emails on same (.1).

08/08/23    Sarah E. Paul       Emails with A. Kranzley at S&C re: sharing of        B310       0.70    794.50
                                claims portal KYC chart (0.3); emails to AHC
                                Executive Committee members re: Rothschild
                                KYC collection requirements (0.4).

08/18/23    Ana Rocio           Meeting with S. Paul re: KYC process (0.4);          B310       0.80    524.00
            Monzon Woc          analyze next steps re: KYC (0.2); review
                                documents (0.2).

08/19/23    Sarah E. Paul       Review and comment on debtor revisions to            B310       0.20    227.00
                                Rothschild KYC consent statement (0.2).

08/20/23    Sarah E. Paul       Further review and comment on revised draft of       B310       1.40   1,589.00
                                KYC consent form (0.5); emails with Debtors and
                                Rothschild re: same (0.4); emails with AHC
                                Executive Committee member re: immediate
                                KYC requirements for Rothschild (0.2);
                                coordinate with R. Monzon Woc re: draft email to
                                members regarding Rothschild KYC
                                requirements (0.3).

08/21/23    Jazmen B.           Reviewing and preparing overview of claim            B310       1.00    650.00
            Howard              submission and KYC issues; analyzing and
                                strategizing approach to tackling customer
                                issues and open items; corresponding with
                                Debtors regarding same.

08/21/23    Ana Rocio           Review and edit consent form for KYC process         B310       3.60   2,358.00
            Monzon Woc          (1.5); confer with team re: the same (0.4); review
                                documents re: the same (1.2); prepare
                                communication to Members (0.5).

08/22/23    Jazmen B.           Preparing correspondence to Debtors;                 B310       1.40    910.00
            Howard              discussing customer claim submission and KYC
                                issues with Debtors.

08/23/23    Jazmen B.           Identifying open items needed for resolution for     B310       1.00    650.00
            Howard              customer claim issues; corresponding with the
                                Debtors regarding customer claim issues.

08/23/23    Jazmen B.           Reviewing materials regarding claims process         B310       2.00   1,300.00
            Howard              and debtors’ FAQs to respond to general creditor
                                inquiries.

08/24/23    Jazmen B.           Reviewing claims process, managing files, and        B310       2.30   1,495.00
            Howard              corresponding with customers.

08/24/23    Devorah Hirsch      Attention to consent form and KYC information.       B310       2.00    480.00

08/25/23    Erin E. Broderick   Follow-up on KYC and claims issues globally          B310       0.40    364.00
                                experienced by customers and in connection
                                with Rothschild retention (.4).
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Date       Timekeeper           Narrative                                              Task     Hours      Amount

08/25/23    Jazmen B.           Reviewing status of claim submissions and              B310       0.30      195.00
            Howard              updating tracker regarding same.

08/26/23    Erin E. Broderick   Follow-up with A. Kranzley, A&M team and S.            B310       1.00      910.00
                                Paul and R. Monzon Woc on general claims and
                                KYC issues experienced by customers (.5);
                                email responses to customers interested in
                                joining AHC and updates to engagement letter
                                and overview materials (.5). .

08/28/23    Ana Rocio           Review documents re: KYC from customers                B310       3.70     2,423.50
            Monzon Woc          (1.8); transfer to Rothschild (0.2); answer
                                customers' queries re: KYC (1.5); confer with
                                Eversheds team re: the same (0.2).

08/28/23    Devorah Hirsch      Review KYC Consent Forms and extrapolate               B310       1.00      240.00
                                information gathered for members.

08/29/23    Devorah Hirsch      Attention to Consent Form to new member and            B310       0.50      120.00
                                KYC Information collection.

08/29/23    Ana Rocio           Review documents re: KYC (1.0); answer                 B310       1.70     1,113.50
            Monzon Woc          questions from customers re: KYC (0.7).

08/30/23    Sarah E. Paul       Emails with debtors re: call on KYC questions          B310       0.40      454.00
                                (0.2); coordinate with R. Monzon re: list of KYC
                                questions for debtors (0.2.

08/30/23    Ana Rocio           Review documents re: KYC (1.0); answer to              B310       3.60     2,358.00
            Monzon Woc          customers' questions re: KYC (1.0); identify
                                questions for debtors re: KYC (1.0); confer with
                                team re: the same (.6).

08/30/23    Erin E. Broderick   Follow-up with internal team, members, Debtors,        B310       3.00     2,730.00
                                and UCC on informal discovery requests and
                                claim verification and KYC issues.

08/31/23    Erin E. Broderick   E-mail to S. Paul and R. Monzon Woc re: KYC            B310       0.80      728.00
                                status (.1); attend call with A&M team and S.
                                Paul, R. Mozon Woc re: KYC issues (.5);
                                respond to members to provide insights from
                                discussion (.2).

08/31/23    Sarah E. Paul       Call with R. Monzon on open KYC questions              B310       1.70     1,929.50
                                (0.4): call with debtors on open KYC questions
                                (0.5); confer with R. Monzon on KYC next steps
                                (0.2); emails with Rothschild re: KYC questions
                                (0.3); review and edit draft of KYC follow up
                                email to members (0.3).

08/31/23    Ana Rocio           Call with S. Paul and E. Broderick re: questions       B310       2.80     1,834.00
            Monzon Woc          for debtors re: KYC (0.5); confer with debtors re:
                                the same (0.3); prepare draft email for members
                                (0.5); track KYC consent forms and documents
                                (1.5).

                                Total for B310 – KYC Process and Claims
                                Administration                                                    40.40   29,805.50
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Date        Timekeeper          Narrative                                              Task     Hours    Amount

B320 - Plan and Disclosure Statement (including Business Plan)
08/01/23    David A. Wender     Analyze plan updates and related revisions.            B320       0.40    440.00

08/01/23    Jennifer B.         Review filed Plan Term Sheet and plan overview.        B320       0.60    570.00
            Kimble

08/02/23    Nathaniel T.        Analysis of presentation by financial advisor re:      B320       0.80    560.00
            DeLoatch            plan and related issues.

08/02/23    Jennifer B.         Review plan information re: AHC positions.             B320       0.30    285.00
            Kimble

08/02/23    Nathaniel T.        Correspond with P. Ivanick re: plan and term           B320       0.20    140.00
            DeLoatch            sheet issues.

08/02/23    Erin E. Broderick   Review, analyze and comment on Rothschild              B320       2.30   2,093.00
                                plan presentation (.5); call with S. Shaynader
                                regarding same and discussions with S&C (.4);
                                follow-up with S. Paul on plan positioning
                                statement (0.80); further review of plan and UCC
                                statement in connection therewith (0.20); draft
                                outline of open diligence/plan research points for
                                internal team/Rothschild for follow-up with
                                Debtors and plan statement (.4). .

08/03/23    David A. Wender     Analyze plan updates and related revisions.            B320       1.10   1,210.00

08/03/23    Erin E. Broderick   Research on issues raised by UCC in plan               B320       1.00    910.00
                                response and e-mails with J. Minias, M.
                                Browning, and member regarding their thoughts
                                on same (.7); draft note to Rothschild to review
                                same (.3).

08/03/23    Sarah E. Paul       Correspondences with E. Broderick re: plan             B320       1.10   1,248.50
                                research (0.6); coordinate with Z. Lindsey and C.
                                Scavone re: plan research (0.2); emails with J.
                                Minias and E. Broderick re: plan response (0.3).

08/04/23    Erin E. Broderick   Analyze plan issues to prepare position                B320       3.00   2,730.00
                                statement (.8); telephone call with S. Paul (in
                                part) and J. Minias regarding same (1.0); follow-
                                up call with S. Paul regarding same (.5); follow-
                                up emails with J. Minias and M. Browning
                                regarding issues discussed (.2); calls and emails
                                with A. Dietderich regarding plan-related issues
                                (.4); call with B. Glueckstein regarding settlement
                                procedures, preference approach, and Ad Hoc
                                Committee 2019 disclosures (.3). .

08/04/23    Sarah E. Paul       Call with J. Minias and E. Broderick to discuss        B320       1.40   1,589.00
                                plan position statement (0.5); review debtors
                                KYC spreadsheet for Rothschild (0.2); email to
                                Rothschild re: KYC next steps (0.2); discussions
                                with E. Broderick re: first draft of plan response
                                statement (0.5).
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Date       Timekeeper           Narrative                                               Task     Hours    Amount

08/05/23    Erin E. Broderick   Call with member regarding monetization and             B320       0.80    728.00
                                valuation considerations (.4); review bar date
                                order and FAQs to respond to claim-related
                                questions and follow-up with N. DeLoatch to ask
                                Sullivan & Cromwell about same (.4). .

08/05/23    Erin E. Broderick   Emails with N. DeLoatch and S. Paul regarding           B320       0.10     91.00
                                scheduling for Executive Committee discussion
                                on plan.

08/05/23    Nathaniel T.        Analysis of Debtors' correspondence re: plan            B320       0.30    210.00
            DeLoatch            and related issues.

08/05/23    Nathaniel T.        Correspond with executive committee members             B320       0.20    140.00
            DeLoatch            re: plan negotiation issues.

08/05/23    Nathaniel T.        Correspond with internal working group re: plan         B320       0.20    140.00
            DeLoatch            negotiation issues.

08/05/23    Erin E. Broderick   Further follow-up with S&C team regarding               B320       0.40    364.00
                                customer preference, next steps on plan, and fee
                                reimbursement issues.

08/05/23    Sarah E. Paul       Review UCC statement on debtors plan (0.3);             B320       1.90   2,156.50
                                begin drafting first draft of plan response
                                statement (1.6).

08/06/23    Nathaniel T.        Prepare for and attend meeting with Debtors'            B320       0.60    420.00
            DeLoatch            counsel and ES team re: various case issues
                                (.5); review notes in follow up of call (.1).

08/07/23    Erin E. Broderick   Review and analyze monetization term sheet              B320       0.50    455.00
                                and follow-up regarding UCC position and
                                Executive Committee (restricted group) thoughts.

08/07/23    Sarah E. Paul       Draft first draft of plan response statement (2.6);     B320       2.80   3,178.00
                                draft email to E. Broderick re: draft of plan
                                response statement (0.2).

08/07/23    Erin E. Broderick   Emails with N. DeLoatch and Executive                   B320       0.30    273.00
                                Committee on open issues and plan call.

08/07/23    Erin E. Broderick   Emails with member regarding preference                 B320       0.40    364.00
                                settlements and next steps (.2); follow-up edits to
                                2019 (.2).

08/08/23    Erin E. Broderick   Call with J. Minias regarding open plan issues          B320       1.00    910.00
                                and approach (.4); follow-up on UCC approach
                                and coordination on issues (.6).

08/08/23    Erin E. Broderick   Review and analyze draft plan position statement        B320       1.50   1,365.00
                                and start revisions.
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Date        Timekeeper          Narrative                                               Task     Hours    Amount

08/09/23    Erin E. Broderick   Call with A. Kranzley regarding plan issues             B320       2.40   2,184.00
                                raised by UCC and Debtors’ position (.4); brief
                                review of docket items and research regarding
                                same to recommend Ad Hoc Committee position
                                (.5); revise plan statement to incorporate same
                                (.6); review and analyze Debtors’ response to
                                UCC statement on plan (.5); review press
                                coverage on response to competing statements
                                (.4).

08/10/23    Erin E. Broderick   Follow-up with Executive Committee members              B320       1.40   1,274.00
                                on positioning on settlement motion and
                                customer preferences (.6); e-mail UCC
                                professionals regarding same (.2); draft email to
                                B. Glueckstein and A. Dietderich regarding same
                                (.2); call with A. Dietderich regarding same (.4).

08/10/23    Jennifer B.         Review emails re: plan discussions and ongoing          B320       0.50    475.00
            Kimble              negotiations.

08/10/23    Erin E. Broderick   Further drafting and revision of preference             B320       2.00   1,820.00
                                analysis/larger open issues on claim settlements
                                generally in response to group discussion (2.0).

08/11/23    David A. Wender     Prepare for and participate in Ad Hoc committee         B320       0.20    220.00
                                call.

08/11/23    Nathaniel T.        Review correspondence from UCC re: Debtors'             B320       0.10     70.00
            DeLoatch            settlement motion and simultaneously analyze
                                issues related thereto.

08/11/23    Erin E. Broderick   Follow-up with Executive Committee members              B320       1.00    910.00
                                and Sullivan & Cromwell on positioning on
                                settlement motion and customer preferences
                                (.5); call with J. Minias regarding same (.3); call
                                with A. Dietderich regarding same (.2).

08/11/23    Erin E. Broderick   Follow-up with Rothschild on plan discussions           B320       0.20    182.00
                                and diligence.

08/12/23    Sarah E. Paul       Call with E. Broderick re: Rothschild open items        B320       0.60    681.00
                                and draft plan statement (0.5); emails with E.
                                Broderick re: Rothschild next steps (0.1).

08/12/23    Erin E. Broderick   E-mails to Executive Committee regarding                B320       0.70    637.00
                                settlement procedures approval (.2); draft
                                updates on valuation motion, monetization and
                                preferences (.5).

08/12/23    Erin E. Broderick   Call with M. Browning regarding open plan               B320       0.60    546.00
                                issues and next steps.
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Date        Timekeeper          Narrative                                              Task     Hours    Amount

08/13/23    Erin E. Broderick   Review and analyze S. Paul's draft of facts for        B320       6.60   6,006.00
                                plan position statement (1.0); draft plan position
                                statement with incorporation of factual summary
                                and related research and diligence in connection
                                with drafting (5.0); revise same per initial
                                comments (.6).

08/14/23    Erin E. Broderick   Review internal comments to plan position              B320       2.10   1,911.00
                                statement and coordinate with S. Paul and Z.
                                Lindsey to incorporate same and clean-up record
                                cites (.5); brief follow-up research on issues
                                raised by UCC (.4); e-mails with M. Browning
                                and Willkie team re: general positioning and
                                incorporate comments (.5); review and revise
                                statement and circulate to larger group (.7).

08/14/23    Sarah E. Paul       Coordinate with Z. Lindsey re: revisions to draft      B320       0.60    681.00
                                of plan response statement (0.3); calls with E.
                                Broderick re: Rothschild open items and draft
                                plan response statement (0.3).

08/14/23    Nathaniel T.        Review and revise draft of AHC's response to           B320       1.30    910.00
            DeLoatch            Debtors' proposed plan (1.0); correspond with E.
                                Broderick (.2) and Z. Lindsey (.1) re: same.

08/14/23    Zachariah W.        Analyzing statement on Debtor's draft plan and         B320       1.20    696.00
            Lindsey             substantiating case citations.

08/15/23    Erin E. Broderick   Telephone call with C. Delo re: plan position          B320       3.50   3,185.00
                                statement (.4); draft e-mail to C. Thain (copying
                                professionals) re: comments to plan statement
                                and alignment with UCC points (.4); revise plan
                                statement (.5); call with M. Browning on plan
                                statement and plan issues/Rothschild diligence
                                (1.0); make changes to plan statement (.2); call
                                with member re: plan statement (.2); further
                                revision of plan statement per comments (.4); e-
                                mails with K. Hansen re: plan mediation and
                                scheduling with EC members (.2); check docket
                                on status of class action and JPL mediation (.2).

08/16/23    Erin E. Broderick   Call with A. Dietderich re: plan mediation and         B320       5.70   5,187.00
                                September meetings (.7); email to EC members
                                re: same in advance of UCC call (.2); e-mails
                                with M. Browning re: same (.2); e-mails with K.
                                Hansen on call agenda (.1); revise plan
                                statement and prepare for filing (1.5); draft
                                outline for mediation approach (1.0); e-mails with
                                J. Minis re: mediation (.1); telephone conference
                                with UCC and AH professionals re: plan
                                mediation (1.0); call with M. Browning on
                                mediation position (.8); follow-up with entire EC
                                re: same (.1).

08/16/23    Nathaniel T.        Prepare for and attend call with UCC                   B320       0.90    630.00
            DeLoatch            professionals on plan discussions and related
                                issues.
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Date        Timekeeper          Narrative                                               Task    Hours    Amount

08/16/23    Nathaniel T.        Review and comment to draft of statement in             B320      0.30    210.00
            DeLoatch            response to plan.

08/17/23    Erin E. Broderick   E-mails with A. Dietderich re: plan mediation and       B320      2.10   1,911.00
                                September meetings (.2); follow-up with
                                Executive Committee members to schedule
                                dates and requests on agenda items for plan
                                mediation (.5); review e-mail from A. Dietderich
                                re: scope and timing of plan mediation and
                                responses from all parties on same (.4); e-mails
                                with class action counsel to coordinate alignment
                                (.2); call with A. Dietderich re: plan meetings and
                                timing (.3); incorporate comments to plan
                                position statement (.5).

08/17/23    Nathaniel T.        Review correspondence from E. Broderick re:             B320      0.20    140.00
            DeLoatch            retention of financial advisor and analyze related
                                issues.

08/18/23    Jennifer B.         Review Ad Hoc draft Plan position statement.            B320      1.00    950.00
            Kimble

08/18/23    Nathaniel T.        Review draft of AHC statement in support of plan        B320      1.50   1,050.00
            DeLoatch            (1.3); correspondence with E. Broderick related
                                thereto (.2).

08/18/23    Sarah E. Paul       Review and comment on further revised draft of          B320      1.80   2,043.00
                                plan response statement (1.0); coordinate with
                                local counsel, E. Broderick and N. DeLoatch to
                                finalize and file same (0.8).

08/18/23    Erin E. Broderick   E-mail distribution of plan position statement to       B320      5.00   4,550.00
                                Debtors and members with cover note (.2); calls
                                with M. Browning, J. David, and A. Kranzley re:
                                comment from John Ray (.4); follow-up emails
                                re: same (.2); prepare for and attend call with K.
                                Hansen on plan mediation and next steps (.8); e-
                                mails with Executive Committee re: same (.3);
                                review and analyze UCC mediation motion (.5);
                                follow-up with internal team and Executive
                                Committee re: response to same and scheduling
                                (.3); call with A. Kranzley re: same (.1);
                                correspond with S. Paul re: plan statement edits
                                made by MNAT (.4); send update to Executive
                                Committee on plan mediation motion and
                                scheduling (.2); further review and incorporation
                                of edits to plan statement (.5); emails with S.
                                Paul to finalize statement for filing with quick
                                review of draft to signoff on filing (.4); coordinate
                                planning and attendance of plan meetings and
                                presentation from AHC (.7).

08/19/23    Jennifer B.         Review emails from E. Broderick re: plan                B320      0.30    285.00
            Kimble              discussions and call to discuss plan items.

08/20/23    Jennifer B.         Call with E. Broderick re: plan issues and next         B320      1.00    950.00
            Kimble              steps.
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Date        Timekeeper          Narrative                                               Task   Hours    Amount

08/20/23    Erin E. Broderick   Call with J. Kimble re: plan research, mediation        B320     1.20   1,092.00
                                and upcoming meetings (.6); follow-up with J.
                                Kimble to prepare background
                                materials/explanation for same (.4); draft agenda
                                for follow-up plan discussion with Executive
                                Committee and Rothschild (.2).

08/21/23    Nathaniel T.        Prepare for and attend call with AHC                    B320     1.00    700.00
            DeLoatch            professionals re: plan and related issues (.9);
                                review notes following same (.1).

08/21/23    Erin E. Broderick   Follow-up emails with internal team and S&C re:         B320     2.40   2,184.00
                                hearing date/objection deadline for plan
                                mediation motion (.2); start drafting limited
                                objection to shortened notice motion (1.0);
                                further follow-up with local counsel and S&C re:
                                response to court on shortened notice motion
                                (.2); follow-up on open plan items (FTX. 2.0 bid
                                protocols, Genesis settlement, JPL mediation
                                status, coin monetization) with S&C, Rothschild
                                and internally for summary in plan position memo
                                (1.0).

08/22/23    David A. Wender     Analyze documents with respect to next steps re:        B320     0.50    550.00
                                Debtors' plan.

08/22/23    Nathaniel T.        Review and comment re: Debtors motions in               B320     1.00    700.00
            DeLoatch            support of plan negotiations.

08/22/23    Erin E. Broderick   Follow-up with S&C and UCC re: plan status              B320     3.80   3,458.00
                                conference (.2); call with K. Hansen re: same
                                (.5); follow-up with S. Paul re: same (.1); call with
                                Rothschild re: same (.4); review Debtors'
                                response to UCC motion to shorten on mediation
                                motion (.5); follow-up with internal team and EC
                                members to solicit input on joining or waiting to
                                file in response to motion (.2); e-mail to S&C and
                                UCC to check status (.1); thorough review of
                                related pleadings to prepare statement to make
                                at the hearing/notes on issues of contention
                                (1.8).

08/23/23    David A. Wender     Analyze documents with respect to next steps re:        B320     0.30    330.00
                                plan and mediation.

08/23/23    Erin E. Broderick   Attend office meetings with MNAT after hearing          B320     0.50    455.00
                                re: delegation of tasks going forward (.5).

08/24/23    Erin E. Broderick   E-mails with UCC professionals and Executive            B320     0.70    637.00
                                Committee to coordinate UCC/AHC meeting (.1);
                                separate follow-up on September 11 and 12 plan
                                meetings/agenda items (.2); follow-up with local
                                counsel and internal team regarding UCC plan
                                mediation motion and objection
                                deadlines/procedural requirements (.4).
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Date        Timekeeper          Narrative                                              Task     Hours    Amount

08/24/23    Jennifer B.         Review information and Debtors’ demonstrative          B320       0.60    570.00
            Kimble              from 8/23 hearing re: plan timeline and
                                stakeholder update.

08/24/23    Jennifer B.         Review highlights from settlement structure            B320       0.30    285.00
            Kimble              approved by Court at 8/23 hearing.

08/24/23    Jennifer B.         Call with E. Broderick re: open information            B320       0.70    665.00
            Kimble              requests to member and identify issues for plan
                                meetings/response to UCC mediation motion.

                                .

08/25/23    Jennifer B.         Emails with E. Broderick re: plan issues and           B320       0.40    380.00
            Kimble              settlement.

08/25/23    Erin E. Broderick   Follow-up with UCC professionals and Executive         B320       2.30   2,093.00
                                Committee to coordinate UCC/AHC meeting (.1);
                                analyze prior plan research memo and issues list
                                to revise for September 11/12 meeting
                                presentation (2.0); call with C. Delo regarding
                                discussions with A&M and FTI (.2).

08/27/23    Nathaniel T.        Correspond with E. Broderick re: plan analysis         B320       0.20    140.00
            DeLoatch            and related issues.

08/27/23    Erin E. Broderick   Draft e-mail outlining open plan research items        B320       2.80   2,548.00
                                for J. Kimble, S. Paul, and N. DeLoatch (.3);
                                review and analyze Debtors’ objection to UCC
                                motion to shorten notice on mediation motion
                                (.5); work on draft Ad Hoc Committee limited
                                objection/statement in support of UCC mediation
                                motion (2.0). .

08/28/23    Jennifer B.         Begin reviewing precedent briefing re: tracing.        B320       0.60    570.00
            Kimble

08/28/23    Erin E. Broderick   Call with Rothschild team regarding plan               B320       0.80    728.00
                                waterfall analysis (.5); follow-up with Rothschild
                                regarding comments to same and sensitivities
                                analysis with review of inputs from docket items
                                (.3).

08/28/23    Nathaniel T.        Correspond with E. Broderick re: research              B320       0.10     70.00
            DeLoatch            needed for plan negotiations.

08/28/23    Nathaniel T.        Analyze materials in preparation for call with         B320       1.20    840.00
            DeLoatch            R&C re: distribution Models (.7); attend meeting
                                with AHC professionals re: same (.5).

08/28/23    Jennifer B.         Review plan research email from E. Broderick           B320       0.30    285.00
            Kimble              and additional emails re: same.

08/28/23    Jennifer B.         Review and analyze MNAT plan research memo             B320       1.20   1,140.00
            Kimble              and identify open issues.
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Date        Timekeeper          Narrative                                              Task     Hours    Amount

08/29/23    Nathaniel T.        Analyze and research re: support of AHC's              B320       1.70   1,190.00
            DeLoatch            position in plan negotiation and anticipated Sept.
                                meetings with Debtor and UCC (.9); prepare for
                                and attend call with E. Broderick and J. Kimble
                                re: same (.8).

08/29/23    Erin E. Broderick   Call with N. DeLoatch and J. Kimble regarding          B320       4.50   4,095.00
                                plan research and status of discussions (.8);
                                follow-up with N. DeLoatch regarding same (.2);
                                prepare for and attend call with Rothschild and
                                FTI on plan issues/open items (.7); e-mails with
                                J. Kimble, S. Paul, and Rothschild regarding
                                open items for plan discussions/positions of UCC
                                and Debtors (.5); review and analyze waterfall
                                analysis, customer prioritization sensitivity
                                analyses and overview of diligence/information
                                status prepared by Rothschild (1.0); attend call
                                with Rothschild regarding same (.5); review and
                                analyze positions on FTX.com/exchange asset
                                sale and issues regarding issuance of recovery
                                rights token for discussion with executive
                                committee (1.2). .

08/29/23    Jennifer B.         Emails with ES team re: plan research call.            B320       0.20    190.00
            Kimble

08/29/23    Jennifer B.         Call with E. Broderick and N. DeLoatch re: plan        B320       0.80    760.00
            Kimble              research and next steps.

08/29/23    Jennifer B.         Call with E. Broderick re: plan and fee agreement      B320       0.80    760.00
            Kimble              issues.

08/29/23    Jennifer B.         Emails with E. Broderick and Rothschild re: plan       B320       0.20    190.00
            Kimble              issues and professionals call.

08/29/23    Jennifer B.         Professionals call with Eversheds and Rothschild       B320       1.10   1,045.00
            Kimble              re: plan meetings and open plan issues.

08/29/23    Jennifer B.         Draft open plan issues chart (0.2); emails with E.     B320       0.30    285.00
            Kimble              Broderick re: the same (0.1).

08/29/23    Jennifer B.         Review notes from call with Rothschild and             B320       0.60    570.00
            Kimble              analyze plan issues.
                                .

08/29/23    Jennifer B.         Review constructive trust and tracing research         B320       0.50    475.00
            Kimble              re: customer property settlement as part of plan.

08/29/23    Sarah E. Paul       Call and emails with E. Broderick and J. Kimble        B320       0.50    567.50
                                re: plan research (0.5).

08/30/23    Nathaniel T.        Analyze R&C presentation re: potential customer        B320       0.30    210.00
            DeLoatch            entitlements and priority.
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Date        Timekeeper          Narrative                                            Task     Hours     Amount

08/30/23    Sarah E. Paul       Call with J. Kimble to discuss plan research and     B320       3.50    3,972.50
                                approach (1.0); review motion for partial
                                summary judgment and various case law to
                                begin formulating approach to plan research
                                (2.0); call with E. Broderick on plan research and
                                various open items (0.5).

08/30/23    Erin E. Broderick   Review and revise comparative plan issues chart      B320       4.10    3,731.00
                                and related diligence (1.0); attend call with J.
                                Kimble and S. Paul re: plan research issues (.5);
                                work on plan mediation response (.8); emails
                                with A. Dietderich and executive committee re:
                                potential mediation dates (.1); confer with J.
                                Kimble and S. Paul re: same (.5); brief view of
                                mediation process in prior case and
                                recommended protocol and timing (1.2).

08/30/23    Jennifer B.         Review and analyze MSJ Opening Brief on trust        B320       0.60      570.00
            Kimble              and property of estate issues re: customer
                                property settlement as part of plan.

08/30/23    Jennifer B.         Review and analyze plan, plan term sheet,            B320       4.50    4,275.00
            Kimble              various plan issues lists and UCC/AHC plan
                                statements and build out plan open issue tracker.

08/30/23    Jennifer B.         Call with S. Paul and E. Broderick re: plan          B320       1.00      950.00
            Kimble              research issues re: trust and tracking.

08/30/23    Jennifer B.         Review draft Rothschild decks on plan diligence      B320       0.30      285.00
            Kimble              issues.

08/30/23    Jennifer B.         Call with Rothschild and Ex Comm re: initial         B320       0.80      760.00
            Kimble              waterfall model.

08/31/23    Jennifer B.         Review emails from Eversheds and Rothschild          B320       0.30      285.00
            Kimble              teams re: plan issues and updated waterfall
                                model.

08/31/23    Erin E. Broderick   Follow-up with Rothschild on status of plan          B320       1.20    1,092.00
                                agenda/materials from A&M, waterfall analysis
                                and coordination with FTI (.2); work on the plan
                                issues chart for presentation at plan meetings
                                (1.0).

                                Total for B320 - Plan and Disclosure
                                Statement (including Business Plan)                            118.70 109,542.00
B330 - Fee Reimbursement Motion
08/01/23    Sarah E. Paul       Emails with Rothschid team re: engagement            B330       1.00    1,135.00
                                (0.2); review and comment on draft of Rothschild
                                engagement letter (0.4); draft and send email to
                                S&C re: Rothschild KYC process (0.4).
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Date        Timekeeper          Narrative                                              Task    Hours    Amount

08/01/23    Erin E. Broderick   Review and analyze Rothschild retention                B330      2.10   1,911.00
                                agreement and response on KYC protocol (.5);
                                follow-up call and emails with S. Paul regarding
                                same (.4); review and provide N. DeLoatch
                                instruction to revise resolutions for approval of
                                retention (.2); review and comment on e-mail to
                                Sullivan & Cromwell regarding Rothschild
                                retention and KYC requirements (.2); e-mails
                                with Rothschild, S. Paul and Executive
                                Committee regarding same (.5); review and
                                update member list per claim transfers and
                                resignations (.2); follow-up with Sullivan &
                                Cromwell on general next steps for fee
                                reimbursement (.1).

08/02/23    Sarah E. Paul       Email to S&C re: Rothschild engagement letter.         B330      0.20    227.00

08/09/23    Erin E. Broderick   Review Rothschild engagement letter further            B330      3.90   3,549.00
                                comments (.2); research/review regarding
                                indemnification provisions for other FTX
                                professionals and ad hoc professionals in other
                                cases (1.0); e-mails with S. Paul regarding same
                                and KYC for Executive Committee members (.3);
                                review draft KYC consent agreement provided by
                                Rothschild and summary of items/process (.3);
                                review and analyze Dorsey precedent on ad hoc
                                committee fee requirements and former analysis
                                prepared and follow-up with internal team to
                                conform invoices/prepare disclosures (2.0);
                                review and confirm vote tabulations on
                                resolutions (.1). .

08/10/23    Erin E. Broderick   Emails with internal team regarding Rothschild’s       B330      1.00    910.00
                                success fee and proposed plan and same issues
                                with respect to counsel fees (.6); follow-up with
                                S. Paul on research items (.4).

08/11/23    Peter A. Ivanick    Emails from/to E. Broderick re: financial advisor      B330      0.60   1,020.00
                                indemnity issue and Delaware precedent re:
                                same (.3); telephone call M. Harvey re: same
                                and report to team(.3).

08/11/23    Erin E. Broderick   Follow-up emails with internal team on                 B330      0.30    273.00
                                Rothschild retention and related fee
                                reimbursement issues.

08/12/23    Erin E. Broderick   Call with S. Paul regarding Rothschild retention       B330      0.50    455.00
                                and follow-up emails on next steps (.5).

08/12/23    Sarah E. Paul       Email to Rothschild re: proposed next steps on         B330      0.20    227.00
                                indemnity and KYC (0.2).

08/13/23    Erin E. Broderick   Follow-up with Executive Committee, Rothschild         B330      0.40    364.00
                                and S&C re: Rothschild retention status and
                                open items.
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Date        Timekeeper          Narrative                                               Task   Hours    Amount

08/16/23    Erin E. Broderick   Calls with A. Dietderich and A. Kranzley re:            B330     4.30   3,913.00
                                Rothschild indemnification provisions and KYC
                                process (.5); e-mail to Rothschild team re: same
                                (.2); follow-up emails and three calls with
                                alternative financial advisors if Rothschild issues
                                not resolved (2.3); call with J. Minias re: status of
                                Rothschild retention (.4); e-mails to C. Delo and
                                S. Shnayder and short call with C. Delo re: same
                                (.4); e-mails with A. Kranzley and A. Deitderich
                                re: same (.3); call with S. Paul re: same (.2).

08/16/23    David A. Wender     Analyze Ad Hoc-related matters re: 2019                 B330     1.30   1,430.00
                                disclosure and governance.

08/16/23    Sarah E. Paul       Call with E. Broderick re: Rothschild open items        B330     0.20    227.00
                                (0.2).

08/17/23    Erin E. Broderick   Follow-up re: final terms/status of Rothschild          B330     6.40   5,824.00
                                engagement for Executive Committee discussion
                                (.8); call with Executive Committee members re:
                                same (.5); review, analyze and respond to e-
                                mails with Rothschild on proposed retention
                                terms (.5); call with K. Taylor and M. Cvijovic to
                                discuss same and negotiate final terms (.4); call
                                with M. Browning re: same (.3); draft update for
                                Executive Committee re: same and
                                recommendations (.5); update S&C on status
                                (.1); review, comment and circulate on counsel
                                and Rothschild retention reimbursement
                                agreements and fee motion (.7); follow-up with S.
                                Paul re: KYC process for Rothschild retention
                                (.4); review and revise e-mail to Rothschild re:
                                same (.2); review and revise instructions to
                                members and consent form re: same (.4); review
                                Rothschild's comments to reimbursement
                                agreement (.2); follow-up call with A. Kranzley re:
                                same (.3); call with J. Minias re: same (.3);
                                further follow-up with S. Paul re: KYC protocol
                                (.2); call with member re: KYC compliance (.2);
                                call with K. Taylor and M. Cvijovic to negotiate
                                resolution (.2); call with A. Kranzley re: same
                                (.2).

08/17/23    Jennifer B.         Review email from A. Kranzley re: fee                   B330     0.20    190.00
            Kimble              reimbursement motion.

08/18/23    Nathaniel T.        Review and simultaneously provide comments to           B330     1.70   1,190.00
            DeLoatch            Debtors' draft of AHC fee reimbursement motion
                                and related agreement.

08/18/23    Sarah E. Paul       Correspond with R. Munzon Woc re: matter and            B330     1.00   1,135.00
                                assistance with KYC process (0.4); emails with
                                member re: KYC (0.2); emails with Rothschild re:
                                KYC next steps (0.2); send updated Rothschild
                                engagement letter to M. Browning (0.1); call with
                                E. Broderick re: open items and next steps (0.1).
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Date        Timekeeper          Narrative                                               Task   Hours   Amount

08/18/23    Jennifer B.         Review fee reimbursement letter and send                B330    0.50    475.00
            Kimble              comments to E. Broderick and D. Wender.

                                .

08/18/23    Jennifer B.         Review Fee Reimbursement Motion.                        B330    0.50    475.00
            Kimble

08/18/23    Erin E. Broderick   Follow-up with A. Dietderich re: fee                    B330    2.60   2,366.00
                                reimbursement terms and motion (.2); emails
                                with Rothschild and S. Paul to resolve open
                                issues in KYC protocol (.5); review and comment
                                on KYC consent form (.2); follow-up with
                                member on KYC resolution (.2); follow-up with
                                Rothschild on same (.1); call with S. Paul re:
                                KYC issues/timing and revise summary per
                                same (.6); emails to member on KYC issues (.1);
                                calls with A. Kranzley on Rothschild retention
                                agreement (.2); calls and emails with Rothschild
                                team to finalize terms and comments on fee
                                motion (.5).

08/19/23    Erin E. Broderick   Revise KYC consent form further and e-mails to          B330    2.60   2,366.00
                                S. Paul and Rothschild legal re: same (.3); revise
                                and comment on Rothschild reimbursement
                                agreement and fee motion provisions re: same
                                (.5); e-mail to S&C re: clarification on filing (.1);
                                further revisions and incorporating comments to
                                fee motion and reimbursement agreements (1.0);
                                follow-up with internal team re: task delegation
                                and budgeting (.5); correspondence with D.
                                Hirsch to updates to member tracker with
                                claim/account information and follow-up with
                                members for same (.4).

08/20/23    Jennifer B.         Review emails and comments to Ad Hoc                    B330    0.30    285.00
            Kimble              reimbursement motion and agreement.

08/20/23    Erin E. Broderick   Call with A. Kranzley re: Rothschild                    B330    1.20   1,092.00
                                reimbursement agreement (.2); follow-up with
                                Rothschild and internal team (.3); further
                                revisions to fee motion and send to S&C (.5);
                                emails with Rothschild and Executive Committee
                                on status (.2).

08/20/23    Peter A. Ivanick    Review motion for reimbursement and proposed            B330    0.30    510.00
                                order and emails from/to E. Broderick re: same.

08/21/23    Erin E. Broderick   Emails and short calls with S&C re: status of           B330    1.50   1,365.00
                                reimbursement agreements (.3); follow-up with
                                Rothschild team re: same (.4); e-mails with
                                Executive Committee members re: same (.3);
                                review Rothschild comments to reimbursement
                                agreements and motion and respond/incorporate
                                same (.5).
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Date        Timekeeper          Narrative                                             Task   Hours    Amount

08/21/23    Sarah E. Paul       Correspondence with E. Broderick to discuss           B330     1.90   2,156.50
                                open items on Rothschild retention (0.6);
                                coordinate with R. Monzon and E. Broderick re:
                                draft member communication (0.4); emails with
                                E. Broderick and S&C re: Rothschild
                                engagement letter (0.4); emails with Rothschild
                                re: engagement letter (0.2); coordinate with R.
                                Monzon re: revisions to KYC consent agreement
                                (0.3).

08/21/23    Jennifer B.         Review Rothschild comments to Ad Hoc                  B330     0.50    475.00
            Kimble              Reimbursement Motion.

08/22/23    Sarah E. Paul       Call with A&M and S&C to discuss customer             B330     2.80   3,178.00
                                claims portal process (0.7); correspondence with
                                E. Broderick to discuss KYC and other open
                                items (0.5); call with C. Thain to discuss KYC
                                questions (0.2); emails with Rothschild re:
                                engagement letter (0.2); coordinate with E.
                                Broderick and N. DeLoatch re: resolution for
                                AHC Executive Committee approval of
                                Rothschild engagement letter (0.3); email to
                                member responding to Rothschild KYC
                                questions (0.2); review and revise draft member
                                communication (0.5); coordinate with N.
                                DeLoatch re: finalizing Rothschild retention (0.2).

08/22/23    Erin E. Broderick   Call with A. Kranzley to finalize reimbursement       B330     4.00   3,640.00
                                agreements (.2); follow-up review of S&C edits
                                (.4); calls and emails with Rothschild and
                                Executive Committee re: comments to same (.5);
                                follow-up with N. DeLoatch and S. Paul re:
                                further revisions and resolutions for approval of
                                same (.3); review and revise same (.2); further
                                emails with Rothschild legal re: fee filings (.5);
                                follow-up with S. Paul re: same (.2); call with
                                member re: same (.3); e-mails with D. Hirsch re:
                                method to distribute consent agreement and
                                holding on furnished KYC data (.5); revise
                                consent form further (.1); forward member
                                inquiries on KYC to S. Paul (.1); review status of
                                new member onboarding for hearing
                                representations (.4).; final comments on fee
                                motion (.4).

08/22/23    Jennifer B.         Review revisions to and turns of reimbursement        B330     0.30    285.00
            Kimble              motion and agreement.

08/22/23    Jennifer B.         Emails with Eversheds and MNAT teams re:              B330     0.20    190.00
            Kimble              revisions to reimbursement motion.

08/23/23    Nathaniel T.        Review and revise draft of R&C retention              B330     3.40   2,380.00
            DeLoatch            agreement and related documentation (2.4);
                                correspond with S. Paul re: same (.2);
                                correspond with R&C re: same (.1); correspond
                                with members of Executive Committee of AHC
                                re: same (.7).
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08/23/23    Nathaniel T.        Calls with J. Peroff at Rothschild re: draft of R&C    B330      0.50    350.00
            DeLoatch            retention agreement (.4); revisions to same (.1).

08/23/23    Nathaniel T.        Call with E. Broderick re: draft of R&C retention      B330      0.10     70.00
            DeLoatch            agreement.

08/23/23    Jennifer B.         Emails re: revisions to Reimbursement                  B330      0.30    285.00
            Kimble              Agreement and Rothschild Engagement Letter.

08/23/23    Erin E. Broderick   Review Rothschild's comments on                        B330      1.90   1,729.00
                                reimbursement and emails to S&C (.2); follow-up
                                with A. Kranzley re: same (.1); follow-up with
                                Rothschild/call to J. Peroff re: same (.3); e-mails
                                and call to N. DeLoatch re: R&C engagement
                                agreement (.2) call with N. DeLoatch on
                                resolutions to authorize same (.2); emails with
                                Rothschild re: same (.2); review further
                                comments from Rothschild and call A. Kranzley
                                re: same (.2); follow-up with Rothschild to
                                resolve open issues (.3); call to N. DeLoatch re:
                                instructions to finalize documents and release
                                signature pages (.2).

08/23/23    Sarah E. Paul       Coordinate with N. DeLoatch and E. Broderick to        B330      1.90   2,156.50
                                finalize Rothschild retention (0.3); correspond
                                with E. Broderick to discuss strategy and next
                                steps in matter (0.8); coordinate with R. Monzon
                                re: KYC follow up questions from Rothschild
                                (0.3); coordinate with E. Broderick, R. Monzon,
                                and D. Hirsch re: draft email to members and
                                final version of KYC consent form (0.3); email to
                                C. Thain re: KYC query (0.2).

08/25/23    Erin E. Broderick   Follow-up with M. Harvey and S. Paul regarding         B330      1.00    910.00
                                fee reimbursement and analyze requirements for
                                court submissions (1.0).

08/28/23    Erin E. Broderick   Review and revise engagement letter per                B330      0.50    455.00
                                pending fee reimbursement terms with Debtors
                                (.5).

08/31/23    David A. Wender     Analyze correspondence related to proposed             B330      0.10    110.00
                                reimbursement.

08/31/23    Nathaniel T.        Correspond with AHC professionals re: informal         B330      0.20    140.00
            DeLoatch            discovery requests from UCC re: reimbursement
                                motions.

08/31/23    Jennifer B.         Review and analyze UST email and informal              B330      0.50    475.00
            Kimble              discovery requests re: Reimbursement Motion.

08/31/23    Jennifer B.         Email correspondence with S. Paul and E.               B330      0.30    285.00
            Kimble              Broderick re: UST informal discovery requests on
                                Reimbursement Motion (0.1)scheduling call with
                                S&C re: the same (0.2).

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08/31/23    Erin E. Broderick   AHC (Fee Reimbursement): Review informal              B330     9.40   8,554.00
                                discovery requests of UST (.2); e-mails with S&C
                                and internal team to discuss coordination of
                                responses (.5); correspond with S. Paul re: same
                                (.1); e-mails with K. Pasquale on informal
                                discovery responses (.2); call with S&C team and
                                internal team re: same and UST requests (.5);
                                review of prior billing information in response to
                                UCC and UST requests (.5); review member
                                disclosures on claim verifications and status of
                                claim submissions/assigned claim IDs to respond
                                to UCC discovery (.5); attend call with Paul
                                Hastings and internal team re: discovery
                                requests (1.0); follow-up with internal team re:
                                same (.4); call with S. Paul re: same (.2); call
                                with A. Dietderich re: same (.7); e-mails with
                                internal team re: approach to
                                discovery/scheduling (.3); e-mails and call with J.
                                Minias re: approach to secondary claim
                                disclosures (.3); call with Executive Committee
                                member re: same (.5); office conference with M.
                                Rogers re: claims verification chart for discovery
                                responses (1.2); follow-up emails and discussion
                                with M. Rogers re: same (.5); emails with J.
                                Kimble and S. Paul on billing disclosures and
                                claim documentation (.3); review and revise
                                claims chart and send to Debtors for verification
                                of new members (.4); follow-up with members re:
                                account and customer id verifications (.4); review
                                of engagement letter and e-mails responsive to
                                UCC and UST requests and emails with S. Paul
                                and J. Kimble re: same (.5); call with S. Paul on
                                billing disclosures (.5). .

08/31/23    Sarah E. Paul       Call with debtors to discuss UCC and US               B330     3.30   3,745.50
                                Trustee information requests (0.5); call with UCC
                                counsel to discuss UCC information requests
                                (0.6); multiple calls and emails with E. Broderick,
                                J. Kimble, and M. Harvey to discuss responses
                                to UCC and US Trustee information requests
                                (1.2).

08/31/23    Jennifer B.         Call with Paul Hastings re: Reimbursement             B330     0.70    665.00
            Kimble              Motion document requests.

08/31/23    Jennifer B.         Email correspondence with Eversheds and               B330     0.60    570.00
            Kimble              MNAT teams on responses to UCC and UST
                                informal discovery requests.

08/31/23    Jennifer B.         Email correspondence with Eversheds team re:          B330     0.50    475.00
            Kimble              gathering information to respond to informal
                                discovery requests.

08/31/23    Jennifer B.         Review brief notes from MSJ on tracing.               B330     0.50    475.00
            Kimble
               Case 22-11068-JTD            Doc 4102-3      Filed 11/22/23         Page 106 of 182
Matter No. 96490-0001                        Bill No: 1273675                                                 Page 38

Date        Timekeeper          Narrative                                             Task    Hours          Amount

08/31/23    Jennifer B.         Work on gathering documents for production to         B330      1.50         1,425.00
            Kimble              UCC and UST.

08/31/23    Jennifer B.         Email correspondence with Paul Hastings               B330      0.40          380.00
            Kimble              responding to UCC informal discovery requests
                                and providing first round of information.

08/31/23    Jennifer B.         Call with S&C re: UST/ UCC requests on                B330      0.70          665.00
            Kimble              reimbursement motion.

08/31/23    Jennifer B.         Review email correspondence from K. Pasquale          B330      0.30          285.00
            Kimble              re: UCC discovery requests re: reimbursement
                                motion.

08/31/23    Jennifer B.         Email correspondence with UCC counsel re: call        B330      0.20          190.00
            Kimble              to discuss reimbursement discovery requests.

08/31/23    Jennifer B.         Draft and revise proposed categories of               B330      1.00          950.00
            Kimble              document summary to provide to UST/ UCC in
                                response to informal document requests.

08/31/23    Jennifer B.         Review case protective order and confirm              B330      0.60          570.00
            Kimble              language to include on confidential information.

08/31/23    Jennifer B.         Email to UST confirming receipt of discovery          B330      0.20          190.00
            Kimble              requests and working to schedule call to discuss
                                the same.

08/31/23    Jennifer B.         Emails with Rothschild re: UCC/ UST discovery         B330      0.30          285.00
            Kimble              requests.

                                Total for B330 - Fee Reimbursement Motion                        75.40      71,608.50
B410 - General Bankruptcy Advice/Opinions
08/04/23    Erin E. Broderick   Review and respond to emails from L. Munoz            B410      0.70          637.00
                                and N. DeLoatch regarding meeting minutes,
                                revisions to resolutions and updates to restricted
                                vs. non-restricted group (.5); follow-up regarding
                                status of Rothschild retention/KYC
                                issues/comments to engagement letter (.2). .

08/24/23    Erin E. Broderick   Ccorrespond with D. Hirsch regarding general          B410      1.60         1,456.00
                                case management open items (.5); start draft of
                                task list for internal discussion and budgeting
                                purposes (1.0); follow-up with M. Harvey and S.
                                Paul regarding same (.1).

08/24/23    David A. Wender     Analyze documents with respect to next steps re:      B410      0.20          220.00
                                plan mediation and agenda for Sept. 11/12
                                meetings.

08/31/23    Erin E. Broderick   E-mails with internal team re: staffing and budget    B410      0.70          637.00
                                coordination (.2); e-mail to N. DeLoatch and J.
                                Weyand re: updates to WIP chart (.1); comment
                                on updates to working group list and distribution
                                emails (.2); follow-up on town hall all-member
                                meetings (.2).

                                Total for B410 - General Bankruptcy
                                Advice/Opinions                                                      3.20    2,950.00
                  Case 22-11068-JTD           Doc 4102-3     Filed 11/22/23    Page 107 of 182
 Matter No. 96490-0001                         Bill No: 1273675                                             Page 39

Date            Timekeeper        Narrative                                         Task        Hours      Amount

                                                                                      Fees              $408,512.50

B110 Case Administration
Jennifer B. Kimble                                          0.20   Hours @ 950.00            190.00
Erin E. Broderick                                           7.00   Hours @ 910.00          6,370.00
Michael A. Rogers                                           5.00   Hours @ 735.00          3,675.00
Nathaniel T. DeLoatch                                       5.70   Hours @ 700.00          3,990.00
Devorah Hirsch                                              9.30   Hours @ 240.00          2,232.00
                                                           27.20                                           16,457.00

B112 General Creditor Inquiries
Erin E. Broderick                                           4.90   Hours @ 910.00          4,459.00
Michael A. Rogers                                           2.30   Hours @ 735.00          1,690.50
Nathaniel T. DeLoatch                                       2.30   Hours @ 700.00          1,610.00
Devorah Hirsch                                              9.80   Hours @ 240.00          2,352.00
                                                           19.30                                           10,111.50

B113 Case Analysis/Pleading Review
Sarah E. Paul                                               1.30         Hours @           1,475.50
                                                                         1,135.00
David A. Wender                                             1.40         Hours @           1,540.00
                                                                         1,100.00
Jennifer B. Kimble                                          5.60   Hours @ 950.00       5,320.00
Erin E. Broderick                                          25.80   Hours @ 910.00      23,478.00
Nathaniel T. DeLoatch                                       0.50   Hours @ 700.00         350.00
Ana Rocio Monzon Woc                                        8.10   Hours @ 655.00       5,305.50
                                                           42.70                                           37,469.00

B120 Asset Analysis and Recovery
Devorah Hirsch                                              1.50   Hours @ 240.00           360.00
                                                            1.50                                              360.00

B150 Meetings of and Communications with Creditors
Jennifer B. Kimble                                          2.00   Hours @ 950.00          1,900.00
Erin E. Broderick                                           5.70   Hours @ 910.00          5,187.00
Nathaniel T. DeLoatch                                       0.30   Hours @ 700.00            210.00
Jazmen B. Howard                                            3.40   Hours @ 650.00          2,210.00
                                                           11.40                                            9,507.00

B155 Court Hearings
Erin E. Broderick                                           1.70   Hours @ 910.00          1,547.00
                                                            1.70                                            1,547.00

B160 Fee/Employment Applications
Peter A. Ivanick                                            0.90         Hours @           1,530.00
                                                                         1,700.00
Sarah E. Paul                                               1.90         Hours @           2,156.50
                                                                         1,135.00
Jennifer B. Kimble                                          2.60   Hours @ 950.00          2,470.00
Erin E. Broderick                                           2.60   Hours @ 910.00          2,366.00
                                                            8.00                                            8,522.50

B190 Other Contested Matters (excluding assumption/rejection motions)
Sarah E. Paul                                            0.20            Hours @            227.00
                                                                         1,135.00
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David A. Wender                                           0.60         Hours @        660.00
                                                                       1,100.00
Jennifer B. Kimble                                        2.80   Hours @ 950.00     2,660.00
Erin E. Broderick                                         3.80   Hours @ 910.00     3,458.00
Nathaniel T. DeLoatch                                     0.80   Hours @ 700.00       560.00
                                                          8.20                                   7,565.00

B195 Non-Working Travel
Erin E. Broderick                                         5.00   Hours @ 910.00     4,550.00
                                                          5.00                                   4,550.00

B260 Corporate Governance and Board Matters
Sarah E. Paul                                             7.40         Hours @      8,399.00
                                                                       1,135.00
David A. Wender                                           1.50         Hours @      1,650.00
                                                                       1,100.00
Erin E. Broderick                                        12.90   Hours @ 910.00    11,739.00
Nathaniel T. DeLoatch                                     8.20   Hours @ 700.00     5,740.00
Ana Rocio Monzon Woc                                      0.30   Hours @ 655.00       196.50
Jazmen B. Howard                                          1.00   Hours @ 650.00       650.00
Devorah Hirsch                                            9.00   Hours @ 240.00     2,160.00
                                                         40.30                                  30,534.50

B270 AHC Member Communications & Meetings
Peter A. Ivanick                                          0.20         Hours @        340.00
                                                                       1,700.00
Sarah E. Paul                                             9.20         Hours @     10,442.00
                                                                       1,135.00
David A. Wender                                           3.50         Hours @      3,850.00
                                                                       1,100.00
Jennifer B. Kimble                                        3.00   Hours @ 950.00     2,850.00
Erin E. Broderick                                        31.70   Hours @ 910.00    28,847.00
Nathaniel T. DeLoatch                                    18.30   Hours @ 700.00    12,810.00
Ana Rocio Monzon Woc                                     12.00   Hours @ 655.00     7,860.00
Devorah Hirsch                                            4.10   Hours @ 240.00       984.00
                                                         82.00                                  67,983.00

B310 Claims Administration and Objections
Sarah E. Paul                                             7.10         Hours @      8,058.50
                                                                       1,135.00
Erin E. Broderick                                         5.60   Hours @ 910.00     5,096.00
Ana Rocio Monzon Woc                                     16.20   Hours @ 655.00    10,611.00
Jazmen B. Howard                                          8.00   Hours @ 650.00     5,200.00
Devorah Hirsch                                            3.50   Hours @ 240.00       840.00
                                                         40.40                                  29,805.50

B320 Plan and Disclosure Statement (including Business Plan)
Sarah E. Paul                                           14.20          Hours @     16,117.00
                                                                       1,135.00
David A. Wender                                           2.50         Hours @      2,750.00
                                                                       1,100.00
Jennifer B. Kimble                                      19.80    Hours @ 950.00    18,810.00
Erin E. Broderick                                       68.90    Hours @ 910.00    62,699.00
Nathaniel T. DeLoatch                                   12.10    Hours @ 700.00     8,470.00
Zachariah W. Lindsey                                     1.20    Hours @ 580.00       696.00
                                                       118.70                                  109,542.00

B330 Fee Reimbursement Motion
Peter A. Ivanick                                          0.90         Hours @      1,530.00
                                                                       1,700.00
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Sarah E. Paul                                              12.50          Hours @        14,187.50
                                                                          1,135.00
David A. Wender                                             1.40          Hours @         1,540.00
                                                                          1,100.00
Jennifer B. Kimble                                         11.10    Hours @ 950.00       10,545.00
Erin E. Broderick                                          43.60    Hours @ 910.00       39,676.00
Nathaniel T. DeLoatch                                       5.90    Hours @ 700.00        4,130.00
                                                           75.40                                            71,608.50

B410 General Case Strategy
David A. Wender                                             0.20          Hours @           220.00
                                                                          1,100.00
Erin E. Broderick                                           3.00    Hours @ 910.00        2,730.00
                                                            3.20                                             2,950.00


                                                                                485.00                     408,512.50

DISBURSEMENTS

                    96490.0001 20230823 Attend hearing-Trip 1987 - Broderick,                 1,102.45
                    Erin E. – Local Transportation


                                                              Total Current Disbursements                  $1,102.45

                                                         TOTAL CURRENT BILLING                           $409,614.95
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         Name                Title    Practice Group;          Hourly Rate        Hours     Amount
                                       Date of First                              Billed     Billed
                                        Admission
Wender, David A.         Partner      Finance, 2003                  $1,100.00      11.10    12,210.00
Paul, Sarah              Partner      Litigation, 2004               $1,135.00      53.80    61,063.00
Ivanick, Peter A.        Partner      Insurance                      $1,700.00       2.00     3,400.00
                                      Transactions &
                                      Products, 1983
                                                                  Partner Total     66.90    76,673.00
Kimble, Jennifer B.      Senior       Finance, 2005                    $950.00      47.10    44,745.00
                         Counsel
Broderick, Erin E.       Senior       Finance, 2008                    $910.00     222.20   202,202.00
                         Counsel
                                                           Senior Counsel Total    269.30   246,947.00
Rogers, Michael A.       Associate    Finance, 2022                   $735.00        7.30     5,365.50
DeLoatch, Nathaniel T.   Associate    Finance, 2019                   $700.00       54.10    37,870.00
Howard, Jazmen           Associate    Corporate, 2020                 $650.00       12.40     8,060.00
Monzon Woc, Ana          Associate    Litigation, 2018                $655.00       36.60    23,973.00
Rocio
Lindsey, Zack W.         Associate    Litigation, 2020                 $580.00       1.20      696.00
                                                                Associate Total    111.60   75,964.50
Hirsch, Devorah          Paralegal    Litigation, N/A                  $240.00      37.20    8,928.00
                                                                Paralegal Total     37.20    8,928.00
Total                                                                              485.00 $408,512.50
Blended Hourly Rate: $850.00
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             U.S. Trustee Task Code and Project Category                Hours Billed      Amount Billed
B110 Case Administration                                                       27.20          16,457.00
B112 General Creditor Inquiries                                                19.30          10,111.50
B113 Case Analysis/Pleading Review                                             42.70          37,469.00
B120 Asset Analysis and Recovery                                                 1.50            360.00
B150 Meetings of and Communications with External Stakeholders                 11.40           9,507.00
B155 Court Hearings                                                               1.70         1,547.00
B160 Fee/Employment Applications                                                  8.00         8,522.50
B190 Other Contested Matters (excluding assumption/rejection motions)            8.20          7,565.00
B195 Non-Working Travel                                                           5.00         4,550.00
B260 Corporate Governance and Board Matters                                    40.30          30,534.50
B270 AHC Member Communications & Meetings                                      82.00          67,983.00
B310 KYC Process and Claims Administration                                     40.40          29,805.50
B320 Plan and Disclosure Statement (including Business Plan)                  118.70         109,542.00
B330 Fee Reimbursement Motion                                                  75.40          71,608.50
B410 General Case Strategy                                                        3.20         2,950.00
                                                                              485.00     $   408,512.50
  Case 22-11068-JTD        Doc 4102-3   Filed 11/22/23   Page 112 of 182



                                                           Eversheds Sutherland (US) LLP
                                                           700 Sixth Street, NW
                                                           Suite 700
                                                           Washington, DC 20001-3980

                                                           T: +1 202 383 0100

                                                           eversheds-sutherland.com

                                                           IRS Employer ID No: XX-XXXXXXX

                                                           Electronic Remittance Instructions:
                                                           Bank Name: Wells Fargo Bank, N.A.
                                                           Acct Name: Eversheds Sutherland (US) LLP
                                                           Acct Number: 5233576718
                                                           Wire Routing/ABA: 121000248
                                                           ACH Routing: 061000227
                                                           SWIFT Code: WFBIUS6S
                                                           Check Remittance Instructions:
                                                           Eversheds Sutherland (US) LLP
                                                           PO Box 931885
                                                           Atlanta, GA 31193-1885



Ad Hoc Committee of Non-US Customers of FTX.com
C/O FTX Trading Ltd.
                                                          Bill No.       1274167
                                                          Bill Date      November 22, 2023

Matter No:      96490.0001
RE:             FTX Bankruptcy

FOR LEGAL SERVICES RENDERED From September 1, 2023 through September 30, 2023


Fees                                                                                  $609,483.00

Total Current Disbursements                                                             $4,423.68

Total Current Bill                                                                    $613,906.68
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 Matter No. 96490-0001                        Bill No: 1274167                                          Page 2



FOR LEGAL SERVICES RENDERED From September 1, 2023 through September 30, 2023

 Date        Timekeeper          Narrative                                            Task    Hours    Amount
 B110 - Case Administration
 09/01/23    Michael A.          Update unique IDs and internal and external          B110      2.10   1,543.50
             Rogers              member logs, correspond with E. Broderick on
                                 further required member identifying information
                                 per correspondence with member.

 09/01/23    Michael A.          Correspond with member re: customer ID               B110      0.20    147.00
             Rogers              numbers and update records for confirmation of
                                 claims identity.

 09/01/23    Michael A.          Draft updates on Unique Customer ID of               B110      0.20    147.00
             Rogers              members and holders.

 09/03/23    Michael A.          Evaluate and analyze member ID numbers for           B110      2.40   1,764.00
             Rogers              re: claims due diligence.

 09/03/23    Michael A.          Correspond with E. Broderick and S. Paul re:         B110      0.10     73.50
             Rogers              member IDs for claims due diligence.

 09/03/23    Jennifer B.         Review customer ID information.                      B110      0.30    285.00
             Kimble

 09/05/23    Michael A.          Analyze unique customer IDs updates from             B110      1.10    808.50
             Rogers              A&M, evaluate for potential discrepancies and
                                 document updates of same.

 09/05/23    Michael A.          Correspond with J. Kimble re: unique customer        B110      0.10     73.50
             Rogers              ID updates from A&M.

 09/06/23    Devorah Hirsch      Draft Third Supplemental Rule 2019 Statement         B110      1.00    240.00
                                 (.5); revise Exhibit A (.5).

 09/08/23    Michael A.          Email with R. Monzon Woc re: executed KYC.           B110      0.10     73.50
             Rogers

 09/11/23    Nathaniel T.        Review and revise draft of third supplemental        B110      1.50   1,050.00
             DeLoatch            2019 statement.

 09/11/23    Devorah Hirsch      Review and update Third Supplemental 2019            B110      0.50    120.00
                                 Statement.

 09/11/23    Jennifer B.         Review draft 2019 statements versions.               B110      0.30    285.00
             Kimble

 09/11/23    Erin E. Broderick   Review and comment on third supplement 2019          B110      0.50    455.00
                                 statement.

 09/12/23    Devorah Hirsch      Revise Third Supplemental 2019 Statement with        B110      0.40     96.00
                                 new member information.

 09/14/23    Michael A.          Correspond with D. Hirsch to add new members         B110      0.20    147.00
             Rogers              to Ad Hoc Committee distribution.
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Matter No. 96490-0001                         Bill No: 1274167                                           Page 3


Date         Timekeeper          Narrative                                           Task   Hours       Amount

09/18/23     Michael A.          Evaluate tracker and DMS for claim submission       B110     0.90       661.50
             Rogers              IDs (.2); review correspondence with members
                                 for same (.3); update same (.2); prepare for
                                 conference with E. Broderick and N. DeLoatch
                                 (.2).

09/19/23     Michael A.          Correspond with N. DeLoatch and J. Howard re:       B110     0.10        73.50
             Rogers              claims status and follow ups.

09/22/23     Michael A.          Calculate proportion of member claims with          B110     0.70       514.50
             Rogers              confirmation IDs and draft report evaluating
                                 same (.6); send tracker to Rothschild (.1).

09/22/23     Michael A.          Correspond with Eversheds and MNAT teams to         B110     0.40       294.00
             Rogers              create weekly work flow meeting schedule.

09/22/23     Michael A.          Revise and update executive committee               B110     0.30       220.50
             Rogers              subgroups list.

09/26/23     Michael A.          Revise and update executive subgroups list.         B110     0.80       588.00
             Rogers

09/26/23     Michael A.          Evaluate claims submission confirmation IDs         B110     0.40       294.00
             Rogers              tracker and update same (.3); send same to E.
                                 Broderick, N. DeLoatch, and J. Howard (.1).

09/27/23     Michael A.          Evaluate claims submission confirmation             B110     3.20      2,352.00
             Rogers              tracker(2.2); draft chart of missing confirmation
                                 IDs and related user IDs (.4); send same to
                                 member for update (.1); update tracker with new
                                 claims submission confirmation IDs (.4).

09/28/23     Michael A.          Review fully executed engagement letters (.7);      B110     1.10       808.50
             Rogers              send same to new members (.1); update tracker
                                 with same (.3).

09/30/23     Michael A.          Correspond with S. Paul re: onboarding new          B110     0.30       220.50
             Rogers              member.

                                 Total for B110 - Case Administration                          19.20   13,335.50
B112 - General Creditor Inquiries
09/01/23     Erin E. Broderick   Call with Venable on ad hoc group clients           B112     0.50       455.00
                                 interest in joining ad hoc committee.

09/01/23     Erin E. Broderick   E-mails with D. Hirsch and M. Rogers re: edits to   B112     0.40       364.00
                                 Ad Hoc Committee engagement letter and
                                 incorporation of KYC requirements in onboarding
                                 process.

09/01/23     Erin E. Broderick   Correspond with M. Rogers re: Ad Hoc                B112     0.80       728.00
                                 Committee member onboarding and information
                                 protocol to provide to FTX.com customers (.5);
                                 follow-up with R. Monzon Woc re: KYC
                                 onboarding (.1); review revised engagement
                                 letter/onboarding package (.2).
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Matter No. 96490-0001                 Bill No: 1274167                                         Page 4


Date        Timekeeper   Narrative                                           Task    Hours    Amount

09/01/23    Michael A.   Correspond with E. Broderick re: following up       B112      0.10     73.50
            Rogers       with engagement letter to non-members.

09/01/23    Michael A.   Draft correspondence for non-member outreach.       B112      0.20    147.00
            Rogers

09/01/23    Michael A.   Correspond with E. Broderick re: Ad Hoc             B112      1.00    735.00
            Rogers       Committee member recruitment and updates.

09/01/23    Michael A.   Correspond with N. Deloatch re: communication       B112      0.20    147.00
            Rogers       with Ad Hoc Committee non-members and
                         updates to communications log.

09/01/23    Michael A.   Email with E. Broderick re: communications with     B112      0.10     73.50
            Rogers       Ad Hoc Committee non-members.

09/01/23    Michael A.   Draft updated engagement letter and bylaws for      B112      2.90   2,131.50
            Rogers       communication with non-members for
                         recruitment of same.

09/03/23    Michael A.   Meeting with E. Broderick to discuss recruitment    B112      1.00    735.00
            Rogers       of non-members.

09/03/23    Michael A.   Draft communication to be sent to non-AHC re:       B112      0.80    588.00
            Rogers       committee scope, purpose, and recruitment.

09/04/23    Michael A.   Review list of potential new members and            B112      0.30    220.50
            Rogers       evaluate potential claims for targeted
                         recruitment.

09/04/23    Michael A.   Correspond with member re: joining Ad Hoc           B112      0.20    147.00
            Rogers       Committee.

09/04/23    Michael A.   Correspond with new member re: Ad Hoc               B112      0.20    147.00
            Rogers       Committee engagement.

09/04/23    Michael A.   Revise engagement letter/bylaws for new             B112      1.10    808.50
            Rogers       member joining.

09/04/23    Michael A.   Email with D. Hirsch re: new member                 B112      0.20    147.00
            Rogers       engagement letter.

09/04/23    Michael A.   Draft and submit engagement letter to new           B112      0.60    441.00
            Rogers       member for signature.

09/04/23    Michael A.   Email with potential new member of Ad Hoc           B112      0.20    147.00
            Rogers       Committee.

09/04/23    Michael A.   Attention to list of customers and general          B112      0.40    294.00
            Rogers       inquiries for follow up.
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Matter No. 96490-0001                        Bill No: 1274167                                           Page 5


Date        Timekeeper          Narrative                                             Task    Hours    Amount

09/04/23    Erin E. Broderick   Review and comment on materials re: AHC               B112      2.10   1,911.00
                                governance/recruitment drafted by M. Rogers
                                (.5); correspond with M. Rogers to discuss
                                needed follow-up with customers (1.0); organize
                                tracker (.3); respond to multiple customers
                                regarding joining the ad hoc (.3).

09/05/23    Michael A.          Evaluate potential claims of potential new            B112      0.60    441.00
            Rogers              members and update tracker.

09/05/23    Michael A.          Email with D. Hirsch re: tracking engagement          B112      0.10     73.50
            Rogers              letters and claims documents for new members.

09/05/23    Michael A.          Correspond with D. Hirsch re: client engagement       B112      0.20    147.00
            Rogers              and conflicts processing.

09/05/23    Michael A.          Correspond with D. Hirsch re: updates to Ad Hoc       B112      0.10     73.50
            Rogers              Committee new member recruitment.

09/06/23    Michael A.          Correspond with E. Broderick re: outreach to          B112      0.20    147.00
            Rogers              individual creditors to join Ad Hoc Committee.

09/06/23    Michael A.          Draft outreach strategy and communications for        B112      1.40   1,029.00
            Rogers              non-member recruitment.

09/06/23    Michael A.          Evaluate chart of non-AHC member individual           B112      0.50    367.50
            Rogers              creditors (.2); continue preparing recruitment and
                                outreach program (.3).

09/06/23    Michael A.          Update new-member tracker re: correspondence          B112      0.20    147.00
            Rogers              with T. Kapur.

09/06/23    Erin E. Broderick   Coordinate responses to customer inbound              B112      0.40    364.00
                                inquiries/interests with M. Rogers (.2); respond to
                                inbound requests to join Ad Hoc Committee
                                (0.2).

09/07/23    Erin E. Broderick   Respond to inbound inquiries and instructions re:     B112      0.70    637.00
                                M. Rogers and D. Hirsch to onboarding new
                                members (.3); revise outreach e-mail and
                                onboarding protocol with KYC (.4).

09/07/23    Michael A.          Update tracker with information on new client         B112      0.30    220.50
            Rogers              from T. Kapur (.1); create follow up plan for
                                sending engagement letter and consent form
                                (.2).

09/07/23    Michael A.          Email with E. Broderick and N. Deloatch re:           B112      0.30    220.50
            Rogers              follow up with client introduction from T. Kapur
                                (.1) and feedback on client outreach materials
                                (.2).

09/07/23    Michael A.          Email member re: follow up on client's contact        B112      0.10     73.50
            Rogers              information to send engagement letter.
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Date        Timekeeper     Narrative                                               Task    Hours    Amount

09/07/23    Michael A.     Draft and prepare engagement letter, bylaws,            B112      0.80    588.00
            Rogers         and KYC form for DocuSign to send to new client
                           of Ad Hoc Committee.

09/07/23    Michael A.     Respond to email from member re: question               B112      0.10     73.50
            Rogers         about client consent form.

09/07/23    Michael A.     Review feedback from E. Broderick on drafted            B112      1.20    882.00
            Rogers         communication for non-member outreach (.2);
                           revise same to incorporate feedback (.2);
                           evaluate list of potential non-members for
                           distribution (.2); draft outreach form and list of
                           potential non-members to target (.6).

09/07/23    Michael A.     Correspond with R. Monzon Woc re: determining           B112      0.20    147.00
            Rogers         percentage of original holders and secondary
                           holder status for KYC form.

09/07/23    Michael A.     Prepare for meeting with T. Kapur re: potential         B112      0.40    294.00
            Rogers         new Ad Hoc Committee member (.2); review
                           overview and bylaws for same (.2).

09/07/23    Michael A.     Email with E. Broderick re: edits to member             B112      0.10     73.50
            Rogers         recruitment communications.

09/07/23    Michael A.     Correspond with E. Broderick, N. DeLoatch, and          B112      0.80    588.00
            Rogers         T. Kapur re: new client.

09/07/23    Michael A.     Draft (.4) and send (.1) on boarding document for       B112      0.50    367.50
            Rogers         execution via DocuSign to new member.

09/07/23    Michael A.     Email with potential new member re: joining Ad          B112      0.20    147.00
            Rogers         Hoc Committee; provide overview of Ad Hoc
                           Committee and plan position statement.

09/07/23    Michael A.     Draft and send on boarding document for                 B112      0.50    367.50
            Rogers         execution via DocuSign to new member; update
                           membership tracker to reflect same.

09/07/23    Nathaniel T.   Prepare for and attend call with FTX.com                B112      1.10    770.00
            DeLoatch       customer interested in joining Ad Hoc
                           Committee.

09/07/23    Michael A.     Correspond with N. DeLoatch re: new Ad Hoc              B112      0.20    147.00
            Rogers         Committee member claim.

09/08/23    Michael A.     Email with new member re: client verification.          B112      0.10     73.50
            Rogers

09/08/23    Michael A.     Evaluate and track intake materials received            B112      0.40    294.00
            Rogers         from customer.

09/08/23    Michael A.     Correspond with N. DeLoatch re: new member              B112      0.30    220.50
            Rogers         recruitment.
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Date        Timekeeper      Narrative                                            Task    Hours    Amount

09/08/23    Michael A.      Draft template outreach communications for non-      B112      0.30    220.50
            Rogers          members re: joining Ad Hoc Committee.

09/08/23    Michael A.      Email with D. Hirsch re: received engagement         B112      0.10     73.50
            Rogers          letter from member.

09/08/23    Michael A.      Email with D. Hirsch re: outreach received from      B112      0.10     73.50
            Rogers          customer.

09/08/23    Michael A.      Review engagement letter received from new           B112      0.20    147.00
            Rogers          member.

09/08/23    Michael A.      Email with new member re: verification process       B112      0.10     73.50
            Rogers          for new member claim.

09/08/23    Michael A.      Email to D. Hirsch re: adding new member to          B112      0.10     73.50
            Rogers          distribution list.

09/08/23    Michael A.      Email with T. Kapur re: executed engagement          B112      0.10     73.50
            Rogers          letter.

09/08/23    Michael A.      Email with new member re: verification.              B112      0.10     73.50
            Rogers

09/08/23    Michael A.      Email with E. Broderick and N. Deloatch re: claim    B112      0.10     73.50
            Rogers          verification.

09/08/23    Michael A.      Research new member's customer ID number             B112      0.60    441.00
            Rogers          and evaluate claim of new member for claim
                            verification.

09/08/23    Michael A.      Correspond with customer re: joining Ad Hoc          B112      0.20    147.00
            Rogers          Committee.

09/08/23    Michael A.      Draft engagement letter and bylaws form and          B112      0.30    220.50
            Rogers          send same to customer by DocuSign.

09/08/23    Michael A.      Email customer re: joining Ad Hoc Committee.         B112      0.70    514.50
            Rogers

09/08/23    Sarah E. Paul   Coordinate onboarding of new member.                 B112      0.20    227.00

09/08/23    Nathaniel T.    Correspond with FTX.com customer re: case            B112      0.10     70.00
            DeLoatch        status and joining Ad Hoc Committee.

09/08/23    Nathaniel T.    Correspond with FTX.com customer re: case            B112      0.10     70.00
            DeLoatch        status and joining Ad Hoc Committee.

09/08/23    Nathaniel T.    Correspond with FTX.com customer re: case            B112      0.10     70.00
            DeLoatch        status and joining Ad Hoc Committee.

09/09/23    Nathaniel T.    Correspond with FTX.com customer re: case and        B112      0.10     70.00
            DeLoatch        answer questions re: joining the Ad Hoc
                            Committee.
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Date        Timekeeper          Narrative                                           Task    Hours    Amount

09/09/23    Nathaniel T.        Review and respond to email from FTX.com            B112      0.10     70.00
            DeLoatch            customer re: joining Ad Hoc Committee and its
                                purpose.

09/09/23    Erin E. Broderick   Review tracker of open inbound customer             B112      0.30    273.00
                                inquiries and e-mails to N. DeLoatch and M.
                                Rogers to coordinate follow-up.

09/09/23    Michael A.          Respond to new emails inquiries from potential      B112      0.80    588.00
            Rogers              members (.7); send engagement letter to
                                customer by DocuSign (.1).

09/09/23    Michael A.          Correspond with D. Hirsch re: updated claims        B112      0.20    147.00
            Rogers              amount of new member.

09/10/23    Nathaniel T.        Review and respond to email from FTX.com            B112      0.10     70.00
            DeLoatch            customer re: case status and answer general
                                bankruptcy questions re: same.

09/10/23    Nathaniel T.        Review and respond to email from FTX.com            B112      0.10     70.00
            DeLoatch            customer re: joining the Ad Hoc Committee.

09/11/23    Sarah E. Paul       Coordinate onboarding of multiple new               B112      0.40    454.00
                                members.

09/11/23    Erin E. Broderick   Follow-up on potential admission of member to       B112      0.40    364.00
                                Executive Committee.

09/11/23    Michael A.          Draft engagement letter and consent form to         B112      0.30    220.50
            Rogers              customer to join Ad Hoc Committee and send
                                same via DocuSign.

09/11/23    Michael A.          Correspond with N. DeLoatch and customer re:        B112      0.10     73.50
            Rogers              joining Ad Hoc Committee.

09/11/23    Michael A.          Correspond with customer re: joining Ad Hoc         B112      0.10     73.50
            Rogers              Committee.

09/11/23    Michael A.          Correspond with G.F. and M.G. re: joining Ad        B112      0.10     73.50
            Rogers              Hoc Committee.

09/11/23    Michael A.          Correspond with K.K. and RP. W. re: joining Ad      B112      0.10     73.50
            Rogers              Hoc Committee.

09/11/23    Michael A.          Correspond with J.C. and Y.N. re: joining Ad Hoc    B112      0.10     73.50
            Rogers              Committee.

09/11/23    Michael A.          Correspond with N. Z. re: joining Ad Hoc            B112      0.10     73.50
            Rogers              Committee.

09/11/23    Michael A.          Correspond with M.B. and P.T. re: joining Ad        B112      0.10     73.50
            Rogers              Hoc Committee.

09/11/23    Michael A.          Correspond with O.B. re: joining Ad Hoc             B112      0.10     73.50
            Rogers              Committee.
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Date        Timekeeper     Narrative                                            Task    Hours    Amount

09/11/23    Michael A.     Correspond with G.S. re: joining Ad Hoc              B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with P.A. re: joining Ad Hoc              B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with T.C. and R.Z. re: joining Ad Hoc     B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with S.M. re: joining Ad Hoc              B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with W.L. re: joining Ad Hoc              B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with D.H. re: joining Ad Hoc              B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with S.K. re: joining Ad Hoc              B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with L.X. re: joining Ad Hoc              B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with PC.M. re: joining Ad Hoc             B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with B.Q. re: joining Ad Hoc              B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with A. re: joining Ad Hoc                B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with A.L. re: joining Ad Hoc              B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Correspond with K.L. re: joining Ad Hoc              B112      0.10     73.50
            Rogers         Committee.

09/11/23    Michael A.     Email with S.H. re: privacy concerns about           B112      0.20    147.00
            Rogers         joining Ad Hoc Committee.

09/11/23    Michael A.     Correspond with non-members re: joining Ad           B112      0.30    220.50
            Rogers         Hoc Committee.

09/11/23    Nathaniel T.   Review and respond to non-member customers           B112      1.40    980.00
            DeLoatch       questions about case and status of negotiations
                           (.4); analysis of issues related to same (.4);
                           prepare for and attend call with non-member
                           customer re: questions about case and joining
                           Ad Hoc Committee (.6).

09/11/23    Michael A.     Review signed engagement letter received from        B112      0.30    220.50
            Rogers         K.S. and prepare same for countersigning by S.
                           Paul.
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Date        Timekeeper     Narrative                                             Task    Hours    Amount

09/11/23    Nathaniel T.   Call with potential Ad Hoc Committee member           B112      0.20    140.00
            DeLoatch       re: joining Ad Hoc Committee (.1);
                           correspondence with E. Broderick, re: same (.1).

09/11/23    Michael A.     Correspond with S. Paul re: conflicts check for       B112      0.10     73.50
            Rogers         new Ad Hoc Committee member.

09/11/23    Michael A.     Email with D. Hirsch re: Ad Hoc Committee             B112      0.10     73.50
            Rogers         membership for J-M B.

09/11/23    Michael A.     Draft engagement letter and consent form to J-M       B112      0.30    220.50
            Rogers         B to join Ad Hoc Committee and send same via
                           DocuSign.

09/11/23    Michael A.     Draft and prepare engagement letter and KYC           B112      0.30    220.50
            Rogers         for execution and send same to B.S. via
                           DocuSign.

09/11/23    Michael A.     Email with B.S. re: engagement documents for          B112      0.20    147.00
            Rogers         joining Ad Hoc Committee.

09/11/23    Nathaniel T.   Review emails from non-member customers (3)           B112      0.30    210.00
            DeLoatch       interested in the committee and respond to same
                           (.3).

09/11/23    Michael A.     Email with N. DeLoatch and D. Hirsch re: list of      B112      0.20    147.00
            Rogers         responses to new member outreach.

09/11/23    Michael A.     Email with N. DeLoatch and non-member re:             B112      0.60    441.00
            Rogers         joining Ad Hoc Committee (.3); draft engagement
                           letter and consent form and send same via
                           DocuSign (.3).

09/11/23    Michael A.     Email with N. DeLoatch and non-member re:             B112      0.40    294.00
            Rogers         joining Ad Hoc Committee (.1); draft engagement
                           letter and consent form and send same via
                           DocuSign (.3).

09/11/23    Michael A.     Email with O. E. re: joining Ad Hoc Committee.        B112      0.10     73.50
            Rogers

09/11/23    Michael A.     Correspond with J. B. re: joining Ad Hoc              B112      0.30    220.50
            Rogers         Committee (.1); review executed claims
                           agreement for Ad Hoc Committee membership
                           (.1); email N. DeLoatch, E. Breoderick, and D.
                           Hirsch re: same (.1).

09/12/23    Michael A.     Email with D. Hirsch re: K.S. executed                B112      0.10     73.50
            Rogers         engagement letter.

09/12/23    Michael A.     Correspond with K.S. re: clearing conflicts,          B112      0.20    147.00
            Rogers         providing fully executed engagement letter, and
                           update tracker with the same.

09/12/23    Michael A.     Email with N. DeLoatch re: new members.               B112      0.10     73.50
            Rogers
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Date        Timekeeper          Narrative                                             Task    Hours    Amount

09/12/23    Devorah Hirsch      Attention to onboarding new member.                   B112      0.40     96.00

09/12/23    Michael A.          Email with N. DeLoatch re: following up with new      B112      0.10     73.50
            Rogers              member for engagement letter and claim
                                information for 2019 report.

09/12/23    Michael A.          Send executed KYC of member to R. Monzon              B112      0.10     73.50
            Rogers              Woc.

09/12/23    Michael A.          Correspond with T. Kapur re: update on new            B112      0.10     73.50
            Rogers              member claim verification.

09/12/23    Michael A.          Correspond with B.S. on claims and re:                B112      0.10     73.50
            Rogers              engagement letter.

09/12/23    Michael A.          Email with E. Broderick re: S.S. claim                B112      0.10     73.50
            Rogers              verification.

09/12/23    Michael A.          Correspond with customer re: claim verification.      B112      0.20    147.00
            Rogers

09/12/23    Michael A.          Correspond with R. Monzon Woc re: new                 B112      0.10     73.50
            Rogers              member KYC documentation.

09/12/23    Sarah E. Paul       Coordinate onboarding of new member.                  B112      0.20    227.00

09/12/23    Erin E. Broderick   Draft responses to inbound inquiries for N.           B112      0.50    455.00
                                DeLoatch to use in response to customer
                                feedback on plan presentation.

09/13/23    Sarah E. Paul       Coordinate onboarding of multiple new                 B112      0.20    227.00
                                members.

09/13/23    Nathaniel T.        Review and respond to email from non-member           B112      0.20    140.00
            DeLoatch            customer case status and case parties' positions.

09/13/23    Michael A.          Review signed engagement letter from customer,        B112      0.30    220.50
            Rogers              process same and send to S. Paul for
                                countersigning.

09/13/23    Nathaniel T.        Review and respond to non-member customer             B112      0.20    140.00
            DeLoatch            re: concerns on Debtors' sale motion and
                                possible token valuations.

09/13/23    Michael A.          Correspond with customer re: joining Ad Hoc           B112      0.70    514.50
            Rogers              Committee.

09/13/23    Michael A.          Correspond with customer re: updates to               B112      0.10     73.50
            Rogers              engagement letter.

09/13/23    Michael A.          Correspond with customer on revising                  B112      0.50    367.50
            Rogers              engagement letter; update same.

09/13/23    Michael A.          Correspond with customer re: joining Ad Hoc           B112      0.30    220.50
            Rogers              Committee.
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Date        Timekeeper       Narrative                                            Task    Hours    Amount

09/13/23    Michael A.       Conference with customer re: joining Ad Hoc          B112      0.60    441.00
            Rogers           Committee.

09/13/23    Nathaniel T.     Prepare for and attend call with customer re:        B112      0.30    210.00
            DeLoatch         joining the ad hoc committee.

09/13/23    Michael A.       Correspond with customer re: engagement letter       B112      0.20    147.00
            Rogers           to join Ad Hoc Committee and re-send same to
                             different address per his request.

09/13/23    Michael A.       Call with N. DeLoatch re: letter from                B112      0.20    147.00
            Rogers           customer/potential member.

09/13/23    Michael A.       Correspond with E. Broderick and N. DeLoatch         B112      0.20    147.00
            Rogers           re: question from customer on Ad Hoc
                             Committee fee agreement.

09/13/23    Michael A.       Correspond with customer re: question on             B112      0.30    220.50
            Rogers           consent from multiple holders.

09/13/23    Michael A.       Correspond with customer re: joining Ad Hoc          B112      0.10     73.50
            Rogers           Committee.

09/13/23    Michael A.       Draft engagement letter and consent form and         B112      0.30    220.50
            Rogers           send same to customer for execution.

09/13/23    Michael A.       Correspond with N. DeLoatch re: Customer             B112      0.10     73.50
            Rogers           joining Ad Hoc Committee.

09/13/23    Michael A.       Correspond with R. Monzon Woc re: information        B112      0.10     73.50
            Rogers           on claims held by customer for KYC compliance.

09/13/23    Michael A.       Correspond with customer re: question on claims      B112      0.10     73.50
            Rogers           verification process with Debtors.

09/13/23    Michael A.       Follow up and correspond with customer re: Ad        B112      0.10     73.50
            Rogers           Hoc Committee engagement letter.

09/13/23    Michael A.       Draft new engagement letter for customer (.5);       B112      0.60    441.00
            Rogers           send updated version via DocuSign (.1).

09/13/23    Michael A.       Phone call with customer re: updating claims         B112      0.20    147.00
            Rogers           amount form for executing engagement letter.

09/13/23    Michael A.       Call with D. Hirsch re: customer claims amount.      B112      0.10     73.50
            Rogers

09/13/23    Michael A.       Review signed engagement letter from customer        B112      0.30    220.50
            Rogers           and send same to S. Paul.

09/13/23    Devorah Hirsch   Attention to onboarding new members.                 B112      0.50    120.00

09/13/23    Michael A.       Correspond with member re: update on claim           B112      0.10     73.50
            Rogers           verification.
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Date        Timekeeper   Narrative                                             Task   Hours    Amount

09/13/23    Michael A.   Correspond with R. Monzon Woc re: KYC                 B112     0.10     73.50
            Rogers       question from member.

09/13/23    Michael A.   Correspond with D. Hirsch re: engagement letter       B112     0.10     73.50
            Rogers       for customer.

09/13/23    Michael A.   Correspond with customer re: questions on             B112     0.20    147.00
            Rogers       engagement letter.

09/13/23    Michael A.   Correspond with customer re: question on KYC          B112     0.20    147.00
            Rogers       consent form.

09/14/23    Michael A.   Correspond with customer re: engagement letter        B112     0.50    367.50
            Rogers       (.1); review received engagement letter (.1); draft
                         version to be sent to S. Paul and send same to
                         S. Paul for countersigning (.2); update tracker
                         with same (.1).

09/14/23    Michael A.   Evaluate fully executed engagement letters of         B112     1.20    882.00
            Rogers       various new members (.5); correspond with new
                         members re: same (.3); send new members
                         respective engagement letters (.1); record same
                         (.1); add new members to distribution list (.1);
                         update tracker with same (.1).

09/14/23    Michael A.   Correspond with D. Hirsch re: new members to          B112     0.20    147.00
            Rogers       Ad Hoc Committee.

09/14/23    Michael A.   Correspond with members re: updates from              B112     0.10     73.50
            Rogers       Debtors on claim allowance process.

09/14/23    Michael A.   Correspond with D. Hirsch re: adding customer         B112     0.10     73.50
            Rogers       as a new member to distribution list.

09/14/23    Michael A.   Revise and update internal and external trackers      B112     0.50    367.50
            Rogers       to include updates on newly added Ad Hoc
                         Committee members.

09/14/23    Michael A.   Correspond with customer re: joining Ad Hoc           B112     0.60    441.00
            Rogers       Committee (.2); draft and send engagement
                         letter and KYC consent form for execution (.2);
                         send same to customer (.1); update tracker with
                         same (.1).

09/14/23    Michael A.   Correspond with N. DeLoatch re: claims                B112     0.10     73.50
            Rogers       submission inquiry from customer.

09/14/23    Michael A.   Correspond with customer re: claims bar date          B112     0.10     73.50
            Rogers       inquiry.

09/14/23    Michael A.   Correspond with potential new members to join         B112     0.20    147.00
            Rogers       Ad Hoc Committee.

09/14/23    Michael A.   Correspond with customer re: claim verification       B112     0.10     73.50
            Rogers       process.
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Date        Timekeeper          Narrative                                             Task    Hours    Amount

09/14/23    Michael A.          Correspond with E. Broderick and N. DeLoatch          B112      0.10     73.50
            Rogers              re: claim verification process.

09/14/23    Michael A.          Correspond with N. DeLoatch re: claim questions       B112      0.10     73.50
            Rogers              from customer.

09/14/23    Michael A.          Correspond with customer re: signed                   B112      0.40    294.00
            Rogers              engagement letter (.1); draft version (.1); send
                                same to S. Paul (.1); update tracker with same
                                (.1).

09/14/23    Erin E. Broderick   Address onboarding questions from M. Rogers           B112      0.50    455.00
                                (.2); respond to new member questions on
                                bylaws (.3).

09/15/23    Sarah E. Paul       Coordinate onboarding of new member.                  B112      0.20    227.00

09/15/23    Michael A.          Correspond with E. Broderick and N. DeLoatch          B112      0.10     73.50
            Rogers              re: meeting with customer.

09/15/23    Michael A.          Correspond with customer re: engagement letter        B112      0.40    294.00
            Rogers              and fee reimbursement.

09/15/23    Michael A.          Correspond with N. DeLoatch and customer re:          B112      0.20    147.00
            Rogers              upcoming meeting (.1); schedule and update
                                meeting re: same (.1).

09/15/23    Michael A.          Correspond with customer re: meeting.                 B112      0.10     73.50
            Rogers

09/15/23    Michael A.          Correspond with customer re: outstanding claim        B112      0.40    294.00
            Rogers              confirmation IDs.

09/15/23    Michael A.          Correspond with E. Broderick re: customer claim       B112      0.10     73.50
            Rogers              verification process.

09/15/23    Michael A.          Correspond with N. DeLoatch re: engagement            B112      0.20    147.00
            Rogers              status of two customers review status of
                                documents for same.

09/16/23    Michael A.          Correspond with customer re: joining the Ad Hoc       B112      0.50    367.50
            Rogers              Committee and onboarding process.

09/17/23    Nathaniel T.        Correspond with M. Rogers re: status of creditor      B112      0.10     70.00
            DeLoatch            inquiries on claim process.

09/18/23    Nathaniel T.        Prepare for and attend meeting with M. Rogers         B112      0.60    420.00
            DeLoatch            and FTX.com customer re: questions about case
                                and recoveries.

09/18/23    Michael A.          Outreach to potential new members (.3); draft         B112      1.20    882.00
            Rogers              and send engagement letter and consent form to
                                customer (.3); correspond customer re: claim
                                verification process (.2); correspond with
                                customer (.2); draft and send engagement letter
                                to customer (.2).
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Date        Timekeeper       Narrative                                             Task    Hours    Amount

09/18/23    Michael A.       Meeting with N. DeLoatch and J. Roger re:             B112      0.80    588.00
            Rogers           joining Ad Hoc Committee (.7); send
                             engagement letter and KYC (.1).

09/18/23    Michael A.       Correspond with customer re: joining Ad Hoc           B112      0.40    294.00
            Rogers           Committee; draft and send engagement letter
                             and KYC form to same.

09/18/23    Michael A.       Correspond with customer re: claim verification       B112      0.30    220.50
            Rogers           process.

09/18/23    Michael A.       Correspond with customer re: joining Ad Hoc           B112      0.10     73.50
            Rogers           Committee.

09/18/23    Michael A.       Correspond with customer re: Ad Hoc Committee         B112      0.10     73.50
            Rogers           engagement.

09/18/23    Michael A.       Meeting with customer re: joining Ad Hoc              B112      0.80    588.00
            Rogers           Committee; draft and send engagement letter
                             and consent from.

09/18/23    Nathaniel T.     Prepare for and participate in call with FTX.com      B112      0.60    420.00
            DeLoatch         customer (non-member) re: cases status, plan
                             process, and related issues.

09/18/23    Michael A.       Correspond with potential new member re:              B112      0.40    294.00
            Rogers           claims issue.

09/18/23    Devorah Hirsch   Attention to onboarding new members.                  B112      1.00    240.00

09/19/23    Michael A.       Correspond with member leads re: joining Ad           B112      0.70    514.50
            Rogers           Hoc Committee (.2); review signed engagement
                             letter from customer (.2); prepare same for full
                             execution (.2); update trackers with same (.1).

09/19/23    Michael A.       Correspond with E. Broderick and customer re:         B112      0.20    147.00
            Rogers           update on claims verification process.

09/19/23    Michael A.       Correspond with customer and E. Broderick re:         B112      0.30    220.50
            Rogers           joining Ad Hoc Committee and new member
                             inquires.

09/19/23    Michael A.       Correspond with potential new member re:              B112      0.50    367.50
            Rogers           inquiry outreach (.2); draft response to questions
                             and send Ad Hoc Committee overview and
                             request to follow up to join (.3).

09/19/23    Michael A.       Meeting with E. Broderick, N. DeLoatch, and J.        B112      1.10    808.50
            Rogers           Howard re: claims review and status overview.

09/19/23    Michael A.       Correspond with customer re: customer                 B112      0.60    441.00
            Rogers           submission confirmation IDs; update tracker with
                             same.
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Date        Timekeeper          Narrative                                           Task    Hours    Amount

09/19/23    Erin E. Broderick   Respond to customers wanting to join ad hoc         B112      0.70    637.00
                                committee and update overview (.5);
                                correspondence with M. Rogers re: same (.2).

09/20/23    Sarah E. Paul       Coordinate onboarding of multiple new               B112      0.30    340.50
                                members.

09/20/23    Nathaniel T.        Review and respond to email from FTX.com            B112      0.10     70.00
            DeLoatch            customer interested in joining the Ad Hoc
                                Committee.

09/20/23    Nathaniel T.        Review and respond to email from FTX.com            B112      0.10     70.00
            DeLoatch            customer re: Ad Hoc Committee purpose and
                                questions re: the cases generally.

09/20/23    Michael A.          Correspond with D. Hirsch re: signed                B112      0.20    147.00
            Rogers              engagement letters and full execution of same.

09/20/23    Michael A.          Correspond with new member re: KYC status.          B112      0.20    147.00
            Rogers

09/20/23    Michael A.          Correspond with customer re: new member OTC         B112      0.20    147.00
            Rogers              portal claim.

09/20/23    Michael A.          Review executed engagement letter from new          B112      0.60    441.00
            Rogers              member (.3); add member to Ad Hoc Committee
                                (.1); create new files for same (.1); add to
                                member distribution list (.1).

09/20/23    Michael A.          Correspond with R. Monzon Woc re: new               B112      0.10     73.50
            Rogers              member KYC.

09/20/23    Michael A.          Review and evaluate engagement letter from          B112      0.50    367.50
            Rogers              new member (.2); prepare same for full
                                execution (.1); send same to S. Paul (.1); update
                                tracker with information received (.1).

09/20/23    Michael A.          Correspond with R. Monzon Woc re: new               B112      0.20    147.00
            Rogers              member KYC status.

09/21/23    Michael A.          Review fully executed engagement letter (.3);       B112      3.10   2,278.50
            Rogers              add to Ad Hoc Committee (.1); update tracker
                                with same (.1); correspond with creditors
                                inquiring about joining Ad Hoc Committee (.5);
                                correspond with 6 new members re: joining Ad
                                Hoc Committee (.8); correspond with new
                                member re: claims question and joining Ad Hoc
                                Committee inquiry (.3); correspond with member
                                and R. Monzon Woc re: KYC documentation (.3);
                                draft engagement letter and send to new
                                member (.3); correspond with new member re:
                                joining Ad Hoc Committee (.4).

09/21/23    Michael A.          Correspond with D. Hirsch re: Ad Hoc Committee      B112      0.10     73.50
            Rogers              welcome email to new member and request to
                                obtaining missing unique customer ID.
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Date        Timekeeper          Narrative                                              Task    Hours    Amount

09/21/23    Devorah Hirsch      Attention to onboarding of new members.                B112      2.00    480.00

09/21/23    Erin E. Broderick   Respond to new member inquiries/onboarding.            B112      0.50    455.00

09/22/23    Nathaniel T.        Review and respond to email from FTX.com               B112      0.10     70.00
            DeLoatch            customer interested in joining the Ad Hoc
                                Committee.

09/22/23    Michael A.          Call with new member re: joining Ad Hoc                B112      0.40    294.00
            Rogers              Committee.

09/22/23    Michael A.          Review signed engagement letter from new               B112      0.60    441.00
            Rogers              member (.4); send to S. Paul for countersigning
                                (.1); update tracker with same (.1).

09/22/23    Michael A.          Correspond with creditors (.4); respond to new         B112      1.10    808.50
            Rogers              member inquiries (.7).

09/22/23    Michael A.          Coordinate with Ad Hoc Committee members re:           B112      1.60   1,176.00
            Rogers              Claims Submission Confirmation IDs.

09/23/23    Erin E. Broderick   Follow-up with D. Hirsch and M. Rogers to              B112      0.20    182.00
                                complete onboarding for three customers.

09/25/23    Michael A.          Engage with 7 clients, draft and send                  B112      2.50   1,837.50
            Rogers              engagement letters for same (2.2); review same
                                and update tracker (.3).

09/25/23    Michael A.          Correspond with 12 clients re: Ad Hoc                  B112      2.60   1,911.00
            Rogers              Committee membership (2.0); review documents
                                and update tracker with same (.6).

09/25/23    Sarah E. Paul       Coordinate onboarding of new members.                  B112      0.20    227.00

09/26/23    Sarah E. Paul       Coordinate onboarding of new members.                  B112      0.20    227.00

09/26/23    Michael A.          Correspond with creditors re: joining Ad Hoc           B112      1.50   1,102.50
            Rogers              Committee (1.0); draft engagement letters and
                                send same via Docusign (.2); update tracker (.3).

09/26/23    Michael A.          Review signed engagement letters and KYC               B112      1.10    808.50
            Rogers              consent forms received (.4); draft version to be
                                sent to full execution (.4); send same to S. Paul
                                for execution (.2); update tracker (.1).

09/26/23    Michael A.          Correspond with 5 creditors re: joining Ad Hoc         B112      1.00    735.00
            Rogers              Committee and questions on engagement letter.

09/26/23    Michael A.          Review fully executed engagement letter (.2);          B112      0.60    441.00
            Rogers              send same to client (.2); add client to
                                membership distribution (.2).

09/26/23    Michael A.          Correspond with potential members to join Ad           B112      1.30    955.50
            Rogers              Hoc Committee (.5); correspond with client re:
                                updating claims information (.5); update tracker
                                with same (.3).
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Date        Timekeeper          Narrative                                             Task    Hours    Amount

09/26/23    Michael A.          Correspond with clients re: confirmation of claims    B112      0.40    294.00
            Rogers              submission (.3); update tracker with same (.1).

09/26/23    Devorah Hirsch      Attention to onboarding new members.                  B112      1.00    240.00

09/27/23    Michael A.          Review signed engagement letters from three           B112      0.60    441.00
            Rogers              customers (.3); prepare same for execution (.2);
                                send same to S. Paul for full execution (.1).

09/27/23    Devorah Hirsch      Attention to onboarding new members.                  B112      2.00    480.00

09/27/23    Michael A.          Correspond with creditors re: inquiries about Ad      B112      0.50    367.50
            Rogers              Hoc Committee.

09/27/23    Michael A.          Correspond with customer (.2); send Ad Hoc            B112      0.60    441.00
            Rogers              Committee overview (.2); draft and send
                                engagement letter, bylaws, and KYC consent
                                form (.2).

09/27/23    Sarah E. Paul       Coordinate onboarding of new members.                 B112      0.20    227.00

09/28/23    Michael A.          Review fully executed engagement letters and          B112      1.10    808.50
            Rogers              KYC forms from three customers (.6); update
                                tracker with information on same (.2); correspond
                                with D. Hirsch and R. Monzon Woc re: adding to
                                membership and KYC outreach (.3).

09/28/23    Michael A.          Review executed engagement letters from new           B112      0.70    514.50
            Rogers              members (.4); send members same (.1); update
                                tracker with same (.1); send KYC info to R.
                                Monzon Woc (.1).

09/28/23    Devorah Hirsch      Attention to onboarding new members.                  B112      3.50    840.00

09/28/23    Sarah E. Paul       Coordinate onboarding of multiple new                 B112      0.50    567.50
                                members.

09/28/23    Nathaniel T.        Review and respond to email from FTX.com              B112      0.10     70.00
            DeLoatch            customer re: claims processes.

09/28/23    Erin E. Broderick   Outreach and responses to prospective ad hoc          B112      0.40    364.00
                                committee members.

09/29/23    Michael A.          Correspond with 6 members, N. Deloatch, and J.        B112      1.70   1,249.50
            Rogers              Howard to have members verify claims
                                submitted before bar date (1.3); update tracker
                                with same (.2); correspond with potential new
                                members and send engagement letter and KYC
                                to same (.2).

09/29/23    Michael A.          Correspond with customer re: joining Ad Hoc           B112      0.50    367.50
            Rogers              Committee (.4); verify claim submitted before bar
                                time (.1).

09/29/23    Devorah Hirsch      Attention to onboarding new members.                  B112      2.20    528.00
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Date        Timekeeper          Narrative                                             Task    Hours       Amount

09/29/23    Michael A.          Correspond with new member re: onboarding.            B112      0.40       294.00
            Rogers

09/29/23    Sarah E. Paul       Coordinate onboarding of new members.                 B112      0.20       227.00

09/29/23    Nathaniel T.        Call with FTX.com customer re: claims process.        B112      0.20       140.00
            DeLoatch

09/29/23    Erin E. Broderick   Call with two customers interested in joining ad      B112      0.80       728.00
                                hoc executive committee.

09/30/23    Michael A.          Correspond with customer re: joining Ad Hoc           B112      0.30       220.50
            Rogers              Committee.

09/30/23    Devorah Hirsch      Attention to onboarding new members.                  B112      3.30       792.00

                                Total for B112 - General Creditor Inquiries                     110.70   76,003.50
B113 - Case Analysis/Pleading Review
09/01/23    Erin E. Broderick   Follow-up with N. DeLoatch and members re:            B113      0.20       182.00
                                providing notice of all claim transfers to Debtors.

09/01/23    Erin E. Broderick   Call with Executive Committee member on               B113      3.00      2,730.00
                                coordination/views on coin monetization motion
                                (.2); call with another Executive Committee re:
                                same (.5); attend call with UCC professionals
                                and Executive Committee re: same (1.2); attend
                                follow-up call with Executive Committee re: same
                                (.5); e-mails with S&C team re: Ad Hoc
                                Committee position and call request (.2); review
                                of further comments/input from Executive
                                Committee members (.4).

09/02/23    Erin E. Broderick   E-mails with A. Dietderich and S&C team re: call      B113      0.80       728.00
                                on coin monetization and response deadline
                                extension (.2); request materials from Debtors in
                                connection with same and review materials to
                                prepare draft response to motion (.6).

09/04/23    Jennifer B.         Emails with S&C re: email document production.        B113      0.40       380.00
            Kimble

09/04/23    Jennifer B.         Email correspondence with S&C team re:                B113      0.50       475.00
            Kimble              document production to UCC and review email
                                production.

09/05/23    Erin E. Broderick   Review and analyze comments to coin                   B113      1.60      1,456.00
                                monetization motion and send same to restricted
                                group with background (.3); emails with
                                Executive Committee members regarding
                                comments to same (.5); e-mail to S&C regarding
                                coin monetization comments (.1); review prior
                                changes from UST (.2); begin draft of statement
                                in support and circulate order for comment by
                                Executive Committee (.5).
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Date        Timekeeper          Narrative                                              Task    Hours    Amount

09/05/23    Erin E. Broderick   Emails with Rothschild regarding update on FTX         B113      0.20    182.00
                                2.0 sale process.

09/05/23    Erin E. Broderick   Check docket on UCC’s emergency plan                   B113      0.60    546.00
                                mediation motion and e-mail to N. DeLoatch on
                                procedural rules for hearing (.2); coordinate with
                                D. Hirsch on joinder to Debtors’ objection to
                                motion to shorten notice and limited objection to
                                mediation motion (.4).

09/06/23    Erin E. Broderick   Review and analyze FTX 2.0 sale process deck           B113      1.80   1,638.00
                                (.5); attend all-hands call regarding same (1.3).

09/08/23    Nathaniel T.        Review and analyze UST objections to fee               B113      1.20    840.00
            DeLoatch            reimbursement motion and coin monetization
                                motion.

09/12/23    Jennifer B.         Review customer letter objection.                      B113      0.30    285.00
            Kimble

09/13/23    Nathaniel T.        Review and analyze debtors' Sept. 11                   B113      0.20    140.00
            DeLoatch            presentation to stakeholders.

09/14/23    Erin E. Broderick   Review term sheet provided by 2.0 bidder and           B113      0.90    819.00
                                Rothschild notes (.5); review docket and follow-
                                up on status of Greyscale motion and adversary
                                proceeding settlements (.4).

09/16/23    Nathaniel T.        Review materials and pleadings in preparation          B113      1.00    700.00
            DeLoatch            for Ad Hoc Committee town hall meeting.

09/19/23    Erin E. Broderick   Review notice issued under digital assets sale         B113      1.20   1,092.00
                                order and follow-up with Rothschild and A.
                                Kranzley re: process for monitoring
                                notices/confidentiality restrictions (.5); review
                                newly filed adversary proceedings and potential
                                impact on estates (.5); e-mails to team re: same
                                for discussion on town hall/next member update
                                (.2).

09/20/23    Michael A.          Review and evaluate Debtors' proposed                  B113      0.20    147.00
            Rogers              Exclusivity Order.

09/21/23    Erin E. Broderick   Prepare for and attend weekly 2.0 call with all        B113      1.40   1,274.00
                                professionals (1.0); review docket in advance of
                                town hall for updates (.4).

09/24/23    Erin E. Broderick   Review and analyze ventures portfolio                  B113      1.00    910.00
                                presentation.

09/25/23    Jennifer B.         Review Order extending exclusivity and update          B113      0.20    190.00
            Kimble              WIP Report.
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Date        Timekeeper          Narrative                                              Task    Hours       Amount

09/28/23    Erin E. Broderick   Attend 2.0 all-hands call (1.0); review and revise     B113      2.30      2,093.00
                                coin monetization position paper for plan
                                discussions/follow-up with Debtors (.5); review
                                status of criminal proceedings/other litigation
                                matters and e-mail Rothschild re: inputs re: same
                                in waterfall (.6); emails re: coin monetization call
                                with FTI (.2).

                                Total for B113 - Case Analysis/Pleading
                                Review                                                            19.00   16,807.00
B150 - Meetings of and Communications with External Stakeholders

09/03/23    Erin E. Broderick   E-mails with members regarding claim                   B150      1.40      1,274.00
                                calculations (.4); review of claims chart to
                                calculate the secondary holder amounts and
                                follow-up with respect to transfer
                                documentation/responses to UST and UCC
                                (1.0).

09/04/23    Jennifer B.         Emails with A&M re: request for report of digital      B150      0.40       380.00
            Kimble              currency associated with Ad Hoc Committee
                                user IDs.

09/04/23    Jennifer B.         Update customer ID chart and resend to A&M to          B150      0.30       285.00
            Kimble              pull tokenized holdings.

09/05/23    Jennifer B.         Respond to UST inquiries re: holder percentage         B150      0.80       760.00
            Kimble              information and suggested statements for
                                objection.

09/05/23    Jennifer B.         Email correspondence with A&M Team re:                 B150      0.30       285.00
            Kimble              customer holding information.

09/05/23    Jennifer B.         Call with A&M re: customer information                 B150      0.20       190.00
            Kimble              production.

09/05/23    Jennifer B.         Analyze customer tokenized report received from        B150      0.50       475.00
            Kimble              member.

09/05/23    Jennifer B.         Draft and send email update to Executive               B150      0.70       665.00
            Kimble              Committee re: status of UST and UCC discovery
                                and document production.

09/05/23    Jennifer B.         Email correspondence with UCC re: Ad Hoc               B150      0.20       190.00
            Kimble              Depo notice.

09/06/23    Jennifer B.         Email correspondence with S&C and UST re:              B150      0.30       285.00
            Kimble              UST objection to Reimbursement Motion and
                                2019.

09/06/23    Jennifer B.         Draft and send email to UCC re: anonymized             B150      0.50       475.00
            Kimble              tokenized holding production.

09/07/23    Jennifer B.         Review email correspondence from UCC re:               B150      0.40       380.00
            Kimble              sealing request re: exhibits to objection to
                                Reimbursement, review proposed exhibits and
                                respond to requested information.
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Date        Timekeeper          Narrative                                             Task    Hours         Amount

09/07/23    Jennifer B.         Email correspondence with UCC producing               B150      0.30         285.00
            Kimble              engagement letters.

09/07/23    Jennifer B.         Review emails from UCC re: discovery requests         B150      0.60         570.00
            Kimble              and ongoing issues related to tokenized
                                disclosures.

09/15/23    Nathaniel T.        Review and analyze court redaction order and          B150      0.50         350.00
            DeLoatch            bar date order re: questions raised by members
                                re: claim process (.3); review and respond to Ad
                                Hoc Committee member email re: same (.2).

09/18/23    Nathaniel T.        Review and revise agenda for town hall meeting        B150      0.40         280.00
            DeLoatch            (.3); email to E. Broderick re: same (.1).

09/21/23    Nathaniel T.        Review and respond to email from Ad Hoc               B150      0.10          70.00
            DeLoatch            Committee member re: claims filing and KYC
                                process.

09/21/23    Nathaniel T.        Review and respond to email from Ad Hoc               B150      0.20         140.00
            DeLoatch            Committee member re: KYC issues and next
                                steps.

09/25/23    Nathaniel T.        Correspond with Ad Hoc Committee member               B150      0.10          70.00
            DeLoatch            claims submission process and related
                                deadlines.

09/26/23    Jennifer B.         Email correspondence with Executive Committee         B150      0.20         190.00
            Kimble              re: draft statement.

09/27/23    Nathaniel T.        Correspond with C. Thain of Willkie re: Ad Hoc        B150      0.50         350.00
            DeLoatch            Committee engagement letter terms (.3);
                                correspond with D. Hirsch and M. Rogers re:
                                same (.1); analysis of Ad Hoc Committee
                                engagement letter (.1).

09/29/23    Nathaniel T.        Call with Ad Hoc Committee member re: future          B150      0.20         140.00
            DeLoatch            Ad Hoc Committee meetings and townhall
                                scheduling (.1); email to E. Broderick and D.
                                Hirsch re: same (.1).

                                Total for B150 - Meetings of and
                                Communications with External Stakeholders                            9.10   8,089.00
B160 - Fee/Employment Applications
09/03/23    Erin E. Broderick   E-mails with J. Kimble and S&C regarding              B160      1.60        1,456.00
                                disclosures for fee applications (.4); review of
                                S&C fee applications re: intended disclosures
                                produced by S&C (1.2).

09/03/23    Jennifer B.         Calls (x3) with E. Broderick re: reimbursement        B160      1.50        1,425.00
            Kimble              request, discussions with Paul Hastings and next
                                steps.

09/04/23    Michael A.          Analyze and revise unique customer ID list and        B160      0.60         441.00
            Rogers              evaluate new dollarized values for discovery
                                requests.
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09/06/23    Erin E. Broderick   Review fee examiner report for budgeting and         B160      1.20        1,092.00
                                time keeper protocols and send to internal team
                                (.5); review and comment on billing protocol (.3);
                                follow-up on implementation of task codes (.2);
                                e-mails with legal team on open items and
                                scheduling (.2). .

09/09/23    Erin E. Broderick   Review and comment on billing protocol and           B160      3.10        2,821.00
                                budget (.6); review and comment on monthly fee
                                applications to comply with fee examiner billing
                                guidelines (2.5).

                                Total for B160 - Fee/Employment
                                Applications                                                        8.00   7,235.00
B190 - Other Contested Matters (excluding assumption/rejection motions)
09/05/23    Nathaniel T.        Analyze issues related to potential objection to     B190      0.70         490.00
            DeLoatch            UCC's motion for mediation and related motion
                                to shorten time (.3); correspond with E. Broderick
                                re: same (.2); review case docket and pleadings
                                re: same (.2).

09/05/23    Devorah Hirsch      Draft Limited Objections to Motion of the Official   B190      2.00         480.00
                                Committee for an Order Compelling Mediation
                                and Joinder with Debtors' Objection to Motion to
                                Shorten.

09/06/23    Nathaniel T.        Analysis of other crypto bankruptcies re:            B190      2.50        1,750.00
            DeLoatch            treatment of 2019 statements re: member
                                addresses (1.5); research re: same (1.0).

09/06/23    David A. Wender     Analyze research/issues related to 2019.             B190      0.10         110.00

09/06/23    Jennifer B.         Emails with ES team re: 2019 on file and issues      B190      0.50         475.00
            Kimble              related to Ad Hoc Committee customer identity.

09/06/23    Jennifer B.         Review background information and research on        B190      0.80         760.00
            Kimble              2019 and email correspondence with N.
                                DeLoatch re: the same.

09/06/23    Erin E. Broderick   Review and analyze further UCC comments on           B190      1.20        1,092.00
                                coin monetization and follow-up with M. Harvey
                                and D. Abbott regarding finishing statement and
                                revised order (.4); review UST issues with 2019
                                address disclosures and follow-up with internal
                                team regarding same (.4); review previous
                                analysis conducted in connection with last 2019
                                filing (.2); review revised settlement order to
                                incorporate UST comments (.2).
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Date        Timekeeper          Narrative                                             Task   Hours   Amount

09/07/23    Erin E. Broderick   Follow-up on coin monetization motion and             B190    2.20   2,002.00
                                comments to draft/revised order (.3); review and
                                analyze UST objection and emails (.5); follow-up
                                with M. Harvey and D. Abbott regarding
                                response to same (.1); e-mail Executive
                                Committee members regarding same (.2); work
                                on informational statement in response to coin
                                monetization relief (1.0); e-mails with A. Kranzley
                                regarding same (.1).

09/09/23    Erin E. Broderick   Review further correspondence/comments from           B190    1.50   1,365.00
                                UCC and responses from Debtors on coin
                                monetization motion (.5); follow-up with
                                Executive Committee that provided prior
                                comments (.2); review UST comments and
                                revised omnibus settlement procedures order
                                (.2); review further revised order and e-mails
                                regarding filing responsive statement (.4); review
                                final circulated order (.2).

09/09/23    Erin E. Broderick   Emails with A. Kranzley regarding coin                B190    0.50    455.00
                                monetization order comments and open items
                                (.3); update members regarding responses to
                                obtain signoff on order (.2).

09/11/23    Erin E. Broderick   Review and analyze coin monetization draft of         B190    0.80    728.00
                                UCC after meetings (.5); review and analyze e-
                                mail feedback from Executive Committee
                                regarding same (.3).

09/12/23    Erin E. Broderick   Review revised coin monetization and Galaxy           B190    1.40   1,274.00
                                retention orders and correspondence on
                                changes (.4); review UST comments (.2); review
                                revised order incorporating same (.2); e-mails to
                                Executive Committee for comment (.1); e-mails
                                with Debtors and Paul Hastings to confirm
                                hearing on same and attendance (.1); review
                                customer letter regarding coin monetization
                                motion and customer property arguments (.4).

09/13/23    Erin E. Broderick   Review additional changes to coin monetization        B190    0.90    819.00
                                order from UST (.1); emails with Paul Hastings
                                and Executive Committee regarding same (.2);
                                call with A. Kranzley regarding same (.1); two
                                calls with M. Harvey regarding court presentation
                                on coin monetization/customer property issues
                                (.5).

09/15/23    Nathaniel T.        Review and analysis of Ad Hoc Committee               B190    2.60   1,820.00
            DeLoatch            members' documents for reporting to Debtors re:
                                disclosures.

09/18/23    Jennifer B.         Review email from J. Sarkessian regarding 2019        B190    0.20    190.00
            Kimble              statement and follow up with Ad Hoc Committee
                                regarding the same.
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Date        Timekeeper          Narrative                                            Task    Hours    Amount

09/19/23    Jennifer B.         Email correspondence with Eversheds and              B190      0.30    285.00
            Kimble              MNAT teams re: UST 2019 inquiry.

09/19/23    Jennifer B.         Review case law and crypto examples on 2019          B190      0.60    570.00
            Kimble              disclosures received from N. DeLoatch.

09/19/23    Jennifer B.         Review additional 2019 statements in other           B190      0.40    380.00
            Kimble              crypto cases.

09/19/23    Jennifer B.         Draft and send response to UST re: amendment         B190      0.20    190.00
            Kimble              to 2019 statement.

09/19/23    Erin E. Broderick   Follow-up with J. Kimble re: response to             B190      0.80    728.00
                                UST/motion to compel (.2); review prior
                                correspondence and research conducted by N.
                                DeLoatch re: same (.5); follow-up emails to UST
                                (.1).

09/20/23    Erin E. Broderick   Review emails between J. Kimble and J.               B190      1.00    910.00
                                Sarkessian re: 2019 motion to compel (.4);
                                follow-up with N. DeLoatch and J. Kimble re:
                                same (.2); review member register for potential
                                settlement/consent for disclosures (.4).

09/20/23    Nathaniel T.        Analyze case law and other authority re: 2019        B190      2.10   1,470.00
            DeLoatch            requirements and related issues.

09/27/23    Jennifer B.         Draft and send response to UST on 2019               B190      0.50    475.00
            Kimble              statement and address disclosure.

09/27/23    Jennifer B.         Review and analyze Ad Hoc Committee Motion           B190      1.90   1,805.00
            Kimble              to Seal 2019 and objections thereto, filings
                                regarding Debtors/ UCC Motion to Protect
                                Customer Info and objections thereto; and other
                                related pleadings.

09/27/23    Jennifer B.         Review transcript from 6/9 hearing re: Ad Hoc        B190      0.60    570.00
            Kimble              Committee Motion to Seal.

09/28/23    Jennifer B.         Review case law on issues surrounding 2019           B190      0.80    760.00
            Kimble              statement.

09/28/23    Jennifer B.         Review email correspondence from J.                  B190      0.10     95.00
            Kimble              Sarkessian re: motion to compel disclosure of
                                addresses.

09/28/23    Jennifer B.         Draft and send email to Debtors/UCC re:              B190      0.30    285.00
            Kimble              coordinated efforts to oppose UST efforts to
                                compel disclosure of additional customer
                                information.

09/29/23    Erin E. Broderick   E-mails with J. Kimble, S. Paul and UST re: 2019     B190      0.30    273.00
                                statement and motion to compel.

09/29/23    Jennifer B.         Review UST Motion to Compel Disclosure of Ad         B190      0.70    665.00
            Kimble              Hoc Committee member addresses.
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Date         Timekeeper          Narrative                                                Task   Hours         Amount

09/29/23     Jennifer B.         Email correspondence with Debtors re: REN                B190    0.10           95.00
             Kimble              Protocol settlement update call.

                                 Total for B190 - Other Contested Matters
                                 (excluding assumption/rejection motions)                          28.60      23,366.00
B191 - General Litigation
09/29/23     Erin E. Broderick   Call with S&C re: REIN settlement and review of          B191    1.10         1,001.00
                                 summary re: same (.6); review status of pending
                                 litigation/claim identified for potential objection to
                                 discuss with Rothschild for purposes of recovery
                                 impacts (.5).

                                 Total for B191 - General Litigation                                   1.10    1,001.00
B195 - Non-Working Travel
09/09/23     Erin E. Broderick   Travel to New York, New York to attend plan              B195    3.50         3,185.00
                                 meetings (half-time).

09/15/23     Erin E. Broderick   Travel back from attendance of plan meetings in          B195    3.00         2,730.00
                                 New York (half-time).

                                 Total for B195 - Non-Working Travel                                   6.50    5,915.00
B260 - Board of Directors Matters
09/01/23     Erin E. Broderick   Answer questions on engagement letter and                B260    0.30          273.00
                                 bylaws for new members.

09/01/23     Erin E. Broderick   Review status of KYC disclosures and follow-up           B260    1.00          910.00
                                 with internal team (.5); review of member
                                 qualifications/pitch to serve on Executive
                                 Committee and call with such member re: same
                                 (.5).

09/01/23     Michael A.          Correspond with D. Hirsch re: tracking original          B260    0.10           73.50
             Rogers              holders of transferred claims.

09/02/23     Nathaniel T.        Correspond with E. Broderick re: materials for           B260    0.10           70.00
             DeLoatch            Debtors' professionals re: updates on Ad Hoc
                                 Committee membership.

09/04/23     Devorah Hirsch      Review KYC Information and attention to                  B260    4.20         1,008.00
                                 Consent Letters.

09/04/23     Michael A.          Evaluate proportional shares of secondary                B260    0.70          514.50
             Rogers              holders.

09/05/23     Michael A.          Email with client re: Ad Hoc Committee overview          B260    0.30          220.50
             Rogers              and claims position; update tracker with client
                                 information.

09/06/23     Devorah Hirsch      Prepare Consent Forms and review KYC                     B260    0.80          192.00
                                 Information.

09/06/23     Erin E. Broderick   Answer questions on engagement letter and                B260    0.30          273.00
                                 bylaws for new members.

09/07/23     Devorah Hirsch      Prepare Consent Forms and review KYC                     B260    0.50          120.00
                                 Information.
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Date        Timekeeper          Narrative                                               Task    Hours    Amount

09/08/23    Devorah Hirsch      Prepare Consent Forms and review KYC                    B260      1.00    240.00
                                Information.

09/08/23    Jennifer B.         Email correspondence with R. Monzon Woc re:             B260      0.50    475.00
            Kimble              secondary holder information.

09/08/23    Erin E. Broderick   E-mails with D. Hirsch, M. Rogers on new                B260      0.70    637.00
                                member questions on bylaws and engagement
                                terms (.2); review and update status of KYC
                                compliance in records (.4); emails with S. Paul
                                regarding same (.1).

09/11/23    Devorah Hirsch      Prepare Consent Forms and review KYC                    B260      2.50    600.00
                                Information.

09/12/23    Michael A.          Update tracker re: analysis of claims verification      B260      0.10     73.50
            Rogers              for new members.

09/12/23    Sarah E. Paul       Coordinate with R. Monzon re: member KYC                B260      0.20    227.00
                                questions.

09/13/23    Jennifer B.         Email correspondence with S. Paul and R. Woc            B260      0.20    190.00
            Kimble              re: Ad Hoc Committee secondary holder
                                information.

09/15/23    Michael A.          Evaluate submitted documents of each member;            B260      1.90   1,396.50
            Rogers              review same for confirmation of claims ID; draft
                                chart of missing members and unique IDs and
                                send to A&M for verification.

09/15/23    Erin E. Broderick   Respond to member inquiry regarding KYC                 B260      0.60    546.00
                                questions (.1); review status of member claims
                                chart prepared by M. Rogers and provide
                                instructions regarding same (.5).

09/16/23    Erin E. Broderick   Respond to members seeking to be on Executive           B260      0.40    364.00
                                Committee.

09/16/23    Michael A.          Correspond E. Broderick with re: member claim           B260      0.40    294.00
            Rogers              assignment; update tracker with same.

09/18/23    Devorah Hirsch      Attention to KYC and Consent Forms.                     B260      0.50    120.00

09/20/23    Michael A.          Research and evaluate missing confirmation              B260      1.20    882.00
            Rogers              submission IDs (1.0); update tracker with new
                                information (.2).

09/20/23    Michael A.          Correspond with E. Broderick and N. DeLoatch            B260      0.10     73.50
            Rogers              re: update on claim confirmation IDs.

09/21/23    Michael A.          Draft executive committee subgroup chart for            B260      1.60   1,176.00
            Rogers              distribution (1.5); send to E. Broderick (.1).

09/21/23    Michael A.          Correspond with R. Monzon Woc re: KYC                   B260      0.10     73.50
            Rogers              submissions.
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Date        Timekeeper          Narrative                                           Task    Hours       Amount

09/21/23    Erin E. Broderick   Create working group list and e-mails re:           B260      0.50       455.00
                                amendments to bylaws for subcommittee
                                designations and authority.

09/22/23    Jennifer B.         Email correspondence with D. Hirsch re: update      B260      0.20       190.00
            Kimble              on Ad Hoc Committee Members.

09/22/23    Erin E. Broderick   Review and comment on subcommittee working          B260      0.40       364.00
                                group list/task chart (.2); review and comment on
                                notice to Debtors of claim transfers of members
                                (.2).

09/22/23    Devorah Hirsch      Attention to KYC and Consent Forms.                 B260      0.50       120.00

09/23/23    Erin E. Broderick   Follow-up on approval of meeting minutes.           B260      0.20       182.00

09/26/23    Devorah Hirsch      Attention to KYC Information.                       B260      0.50       120.00

09/27/23    Devorah Hirsch      Attention to KYC Information.                       B260      1.00       240.00

09/27/23    Erin E. Broderick   Calls with two members re: Executive Committee      B260      2.60      2,366.00
                                and status of AHC work streams (2.0); follow-up
                                with Executive Committee members re:
                                subcommittee tasks (.2); confirm status of KYC
                                processes with R. Monzon Won and S. Paul (.2);
                                revise updates to members (.2).

09/28/23    Erin E. Broderick   Review and discuss comments to bylaws from          B260      2.60      2,366.00
                                potential new Executive Committee members
                                and follow-up diligence re: same (.6); call with
                                ExCo member re: potential new ExCo members
                                (.6); review and comment on meeting minutes for
                                approval (.2); emails and short calls with
                                members, N. DeLoatch, M. Rogers, and R.
                                Monzon Woc, and A&M team re: status of claim
                                and KYC verifications (1.2).

09/28/23    Lamine C.           Due diligence screening on prospective ExCo         B260      2.00      1,300.00
            Hardaway            member.

09/29/23    Erin E. Broderick   Review authorizing resolutions and RSA              B260      0.30       273.00
                                approval process under bylaws.

                                Total for B260 - Board of Directors Matters                    31.20   18,998.50
B270 - AHC Member Communications & Meetings
09/01/23    Erin E. Broderick   Draft agenda for Executive Committee call (.2);     B270      3.50      3,185.00
                                attend Executive Committee call (1.0); emails
                                and call with newer member of Executive
                                Committee to provide plan background in
                                advance of meetings in New York (1.0); attend
                                call with N. DeLoatch, M. Rogers, new member
                                and outside counsel (.8); review and revise town
                                hall meeting agenda and prepare for same (.5).
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Date        Timekeeper          Narrative                                            Task    Hours    Amount

09/01/23    Erin E. Broderick   Work on town hall materials and preparation (.3);    B270      2.50   2,275.00
                                review and revise updates on preference
                                statement filing and next steps in plan process
                                (.6); call with Executive Committee re: numerous
                                case issues (1.2); send final reminders to
                                members of claim bar date and KYC instructions
                                (.4).

09/01/23    Erin E. Broderick   E-mails with Executive Committee member re:          B270      0.40    364.00
                                plan agenda and coin monetization statement
                                (.2); follow-up on status of weekly member
                                update and townhall scheduling (.2).

09/01/23    Michael A.          Correspond with member re: KYC requirements          B270      0.10     73.50
            Rogers              and consent for new members.

09/01/23    Nathaniel T.        Review and respond to email from Ad Hoc              B270      0.10     70.00
            DeLoatch            Committee member requesting information on
                                case status and updates.

09/01/23    Jennifer B.         Email correspondence with member responding          B270      0.30    285.00
            Kimble              to inquiries regarding reimbursement motion
                                UCC discovery.

09/03/23    Nathaniel T.        Analysis of case and other materials for Ad Hoc      B270      4.00   2,800.00
            DeLoatch            Committee member update (2.0); draft update for
                                Ad Hoc Committee members re: same (2.0).

09/03/23    Erin E. Broderick   Review and comment on materials drafted by M.        B270      1.80   1,638.00
                                Rogers (.5) re: AHC governance; attend Zoom
                                meeting with M. Rogers to discuss needed
                                follow-up with customers (1.0); organize tracker
                                (.3).

09/04/23    Erin E. Broderick   Attend training session with team for all-member     B270      1.70   1,547.00
                                town hall meetings (.5); updates to and emails
                                with Executive Committee members on coin
                                monetization, JPL mediation, plan
                                meetings/mediation and fee reimbursement
                                motion (1.2).

09/04/23    Erin E. Broderick   E-mails with Executive Committee members             B270      0.70    637.00
                                regarding coin monetization objection/statement
                                in support approach.

09/04/23    Jennifer B.         Draft insert for Executive Committee update re:      B270      0.30    285.00
            Kimble              Reimbursement Motion.

09/05/23    Michael A.          Review and respond to email from client (.2);        B270      0.50    367.50
            Rogers              create platform to assist client scheduling
                                conference to discuss joining Ad Hoc Committee
                                (.2); email client information re: same to
                                schedule conference (.1).

09/05/23    Jennifer B.         Email correspondence re: open document               B270      0.40    380.00
            Kimble              production issues and next steps.
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Date        Timekeeper          Narrative                                             Task    Hours    Amount

09/05/23    Jennifer B.         Call with Ad Hoc member re: document                  B270      0.20    190.00
            Kimble              production questions.

09/05/23    Erin E. Broderick   Call with Executive Committee chair regarding         B270      0.50    455.00
                                status of discovery/plan meetings.

09/06/23    Erin E. Broderick   Follow-up regarding FTX Japan and customer            B270      0.70    637.00
                                questions with Executive Committee and
                                Rothschild (.2); review docket items for
                                discussion on Executive Committee call (.5).

09/06/23    Michael A.          Email with member re: new member conference.          B270      0.10     73.50
            Rogers

09/06/23    Nathaniel T.        Revise draft of member update on case status          B270      0.30    210.00
            DeLoatch            and recently filed motions (.2); correspond with
                                E. Broderick re: same (.1).

09/07/23    David A. Wender     Analyze questions related to 2019 statement.          B270      0.10    110.00

09/07/23    Nathaniel T.        Draft agenda and issues list for Ad Hoc               B270      0.20    140.00
            DeLoatch            Committee town hall meeting with members.

09/07/23    Nathaniel T.        Prepare for and attend meeting with Ad Hoc            B270      1.00    700.00
            DeLoatch            Committee executive committee re: status of
                                plan negotiations, pending motions and Sept. 13
                                hearing, and other case updates.

09/07/23    Nathaniel T.        Revise member update (1.1); correspond with           B270      1.20    840.00
            DeLoatch            general membership re: same (.1).

09/07/23    Michael A.          Review signed engagement letter from member           B270      0.30    220.50
            Rogers              (.1); draft version for countersigning and submit
                                to S. Paul to fully execute (.2).

09/07/23    Jennifer B.         Emails with Executive Committee members re:           B270      0.30    285.00
            Kimble              2019 disclosures.

09/07/23    Nathaniel T.        Correspond with Executive Committee members           B270      0.30    210.00
            DeLoatch            re: process and logistics for attendance of Sept.
                                11 and 12 meeting with Debtors and UCC.

09/07/23    Jennifer B.         Participate in Executive Committee weekly             B270      1.00    950.00
            Kimble              update call.

09/07/23    Sarah E. Paul       Participate in Ad Hoc Committee Executive             B270      1.00   1,135.00
                                Committee meeting.

09/07/23    Erin E. Broderick   Draft agenda for Executive Committee call (.2);       B270      3.50   3,185.00
                                attend Executive Committee call (1.0); emails
                                and call with newer member of Executive
                                Committee to provide plan background in
                                advance of meetings in New York (1.0); attend
                                call with N. DeLoatch, M. Rogers, new member
                                and outside counsel (.8); review and revise town
                                hall meeting agenda and prepare for same (.5).
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Date        Timekeeper          Narrative                                            Task    Hours    Amount

09/08/23    Erin E. Broderick   Coordinate town hall meeting agenda and              B270      0.50    455.00
                                presentation with N. DeLoatch and review
                                materials for same.

09/08/23    Nathaniel T.        Prepare for and lead Ad Hoc Committee town           B270      1.70   1,190.00
            DeLoatch            hall meeting.

09/08/23    Devorah Hirsch      Attend and assist with Town Hall Meeting.            B270      1.00    240.00

09/08/23    Jennifer B.         Emails with Eversheds team re: townhall update.      B270      0.20    190.00
            Kimble

09/12/23    Jennifer B.         Email correspondence with Executive Committee        B270      0.20    190.00
            Kimble              re: call to discuss plan.

09/12/23    Jennifer B.         Ad Hoc call to discuss plan and open issues &        B270      1.40   1,330.00
            Kimble              meet with Debtors.

09/13/23    Erin E. Broderick   Review and comment on Executive Committee            B270      0.70    637.00
                                meeting agenda and materials (.3); respond to
                                member inquiries regarding Debtors’
                                presentation (.4).

09/13/23    Michael A.          Correspond with E. Broderick, N. DeLoatch, and       B270      0.30    220.50
            Rogers              S. Paul re: Ad Hoc Committee executive
                                committee meeting on 9-14-23.

09/14/23    Jennifer B.         Participate in weekly executive committee Call.      B270      1.30   1,235.00
            Kimble

09/14/23    Jennifer B.         Review internal tracker and professionals call re:   B270      1.10   1,045.00
            Kimble              committee open issues.

09/14/23    Michael A.          Prepare for and attend Ad Hoc Committee              B270      1.90   1,396.50
            Rogers              executive committee meeting.

09/14/23    Erin E. Broderick   Call with Executive Committee member re:             B270      1.10   1,001.00
                                status of open matters (.3); correspond with new
                                members re: HQ site and town hall meetings (.3);
                                review and respond to members’ e-mails re:
                                Debtors’ stakeholder update (.5).

09/16/23    Erin E. Broderick   Review draft town hall materials from N.             B270      0.50    455.00
                                DeLoatch and respond to same.

09/17/23    Erin E. Broderick   Draft agenda for town hall and follow-up to          B270      0.70    637.00
                                respond to member questions (.5); e-mail
                                responses to new members on town hall (.2).

09/17/23    Nathaniel T.        Email to general membership of Ad Hoc                B270      0.10     70.00
            DeLoatch            Committee regarding claims filing deadline and
                                related processes.
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Date        Timekeeper          Narrative                                          Task    Hours    Amount

09/18/23    Nathaniel T.        Correspond with J. Weyand re: draft of Ad Hoc      B270      1.50   1,050.00
            DeLoatch            Committee member update (.1); correspond with
                                E. Broderick re: same (.1); review and revise
                                draft of Ad Hoc Committee member update (1.3).

09/18/23    Erin E. Broderick   Review and revise member update (.6); further      B270      1.40   1,274.00
                                review and revision of member update (.3);
                                comment on revise town hall agenda and
                                prepare for same (.5).

09/20/23    Michael A.          Correspond with E. Broderick and N. DeLoatch       B270      0.10     73.50
            Rogers              re: new member OTC portal claim.

09/21/23    Michael A.          Participate in executive committee meeting.        B270      1.30    955.50
            Rogers

09/21/23    Jennifer B.         Participate in weekly Executive Committee          B270      1.20   1,140.00
            Kimble              update call.

09/21/23    Erin E. Broderick   Attend Executive Committee weekly call.            B270      1.20   1,092.00

09/22/23    Sarah E. Paul       Lead town hall meeting with members to provide     B270      0.60    681.00
                                case updates.

09/22/23    Jennifer B.         Various email correspondence with MNAT and         B270      0.40    380.00
            Kimble              Eversheds teams re: town hall.

09/22/23    Erin E. Broderick   Review member questions and answers from           B270      0.70    637.00
                                town hall meeting (.2); review and revise all
                                member update drafted by N. DeLoatch on
                                preference and claim issues (.5).

09/22/23    Michael A.          Attend Ad Hoc Committee Townhall meeting.          B270      0.60    441.00
            Rogers

09/22/23    Devorah Hirsch      Prepare for and attend Town Hall Meeting.          B270      1.00    240.00

09/26/23    Erin E. Broderick   Call with member re: case status and plan          B270      1.70   1,547.00
                                positions (1.2); coordinate with member re:
                                Korean press and translations for FTX.com
                                customers (.5).

09/26/23    Ana Rocio           Reach out to members who have not completed        B270      0.40    262.00
            Monzon Woc          their initial KYC.

09/28/23    Erin E. Broderick   Attend weekly Executive Committee call (1.2);      B270      1.50   1,365.00
                                follow-up with N. DeLoatch to provide member
                                update (.3).

09/28/23    Jennifer B.         Partial attendance at weekly executive             B270      0.40    380.00
            Kimble              committee call.

09/28/23    Nathaniel T.        Review and respond to email from Ad Hoc            B270      0.10     70.00
            DeLoatch            Committee member re: case status and claims
                                deadline.
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Date        Timekeeper          Narrative                                             Task    Hours       Amount

09/28/23    Nathaniel T.        Prepare for and attend meeting with Executive         B270      1.40       980.00
            DeLoatch            Committee of Ad Hoc Committee and its
                                professionals.

09/28/23    Michael A.          Attend Ad Hoc Committee executive committee           B270      1.20       882.00
            Rogers              meeting.

09/29/23    Nathaniel T.        Review and respond to emails from Ad Hoc              B270      0.50       350.00
            DeLoatch            Committee member re: claims and KYC
                                processes (.2); review materials related to same
                                (.1); call with D. Gupta re: same (.2).

09/29/23    Nathaniel T.        Review and respond to emails from Ad Hoc              B270      0.10        70.00
            DeLoatch            Committee member re: case status.

09/29/23    Nathaniel T.        Emails to Executive Committee and member              B270      0.50       350.00
            DeLoatch            professionals re: scheduling of Ad Hoc
                                Committee townhall (.3); correspond with D.
                                Hirsch re: logistics of townhall meeting (.2).

09/30/23    Erin E. Broderick   Respond to member inquiries regarding                 B270      0.80       728.00
                                preference statement filed (.4); draft town hall
                                agenda and emails to team regarding member
                                update and town hall (.4).

                                Total for B270 - AHC Member
                                Communications & Meetings                                        58.30   48,488.00
B310 – KYC Process and Claims Administration

09/01/23    Erin E. Broderick   Respond to/forward e-mails on KYC issues to S.        B310      0.20       182.00
                                Paul and R. Monzon Woc (.2).

09/01/23    Sarah E. Paul       Coordinate with R. Monzon on open KYC items           B310      1.30      1,475.50
                                (0.2); emails with Rothschild on KYC status (0.7);
                                emails with team re: KYC status (0.2);
                                correspondence with members re: KYC (0.2).

09/01/23    Nathaniel T.        Call with M. Rogers re: KYC information for           B310      0.10        70.00
            DeLoatch            Debtor's professionals.

09/01/23    Michael A.          Call with N. Deloatch re: KYC information for         B310      0.10        73.50
            Rogers              Debtor's professionals.

09/01/23    Ana Rocio           Email members to request KYC documents                B310      6.30      4,126.50
            Monzon Woc          individually (0.5); follow up with members
                                individually (2.0); manage KYC documents (1.0);
                                answer queries from members re: KYC (2.0);
                                transmit KYC information to Rothschild (0.5);
                                confer with team re: the same (0.3).

09/02/23    Ana Rocio           Manage KYC documents (0.5); answer queries            B310      1.70      1,113.50
            Monzon Woc          from members re: KYC (0.5); transmit KYC
                                information to Rothschild (0.3); confer with team
                                re: the same (0.4).
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Date        Timekeeper          Narrative                                               Task   Hours    Amount

09/02/23    Erin E. Broderick   Send N. DeLoatch template for transfer notices          B310     0.40    364.00
                                and letter to Debtors re: transfer notification (.2);
                                follow-up with A&M on claim portal issues (.2).

09/02/23    Erin E. Broderick   E-mails with internal team and Debtors re:              B310     2.10   1,911.00
                                responses to UST and UCC informal discovery
                                (.5); further follow-up on claims diligence for
                                verification and revision of internal tracker on
                                claim information (.8); review of A&M claim
                                information and e-mails re: same (.3); follow-up
                                with members to confirm subaccount inclusion
                                and underlying documentation/status of claim
                                submissions and/or agreement with Debtors’
                                scheduled amounts (.5).

09/02/23    Sarah E. Paul       Emails with member re: KYC requirements and             B310     0.30    340.50
                                process for secondary holders.

09/03/23    Sarah E. Paul       Emails with E. Broderick re: KYC status (0.2);          B310     0.40    454.00
                                coordinate with R. Monzon re: same (0.2).

09/03/23    Erin E. Broderick   E-mails with C. Delo and S. Paul regarding KYC          B310     1.20   1,092.00
                                status (.2); correspond with S. Paul regarding
                                same (.3); call with member regarding KYC
                                status/portal access (.3); further e-mails
                                regarding KYC processing and follow-up with
                                members (.4).

09/03/23    Ana Rocio           Review KYC documents (0.3); answer questions            B310     1.60   1,048.00
            Monzon Woc          from members re: KYC (0.3); confer with team
                                re: the same (0.3).

09/04/23    Ana Rocio           Review KYC documents (1.1); answer questions            B310     2.70   1,768.50
            Monzon Woc          from customers re: KYC (1.0); confer with
                                debtors re: process (0.3); confer with Rothschild
                                re: KYC (0.3).

09/05/23    Jennifer B.         Call with E. Broderick re: intended disclosures for     B310     0.30    285.00
            Kimble              claims verifications.

09/05/23    Devorah Hirsch      Attention to Consent Forms and KYC                      B310     2.00    480.00
                                Information.

09/05/23    Ana Rocio           Confer with Rothschild re: KYC (.4); review KYC         B310     1.70   1,113.50
            Monzon Woc          documents(.5); update tracker (.3); confer with
                                customers re: KYC questions (.5).

09/05/23    Erin E. Broderick   Call with S. Paul regarding KYC issues.                 B310     0.50    455.00

09/05/23    Erin E. Broderick   Respond to member inquiries on claim portal             B310     0.30    273.00
                                lockouts and KYC issues and forward to S. Paul
                                and team as needed.
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09/05/23    Sarah E. Paul       Emails with member re: KYC requirements (0.2);          B310     1.20   1,362.00
                                emails with Rothschild re: KYC status (0.2); call
                                with Rothschild re: KYC status (0.3); update call
                                with E. Broderick on KYC issues (0.5).

09/06/23    Erin E. Broderick   Respond to/forward e-mails on KYC issues to S.          B310     0.20    182.00
                                Paul and R. Monzon Woc.

09/06/23    Ana Rocio           Confer with debtors re: KYC issues (.5); confer         B310     6.40   4,192.00
            Monzon Woc          with customers re: KYC issues (1.0); review KYC
                                documents and consent forms (4.9).

09/07/23    Ana Rocio           Review KYC documents (1.9); confer with                 B310     2.60   1,703.00
            Monzon Woc          Rothschild re: KYC information (.4); confer with
                                team re: the same (.3).

09/07/23    Michael A.          Email N. DeLoatch re: required claims                   B310     0.10     73.50
            Rogers              documents to follow up with T. Kapur.

09/07/23    Sarah E. Paul       Email to member re: KYC questions and status            B310     0.70    794.50
                                (0.2); coordinate with R. Monzon re: questions
                                for debtors on secondary holders KYC (0.3);
                                coordinate with R. Monzon on Rothschild KYC
                                information (0.2).

09/08/23    Erin E. Broderick   Review status of assigned proof of claim                B310     0.20    182.00
                                numbers and correspondence with customers
                                and team to follow-up with Kroll and A&M.

09/08/23    Sarah E. Paul       Coordinate with R. Monzon re: open KYC items            B310     1.70   1,929.50
                                (0.5); review Rothschild KYC tracker (0.2); call
                                with Rothschild to discuss KYC status and next
                                steps (0.5); coordinate with E. Broderick on KYC
                                follow ups (0.2); follow up with members on KYC
                                outstanding items (0.3).

09/08/23    Michael A.          Email with new member re: claim verification.           B310     0.10     73.50
            Rogers

09/08/23    Michael A.          Email with T. Kapur re: request for documents for       B310     0.20    147.00
            Rogers              claim verification.

09/08/23    Ana Rocio           Confer with members re: KYC consent form and            B310     4.50   2,947.50
            Monzon Woc          initial information (2.0); confer with Rothschild re:
                                the same (.5); review documents internally re:
                                KYC (2.0).

09/08/23    Michael A.          Correspond with N. DeLoatch re: inquiry re:             B310     0.20    147.00
            Rogers              claim valuation.

09/08/23    Michael A.          Email with T. Kapur re: claim valuation and             B310     0.30    220.50
            Rogers              update tracker with information on new member.

09/08/23    Jazmen B.           Attention to members' claims issues and                 B310     1.00    650.00
            Howard              corresponding with Debtors regarding same.
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09/08/23    Michael A.          Conference with J. Howard re: claims verification      B310      0.50    367.50
            Rogers              process.

09/08/23    Michael A.          Email with T. Kapur re: claims verification and        B310      0.20    147.00
            Rogers              KYC documents.

09/09/23    Michael A.          Email with R. Monzon Woc re: identification            B310      0.10     73.50
            Rogers              submission for KYC.

09/09/23    Ana Rocio           Update KYC tracker (.5); follow up with members        B310      1.70   1,113.50
            Monzon Woc          who haven't replied (.4); answer members'
                                questions re: KYC (.8).

09/09/23    Erin E. Broderick   Follow-up with R. Monzon Woc and S. Paul               B310      0.20    182.00
                                regarding customer inquiries on KYC
                                requirements and Rothschild consent
                                authorization.

09/10/23    Sarah E. Paul       Coordinate with R. Monzon and E. Broderick re:         B310      0.20    227.00
                                KYC status.

09/10/23    Ana Rocio           Follow up with members re: KYC (.5); update            B310      3.30   2,161.50
            Monzon Woc          tracker re: KYC (.5); review KYC documents
                                (1.9); follow up with Rothschild (.4).

09/11/23    Ana Rocio           Track KYC requirements among members (1.6);            B310      2.70   1,768.50
            Monzon Woc          confer with Rothschild re: same (0.5); confer with
                                debtors re: same (.6).

09/11/23    Sarah E. Paul       Coordinate with R. Monzon on KYC open items            B310      0.40    454.00
                                and responses to member KYC questions.

09/12/23    Ana Rocio           Handle KYC information (1.0); confer with team,        B310      2.20   1,441.00
            Monzon Woc          Debtors, Rothschild re: the same (.5); answer
                                questions from members re: the same (.7).

09/12/23    Michael A.          Evaluate claim documents (.2); send to E.              B310      0.40    294.00
            Rogers              Broderick for coordination re: claim verification
                                process (.2).

09/12/23    Michael A.          Correspond with K.S. and R. MW. re: KYC                B310      0.20    147.00
            Rogers              process for claims submission.

09/13/23    Ana Rocio           Review KYC documents (1.0); confer with                B310      2.40   1,572.00
            Monzon Woc          members re: KYC (1.0); follow up with Rothschild
                                re: the same (.4).

09/13/23    Devorah Hirsch      Attention to Consent Form and KYC Information.         B310      0.50    120.00

09/13/23    Erin E. Broderick   Review responses from A&M and R. Monzon                B310      0.20    182.00
                                Woc on KYC issues (.2).
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09/13/23    Sarah E. Paul       Coordinate with A. Woc and J. Kimble on list of       B310      0.70    794.50
                                secondary holders to send to Debtors' for KYC
                                (0.2); emails with E. Broderick discussing
                                debtors current positions on KYC (0.3); email to
                                member addressing KYC questions (0.2).

09/14/23    Erin E. Broderick   Emails with S. Paul re: KYC issues.                   B310      0.20    182.00

09/14/23    Sarah E. Paul       Coordinate with R. Woc on outstanding KYC             B310      0.40    454.00
                                questions (0.2); emails with E. Broderick on KYC
                                questions for secondary holders and Ad Hoc
                                Committee Executive Committee members (0.2).

09/14/23    Michael A.          Correspond with R. Monzón Woc re: KYC                 B310      0.20    147.00
            Rogers              tracking.

09/14/23    Ana Rocio           Confer with debtors re: KYC process (.5);             B310      3.30   2,161.50
            Monzon Woc          respond to members' questions (1.8); confer with
                                Eversheds team re: the same (.5); confer with
                                Rothschild re: the same (.5).

09/15/23    Ana Rocio           Confer with executive committee members re:           B310      2.30   1,506.50
            Monzon Woc          KYC process (.9); confer with debtors re: the
                                same (.6); confer with Rothschild re: the same
                                (.8).

09/15/23    Michael A.          Correspond with N. DeLoatch and E. Broderick          B310      0.10     73.50
            Rogers              re: reaching out to members about submissions
                                of claims.

09/15/23    Nathaniel T.        Review and respond to M. Rogers re: member            B310      0.10     70.00
            DeLoatch            claim documentation.

09/15/23    Jennifer B.         Email correspondence with S&C re: secondary           B310      0.20    190.00
            Kimble              holders and KYC.

09/15/23    Sarah E. Paul       Emails with debtors regarding KYC issues (0.3);       B310      0.60    681.00
                                emails with member re: KYC questions (0.3).

09/15/23    Erin E. Broderick   Respond to member inquiry regarding redaction         B310      0.10     91.00
                                of customer information on claim forms.

09/15/23    Erin E. Broderick   Further follow-up with individual members             B310      0.40    364.00
                                regarding claim and KYC issues/questions (.3);
                                review responses from A. Kranzley to questions
                                on KYC (.1).

09/16/23    Erin E. Broderick   Review and update claim tracker for issues for        B310      1.30   1,183.00
                                A&M/Kroll to address and e-mails to N. DeLoatch
                                and J. Howard on instructions for same (.5);
                                respond to member/customer inquiries re:
                                preference and claim questions (.3); e-mails to
                                Debtors/A&M re: call to address claim/KYC
                                issues (.1) follow-up with M. Rogers re: Debtors’
                                position on assignment notices (.4).
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Date        Timekeeper          Narrative                                               Task    Hours    Amount

09/17/23    Erin E. Broderick   Follow-up with A. Kranzley re: claim issues call        B310      0.60    546.00
                                (.1); review and revise draft summary prepared
                                by N. DeLoatch to update customers on claim
                                process updates (.5).

09/18/23    Sarah E. Paul       Call with debtors to discuss various KYC                B310      0.50    567.50
                                questions, including questions relating to
                                secondary holders.

09/18/23    Erin E. Broderick   Call with Debtors’ counsel, A&M, and internal           B310      2.00   1,820.00
                                team re: claim and issues and recommendations
                                for revised FAQs/protocol (.5); respond to
                                numerous member and customer non-member
                                inquiries and update tracker for Debtors (.7); e-
                                mails with N. DeLoatch, M. Rogers and J.
                                Howard for needed follow-ups (.2); call with
                                member team re: pending withdrawals treatment
                                and follow-up with Debtors re: same (.6).

09/18/23    Erin E. Broderick   E-mails with N. DeLoatch and M. Rogers re:              B310      0.70    637.00
                                responding to customer inquiries on claims and
                                plan process (.3); respond directly to several
                                inquiries re: claim/portal issues (.4).

09/18/23    Nathaniel T.        Call with E. Broderick re: claims verification and      B310      0.10     70.00
            DeLoatch            KYC processes.

09/18/23    Michael A.          Correspond with N. DeLoatch re: claim                   B310      0.10     73.50
            Rogers              verification question.

09/18/23    Michael A.          Call with J. Howard re: claims submissions              B310      0.10     73.50
            Rogers              correspondence with Debtors.

09/18/23    Michael A.          Correspond with E. Broderick re: claims                 B310      0.10     73.50
            Rogers              submissions.

09/18/23    Ana Rocio           Confer with members re: KYC (1.1); confer with          B310      1.80   1,179.00
            Monzon Woc          debtors' counsel re: the same (.5); provide KYC
                                documents to Rothschild (.2).

09/19/23    Nathaniel T.        Prepare for and attend meeting with E.                  B310      1.00    700.00
            DeLoatch            Broderick, J. Howard and M. Rogers re:
                                processes for addressing issues raised by Ad
                                Hoc Committee members and non-member
                                customers re: Debtors' claims portal.

09/19/23    Michael A.          Evaluate claims submission process (1.0); draft         B310      2.90   2,131.50
            Rogers              correspondence on same for member outreach
                                to clarify the submission process and obtain
                                Claim Submission Confirmation IDs (1.9).

09/19/23    Erin E. Broderick   Review D1 motion/status and e-mails with A.             B310      0.70    637.00
                                Kranzley re: Debtors’ treatment of postpetition
                                transfers (.5); review response/information from
                                A. Kranzley re: same (.2).
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09/20/23    Erin E. Broderick   Review and update tracker of member claims            B310     1.50   1,365.00
                                and KYC submissions and issues to verify claims
                                with Debtors/for UST and UCC discovery (1.0);
                                emails with M. Rogers and N. DeLoatch re: same
                                (.2); review status of claim transfer
                                notices/confirm updates from A&M (.3).

09/20/23    Sarah E. Paul       Email to member summarizing additional KYC            B310     0.40    454.00
                                guidance from debtors (0.2); email to Rothschild
                                re: KYC follow up items (0.2).

09/20/23    Ana Rocio           Review KYC documents from new members (.6);           B310     1.20    786.00
            Monzon Woc          confer with Rothschild re: the same (.2); confer
                                with Eversheds team re: the same (.2); confer
                                with debtors re: the same (.2).

09/20/23    Devorah Hirsch      Attention to Consent forms and KYC Information.       B310     0.50    120.00

09/20/23    Jennifer B.         Gather crypto 2019 statements and respond to J.       B310     0.40    380.00
            Kimble              Sarkessian on 2019 statement questions.

09/21/23    Devorah Hirsch      Attention to Consent Forms and KYC                    B310     0.80    192.00
                                Information.

09/21/23    Ana Rocio           Reach out to new members re: KYC (.3); confer         B310     1.10    720.50
            Monzon Woc          with Rothschild re: the same so they can follow
                                up (.3); answer members' queries re: KYC (.5).

09/22/23    Ana Rocio           Confer with team re: KYC status (.2); confer with     B310     0.40    262.00
            Monzon Woc          members re: KYC (.2).

09/22/23    Erin E. Broderick   Follow-up with S. Shnayder (Rothschild) re:           B310     0.90    819.00
                                derivative and perps valuation issues (.4); follow-
                                up with Executive Committee members re: same
                                (.3); e-mail to internal team re: follow-up with
                                A&M on portal/KYC issues (.2).


09/22/23    Jennifer B.         Emails with N. DeLoatch and E. Broderick re:          B310     0.30    285.00
            Kimble              2019 statement and other open issues.

09/22/23    Sarah E. Paul       Call with R. Monzon to discuss KYC status.            B310     0.10    113.50

09/25/23    Ana Rocio           Confer with debtors re: KYC (.2); reach out to        B310     0.50    327.50
            Monzon Woc          members re: KYC (.2); confer with Eversheds
                                team re: same (.1).

09/25/23    Sarah E. Paul       Emails with member re: KYC process and                B310     0.70    794.50
                                requirements (0.4); emails with R. Monzon and
                                Rothschild re: outstanding KYC information
                                needed (0.3).
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09/25/23    Erin E. Broderick   Respond to member and customer claim-related        B310      2.00   1,820.00
                                inquiries and follow-up with N. DeLoatch and M.
                                Rogers to follow up with Debtors re: same (.5);
                                review and comment on valuation memo
                                prepared by Rothschild (.4); call with member re:
                                valuation of perps positions (.8); follow-up with
                                similarly-situated members re: same (.3).

09/25/23    Erin E. Broderick   Review status of KYC chart prepared by A.           B310      0.20    182.00
                                Monzon Won and e-mails with A&M team re:
                                same.

09/26/23    Nathaniel T.        Review and respond to email from Ad Hoc             B310      0.20    140.00
            DeLoatch            Committee member re: claims and KYC issues
                                (.1); analysis of issues related to same (.1).

09/26/23    Nathaniel T.        Analyze claim and KYC issues and                    B310      0.50    350.00
            DeLoatch            documentation related to same.

09/26/23    Erin E. Broderick   Emails with A&M team, N. DeLoatch, J. Howard        B310      0.60    546.00
                                and M. Rogers re: claim and KYC verification
                                and resolution of open issues/revised FAQs.

09/27/23    Michael A.          Meeting with E. Broderick, N. DeLoatch, and J.      B310      1.20    882.00
            Rogers              Howard re: claims submissions for upcoming
                                claims bar date.

09/27/23    Nathaniel T.        Prepare for and attend meeting with M. Rogers       B310      1.00    700.00
            DeLoatch            and E. Broderick re: questions raised by Ad Hoc
                                Committee members re: case status, claims
                                process, and other issues.

09/27/23    Michael A.          Correspond with member re: KYC information          B310      0.90    661.50
            Rogers              (.4); correspond with member re: claims
                                submission confirmation (.4).

09/27/23    Erin E. Broderick   Attend call with M. Rogers, J. Howard and N.        B310      1.40   1,274.00
                                DeLoatch to walk through claims issues chart
                                and status of resolutions with Debtors (1.0);
                                follow-up emails with same group (.4).

09/27/23    Michael A.          Evaluate claims submissions confirmations and       B310      0.50    367.50
            Rogers              update member tracker with same.

09/27/23    Sarah E. Paul       Coordinate with R. Monzon re: KYC status and        B310      0.20    227.00
                                guidance.

09/27/23    Michael A.          Correspond with members re: claims bar date         B310      1.80   1,323.00
            Rogers              and update claims submission confirmation IDs
                                (1.6); update tracker with same (.2).

09/27/23    Michael A.          Correspond with members re: confirming claims       B310      1.10    808.50
            Rogers              submission IDs for upcoming claims bar date.

09/27/23    Ana Rocio           Confer with members re: KYC (.2); confer with       B310      0.30    196.50
            Monzon Woc          Rothschild re: the same (.1).
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09/28/23    Michael A.          Correspond with members to confirm proofs of          B310      1.00       735.00
            Rogers              claims were submitted (.8); update tracker with
                                same (.2).

09/28/23    Nathaniel T.        Call with C. Thain of Willkie re: questions re:       B310      0.10        70.00
            DeLoatch            claims process and confirmations.

09/28/23    Jennifer B.         Email with N. DeLoatch re: 2019 strategy and          B310      0.30       285.00
            Kimble              responding to UST.

09/28/23    Ana Rocio           Confer with debtors re: KYC issues (.4); confer       B310      1.30       851.50
            Monzon Woc          with members re: the same (.9).

09/28/23    Michael A.          Verify claims submission confirmations (.1.0);        B310      1.20       882.00
            Rogers              update trackers with same (.2).

09/28/23    Sarah E. Paul       Coordinate with R. Monzon on various KYC open         B310      0.60       681.00
                                items (0.4); emails with member re: KYC
                                questions (0.2).

09/29/23    Michael A.          Correspond with members to verify claims              B310      1.50      1,102.50
            Rogers              submissions.

09/29/23    Ana Rocio           Confer with debtors re: KYC and customers'            B310      0.70       458.50
            Monzon Woc          status (.5); confer with team re: motion re: KYC
                                (.2).

09/29/23    Erin E. Broderick   E-mails, call and document review with                B310      3.20      2,912.00
                                members, A&M team, and S&C claims team to
                                verify valid claim and KYC commencement by
                                members.

09/29/23    Michael A.          Correspond with members; A&M; and N.                  B310      1.60      1,176.00
            Rogers              Deloatch, E. Broderick, and J. Howard to confirm
                                member claims submitted before claims bar
                                deadline.

09/29/23    Michael A.          Correspond with clients to confirm claims             B310      1.20       882.00
            Rogers              submissions before claims bar.

09/29/23    Devorah Hirsch      Attention to Consent Forms and KYC                    B310      1.90       456.00
                                Information.

09/30/23    Devorah Hirsch      Attention to Consent Forms and KYC                    B310      2.00       480.00
                                Information.

                                Total for B310 – KYC Process and Claims
                                Administration                                                  115.60   84,955.00
B310 – KYC Process and Claims Administration
09/01/23    Jennifer B.         Review agenda for 9/11-9/12 in person plan            B320      0.20       190.00
            Kimble              meetings.
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Date        Timekeeper          Narrative                                            Task    Hours    Amount

09/01/23    Erin E. Broderick   Review plan agenda and circulate to Executive        B320      1.10   1,001.00
                                Committee (.2); follow-up on position
                                statement/presentation for meeting discussions
                                (.5); review docket/status of UCC emergency
                                mediation motion (.1); follow-up on status of JPL
                                mediation/mediation dates and protocol (.3).

09/01/23    Nathaniel T.        Correspond with E. Broderick re: action items        B320      0.50    350.00
            DeLoatch            and plan issues for Sept. 11 and 12 meeting with
                                Debtors (.2); review materials related to same
                                (.3).

09/03/23    Jennifer B.         Begin to review and analyze emails re: plan          B320      1.30   1,235.00
            Kimble              research and tracing arguments.

09/03/23    Jennifer B.         Research stockbroker liquidation act and review      B320      1.20   1,140.00
            Kimble              related information.

09/03/23    Jennifer B.         Draft and send email correspondence to S. Paul       B320      0.50    475.00
            Kimble              with stockbroker related information for
                                argument.

09/03/23    Erin E. Broderick   Call with J. Kimble regarding reply to expected      B320      1.00    910.00
                                UCC objection and impact on plan meetings
                                (1.0).

09/03/23    Sarah E. Paul       Conduct legal research on customer property          B320      2.60   2,951.00
                                and customer priority issues (2.0); email to J.
                                Kimble summarizing research status and next
                                steps (0.3); review and comment on additional
                                research provided by J. Kimble (0.3).

09/04/23    Jennifer B.         Work on plan research re: tracing and other          B320      1.10   1,045.00
            Kimble              customer issues.

09/04/23    Michael A.          Review proposed plan and plan position               B320      1.30    955.50
            Rogers              statements of the parties.

09/05/23    Jennifer B.         Review and analyze cases and research on             B320      3.20   3,040.00
            Kimble              tracing re: customer property settlement in
                                connection with global plan settlement.

09/05/23    Jennifer B.         Edit and send document production to UST re:         B320      0.80    760.00
            Kimble              discovery requests in connection with fee
                                reimbursement motion.

09/05/23    Jennifer B.         Call with Rothschild re: status of UCC               B320      0.50    475.00
            Kimble              discussions and plan meetings.

09/05/23    Sarah E. Paul       Coordinate with R. Monzon on additional plan         B320      0.30    340.50
                                research related to tracing.

09/05/23    Erin E. Broderick   E-mail to group regarding open issues and plan       B320      0.20    182.00
                                discussions.
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Date        Timekeeper          Narrative                                             Task    Hours    Amount

09/05/23    Erin E. Broderick   Review docket re: UCC’s emergency plan                B320      0.60    546.00
                                mediation motion and e-mail to N. DeLoatch on
                                procedural rules for hearing (.2); coordinate with
                                D. Hirsch on joinder to Debtors’ objection to
                                motion to shorten notice and limited objection to
                                mediation motion (.4).

09/06/23    Sarah E. Paul       Conduct additional tracing research for customer      B320      1.00   1,135.00
                                property argument.

09/06/23    Erin E. Broderick   Review and analyze waterfall analysis and             B320      2.60   2,366.00
                                follow-ups with Executive Committee and
                                Rothschild (1.0); e-mails with Debtors regarding
                                plan meetings and scheduling (.3); e-mails
                                regarding approach to plan mediation
                                motion/plan meetings and work on same (1.0);
                                call with A. Dietderich regarding status of plan
                                meetings (.2); call with C. Delo regarding same
                                (.1).

09/06/23    Jennifer B.         Work on plan research on tracing and other            B320      3.00   2,850.00
            Kimble              constructive trust arguments.

09/06/23    Nathaniel T.        Correspond with E. Broderick, J. Kimble, and S.       B320      0.10     70.00
            DeLoatch            Paul re: coordinating with Debtors on Sept. 11
                                and 12 plan meeting agenda and related
                                logistics.

09/07/23    Jennifer B.         Emails with Eversheds team re: plan tracing           B320      0.30    285.00
            Kimble              issues.

09/07/23    Ana Rocio           Research re: standard for tracing assets (2.0);       B320      4.60   3,013.00
            Monzon Woc          review cases (1.0); analyze potential arguments
                                (.8); confer with team re: the same (.8).

09/07/23    Sarah E. Paul       Coordinate with R. Monzon re: additional              B320      0.30    340.50
                                research on tracing questions.

09/07/23    Erin E. Broderick   Call with A. Dietderich and B. Glueckstein            B320      2.50   2,275.00
                                regarding plan meetings and agenda (.3); e-
                                mails with Executive Committee, internal team
                                and Rothschild to confirm agreement to adjourn
                                fee reimbursement motion and September 11
                                and 12 plan meetings (.2); two short calls with
                                Executive Committee members to confirm details
                                regarding same (.3); coordinate attendee
                                confirmation/travel timing with attendees and A.
                                Kranzley (.4); work on plan issues
                                summaries/positioning for discussion with
                                Executive Committee in advance of plan meeting
                                (1.0); e-mails with internal team regarding tracing
                                research (.3).
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09/08/23    Sarah E. Paul       Conduct additional plan research on tracing            B320      4.60   5,221.00
                                questions and arguments (4.0); coordinate with
                                R. Monzon re: further research points (0.3);
                                emails with J. Kimble discussing research status
                                (0.3).

09/08/23    Erin E. Broderick   Follow-up with S&C regarding plan meetings and         B320      1.00    910.00
                                agenda (.2); review and analyze waterfall
                                analysis prepared by Rothschild (.5); e-mails with
                                team regarding meeting preparation (.3).

09/08/23    Jennifer B.         Continue research on tracing and equities of the       B320      4.00   3,800.00
            Kimble              case issues and review case law re: the same.

09/08/23    Jennifer B.         Draft and send update to S. Paul on plan               B320      0.80    760.00
            Kimble              research.

09/08/23    Jennifer B.         Review updated agenda and notes for 9/11 and           B320      0.30    285.00
            Kimble              9/12 plan meetings.

09/09/23    Jennifer B.         Emails with E. Broderick and S. Paul re: plan          B320      0.30    285.00
            Kimble              research and open issues.

09/09/23    Jennifer B.         Analyze cases as related to property interest          B320      0.40    380.00
            Kimble              issues.

09/09/23    Erin E. Broderick   Review and comment on revised waterfall                B320      3.20   2,912.00
                                recovery analysis (.3); coordinate meeting
                                logistics with Debtors, UCC and Executive
                                Committee attendees (.5); update team
                                regarding same (.2); e-mails with A. Dietderich
                                on restricted vs. unrestricted information and
                                approach at meetings (.2); review and analyze
                                Debtors’ stakeholder presentation and recovery
                                analysis for discussion during plan meetings
                                (2.0).

09/09/23    Sarah E. Paul       Draft outline of plan research on tracing issues.      B320      3.00   3,405.00

09/09/23    Erin E. Broderick   Review and analyze plan research summary               B320      3.40   3,094.00
                                prepared by S. Paul (.8); review and analyze
                                memo regarding stockholders liquidation
                                act/analogous authority in support of constructive
                                trust arguments (.5); further research and
                                analysis of other plan issues (1.2); e-mails with J.
                                Kimble and S. Paul regarding same (.4); further
                                follow-up with S. Paul regarding same (.5).

09/10/23    Ana Rocio           Research re: tracing test (4.0); review cases re:      B320      6.30   4,126.50
            Monzon Woc          the same (1.8); confer with team re: the same
                                (.5).

09/10/23    Jennifer B.         Email correspondence with S&C team and Ad              B320      0.50    475.00
            Kimble              Hoc Committee professionals re: in person plan
                                meetings and related issues.
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Date        Timekeeper          Narrative                                           Task    Hours    Amount

09/10/23    Jennifer B.         Work through plan research issues ahead of          B320      1.00    950.00
            Kimble              settlement negotiations / plan meetings.

09/11/23    Jennifer B.         Review and analyze materials for plan meetings.     B320      0.80    760.00
            Kimble

09/11/23    Jennifer B.         Partial attendance at Plan Meetings by Zoom.        B320      6.50   6,175.00
            Kimble

09/11/23    Jennifer B.         Review information re: additional tracing           B320      0.40    380.00
            Kimble              research.

09/11/23    Erin E. Broderick   Attend plan meetings (in part through Zoom).        B320      8.00   7,280.00

09/11/23    Sarah E. Paul       Participate in plan meetings with debtors and       B320      4.00   4,540.00
                                UCC.

09/11/23    Erin E. Broderick   Respond to member feedback regarding                B320      0.50    455.00
                                proposed preference policy.

09/12/23    Sarah E. Paul       Attend plan meetings with debtors and UCC.          B320      5.50   6,242.50

09/12/23    Erin E. Broderick   Call with customer re: admission to Executive       B320      0.80    728.00
                                Committee and status of plan discussions (.6);
                                call with J. David regarding same (.2).

09/12/23    Erin E. Broderick   Follow-up with Paul Hasting team, J. Minias, and    B320      8.50   7,735.00
                                A. Entwistle regarding summary of proposals to
                                Debtors from September 11 discussions (.2);
                                follow-up with A. Dietderich and A&M team
                                regarding claims data discussed at September
                                11 meeting (.4); review and comment on
                                preference diligence questions (.2); e-mails with
                                creditor groups regarding claims issues (.2);
                                attend plan meetings in-person and follow-up
                                meeting with Executive Committee and
                                professionals (7.5).

09/12/23    Jennifer B.         Attend plan meetings with UCC and Debtors via       B320      4.50   4,275.00
            Kimble              Zoom.

09/12/23    Nathaniel T.        Prepare for and attend and participate meeting      B320      7.50   5,250.00
            DeLoatch            with Debtors, UCC, and Ad Hoc Committee.

09/12/23    Jennifer B.         Meeting with UCC to walk through plan scenario      B320      0.80    760.00
            Kimble              waterfalls (via Zoom).

09/12/23    Michael A.          Email with E Broderick re: evaluating preference    B320      0.10     73.50
            Rogers              exposure.

09/12/23    Nathaniel T.        Prepare for and attend via Zoom meeting with        B320      6.00   4,200.00
            DeLoatch            Debtors, Ad Hoc Committee and UCC re: plan
                                and case issues.

09/13/23    Jennifer B.         Review notes from plan meetings and draft high      B320      0.50    475.00
            Kimble              level outline of next steps.
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Date        Timekeeper          Narrative                                              Task   Hours   Amount

09/13/23    Michael A.          Correspond with E. Broderick re: avoidance             B320    0.10     73.50
            Rogers              actions and set up meeting to discuss same.

09/13/23    Nathaniel T.        Correspond with executive committee member             B320    0.20    140.00
            DeLoatch            re: preference issues and debtors' presentation
                                filed on Sept. 11.

09/13/23    Sarah E. Paul       Discussions with E. Broderick re: plan research        B320    0.50    567.50
                                (0.3); email to M. Harvey summarizing plan
                                research on tracing (0.2).

09/13/23    Erin E. Broderick   Review and analyze plan discussion summary             B320    7.60   6,916.00
                                prepared by member and required follow-up on
                                issues (1.2); e-mails and short call with J. Minias
                                regarding same (.3); draft summary of plan
                                action items and next steps (2.0); call with A.
                                Dietderich regarding open issues (.3); call with
                                A&M team regarding timing of plan-related
                                diligence requests (.3); call with S. Shnayder and
                                C. Delo regarding follow-up plan items (.5);
                                review and comment on draft plan discussion
                                outline prepared by Rothschild (.5); call with Paul
                                Hastings regarding claim and preference issues
                                (.5); draft e-mail to A. Dietderich regarding Ad
                                Hoc Committee position on preference issues
                                (.2); call with member regarding exit facility (.4);
                                follow-up with team regarding implementation
                                issues of same (.3); draft e-mail to member team
                                regarding preference pricing (.2); review and
                                analyze ventures portfolio presentation/proposal
                                (.5); brief research on preference issues raised
                                by Debtors’ presentation to discuss with
                                Executive Committee (.4).

09/14/23    Sarah E. Paul       Participate in portion of team call to discuss         B320    0.50    567.50
                                preference methodology.
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Date        Timekeeper          Narrative                                             Task    Hours    Amount

09/14/23    Erin E. Broderick   Review, analyze, and summarize preference             B320      6.90   6,279.00
                                issues research and publicly-available data for
                                follow-up with internal team (1.5); call with N.
                                DeLoatch re: preference research for plan
                                discussions (.3); attend Executive Committee
                                weekly meeting re: plan positions and tasks for
                                October meetings (1.7); review and respond to e-
                                mails from Executive Committee members re:
                                recommendations for plan positions (.5); call with
                                member re: preference policy legal questions
                                (.6); call with J. Kimble re: preference issues in
                                plan negotiations (.7); draft and circulate memo
                                for Executive Committee re: recommendations
                                re: customer claim treatment, KYC processes,
                                and statement on preference policy (.8); review
                                and draft separate summary of excerpts from bar
                                date order and FAQs re: same (.3); brief review
                                of KYC processes in any other bankruptcy cases
                                to answer Executive Committee questions (.4);
                                follow-up with S. Coverick/A&M re: same (.1).

09/14/23    Nathaniel T.        Prepare for and attend meeting with Ad Hoc            B320      1.70   1,190.00
            DeLoatch            Committee professionals and executive
                                committee members re: plan negotiations and
                                related issues.

09/14/23    Jennifer B.         Review and analyze preference information             B320      2.70   2,565.00
            Kimble              included in Debtors’ public deck and research
                                surrounding valuation issues.

09/14/23    Jennifer B.         Call with E. Broderick re: open plan issues and       B320      0.70    665.00
            Kimble              next steps.

09/14/23    Jennifer B.         Begin drafting statement re: Debtors’ stakeholder     B320      0.60    570.00
            Kimble              presentation on preference timing valuations.

09/14/23    Jennifer B.         Email with A. Kranzley re: call to discuss            B320      0.20    190.00
            Kimble              preference valuation date/ methodology.

09/14/23    Jennifer B.         Various email correspondence with Eversheds           B320      0.40    380.00
            Kimble              and MNAT teams re: claim allowance issues
                                under plan.

09/14/23    Jennifer B.         Review emails from Exec Members with follow           B320      0.50    475.00
            Kimble              up from plan meetings.

09/14/23    Nathaniel T.        Call with E. Broderick re: plan negotiations and      B320      0.30    210.00
            DeLoatch            preference related issues.

09/15/23    Nathaniel T.        Prepare for and attend meeting with Ad Hoc            B320      0.80    560.00
            DeLoatch            Committee executive committee members re:
                                plan and other related issues.

09/15/23    Jennifer B.         Review and analyze plan issues.                       B320      0.80    760.00
            Kimble
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Date        Timekeeper          Narrative                                             Task    Hours    Amount

09/15/23    Erin E. Broderick   Follow-up emails with internal team and A.            B320      1.90   1,729.00
                                Kranzley regarding Ad Hoc Committee response
                                to preference policy and other plan issues (.3);
                                further review and analysis plan research,
                                Debtors’ plan presentation materials for
                                purposes of presenting to Debtors/UCC and
                                coordination with Rothschild and filing statement
                                in response (1.5); e-mail to M. Harvey and S.
                                Paul regarding same (.1).

09/16/23    Michael A.          Correspond with E. Broderick re: upcoming             B320      0.10     73.50
            Rogers              preference exposure analysis.

09/16/23    Jennifer B.         Email correspondence with S&C and Eversheds           B320      0.20    190.00
            Kimble              teams re: plan issues and KYC issues.

09/17/23    Nathaniel T.        Review and respond to email from E. Broderick         B320      0.30    210.00
            DeLoatch            re: drafting memo on preference issues in cases
                                (.1); call to J. Kimble re: same (.1); follow up
                                email with J. Kimble re: same (.1).

09/17/23    Nathaniel T.        Call with E. Broderick re: preference issues and      B320      1.00    700.00
            DeLoatch            related plan issues.

09/17/23    Jennifer B.         Review various email correspondence re:               B320      0.50    475.00
            Kimble              preference analysis and Debtors’ preference
                                methodology (.4); email with N. DeLoatch re: the
                                same (.1).

09/17/23    Erin E. Broderick   Draft email to N. DeLoatch and J. Kimble re:          B320      1.30   1,183.00
                                preference research for AHC proposal (.2); call
                                with N. DeLoatch re: same (1.0); follow-up with
                                A. Kranzley re: claim issues call (.1).

09/18/23    Erin E. Broderick   Follow-up with A. Dietderich and Executive            B320      1.00    910.00
                                Committee re: plan negotiation meetings (.4);
                                review and analyze preference data diligence
                                provided by A&M for statement preparation and
                                correspondence with Rothschild and FTI re:
                                same (.6).

09/18/23    Nathaniel T.        Prepare for and attend call with J. Kimble re:        B320      0.20    140.00
            DeLoatch            preference analysis.

09/18/23    Nathaniel T.        Analysis and research re: preference process          B320      2.90   2,030.00
            DeLoatch            and coin monetization.

09/18/23    Jennifer B.         Call and email correspondence with N. DeLoatch        B320      0.50    475.00
            Kimble              regarding preference information.

09/18/23    Jennifer B.         Review preference memo.                               B320      0.30    285.00
            Kimble

09/19/23    Nathaniel T.        Call with E. Broderick re: issues related to          B320      0.50    350.00
            DeLoatch            customer recoveries.
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Date        Timekeeper          Narrative                                            Task   Hours    Amount

09/19/23    Michael A.          Review Debtors presentation to stakeholders re:      B320     0.70    514.50
            Rogers              avoidance actions.

09/19/23    Jennifer B.         Email correspondence with E. Broderick and S.        B320     0.30    285.00
            Kimble              Paul re: preference work streams.

09/19/23    Jennifer B.         Review emails from E. Broderick re: preference       B320     0.50    475.00
            Kimble              work streams and next steps.

09/19/23    Sarah E. Paul       Emails with J. Kimble, N. Deloatch, and M.           B320     0.80    908.00
                                Rodgers re: preparation of preference statement
                                (0.3); call with E. Broderick to discuss plan
                                negotiations strategy (0.5).

09/19/23    Erin E. Broderick   Call with N. DeLoatch re: recovery mechanics         B320     3.50   3,185.00
                                under plan (.5); correspondence with S. Paul, N.
                                DeLoatch and J. Kimble to summarize
                                preference issues, research and
                                recommendations (1.0); follow-up with
                                Rothschild re: new preference data and
                                recommendations to Executive Committee for
                                preference policy (.5); review emails from FTI re:
                                same (.2); e-mails with D. Kovsky-Apap re:
                                preference valuation issues and review of
                                Celsius treatment (.4); call with S. Paul re: plan
                                issues and preference statement (.5); review
                                second exclusivity request and respond to A.
                                Kranzley re: same (.2); follow-up emails with J.
                                Kimble, S. Paul re: preference statement and
                                work stream (.2).
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09/20/23    Erin E. Broderick   Call with N. DeLoatch re: plan research (.4); e-    B320     6.10   5,551.00
                                mails with N. DeLoatch and J. Kimble re: plan
                                research and open items (.7); call with
                                Rothschild and internal team re: plan diligence
                                and deliverables (.8); emails and call with J.
                                Minias re: status of analysis/presentation in
                                advance of October 4/5 plan discussions (.5);
                                call with J. Kimble re: preference issues (.4);
                                draft update to Executive Committee to confirm
                                exclusivity extension acceptance (.2); review and
                                respond to e-mails with Executive Committee,
                                internal team and Rothschild to finalize
                                agenda/tasks for plan meetings (.5); review and
                                comment on summary prepared by J. Kimble on
                                preference data (.2); respond to several
                                members re: Debtors’ preference analysis (.5);
                                call with S. Shnayder (Rothschild) on
                                plan/preference diligence and analysis (.4);
                                analyze further diligence from A&M on claims
                                and e-mails with Rothschild team (.6); follow-up
                                with M. Rogers re: treatment of OTC exchange
                                claims as customer claims/update from A&M (.2);
                                review, analyze and comment on waterfall
                                scenario draft from Rothschild (.5); e-mails with
                                C. Delo on plan summary sheet for Executive
                                Committee call (.2).

09/20/23    Michael A.          Review research re: preferences from J. Kimble.     B320     0.10     73.50
            Rogers

09/20/23    Michael A.          Research case-law on valuation methods for          B320     0.80    588.00
            Rogers              preference exposure.

09/20/23    Nathaniel T.        Call with E. Broderick re: preference and           B320     0.40    280.00
            DeLoatch            customer recovery research.

09/20/23    Jennifer B.         Review email correspondence from E. Broderick       B320     0.20    190.00
            Kimble              re: preference policy and next steps.

09/20/23    Jennifer B.         Draft and revise Ad Hoc Committee preference        B320     1.30   1,235.00
            Kimble              statement.

09/20/23    Jennifer B.         Email correspondence with Rothschild team re:       B320     0.30    285.00
            Kimble              status of preference analysis and information
                                flow Debtors.

09/20/23    Jennifer B.         Call with Rothschild re: next steps on plan         B320     0.80    760.00
            Kimble              discussions.

09/21/23    Jennifer B.         Review and analyze draft waterfall scenarios        B320     0.70    665.00
            Kimble              received from Rothschild.

09/21/23    Jennifer B.         Email correspondence with Eversheds and             B320     0.30    285.00
            Kimble              Rothschild teams re: plan negotiations and open
                                deal points.
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Date        Timekeeper          Narrative                                                  Task    Hours    Amount

09/21/23    Jennifer B.         Follow up emails with professionals re:                    B320      0.30    285.00
            Kimble              preference policy statement and research for the
                                same.

09/21/23    Jennifer B.         Revise preference policy statement.                        B320      1.00    950.00
            Kimble

09/21/23    Jennifer B.         Email correspondence with E. Broderick re:                 B320      0.20    190.00
            Kimble              preference statement.

09/21/23    Jennifer B.         Call with J. Weyand re: 550(a) research.                   B320      0.30    285.00
            Kimble

09/21/23    Jennifer B.         Email correspondence with E. Broderick and S.              B320      0.20    190.00
            Kimble              Paul re: preference policy statement.

09/21/23    Jennifer B.         Review and analyze CUD claim information.                  B320      0.60    570.00
            Kimble

09/21/23    Erin E. Broderick   Revise plan discussion outline in advance of               B320      4.50   4,095.00
                                Executive Committee meeting (.2); e-mail to
                                Debtors’ counsel re: approach to October 4 and
                                5 meetings and revise same per Executive
                                Committee comments (.2); e-mail to M. Harvey
                                re: revision of position paper on customer
                                property (.2); further follow-up on CUD claim
                                treatment with Rothschild and draft updated
                                summary for Executive Committee professional
                                representatives (.5); call with M. Browning re:
                                plan position discussed on weekly call (.7);
                                review, analyze and comment on memo re: exit
                                liquidity facility (1.0); call with J. David re: same
                                (.2); call with J. Minias re: same (.5);
                                correspondence with J. Kimble, J. Weyand and
                                N. DeLoatch re: statement on preference policy
                                (.5); review and start comments on preference
                                statement (.5).

09/22/23    Sarah E. Paul       Emails with E. Broderick re: preparation of                B320      0.80    908.00
                                preference statement and other open items (0.3);
                                call with J. Kimble re: plan negotiation strategy
                                and other open items (0.5).

09/22/23    Jennifer B.         Review research results on 550(a) and                      B320      0.70    665.00
            Kimble              coordinate with Research Dept. re: same.

09/22/23    Jennifer B.         Email correspondence with J. Weyand re: 550                B320      0.40    380.00
            Kimble              research and next steps.

09/22/23    Jennifer B.         Call with M. Harvey re: plan issues memo and               B320      0.60    570.00
            Kimble              update.
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Date        Timekeeper          Narrative                                             Task    Hours    Amount

09/22/23    Erin E. Broderick   E-mails with Rothschild, internal team, Debtors,      B320      3.00   2,730.00
                                and Executive Committee members re:
                                rescheduling plan negotiations (.4); e-mails with
                                S. Paul re: preference statement (.3); call with C.
                                Delo re: open items (.4); e-mail J. Minias on
                                preference subcommittee open items (.2); e-
                                mails with J. Kimble and N. DeLoatch re:
                                preference memo and statement (.3); review and
                                revise memo re: next steps and plan action items
                                (.5); e-mail A. Dietderich re: plan meetings (.1);
                                review comments to memo on next steps and
                                plan action items and follow-up on exit facility
                                language (.3); review updated diligence
                                summary from Rothschild on claims, ventures
                                portfolio, preferences and coin monetization and
                                follow-up on recommendations to group (.5).

09/23/23    Erin E. Broderick   Review, revise and circulate memo re: next steps      B320      1.90   1,729.00
                                and action items for plan/settlement to working
                                group (.6); follow-up with J. Kimble and J.
                                Weyand re: preference statement and research
                                (.3); review research and revise preference
                                statement (1.0).

09/24/23    Nathaniel T.        Review and analyze memo re: comparative               B320      0.30    210.00
            DeLoatch            positions of consultation parties on plan issues
                                following Sept. 11 and 12 meetings.

09/24/23    Jennifer B.         Review preference policy updates and draft            B320      0.50    475.00
            Kimble              proposed email for N. DeLoatch to send.

09/24/23    Jennifer B.         Review and revise preference policy statement.        B320      1.00    950.00
            Kimble

09/24/23    Jennifer B.         Email correspondence with E. Broderick re:            B320      0.30    285.00
            Kimble              revised preference policy statement.

09/25/23    Nathaniel T.        Review and respond to email from Ad Hoc               B320      0.10     70.00
            DeLoatch            Committee member re: potential claim
                                recoveries.

09/25/23    Nathaniel T.        Call with L. Munoz of Rothschild re: questions        B320      0.20    140.00
            DeLoatch            raised by Ad Hoc Committee members on
                                waterfall analysis (.1); send follow up email to L.
                                Munoz of Rothschild re: same (.1).

09/25/23    Nathaniel T.        Review and respond to email from Ad Hoc               B320      0.10     70.00
            DeLoatch            Committee member re: claims process and plan
                                negotiations.

09/25/23    Nathaniel T.        Review and respond to Ad Hoc Committee                B320      0.10     70.00
            DeLoatch            member re: claims process and plan status.
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Date        Timekeeper          Narrative                                             Task   Hours   Amount

09/25/23    Nathaniel T.        Review and respond to emails from Ad Hoc              B320    0.30    210.00
            DeLoatch            Committee member re: preference and claims
                                policy (.2); review of member documents related
                                to same (.1).

09/25/23    Nathaniel T.        Call with J. Weyand of MNAT re: questions from        B320    0.50    350.00
            DeLoatch            members of Ad Hoc Committee re: claims
                                process and filing (.2); call with M. Rogers re:
                                same (.2); follow up email to M. Rogers re: same
                                (.1).

09/25/23    Nathaniel T.        Review and respond to email from Ad Hoc               B320    0.10     70.00
            DeLoatch            Committee member re: claim and plan
                                processes.

09/25/23    Jennifer B.         Email with S. Paul re: update on Debtors'             B320    0.40    380.00
            Kimble              discussions surrounding open plan items.

09/25/23    Jennifer B.         Email correspondence with E. Broderick and S.         B320    0.50    475.00
            Kimble              Paul on preference statement.

09/25/23    Jennifer B.         Review and revise preference statement to             B320    2.20   2,090.00
            Kimble              incorporate research and comments from
                                counsel.

09/25/23    Jennifer B.         Review 550(a) research received from MNAT             B320    1.30   1,235.00
            Kimble              and further research on 550(a) legislative history.

09/25/23    Jennifer B.         Email correspondence with MNAT and                    B320    0.30    285.00
            Kimble              Eversheds teams re: claims submission and
                                KYC issues.

09/25/23    Erin E. Broderick   Review press on Anthropic and e-mails with            B320    0.50    455.00
                                Rothschild re: impact on waterfall analysis.

09/25/23    Sarah E. Paul       Review and revise draft of Ad Hoc Committee           B320    1.10   1,248.50
                                statement on debtors' preference policy.

09/25/23    Jennifer B.         Email correspondence with J. Weyand re: status        B320    0.10     95.00
            Kimble              of preference research.

09/25/23    Jennifer B.         Email correspondence with Rothschild re: status       B320    0.20    190.00
            Kimble              of preference data.

09/25/23    Jennifer B.         Begin reviewing preference information received       B320    0.50    475.00
            Kimble              from Rothschild.

09/25/23    Nathaniel T.        Review and respond to emails from Ad Hoc              B320    1.50   1,050.00
            DeLoatch            Committee member re: claims and recovery
                                scenarios and preference issues (.4); analysis of
                                issues related to same (1.1).
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Date        Timekeeper          Narrative                                            Task    Hours    Amount

09/25/23    Erin E. Broderick   E-mails with J. Kimble and S. Paul re: preference    B320      1.60   1,456.00
                                statement/policy (.5); follow-up with S. Paul and
                                M. Harvey re: same (.2); review and comment on
                                revised draft (.3); respond to Executive
                                Committee e-mails re: preference settlement
                                parameters (.6).

09/26/23    Jennifer B.         Various email correspondence with S. Paul and        B320      0.70    665.00
            Kimble              E. Broderick and MNAT team re: preference
                                statement and revisions.

09/26/23    Jennifer B.         Call with J. Weyand re: additional preference        B320      0.30    285.00
            Kimble              research on 547/549.

09/26/23    Jennifer B.         Review S. Paul comments to preference                B320      1.30   1,235.00
            Kimble              statement and revise to incorporate and address
                                open items.

09/26/23    Jennifer B.         Further revise preference statement to               B320      0.70    665.00
            Kimble              incorporate E. Broderick comments.

09/26/23    Jennifer B.         Review member comments on plan term sheet.           B320      0.30    285.00
            Kimble

09/26/23    Jennifer B.         Email correspondence with N. DeLoatch and E.         B320      0.30    285.00
            Kimble              Broderick re: preference settlement and status.

09/26/23    Jennifer B.         Review and analyze preference information            B320      1.20   1,140.00
            Kimble              received from Rothschild re: various look back
                                periods and exposure.

09/26/23    Jennifer B.         Email correspondence with Rothschild re:             B320      0.20    190.00
            Kimble              preference data and open items.

09/26/23    Erin E. Broderick   Call with Executive Committee subcommittee re:       B320      8.00   7,280.00
                                preference parameters (1.0); call with A.
                                Dietderich re: plan negotiation open points (.6);
                                review, revise and incorporate comments to
                                preference statement (1.2); draft summary of
                                same for Executive Committee (.2); draft
                                summary of discussion with A. Dietderich and
                                proposed agenda from AHC for Executive
                                Committee (.5); call with C. Delo re: waterfall
                                analysis (.3); e-mails with Rothschild team re:
                                same (.2); review and final comments on
                                preference statement (.4); call with S. Paul on
                                plan items (.8); review and comment on revised
                                plan memo and term sheet (1.8); review
                                comments from member, J. Minias and M.
                                Browning (.4); e-mails with S. Paul and J. Kimble
                                re: plan items (.6).

09/27/23    Nathaniel T.        Prepare for and attend meeting with E.               B320      1.00    700.00
            DeLoatch            Broderick, J. Kimble, J. Weyand of MNAT re:
                                case analysis and strategy re: plan negotiations.
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Date        Timekeeper          Narrative                                            Task   Hours    Amount

09/27/23    Nathaniel T.        Prepare for and attend meeting with E. Broderick     B320     0.50    350.00
            DeLoatch            and Rothschild team re: plan issues list and
                                strategy for plan negotiations.

09/27/23    Jennifer B.         Review email correspondence from client re:          B320     0.20    190.00
            Kimble              preference statement comments.

09/27/23    Jennifer B.         Various email correspondence with E. Broderick,      B320     0.30    285.00
            Kimble              Ad Hoc Committee and others re: preference
                                statement.

09/27/23    Jennifer B.         Email correspondence with J. Weyand re: plan         B320     0.10     95.00
            Kimble              memo on customer property and tracing.

09/27/23    Jennifer B.         Review UST Objection to Debtors/ UCC Motion          B320     0.30    285.00
            Kimble              to Extend customer redaction for 90 days.

09/27/23    Erin E. Broderick   Follow up with Executive Committee members           B320    10.50   9,555.00
                                re: cleansing protocol and scope of public
                                disclosures (.6); revise memo to send to external
                                parties re: open plan issues and next steps (.4);
                                incorporate comments to same (.3); attend call
                                with N. DeLoatch, J. Kimble and J. Weyand re:
                                plan-related items (1.0); follow-up with A.
                                Kranzley and A. Dietderich re: plan meetings
                                (.2); review press articles re: criminal
                                proceedings for customer sentiment on
                                disclosures for negotiations (.8); e-mails with
                                Rothschild and members re: valuation
                                methodology recommendations for plan
                                meetings (.4); call with M. Browning re: plan
                                points (.5); call with preference subcommittee
                                (1.0); review and comment on preference
                                settlement recommendation (.8); call with J.
                                Minias re: same (.3); review and incorporate
                                comments from ExCo (.4); call with member re:
                                same (.5); follow-up diligence/research and
                                emails re: convenience class recovery impact for
                                plan positions (.6); revise preference pricing
                                statement per comments/further review and
                                revision (1.0); analyze Debtors' customer priority
                                proposal and e-mails with Rothschild and group
                                re: presentation of AHC proposal/work on same
                                (1.4); call with J. Minias re: same/preferences
                                (.3).

09/28/23    Sarah E. Paul       Call with E. Broderick to discuss preparation of     B320     0.50    567.50
                                motion on KYC deadline extension re: plan and
                                form of distributions (0.3); emails with R. Monzon
                                to discuss same (0.2).

09/28/23    Nathaniel T.        Correspond with J. Weyand re: draft of plan          B320     0.10     70.00
            DeLoatch            issues term sheet.

09/28/23    Michael A.          Correspond with J. Weyand re: plan terms sheet.      B320     0.40    294.00
            Rogers
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Date        Timekeeper          Narrative                                             Task    Hours     Amount

09/28/23    Nathaniel T.        Analysis of KYC implications on potential             B320      0.80      560.00
            DeLoatch            recoveries.

09/28/23    Erin E. Broderick   Revise preference settlement framework memo           B320      6.20    5,642.00
                                and open issues plan chart per client comments
                                and discussion (2.0); calls with A. Dietderich re:
                                preference settlements and plan meetings (.7);
                                follow-up with UCC counsel re: same (.3); review
                                comments to mark-up to Debtors' plan term
                                sheet (.5); calls with J. Minias, member and C.
                                Delo re: preference settlement comments (.6);
                                review KYC overlay to plan terms (.5); call with
                                S. Paul to discuss KYC protocol motion (.3);
                                follow-up emails with S. Paul and R. Monzon
                                Won re: same (.2); review and incorporate e-mail
                                comments to plan open issues chart to send to
                                Debtors and UCC (.5); follow-up review of
                                positions on form of distribution/venture tokens
                                vs. RRT and e-mails with working group to
                                finalize recommendations (.6).

09/29/23    Devorah Hirsch      Proof, cite check, bluebook and shepardize            B320      1.00      240.00
                                cases regarding Ad Hoc Committee Statement
                                regarding preference pricing methodology.

09/29/23    Nathaniel T.        Call with E. Broderick re: draft of statement on      B320      0.10       70.00
            DeLoatch            preference positions.

09/29/23    Sarah E. Paul       Call with R. Monzon to discuss motion to extend       B320      0.30      340.50
                                KYC deadlines.

09/29/23    Erin E. Broderick   Review, revise and incorporate comments to            B320      5.00    4,550.00
                                plan term sheet mark-up and open issues chart
                                (1.2); review, revise and final comments to
                                customer preference protocol draft (1.0); call with
                                J. Minias re: same (.5); call with Executive
                                Committee subcommittee members re: same
                                (.6); follow-up calls with J. Weyand re: plan
                                documents (.4); e-mails with UCC counsel to set
                                up meeting on plan items (.2); calls with Debtors'
                                team re: same (.7); follow-up with counsel and
                                members re: points on form of distribution and
                                exit facility (.4).

09/30/23    Devorah Hirsch      Draft shell Motion for Extension of time to comply    B320      0.40       96.00
                                with KYC Requirements.

09/30/23    Erin E. Broderick   Review, revise and incorporate comments to            B320      2.80    2,548.00
                                plan open issues chart and plan term sheet
                                mark-up and circulate same to Executive
                                Committee with explanation (1.8); review
                                comments from Executive Committee and further
                                comment on preference policy (1.0).

                                Total for B320 - Plan and Disclosure
                                Statement (including Business Plan)                            237.70 214,351.50
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Date        Timekeeper          Narrative                                             Task   Hours   Amount
B330 - Fee Reimbursement Motion
09/01/23    Sarah E. Paul       Calls with J. Kimble and E. Broderick to discuss      B330    2.10   2,383.50
                                discovery requests and approach on fee
                                reimbursement motion (1.1); call with US Trustee
                                to discuss discovery requests on fee
                                reimbursement motion (1.1).

09/01/23    Erin E. Broderick   Review and respond to Executive Committee             B330    7.10   6,461.00
                                member re: claim disclosures (.2); review
                                updates on billing disclosures (.2); response to J.
                                Kimble and J. Minias re: discovery disclosures
                                (.1); follow-up on explanation of claims
                                submission process for internal team (.2); call
                                with J. Minias on claim disclosures (.3); call with
                                J. Kimble and S. Paul on same and general
                                discovery production (.5); review response from
                                I. Sasson and follow-up to respond (.2); call with
                                S. Paul and J. Kimble re: same and discussion
                                with UST (.5); follow-up emails with Executive
                                Committee members re: same (.4); call with
                                Executive Committee member re: same (.2);
                                review and revise claim disclosures and follow-
                                up with M. Rogers re: corrections to same (.4); e-
                                mails and calls with members re: claim
                                documentation disclosures (.5); follow-up with
                                A&M and A. Dietderich on Debtors’ production
                                re: same (.3); e-mails with S. Paul, J. Kimble on
                                coordination for discovery/hearing/reply (.5);
                                review emails with UST (.1); follow-up with A&M
                                team, M. Rogers, and individual members for
                                claim IDs and subaccount information (.4);
                                review emails from J. Kimble to Executive
                                Committee members and counsel re: disclosures
                                (.1); follow-up with S&C re: email production (.1);
                                address inquiries of S. Paul to UST questions
                                (.2); call with S. Paul and J. Kimble re: fee
                                reimbursement discovery and reply in support of
                                motion (.6); call with J. Minias re: same (.2); e-
                                mail to internal team re: same (.1); review M.
                                Roger’s edits to claim documentation chart and
                                further revisions (.3); review and analyze
                                updates/claim verification information provided
                                by A&M (.3); follow-up with members on missing
                                account information (.2).

09/01/23    Jennifer B.         Email correspondence with D. Hirsch regarding         B330    0.40    380.00
            Kimble              preparation of documents for production in
                                connection with fee reimbursement motion and
                                membership.

09/01/23    Devorah Hirsch      Attention to KYC Information (1.0); prepare           B330    5.00   1,200.00
                                Engagement Letters for production to UST (2.0);
                                redact identifying information and bate stamp
                                (2.0).

09/01/23    Jennifer B.         Call with J. Sarkessian re: Reimbursement             B330    1.20   1,140.00
            Kimble              motion discovery.
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Date        Timekeeper       Narrative                                            Task    Hours    Amount

09/01/23    Jennifer B.      Work on gathering documents and reviewing            B330      2.10   1,995.00
            Kimble           documents for production to UST.

09/01/23    Jennifer B.      Email correspondence with UST producing fee          B330      0.50    475.00
            Kimble           information.

09/01/23    Jennifer B.      Further email correspondence with Paul               B330      0.50    475.00
            Kimble           Hastings producing fee information.

09/01/23    Jennifer B.      Email correspondence with J. Sarkessian re:          B330      0.20    190.00
            Kimble           UST informal discovery requests and scheduling
                             call to discuss the same.

09/01/23    Jennifer B.      Email correspondence with Ad Hoc Executive           B330      0.30    285.00
            Kimble           Committee Members re: customer IDs.

09/01/23    Jennifer B.      Email correspondence with M. Harvey and E.           B330      0.60    570.00
            Kimble           Broderick re: discovery requests.

09/01/23    Jennifer B.      Review Ad Hoc creditor matrix and identify areas     B330      0.40    380.00
            Kimble           where information is still needed and reach out to
                             Debtors for the same.

09/01/23    Jennifer B.      Call with S. Paul and E. Broderick re: fee           B330      0.70    665.00
            Kimble           information and responding to UCC discovery
                             requests.

09/01/23    Jennifer B.      Call with S. Paul and E. Broderick following up      B330      0.80    760.00
            Kimble           on UST call and discussion of materials to
                             produce.

09/02/23    Devorah Hirsch   Attention to KYC Information; bate stamp and         B330      1.00    240.00
                             add document to production to UST.

09/02/23    Jennifer B.      Review batestamped documents and ensure              B330      0.30    285.00
            Kimble           appropriate for distribution.

09/02/23    Jennifer B.      Email correspondence with ES Team re:                B330      0.40    380.00
            Kimble           document production.

09/02/23    Jennifer B.      Work on gathering documents for document             B330      0.50    475.00
            Kimble           production to UST.

09/02/23    Jennifer B.      Review email correspondence from Debtors re:         B330      0.20    190.00
            Kimble           status of discovery gathering and next steps.

09/02/23    Sarah E. Paul    Gather materials responsive to discovery             B330      0.30    340.50
                             requests from UCC and US Trustee on fee
                             reimbursement motion.
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Date        Timekeeper          Narrative                                           Task    Hours    Amount

09/03/23    Erin E. Broderick   Call with G. Sasson and K. Pasquale regarding       B330      2.00   1,820.00
                                potential settlement of fee reimbursement (.7);
                                follow-up call with A. Dietderich regarding same
                                (.3); call to K. Pasquale regarding same (.1);
                                multiple short calls with J. Kimble and S. Paul
                                regarding same (.5); summarize impact on billing
                                of proposed settlement (.4).

09/03/23    Sarah E. Paul       Gather discovery items requested from UCC and       B330      0.30    340.50
                                US Trustee in response to fee reimbursement
                                request.

09/03/23    Jennifer B.         Email correspondence with S. Paul and E.            B330      0.30    285.00
            Kimble              Broderick re: status of document gathering and
                                production to UCC/UST.

09/03/23    Jennifer B.         Review draft S&C email and reimbursement            B330      0.50    475.00
            Kimble              agreement document production.

09/03/23    Jennifer B.         Email correspondence with S&C and Eversheds         B330      0.30    285.00
            Kimble              teams re: document production to UCC.

09/03/23    Jennifer B.         Review additional emails for production in          B330      0.40    380.00
            Kimble              connection with fee reimbursement motion.

09/03/23    Jennifer B.         Emails with member re: information needed for       B330      0.40    380.00
            Kimble              production to UCC.

09/04/23    Jennifer B.         Email correspondence with J. Minias re: update      B330      0.20    190.00
            Kimble              on discussions with UCC and production
                                information.

09/04/23    Jennifer B.         Call with E. Broderick re: update on                B330      0.70    665.00
            Kimble              reimbursement motion discussions with Debtors
                                and UCC.

09/04/23    Jennifer B.         Email correspondence with S&C re: UCC               B330      0.30    285.00
            Kimble              document requests and deposition notices.

09/04/23    Jennifer B.         Draft and revise cover email for document           B330      0.80    760.00
            Kimble              production to UST.

09/04/23    Jennifer B.         Review UCC discovery requests and notices of        B330      0.50    475.00
            Kimble              deposition.

09/04/23    Jennifer B.         Review additional emails and gather documents       B330      0.40    380.00
            Kimble              for production.
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Date        Timekeeper          Narrative                                              Task    Hours    Amount

09/04/23    Erin E. Broderick   Review formal discovery requests and e-mails           B330      5.40   4,914.00
                                from K. Pasquale (1.0); e-mails with Debtors and
                                internal team regarding initial reaction to same
                                (.4); e-mail to S&C team regarding status of
                                disclosures (.1); follow-up with members on
                                verification of claim valuations/customer IDs
                                capturing all claims (.6); e-mail to S&C regarding
                                concessions for settlement (.2); call with A.
                                Dietderich regarding same (.3); call with
                                executive committee member regarding status
                                of fee reimbursement motion and potential
                                deposition (1.0); update call to A. Dietderich
                                regarding same (.1); call with J. Kimble
                                regarding status of all discovery items (.7); call
                                with C. Delo regarding Rothschild terms (.4);
                                review of planned disclosures for accuracy and
                                completeness and comments on same (.6).
09/04/23    Michael A.                                                                 B330      0.30    220.50
            Rogers              Emails with internal team re: fee motion.

09/04/23    Sarah E. Paul                                                              B330      0.20    227.00
                                Review and comment on draft email to US
                                Trustee on fee reimbursement motion discovery
                                requests.
09/05/23    Sarah E. Paul                                                              B330      0.30    340.50
                                Emails with team re: UCC deposition request
                                (0.2); email to UCC re: deposition request (0.1).
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Date       Timekeeper           Narrative                                              Task    Hours    Amount

09/05/23    Erin E. Broderick   E-mails with J. Kimble regarding response to           B330      6.60   6,006.00
                                UST informal discovery and review of proposed
                                disclosures (.3); review A. Dietderich’s e-mail
                                proposing settlement of Ad Hoc Committee fee
                                reimbursement and comment on same (.3); e-
                                mails with Rothschild team and S. Paul regarding
                                settlement of reimbursement motion with UCC
                                (.3); review of e-mail production from S&C in
                                response to UCC discovery for completeness
                                (.6); draft e-mail to S&C to coordinate production
                                (.2); e-mails with A. Dietderich regarding fee
                                reimbursement period and potential settlement
                                (.2); e-mails with C. Delo regarding same (.2);
                                follow-up with internal team and member
                                regarding claim verifications for all members (.4);
                                review and comment on intended disclosures
                                redacting certain member information (.5); e-
                                mails with certain Executive Committee
                                representatives regarding revisions to same (.2);
                                calls with J. Kimble on same (.3); follow-up with
                                Executive Committee members regarding
                                discussion with UCC members on grounds for
                                objection to Ad Hoc Committee fee
                                reimbursement (.5); e-mails with K. Pasquale
                                and Paul Hasting team and Ad Hoc Committee
                                legal team regarding outstanding discovery and
                                withdrawal of deposition notice (.3); call with K.
                                Pasquale regarding same (.1); review final UST
                                disclosures (.2); respond to J. Kimble regarding
                                secondary holder percentages and review chart
                                prepared (.1); draft response to UST on
                                secondary holder amounts and revise chart (.3);
                                brief review of final proposed disclosures to UCC
                                (.3); review of emails between UST and J.
                                Kimble regarding UST objection (.4); e-mails with
                                Executive Committee, Rothschild and internal
                                team regarding discussion with UCC to resolve
                                objection (.3); e-mail and call with C. Delo
                                regarding same (.2); correspond with S. Paul
                                regarding same (.4).

09/05/23    Nathaniel T.        Review drafts of reply in support of fee               B330      0.40    280.00
            DeLoatch            reimbursement motion and other contemplated
                                motion filings (.3); correspond with D. Hirsch of
                                ES re: same (.1).

09/05/23    Jennifer B.         Analyze UCC request for production of                  B330      0.50    475.00
            Kimble              documents and make notes for production.

09/05/23    Jennifer B.         Email correspondence with Rothschild re: UCC           B330      0.20    190.00
            Kimble              formal discovery requests.

09/05/23    Jennifer B.         Work through document production and                   B330      1.00    950.00
            Kimble              redaction issues re: discovery in connection with
                                fee reimbursement motion.
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Date        Timekeeper       Narrative                                            Task   Hours    Amount

09/05/23    Jennifer B.      Email correspondence with E. Broderick re:           B330     0.40    380.00
            Kimble           additional UST inquiries and resolution of the
                             same.

09/05/23    Jennifer B.      Edit and revise document production email to         B330     0.30    285.00
            Kimble           UST.

09/05/23    Devorah Hirsch   Prepare documents in response to UCC                 B330     2.00    480.00
                             discovery requests.

09/05/23    Jennifer B.      Review S&C document production and ensure            B330     0.40    380.00
            Kimble           includes emails from draft set provided during
                             weekend.

09/06/23    Zachariah W.     Draft responses to requests for production re; fee   B330     3.20   1,856.00
            Lindsey          reimbursement.

09/06/23    Devorah Hirsch   Draft Response & Objections to UCC Request           B330     1.00    240.00
                             for the Production of Documents.

09/06/23    Jennifer B.      Email correspondence with E. Broderick and S.        B330     0.30    285.00
            Kimble           Paul working through UCC document requests
                             and objections.

09/06/23    Jennifer B.      Correspond with E. Broderick re: update on           B330     0.40    380.00
            Kimble           discovery and settlement discussions.

09/06/23    Jennifer B.      Work on drafting and editing formal responses to     B330     1.20   1,140.00
            Kimble           UCC document requests (1.0); email
                             correspondence with ES team re: the same (.2).

09/06/23    Jennifer B.      Email correspondence with UCC re: discovery          B330     0.50    475.00
            Kimble           requests and ongoing document production.

09/06/23    Jennifer B.      Review UST Objection to Reimbursement                B330     0.60    570.00
            Kimble           Motion.

09/06/23    Jennifer B.      Review additional documents produced by              B330     0.40    380.00
            Kimble           Debtors (board meeting minutes).

09/06/23    Jennifer B.      Email correspondence with ES team re: Debtors’       B330     0.10     95.00
            Kimble           additional document production.

09/06/23    Sarah E. Paul    Discussions with team on additional productions      B330     1.30   1,475.50
                             to the UCC on fee reimbursement motion
                             discovery (0.3); coordinate with team to respond
                             to UCC's formal discovery requests (1.0).
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Date       Timekeeper          Narrative                                             Task   Hours   Amount

09/06/23   Erin E. Broderick   Call with Executive Committee member                  B330    4.80   4,368.00
                               regarding discussion with UCC members (.3); e-
                               mails with Executive Committee regarding same
                               (.2); review M. Harvey summary of UST
                               objections, gather and review relevant authority
                               and revise same to outline arguments and
                               support for reply brief (1.2); draft e-mail to S&C
                               regarding same (.3); gather information
                               requested by UCC members and send to
                               Executive Committee members (.2); e-mails with
                               Executive Committee and internal team
                               regarding potential settlement of UCC objections
                               and report on call with UCC members (.4); call
                               with Executive Committee member regarding
                               possible settlement of UCC objection (.4); review
                               Debtor responses to UST (.2); call with A.
                               Dietderich regarding discussions with UCC
                               principals and J. Ray (.1); review and respond to
                               e-mails with UCC regarding document
                               production (.3); review update on call with UCC
                               members (.2); review initial responses to formal
                               discovery (.3); review edits to same by J. Kimble
                               (.1); e-mails with MNAT and Debtors to
                               coordinate reply brief preparation (.4); brief
                               review of Debtors’ separate production to UST
                               (.2).

09/07/23   Sarah E. Paul       Review and revise draft of responses and              B330    0.90   1,021.50
                               objections to UCC formal discovery requests
                               (0.7); coordinate with team on production of
                               additional materials to US Trustee (0.2).

09/07/23   Erin E. Broderick   E-mails with Executive Committee regarding            B330    4.40   4,004.00
                               UCC counter proposal, Debtors’ request for
                               adjournment and basis for relief/reply (.4); review
                               e-mail proposal from Debtors and brief response
                               to C. Delo (.1); conduct research regarding basis
                               for reimbursement and summary of precedent
                               gathered by MNAT on plan mediation party
                               reimbursement in Mallincrokdt (.7); emails with
                               MNAT regarding same and form of restructuring
                               support agreement/terms thereof (.3); call with A.
                               Dietderich regarding adjournment (.1); e-mail
                               follow-up with Rothschild and certain Executive
                               Committee members to confirm adjournment
                               agreement (.4); call with C. Delo regarding same
                               (.2); confirm same to S&C, UCC, and UST (.1);
                               review UCC response to disclosures/request for
                               further claim information (.2); emails with J.
                               Kimble and S. Paul regarding discovery
                               production (.2); brief review of same (.3); call
                               with J. Kimble regarding potential settlement (.4);
                               review and circulate UST objection to
                               reimbursement motion (.5); follow-up with A&M
                               on claim issues to respond to UST objection (.5).
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Date        Timekeeper          Narrative                                               Task    Hours    Amount

09/07/23    Devorah Hirsch      Prepare and Bate Stamp documents for                    B330      0.50    120.00
                                production to UCC.

09/07/23    Jennifer B.         Calls (x2) with J. Weyand (MNAT) re: revisions          B330      0.30    285.00
            Kimble              to UCC discovery responses and service of the
                                same.

09/07/23    Jennifer B.         Call with E. Broderick re: status of ongoing            B330      0.40    380.00
            Kimble              settlement discussions.

09/07/23    Jennifer B.         Review MNAT clean up revisions to formal                B330      0.30    285.00
            Kimble              discovery responses re: reimbursement.

09/07/23    Jennifer B.         Review and revise formal discovery responses            B330      1.20   1,140.00
            Kimble              re: reimbursement.

09/07/23    Jennifer B.         Emails with S. Paul re: reimbursement discovery         B330      0.20    190.00
            Kimble              responses and next steps.

09/09/23    Jennifer B.         Email correspondence with D. Hirsch re:                 B330      0.10     95.00
            Kimble              reimbursement motion discovery inquiry.

09/15/23    Sarah E. Paul       Call with E. Broderick to discuss strategy re: fee      B330      0.30    340.50
                                reimbursement motion.

09/15/23    Erin E. Broderick   Review precedent and arguments re: fee                  B330      0.70    637.00
                                reimbursement for ad hoc committee (.4); call
                                with S. Paul to discuss same (.3).

09/17/23    Sarah E. Paul       Emails with E. Broderick re: status of UCC              B330      0.20    227.00
                                discovery on fee reimbursement motion.

09/17/23    Erin E. Broderick   Emails with S. Paul re: UCC and UST discovery           B330      0.20    182.00
                                on motion.

09/17/23    Jennifer B.         Emails with S. Paul and E. Broderick re: status of      B330      0.40    380.00
            Kimble              discovery and next steps.

09/19/23    Jennifer B.         Email correspondence with E. Broderick re:              B330      0.20    190.00
            Kimble              status of discussions with Debtor on
                                Reimbursement Motion.

09/19/23    Jennifer B.         Review email from K. Pasquale re: UCC position          B330      0.10     95.00
            Kimble              on fee reimbursement motion.

09/19/23    Erin E. Broderick   Emails with J. Kimble and K. Pasquale re: fee           B330      0.60    546.00
                                reimbursement motion (.2); call to K. Pasquale
                                re: same (.3); follow-up with Debtors re: same
                                (.1).

09/20/23    Sarah E. Paul       Call with J. Kimble to discuss fee reimbursement        B330      0.30    340.50
                                motion status and other open items.

09/20/23    Jennifer B.         Email correspondence and call with S. Paul re:          B330      0.40    380.00
            Kimble              strategy on reimbursement motion.
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Date        Timekeeper          Narrative                                             Task    Hours       Amount

09/21/23    Sarah E. Paul       Email to E. Broderick, M. Harvey, and J. Kimble       B330      0.20       227.00
                                re: timing of fee reimbursement motion.

09/21/23    Erin E. Broderick   Email to K. Pasquale to confirm approach on fee       B330      0.30       273.00
                                reimbursement motion (.1); follow up with S. Paul
                                re: same (.2).

09/22/23    Jennifer B.         Email correspondence with S&C re: UCC                 B330      0.20       190.00
            Kimble              objection deadline to Reimbursement Motion.

09/29/23    Erin E. Broderick   Follow up on fee reimbursement motion                 B330      0.20       182.00
                                amendment.

                                Total for B330 - Fee Reimbursement Motion                        76.10   64,093.50
B410 - General Bankruptcy Advice/Opinions
09/01/23    Sarah E. Paul       Team call to discuss open items re: case and          B410      1.00      1,135.00
                                next steps.

09/03/23    Erin E. Broderick   Review open items and draft summary of same           B410      1.50      1,365.00
                                with deadlines/delegation for WIP chart and
                                budget.

09/04/23    Erin E. Broderick   Attend all-hands internal call to coordinate work     B410      1.60      1,456.00
                                on open and upcoming case items (1.0); follow-
                                up with individual team members regarding same
                                (.6).

09/04/23    Jennifer B.         Call with ES and MNAT Teams re: coordination          B410      1.00       950.00
            Kimble              and staffing.

09/04/23    Nathaniel T.        Prepare for and attend call with ES and MNAT          B410      1.20       840.00
            DeLoatch            professionals re: upcoming plan negotiations and
                                Debtors' fee reimbursement motion and related
                                discovery requests and responses thereto.

09/04/23    Michael A.          Conference with ES/MNAT re: Ad Hoc                    B410      1.00       735.00
            Rogers              Committee workflow including fee
                                reimbursement motion.

09/04/23    Devorah Hirsch      Attend Strategy meeting re: case.                     B410      1.00       240.00

09/04/23    Sarah E. Paul       Team call to discuss various open items.              B410      1.10      1,248.50

09/06/23    Nathaniel T.        Call with J. Weyand of MNAT re: WIP chart and         B410      0.30       210.00
            DeLoatch            related case action items.

09/06/23    Jennifer B.         Correspond with S. Paul re: document                  B410      0.30       285.00
            Kimble              production and open issues.

09/12/23    Erin E. Broderick   Coordinate with M. Rogers, N. DeLoatch, R.            B410      0.60       546.00
                                Monzon Woc and A&M re: claim submissions
                                and KYC status (.4); discuss 2019 filing with M.
                                Harvey and update instructions to N. DeLoatch
                                regarding same (.2).
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Date        Timekeeper          Narrative                                            Task    Hours    Amount

09/13/23    Erin E. Broderick   Review and comment on work in progress chart         B410      0.70    637.00
                                (.5); follow-up emails with team to confirm
                                availability for open items (.2).

09/14/23    Erin E. Broderick   E-mails with team to divide tasks and call           B410      0.80    728.00
                                scheduling re: same (.2); review and comment
                                on WIP chart (.4); correspondence with J.
                                Weyand re: budget and billing protocol (.2).

09/20/23    Jennifer B.         Email correspondence with J. Weyand re:              B410      0.30    285.00
            Kimble              Committee open items, WIP tracker and
                                Reimbursement reply deadline.

09/20/23    Jennifer B.         Email correspondence and call with E. Broderick      B410      0.80    760.00
            Kimble              re: status of discussions with Debtors over
                                reimbursement motion and outstanding work
                                steams prior to hearing schedule for 10/4.

09/20/23    Jennifer B.         Email correspondence with Eversheds team re:         B410      0.60    570.00
            Kimble              Ad Hoc Committee position chart, work streams
                                and next steps.

09/22/23    Jennifer B.         Call with S. Paul re: work streams.                  B410      0.70    665.00
            Kimble

09/22/23    Jennifer B.         Calls with D. Abbott re: staffing and work           B410      0.50    475.00
            Kimble              streams.

09/22/23    Erin E. Broderick   Draft e-mail to counsel team re: open items and      B410      0.50    455.00
                                follow-up responses.

09/23/23    Jennifer B.         Call with ES and MNAT re: work streams and           B410      0.70    665.00
            Kimble              coverage.

09/23/23    Jennifer B.         Review and edit WIP Report, add in matter            B410      3.40   3,230.00
            Kimble              updates and prioritize/ strategize ongoing Ad
                                Hoc Committee work streams.

09/23/23    Jennifer B.         Review plan tern sheet update and analyze open       B410      0.50    475.00
            Kimble              items.

09/23/23    Jennifer B.         Email correspondence with M. Harvey and J.           B410      0.30    285.00
            Kimble              Weyand re: WIP report.

09/24/23    Jennifer B.         Update work streams and email correspondence         B410      1.50   1,425.00
            Kimble              with MNAT and Eversheds teams re: same.

09/25/23    Jennifer B.         Email correspondence with MNAT and                   B410      0.40    380.00
            Kimble              Eversheds teams re: WIP report and call to
                                discuss the same.

09/25/23    Sarah E. Paul       Call with E. Broderick to discuss case status and    B410      0.50    567.50
                                strategy.

09/25/23    Erin E. Broderick   Review and revise WIP chart (1.2); call with S.      B410      1.70   1,547.00
                                Paul re: same (.5).
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Date         Timekeeper           Narrative                                            Task        Hours       Amount

09/26/23     Erin E. Broderick    Review and revise WIP chart and email follow-        B410          1.00        910.00
                                  ups to team.

09/26/23     Sarah E. Paul        Call with E. Broderick re: strategy and various      B410          0.80        908.00
                                  open items.

09/26/23     Jennifer B.          Call with J. Weyand re: WIP report.                  B410          0.20        190.00
             Kimble

09/27/23     Michael A.           Participate in Eversheds/MNAT Workflow               B410          1.10        808.50
             Rogers               meeting.

09/27/23     Jennifer B.          MNAT/Eversheds weekly professionals call to          B410          1.00        950.00
             Kimble               discuss WIP and strategy.

09/28/23     Erin E. Broderick    Review and revise WIP chart (.5); call with J.       B410          0.80        728.00
                                  Weyand re: same (.3).

09/29/23     Jennifer B.          Review email correspondence from E. Broderick        B410          0.20        190.00
             Kimble               re: FTX staffing and work streams.

                                  Total for B410 - General Bankruptcy
                                  Advice/Opinions                                                    29.60    26,844.50


                                                                                          Fees              $609,483.00

B110 Case Administration
Jennifer B. Kimble                                          0.60    Hours @ 950.00           570.00
Erin E. Broderick                                           0.50    Hours @ 910.00           455.00
Michael A. Rogers                                          14.70    Hours @ 735.00        10,804.50
Nathaniel T. DeLoatch                                       1.50    Hours @ 700.00         1,050.00
Devorah Hirsch                                              1.90    Hours @ 240.00           456.00
                                                           19.20                                               13,335.50

B112 General Creditor Inquiries
Sarah E. Paul                                               2.80          Hours @             3,178.00
                                                                          1,135.00
Erin E. Broderick                                           9.20    Hours @ 910.00         8,372.00
Michael A. Rogers                                          76.50    Hours @ 735.00        56,227.50
Nathaniel T. DeLoatch                                       6.30    Hours @ 700.00         4,410.00
Devorah Hirsch                                             15.90    Hours @ 240.00         3,816.00
                                                          110.70                                               76,003.50

B113 Case Analysis/Pleading Review
Jennifer B. Kimble                                          1.40    Hours @ 950.00         1,330.00
Erin E. Broderick                                          15.00    Hours @ 910.00        13,650.00
Michael A. Rogers                                           0.20    Hours @ 735.00           147.00
Nathaniel T. DeLoatch                                       2.40    Hours @ 700.00         1,680.00
                                                           19.00                                               16,807.00

B150 Meetings of and Communications with Creditors
Jennifer B. Kimble                                          5.70    Hours @ 950.00            5,415.00
Erin E. Broderick                                           1.40    Hours @ 910.00            1,274.00
Nathaniel T. DeLoatch                                       2.00    Hours @ 700.00            1,400.00
                                                            9.10                                                8,089.00
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B160 Fee/Employment Applications
Jennifer B. Kimble                                        1.50   Hours @ 950.00     1,425.00
Erin E. Broderick                                         5.90   Hours @ 910.00     5,369.00
Michael A. Rogers                                         0.60   Hours @ 735.00       441.00
                                                          8.00                                  7,235.00

B190 Other Contested Matters (excluding assumption/rejection motions)
David A. Wender                                          0.10          Hours @        110.00
                                                                       1,100.00
Jennifer B. Kimble                                        8.00   Hours @ 950.00     7,600.00
Erin E. Broderick                                        10.60   Hours @ 910.00     9,646.00
Nathaniel T. DeLoatch                                     7.90   Hours @ 700.00     5,530.00
Devorah Hirsch                                            2.00   Hours @ 240.00       480.00
                                                         28.60                                 23,366.00

B191 General Litigation
Erin E. Broderick                                         1.10   Hours @ 910.00     1,001.00
                                                          1.10                                  1,001.00

B195 Non-Working Travel
Erin E. Broderick                                         6.50   Hours @ 910.00     5,915.00
                                                          6.50                                  5,915.00

B260 Corporate Governance and Board Matters
Sarah E. Paul                                             0.20         Hours @        227.00
                                                                       1,135.00
Jennifer B. Kimble                                        0.90   Hours @ 950.00       855.00
Erin E. Broderick                                         9.90   Hours @ 910.00     9,009.00
Michael A. Rogers                                         6.50   Hours @ 735.00     4,777.50
Nathaniel T. DeLoatch                                     0.10   Hours @ 700.00        70.00
Lamine C. Hardaway                                        2.00   Hours @ 650.00     1,300.00
Devorah Hirsch                                           11.50   Hours @ 240.00     2,760.00
                                                         31.10                                 18,998.50

B270 AHC Member Communications & Meetings
Sarah E. Paul                                             1.60         Hours @      1,816.00
                                                                       1,135.00
David A. Wender                                           0.10         Hours @        110.00
                                                                       1,100.00
Jennifer B. Kimble                                        8.70   Hours @ 950.00     8,265.00
Erin E. Broderick                                        26.10   Hours @ 910.00    23,751.00
Michael A. Rogers                                         6.40   Hours @ 735.00     4,704.00
Nathaniel T. DeLoatch                                    13.00   Hours @ 700.00     9,100.00
Ana Rocio Monzon Woc                                      0.40   Hours @ 655.00       262.00
Devorah Hirsch                                            2.00   Hours @ 240.00       480.00
                                                         58.30                                 48,488.00

B310 Claims Administration and Objections
Sarah E. Paul                                            10.40         Hours @     11,804.00
                                                                       1,135.00
Jennifer B. Kimble                                       1.50    Hours @ 950.00     1,425.00
Erin E. Broderick                                       21.30    Hours @ 910.00    19,383.00
Michael A. Rogers                                       17.90    Hours @ 735.00    13,156.50
Nathaniel T. DeLoatch                                    3.10    Hours @ 700.00     2,170.00
Ana Rocio Monzon Woc                                    52.70    Hours @ 655.00    34,518.50
Jazmen B. Howard                                         1.00    Hours @ 650.00       650.00
Devorah Hirsch                                           7.70    Hours @ 240.00     1,848.00
                                                       115.60                                  84,955.00
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B320 Plan and Disclosure Statement (including Business Plan)
Sarah E. Paul                                           25.80              Hours @       29,283.00
                                                                           1,135.00
Jennifer B. Kimble                                          62.20    Hours @ 950.00      59,090.00
Erin E. Broderick                                          105.70    Hours @ 910.00      96,187.00
Michael A. Rogers                                            3.60    Hours @ 735.00       2,646.00
Nathaniel T. DeLoatch                                       28.10    Hours @ 700.00      19,670.00
Ana Rocio Monzon Woc                                        10.90    Hours @ 655.00       7,139.50
Devorah Hirsch                                               1.40    Hours @ 240.00         336.00
                                                           237.70                                          214,351.50

B330 Fee Reimbursement Motion
Sarah E. Paul                                                6.40          Hours @        7,264.00
                                                                           1,135.00
Jennifer B. Kimble                                          24.00    Hours @ 950.00      22,800.00
Erin E. Broderick                                           32.30    Hours @ 910.00      29,393.00
Michael A. Rogers                                            0.30    Hours @ 735.00         220.50
Nathaniel T. DeLoatch                                        0.40    Hours @ 700.00         280.00
Zachariah W. Lindsey                                         3.20    Hours @ 580.00       1,856.00
Devorah Hirsch                                               9.50    Hours @ 240.00       2,280.00
                                                            76.10                                           64,093.50

B410 General Case Strategy
Sarah E. Paul                                                3.40          Hours @        3,859.00
                                                                           1,135.00
Jennifer B. Kimble                                          12.40    Hours @ 950.00      11,780.00
Erin E. Broderick                                            9.20    Hours @ 910.00       8,372.00
Michael A. Rogers                                            2.10    Hours @ 735.00       1,543.50
Nathaniel T. DeLoatch                                        1.50    Hours @ 700.00       1,050.00
Devorah Hirsch                                               1.00    Hours @ 240.00         240.00
                                                            29.60                                           26,844.50


                                                                               750.60                      609,483.00

 DISBURSEMENTS

                NDeLoatch – Flight to NYC Client Event - DeLoatch,                              407.80
                Nathaniel T. – Travel
                NDeLoatch – Hotel in NYC for Client Event – DeLoatch
                                                                                              1,334.90
                Nathaniel T. - Travel

                EBroderick - Flight to NYC for Client Event –                                  534.05
                Broderick, Erin E. – Travel

               EBroderick – Business Meals – Client Event in NYC                               240.95
               Broderick, Erin E. – Travel

                EBroderick – Hotel – Client Event in NYC                                      1,791.98
                Broderick, Erin, E. – Travel

                EBroderick – Taxi – Lyft to/from LAG for Client Event in NYC                   114.00
                Broderick, Erin E. – Travel



                                                                Total Current Disbursements                $4,423.68

                                                       TOTAL CURRENT BILLING                             $613,906.68
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              Name                 Title          Practice Group;      Hourly      Hours      Amount
                                                   Date of First        Rate       Billed      Billed
                                                    Admission
   Paul, Sarah                Partner            Litigation, 2004     $1,135.00      50.60     57,431.00
   Wender, David A.           Partner            Finance, 2003        $1,100.00       0.20        220.00
                                                                   Partner Total     50.80     57,651.00
   Broderick, Erin E.         Senior Counsel     Finance, 2008          $910.00     254.70    231,777.00
   Kimble, Jennifer B.        Senior Counsel     Finance, 2005          $950.00     126.90    120,555.00
                                                            Senior Counsel Total    381.60    352,332.00
   DeLoatch, Nathaniel T.     Associate          Finance, 2019          $700.00      66.30     46,410.00
   Howard, Jazmen             Associate          Corporate, 2020        $650.00       1.00        650.00
   Lindsey, Zack W.           Associate          Litigation, 2020       $580.00       3.20      1,856.00
   Monzon Woc, Ana Rocio      Associate          Litigation, 2018       $655.00      64.00     41,920.00
   Rogers, Michael A.         Associate          Finance, 2022          $735.00     128.80     94,668.00
                                                                 Associate Total    263.30    185,504.00
   Hirsch, Devorah            Paralegal          Litigation             $240.00      52.90     12,696.00
                                                                 Paralegal Total     52.90     12,696.00
   Hardaway, Lamine C.        Senior Attorney    Energy, 2008           $650.00       2.00      1,300.00
                                                          Senior Attorney Total       2.00      1,300.00
   Total                                                                            750.60   $609,483.00
   Blended Hourly Rate: $755.00
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Matter No. 96490-0001                      Bill No: 1274167                                         Page 71


                                                                             Hours
                 U.S. Trustee Task Code and Project Category                             Amount Billed
                                                                             Billed
   B110 Case Administration                                                      19.20        13,335.50
   B112 General Creditor Inquiries                                             110.70         76,003.50
   B113 Case Analysis/Pleading Review                                            19.00        16,807.00
   B150 Meetings of and Communications with External Stakeholders                 9.10         8,089.00
   B160 Fee/Employment Applications                                               8.00         7,235.00
   B190 Other Contested Matters (excluding assumption/rejection motions)         28.60        23,366.00
   B191 General Litigation                                                        1.10         1,001.00
   B195 Non-Working Travel                                                        6.50         5,915.00
   B260 Corporate Governance and Board Matters                                   31.10        18,998.50
   B270 AHC Member Communications & Meetings                                     58.30        48,488.00
   B310 KYC Process and Claims Administration                                  115.60         84,955.00
   B320 Plan and Disclosure Statement (including Business Plan)               237.70         214,351.50
   B330 Fee Reimbursement Motion                                                 76.10        64,093.50
   B410 General Case Strategy                                                    29.60        26,844.50
                                                                               750.60    $   609,483.00
